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 1                        UNITED STATES DISTRICT COURT

 2                      NORTHERN DISTRICT OF CALIFORNIA

 3

 4 THE OSAGE NATION OF OKLAHOMA           Case No. 21-md-02996-CRB (SK)

 5                        Plaintiff,      ORIGINAL COMPLAINT

 6       vs.                              REDACTED

 7 MCKINSEY & CO., INC.; MCKINSEY         JURY TRIAL DEMANDED
   HOLDINGS, INC.; MCKINSEY &
 8 COMPANY, INC. UNITED STATES;
   MCKINSEY & COMPANY, INC.
 9 WASHINGTON D.C.; PUBLICIS HEALTH,
   LLC; PRACTICE FUSION, INC.;
10 ALLSCRIPTS HEALTHCARE
   SOLUTIONS, INC.; and ZS ASSOCIATES,
11 INC.

12                        Defendants.
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 1       I.        INTRODUCTION
 2            1.       For two decades now, the modern1 opioid crisis has raged. In 2017, the President of
 3
     the United States announced a public health emergency. In 2020, drug-overdose deaths in the
 4
     United States soared nearly 30%.2 Drug overdoses now kill more than 100,000 Americans per year
 5
     – more than vehicle crash and gun deaths combined.3 Today, there are fewer and fewer Americans
 6
     whose lives have not been scarred by the epidemic.
 7

 8            2.       History repeats itself not through accident or accretion, but through affirmative acts

 9   undertaken by those who wish it so. The modern epidemic has a cause, and this complaint seeks to
10   hold accountable principal participants in its creation and propagation. The modern epidemic began
11
     with the introduction and expansive promotion of OxyContin by Purdue Pharma in 1996 and was
12
     driven thereafter by industry-wide marketing efforts in which Defendants were principal and
13
     knowing participants. It continues to rage today, further enflamed by the isolation of the COVID-
14

15   19 pandemic.4

16            3.       The pharmaceutical industry is complex and highly regulated. Drug manufacturers

17   cannot, and do not, do everything on their own. These innovative companies endeavor to research,
18

19
     1
       Throughout history, instances of widespread availability of opioids causing severe detriment to all of us are legion.
20   To begin with, the drug was powerful enough to be used as a means of colonial expansion by the British Empire in
     China. There were two Opium Wars. See W. Travis Hanes III & Frank Sanello, The Opium Wars: The Addiction of
21   One Empire and the Corruption of Another, 2002; Julia Lovell, The Opium War: Drugs, Dreams, and the Making of
     Modern China, 2011.
22   More recently, the United States has experienced previous waves of opioid abuse. “The first was in the early 1900’s,
     when heroin was marketed alongside Bayer aspirin as a remedy for numerous minor ailments.” Dr. Anna Lembke,
23   Drug Dealer, M.D., Johns Hopkins University Press (2016), Pg. 57. A second heroin epidemic struck the United States
     during the Vietnam War. Id. See also John Fauber et al., “A Look Back: Abandoned Painkiller Makes a Comeback,”
24   Medpage Today, June 9, 2017, available at: https://www.medpagetoday.com/psychiatry/addictions/65916 (describing
     the removal of Numorphan, an oxymorphone product, from the market in the 1970’s in response to widespread abuse).
25   Throughout the time-period relevant to this complaint, the dangers of widespread opioid availability weren’t just
     common knowledge, they were historical fact.
26   2
       Betsy McKay, “U.S. Drug-Overdose Deaths Soared Nearly 30% in 2020, Driven by Synthetic Opioids,” Wall Street
     Journal, July 14, 2020, available at: https://www.wsj.com/articles/u-s-drug-overdose-deaths-soared-nearly-30-in-
27   2020-11626271200
     3
         German Lopez, “A Rising Death Toll,” New York Times, February 13, 2022, available at:
28   https://www.nytimes.com/2022/02/13/briefing/opioids-drug-overdose-death-toll.html.
     4
       See https://healthmatters.nyp.org/an-overdose-epidemic-amid-the-pandemic/

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 1   develop, obtain approval, and bring to market products that improve the health and livelihood of
 2   hundreds of millions of people worldwide. Because the scale of the industry is vast, the stakes –
 3
     both in terms of potential profit and impact on human lives – are high, and the industry’s complexity
 4
     byzantine. From cutting-edge medical and scientific research, to navigating the state and federal
 5
     regulatory environment, to marketing their drugs in a responsible manner to prescribers and the
 6

 7   consuming public, the demands on a traditional pharmaceutical manufacturer are multi-faceted,

 8   ever-present, and continuously changing.

 9          4.      The reality is pharmaceutical manufacturers routinely rely on third parties to design,
10
     implement, and oversee projects and workflows to achieve mission-critical tasks. Given the
11
     complexity of the industry, there are numerous companies that find their niche in offering core
12
     services to pharmaceutical manufacturers that are critical to the success of the manufacturers’
13
     operations but are not performed by the manufacturer alone. These third parties are necessary
14

15   components of the drug manufacturing and sales industry as a whole.

16          5.      Manufacturers do not rely on these third-party providers on a one-off basis, but
17   instead rely on companies like McKinsey, Publicis, ZS, and Practice Fusion again and again to
18
     design and implement measures to achieve specific needs. The relationships are recurring and long-
19
     term. It is not uncommon for McKinsey or ZS or Publicis to advise multiple pharmaceutical
20
     manufacturers regarding the sales and marketing of competing products, such as branded extended-
21

22   release opioids. Further, it is common for third-party consultants such McKinsey, ZS and Publicis

23   to commoditize their business intelligence in a way which expands markets across the industry. In

24   other words, they often sell the same strategy to multiple clients. This complaint concerns the
25   conduct of these providers.
26
            6.      One Defendant – McKinsey – is the preeminent management consultancy on Earth.
27
     Another – Publicis – is one of the largest advertising agencies on Earth. Publicis Groupe S.A. is the
28


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 1   French parent of Defendant Publicis Health LLC (“Publicis”). A third Defendant is a little known,
 2   but principal architect of the sales and marketing efforts that begat the opioid crisis, pharmaceutical
 3
     consulting firm ZS Associates, Inc. (“ZS”). A fourth, Practice Fusion, Inc. (“Practice Fusion”)
 4
     offered a unique channel through which the marketing messages and strategy created by co-
 5
     Defendants could be delivered to the intended audience: healthcare providers, the folks with
 6

 7   prescription pads in their hands. All were crucial components of and contributors to the architecture

 8   and functioning of the opioid marketplace.5

 9              7.       McKinsey is a management consulting firm with operations across the globe. It
10
     played a central role in the unfolding, propagation, and exploitation of the opioid crisis by advising
11
     multiple opioid manufacturers and other industry participants how to sell as many opioids as
12
     conceivably possible. Knowing that its clients’ products were highly addictive, ineffective, and
13
     unsafe for the treatment of long-term chronic pain, non-acute pain, and non-cancer pain, McKinsey
14

15   developed a singular focus on increasing opioid sales, no matter the resultant cost to society.

16   McKinsey did this for well over a decade, despite knowing full well the risk to public health and
17   safety and the widespread economic harm from developing and implementing the transformation
18
     of strictly controlled substances into top-selling blockbuster drugs.
19
                8.       The purpose of McKinsey’s work with its opioids clients was at all times to
20
     maximize return on investment. The whole point for those clients (and hence McKinsey) was to
21

22   make as much money as possible. They all did. This relentless drive to increase sales and create

23   greater availability of opioids was made with no concern about the parallel, known, and inevitable

24   increase in opioid-related deaths, addiction, abuse, diversion, and misuse.
25              9.       In the world of management consulting, McKinsey is preeminent. It is one of the
26
     world’s oldest, largest, and most lucrative consulting firms and is generally seen as the most
27

28
     5
         The fifth defendant, Allscripts, Inc. (“Allscripts”) is the parent company of defendant Practice Fusion.

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 1   prestigious firm in the industry. More consiglieri than one-off advisor, McKinsey touts its model
 2   of engaging in “transformational partnerships” with its clients. McKinsey learns each client’s
 3
     business intimately, embeds itself into all levels of the corporate hierarchy, and provides granular
 4
     strategies to achieve transformative goals for its clients.
 5
              10.      Marvin Bower, the managing director of McKinsey from 1950 to 1967, was “the
 6

 7   father of the consulting profession.”6 He “turned the business of selling management advice into a

 8   keystone of American corporate culture,” and is “credited with taking a fledgling industry and

 9   setting its course not only as to the kinds of services it could sell but also the standards it must
10
     uphold for its work to be respected.”7 A lawyer by trade, Bower stressed that management
11
     consulting should be seen as an emergent profession, akin to the law or accounting, with obligations
12
     to clients and to the broader society that extend beyond the mere commercial.
13
              11.      Bower instilled an ethos at McKinsey that has been reinforced throughout the
14

15   decades as a core value of the firm: “Deliver the bad news if you must, but deliver it properly.”8

16   Bower’s principles, and the values he imparted within McKinsey, are said to guide the firm to the
17   present day. “In many ways, certainly in spirit and soul, Marvin continued to lead it after he retired,
18
     and he leads it still,” eulogized Rajat Gupta, McKinsey’s then-global managing partner, at Bower’s
19
     funeral in 2003.9
20

21
     6
        Douglas Martin, Marvin Bower, 99; Built McKinsey & Co., N.Y. Times, Jan. 24, 2003, available at:
22   https://www.nytimes.com/2003/01/24/business/marvin-bower-99-built-mckinsey-co.html
     7
       Id.
     8
23     Duff McDonald, The Firm 35 (2014).
     9
       Id. at 270. In many ways, Gupta was an interesting figure to opine on Bower’s legacy. Indeed, Gupta’s leadership of
24   McKinsey is in many respects to be contrasted with Bower’s legacy. Many of the values Bower emphasized—an
     emphasis on professionalism over commercial exploitation, for example—were jettisoned under Gupta’s tenure as
25   managing partner of the firm, which ended in 2003. “Under his watch, McKinsey began to chase top billings in a way
     it never had before.” Id. at 234. For instance, McKinsey first began accepting equity stakes in clients as a form of
26   incentive compensation during Gupta’s tenure. Previously, McKinsey only charged standard fees for its consulting
     services as Bower disdained the notion of taking equity stakes in clients. Id. at 234. Under Gupta, McKinsey also began
27   to allow consultants’ compensation to be tied to client performance. Id.
               Consistent with Gupta’s efforts to monetize McKinsey’s consulting business in ways previous firm leadership
28   had not, McKinsey also began to expand its client base. “While the firm would never admit as much, under Gupta,
     McKinsey began working for just about anyone with a fat bank account and a checkbook.” Id. at 266.

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 1            12.      This case is, in large part, about the firm’s failure to adhere to Bower’s simple,
 2   foundational tenet. It arises instead from the firm’s steadfast and continual work to maximize opioid
 3
     sales in partnership with numerous clients during the pendency of the worst man-made epidemic in
 4
     modern medical history. It is about McKinsey never delivering the “bad news” of opioids’
 5
     devastating impact on Plaintiff and the public, and instead looking the other way for money.
 6

 7            13.      When it came to opioids, McKinsey did far more than just give advice. Not only did

 8   it suggest courses of action that its clients should adopt, the firm remained in place and worked

 9   collaboratively alongside its clients to actually implement McKinsey’s recommendations to
10
     achieve objectives jointly identified by the clients and McKinsey. McKinsey stood alongside its
11
     clients in the arena doing the deeds.
12
              14.      The deceptive marketing strategies that McKinsey and its clients invented,
13
     developed, deployed, and continually refined for years to expand the market for opioids are
14

15   foundational to the epidemic.

16            15.      McKinsey worked hand-in-hand with major opioid manufacturers, including Purdue
17   Pharma L.P., Endo Pharmaceuticals,10 Johnson & Johnson,11 and Mallinckrodt12 for years. At the
18
     same time, McKinsey advised other participants in the opioid supply chain, including distributors,
19
     pharmacies, and even regulators.
20

21

22
23            Institutions age, and by the time Gupta came to lead the firm in 1994, McKinsey was a mature institution. It
     had built up significant value in its reputation by historically advising only “blue chip” companies “at the top of the
24   corporate pyramid.” Id. Under Gupta, McKinsey began the process of realizing that value. For McKinsey, the way to
     monetize an elite reputation was to start advising those it historically may have shunned as clients—to start offering its
25   imprimatur, in addition to its services, for money. McKinsey’s work with opioid manufacturers began under Gupta’s
     leadership.
26
     10
         “Endo Pharmaceuticals” or “Endo” refers to Endo Health Solutions Inc., Endo International plc, and Endo
27   Pharmaceuticals Inc., collectively.
     11
         “Johnson & Johnson” refers to Johnson & Johnson Services, Inc. and its wholly-owned subsidiary Janssen
28   Pharmaceuticals, Inc. (“Janssen”).
     12
        “Mallinckrodt” refers to Mallinckrodt LLC and Mallinckrodt plc, together.

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 1             16.    In particular, McKinsey advised the Sackler family and their company, Purdue, for
 2   years while Purdue aggressively marketed OxyContin, widely viewed as the taproot of the opioid
 3
     crisis. The relationship began no later than 2004. In the years following Purdue’s 2007 guilty plea
 4
     for misleadingly marketing OxyContin, McKinsey continued to work closely with Purdue to
 5
     dramatically increase OxyContin sales, notwithstanding the existence of a five-year Corporate
 6

 7   Integrity Agreement that Purdue entered as part of its guilty plea.

 8             17.    McKinsey knew of the dangers of opioids and in particular the prior misconduct of

 9   Purdue but nonetheless advised Purdue and other opioid manufacturers to improperly market and
10
     sell OxyContin and other prescription opioids, supplying granular sales and marketing strategies
11
     and remaining intimately involved throughout implementation of those strategies. McKinsey’s
12
     actions resulted in a surge in sales of OxyContin and other opioids that fueled and prolonged the
13
     opioid crisis.
14

15             18.    For years, McKinsey advised Purdue on, designed, and helped to implement various

16   strategies to raise sales of OxyContin by focusing on high dose sales and deceptively messaging to
17   physicians that OxyContin would improve function and quality of life. For example, McKinsey
18
     urged Purdue to maximize sales by dictating, to a greater degree, which prescribers its sales
19
     representatives would target, exploring ways to increase the amount of time those sales
20
     representatives spent in the field increasing opioid sales and prioritizing OxyContin in incentive
21

22   compensation targets.13

23             19.    McKinsey’s partnership with Purdue reached its fever pitch in the summer of 2013.

24   In January of that year, Purdue’s Corporate Integrity Agreement expired, and Purdue was no longer
25   bound by its constraints. Within months, the Sacklers tasked McKinsey with transforming Purdue’s
26
27

28
     13
          PPLPC012000437346

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 1   approach to OxyContin sales in order to extract as much money as possible from the remaining
 2   patent life of the drug.14
 3
             20.      In response, McKinsey developed and proposed Project Turbocharge, a series of
 4
     transformational changes that McKinsey proposed to implement at Purdue to dramatically increase
 5
     OxyContin sales by re-tooling Purdue’s sales force and investing large amounts of capital to
 6

 7   “turbocharge” it. “[O]ur recommendation is that Purdue makes a clear go-no-go decision to

 8   ‘Turbocharge the Sales Engine’,” McKinsey told Purdue on August 8, 2013.

 9           21.      The Sacklers chose “go,” and McKinsey subsequently implemented and continually
10
     refined Project Turbocharge at Purdue over the course of years, to devastating, but profitable, effect.
11
             22.      McKinsey has recently been the subject of scrutiny for its various business practices,
12
     including its work facilitating the opioid crisis with Purdue.15 On March 7, 2019, Kevin Sneader,
13
     McKinsey’s then-global managing partner, addressed all McKinsey employees regarding this
14

15   scrutiny. Drawing inspiration from Theodore Roosevelt, Sneader stated,

16           [W]e cannot return to a time when we were in the background and unobserved.
             Those days have gone. Indeed, I have little doubt that scrutiny—fair and unfair—
17           will continue. It is the price we pay for being “in the arena” and working on what
             matters.16
18
     14
19      OxyContin, like any branded pharmaceutical, is subject to eventual patent expiration and competition from generic
     opioid manufacturers.
20
     15
        See Michael Forsythe and Walt Bogdanich, McKinsey Advised Purdue Pharma How to ‘Turbocharge’ Opioid Sales,
     Lawsuit Says, N.Y. Times, Feb. 1, 2019, available at: https://www.nytimes.com/2019/02/01/business/purdue-pharma-
21   mckinsey-oxycontin-opiods.html.
     16
        See “The Price We Pay for Being ‘In the Arena’”: McKinsey’s Chief Writes to Staff About Media Scrutiny and
22   Scandal, Fortune Magazine, March 8, 2019, available at https://fortune.com/2019/03/08/mckinsey-staff-letter-kevin-
     sneader/. The “arena” reference is to Citizenship in a Republic, a speech delivered by Theodore Roosevelt at the
23   Sorbonne on April 23, 1910:
              It is not the critic who counts; not the man who points out how the strong man stumbles, or where
24            the doers of deeds could have done them better. The credit belongs to the man who is actually in the
              arena [here, McKinsey; and the arena, opioid sales], whose face is marred by dust and sweat and
25            blood; who strives valiantly; who errs, who comes short again and again, because there is no effort
              without error and shortcoming; but who does actually strive to do the deeds; who knows great
26            enthusiasms, the great devotions; who spends himself in a worthy cause; who at the best knows in
              the end the triumph of high achievement, and who at the worst, if he fails, at least fails while daring
27            greatly, so that his place shall never be with those cold and timid souls who neither know victory
              nor defeat.
28           As it happens, Mr. Sneader is not the only McKinsey person to draw inspiration from Roosevelt. Citizenship
     in a Republic similarly inspired Dominic Barton, the man Mr. Sneader succeeded as McKinsey’s global managing

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 1           23.      Weeks later, McKinsey announced that it would no longer work for any opioid
 2   manufacturer. “Opioid abuse and addiction are having a tragic and devastating impact on our
 3
     communities. We are no longer advising clients on any opioid-specific business and are continuing
 4
     to support key stakeholders working to combat the crisis.”17
 5
             24.      The price for being in the arena is more than mere scrutiny. McKinsey is liable for
 6

 7   its misconduct and the harms it caused or exacerbated. McKinsey is liable for its successful efforts

 8   to increase opioid sales for years. It continued this work unabated and with alacrity despite events

 9   as stunning as Purdue’s 2007 guilty plea for misbranding OxyContin, Purdue’s 2015 settlement
10
     with the State of Kentucky, and numerous other enforcement actions related to opioid sales and
11
     marketing by McKinsey clients. Through it all, McKinsey remained steadfast in its efforts to
12
     promote opioid sales for all of its clients for the purpose of maximizing return on investment
13
     without regard to the obvious implications of what they were doing. Indeed, the firm endeavored
14

15   alongside its clients to increase the size of the overall opioid market for nearly two decades, until

16   as late as March 22, 2019, despite increasingly blood-red flags along the way.18
17           25.      And McKinsey was not alone; Defendants Publicis, ZS, and Practice Fusion
18
     endeavored alongside McKinsey, shoulder to shoulder and in common cause with McKinsey and
19
     their manufacturer clients to perpetuate and increase in size the opioids market; to sell more and
20
     more pills.
21

22
23

24   partner. It served as the basis for his 2017 address to the Ivey Business School in Canada. See Dominic Barton In the
     Arena: Leadership in an Age of Disruption, October 17, 2017, available at: https://www.ivey.uwo.ca/media/3780710/
25   daquino_lecture2017.pdf. While McKinsey continues to preach the values of corporate integrity from the Bower area,
     its actions show that that professed moral compass needs to be serviced; it doesn’t work anymore.
     17
26      See Paul La Monica, Consulting firm McKinsey no longer working with opioid maker Purdue Pharma, CNN, May
     24, 2019, available at: https://www.cnn.com/2019/05/24/business/mckinsey-purdue-pharma-oxycontin/index.html.
27   The statement was attributed to McKinsey as an entity. No individual’s name was attributed.
     18
         See “About McKinsey’s past work for opioid manufacturers,” last updated March 22, 2021, available at:
28   https://www.mckinseyopioidfacts.com (“We decided nearly two years ago to end all work on opioid-specific
     business . . . .”)

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 1           26.     Publicis is one of the “Big Four,” the four firms that account for more than half of
 2   the global advertising industry. In 2002, as the opioid crisis was taking root across the United States,
 3
     the president of the American Association of Advertising Agencies, stated, “Now you have four
 4
     megacompanies with revenues that are staggering, bigger than some of the companies they serve.”19
 5
     The rise of the Big Four came through decades of mergers and acquisitions of separate agencies;
 6

 7   each is essentially a conglomerate. By October of 2021, Publicis had risen to become the largest

 8   advertising conglomerate in the world, with a market capitalization in excess of $16 billion.20

 9           27.     Publicis has acquired and developed particular expertise in serving the
10
     pharmaceutical industry. Publicis – through its’s myriad divisions – serves multiple pharmaceutical
11
     manufacturers in advertising their drugs. It relies on the healthcare sector for approximately 13%
12
     of its annual revenue, making it one of the largest industry sectors by revenue for the
13
     conglomerate.21
14

15           28.     The over-marketing of opioids – schedule II controlled substances that are

16   controlled because they are known to be addictive and deadly – was the wellspring of our national
17   crisis. Although the introduction of OxyContin by Purdue Pharma L.P. (“Purdue”) in the late 1990’s
18
     is widely acknowledged as a precipitating cause of the opioid crisis, Purdue was not the only
19
     pharmaceutical company to enthusiastically foment and exploit the booming market of controlled
20
     substances used for the treatment of pain. An industry-wide sales and marketing effort was
21

22   deployed over the years by numerous manufacturers of opioid medications in order to maximize

23   the amount of opioids they could sell.

24           29.     The sales and marketing efforts to sell opioids to as many individuals as possible,
25   even when they were known to be addictive, were not solely designed by the manufacturers
26
27   19
        Stuart Elliott, Advertising’s Big Four: It’s Their World Now, New York Times, March 31, 2002, available at:
     https://www.nytimes.com/2002/03/31/business/advertising-s-big-four-it-s-their-world-now.html
     20
28      See https://www.prweek.com/article/1731568/publicis-overtakes-rivals-worlds-valuable-agency-group
     21
        See http://documents.publicisgroupe.com/resultat2021/Presentation-H1-2021-RESULTS.pdf at 15.

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 1   themselves, nor did the manufacturers implement these tactics on their own. Rather, pharmaceutical
 2   manufacturers routinely relied on Defendants to design and implement crucial aspects of the sales
 3
     and marketing strategies used to sell opioids.
 4
            30.     Publicis did not produce mere copy. Publicis not only designed these sales and
 5
     marketing campaigns for numerous opioid manufacturers, it also worked in identifying the optimal
 6

 7   targets for the different messages Publicis delivered on behalf of its clients. In many instances,

 8   pharmaceutical manufacturers would outsource practically the entire business of selling its drugs.

 9   Through Publicis Touchpoint Solutions, Publicis provided entire sales forces on a contract basis to
10
     be used by their manufacturer clients to detail prescribers.
11
            31.     Nor was Publicis merely some ancillary vendor. Because of its partnerships with
12
     multiple clients selling competing branded opioid products contemporaneously, Publicis’s role was
13
     unique. It served as a hub, aggregating knowledge of what numerous competitors within the
14

15   industry were doing with respect to designing sales and marketing campaigns, contemporaneously.

16   Indeed, Publicis worked with industry-wide groups to address challenges that the entire opioids
17   industry faced and compiled invaluable insights and business intelligence which it commoditized
18
     by providing it to numerous clients.
19
            32.     As a hub, Publicis also connected opioid manufacturers to specialist vendors, such
20
     as Defendant Practice Fusion, who worked with Publicis and Purdue to target and deliver content
21

22   to healthcare providers designed to increase the amount of Purdue’s opioids sold through Practice

23   Fusion’s proprietary software platform used in doctors’ offices across the country.

24          33.     ZS is a private consulting company that specializes in the pharmaceutical industry.
25   It was founded in 1983 by two professors at the eminent Kellogg School of Business at
26
     Northwestern University. Since then, ZS has achieved substantial growth, and now employs
27
     thousands of consultants and enjoys hundreds of millions of dollars in annual revenue. “ZS” is the
28


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 1   initials of the two founders, Professors Andris Zoltners and Prabhakant Sinha. In 2020 ZS had 8,000
 2   employees and was listed as one the Best Management Consulting Firms by Forbes in 2021.22
 3
              34.      In particular, ZS specializes in providing critical pharmaceutical sales and marketing
 4
     services to drive increased sales volume and related profits.
 5
              35.      As set forth in this complaint, Defendants’ purpose in working with these companies
 6

 7   was plain and singular: to maximize profits for their clients by making sure that every dollar spent

 8   on sales and marketing of opioids generated as many sales of these addictive controlled substances

 9   as possible. Maximizing profits and revenue for Defendants’ clients was achieved by maximizing
10
     the total volume of opioids sold. McKinsey, Publicis and ZS applied their sales and marketing
11
     acumen to multiple opioid brands on behalf of numerous manufacturer clients, and often at the
12
     same time. McKinsey, Publicis and ZS were common denominators throughout.
13
              36.      These Defendants played a central role in the creation, prolongation, and
14

15   exploitation of the opioid crisis for money. As the alarm bells sounded repeatedly in the early years

16   of the unfolding crisis, Defendants – like McKinsey – continued their work with opioid
17   manufacturers unabated and with alacrity, and for decades, as the bells rose to cacophony. It
18
     continued right up until the bitter end.23
19
              37.      Moreover, the work was conducted in the shadows. Defendants treat their client
20
     relationships as confidential. Classically, ZS or Publicis – like McKinsey - works behind the scenes
21

22   and does not publicize its work. Until recent consultant litigation, the public had essentially no

23   knowledge or awareness of the extent of involvement that Defendants – like McKinsey – had in

24   tearing apart our social fabric for profit. The Osage Nation, with its eyes now fully open to the true
25

26
     22
       See https://www.forbes.com/companies/zs/?sh=12e5e93027d0
27   23
       For instance, ZS had an active contract with Purdue Pharma L.P. (“Purdue”) to assist with the sales and marketing
     of OxyContin in 2018, after Purdue had already pled guilty, settled numerous prior lawsuits brought by the DOJ, state
28   Attorneys General and individuals and faced a new wave of similar litigation. That year, with its contract with ZS still
     active, Purdue chose to disband its sales force and cease marketing the drug altogether.

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 1   scope of the origins and prolongation of the opioid crisis, seek to hold all those responsible
 2   accountable.
 3
     II.     JURISDICTION AND VENUE
 4
             38.    Plaintiff brings this action by filing directly in in the Northern District of California
 5
     pursuant to Paragraph 10 of this Court’s Case Management Order Dated November 20, 2121 (Doc.
 6
     #293). Plaintiff reserves the right to have this matter transferred to the United States District Court
 7

 8   in which it would have originally filed this case absent consolidation, the United States District

 9   Court for the Northern District of Oklahoma.

10           39.    The United States District Court for the Northern District of Oklahoma has subject
11
     matter jurisdiction over this action pursuant to 28 U.S.C. § 1332(d)(2), because (i) at least one
12
     member of the putative Class is a citizen of a state different from Defendants (ii) the amount in
13
     controversy exceeds $5,000,000, exclusive of interest and costs, and (iii) none of the exceptions
14
     under the subsection apply to this action.
15
16           40.    The United States District Court for the Northern District of Oklahoma has personal

17   jurisdiction over the Defendants because Plaintiffs claims arise out of, or relate to, Defendants’
18   contacts with Oklahoma.
19
             41.    The United States District Court for the Northern District of Oklahoma has personal
20
     jurisdiction over the Defendants because Plaintiffs claims arise out of, or relate to, Defendant’s
21
     contacts with Oklahoma.
22
23           42.    At all times relevant hereto, Defendants engaged in the business of researching,

24   designing, and implementing sales and marketing strategies for various opioid manufacturers

25   including Purdue Pharma in the State of Oklahoma and Osage County and the territorial limits of
26   the Osage Nation of Oklahoma.
27

28


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 1            43.    The United States District Court for the Northern District of Oklahoma has
 2   jurisdiction over Defendants due to Defendant’s conduct in Osage County and throughout
 3
     Oklahoma. Defendants have deliberately engaged in significant acts and omissions within State of
 4
     Oklahoma and Osage County and the territorial limits of the Osage Nation of Oklahoma that have
 5
     injured Plaintiff’s residents. Defendants purposefully directed their activities in State of Oklahoma
 6

 7   and Osage County and the territorial limits of the Osage Nation of Oklahoma and its residents, and

 8   the claims arise out of those activities.

 9            44.    Venue is proper in the United States District Court for the Northern District of
10
     Oklahoma because a substantial part of the events giving rise to Plaintiff’s claims occurred in, were
11
     directed to, and/or emanated from this District. 28 U.S.C. § 1391(b).
12
     III.     PARTIES
13
              45.    Plaintiff Osage Nation of Oklahoma is a sovereign Indian Tribe recognized by
14
     federal, state, and tribal law. The Osage Nation’s jurisdictional territory encompasses Osage
15
16   County, Oklahoma. Plaintiff is not a citizen of any state for purposes of diversity jurisdiction.

17            46.    The Osage Nation exercises inherent and constitutional governmental authority on
18   behalf of the Tribe itself and its members. The Osage Nation brings this action on its own behalf
19
     and on behalf of its members and citizens in the public interest to protect the health, safety, and
20
     welfare of the citizens of Osage Nation. The Osage Nation does so in an effort to address the opioid
21
     addiction epidemic within the Osage Nation and to recover damages and seek other redress for the
22
23   harms cause by Defendant’s conduct.

24            47.    Defendant McKinsey & Company, Inc. is a corporation organized under the laws of

25   the state of New York. McKinsey’s principal place of business is located at 711 Third Avenue,
26   New York, NY 10017. It may be served with process via its registered agent, Corporation Service
27
     Company, at 80 State Street, Albany, NY 12207.
28


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 1          48.     Defendant McKinsey Holdings, Inc. is a Delaware corporation with its principal
 2   place of business is located at 711 Third Avenue, New York, NY 10017. It may be served with
 3
     process via its registered agent, Corporation Service Company, 251 Little Falls Drive, Wilmington,
 4
     DE 19808
 5
            49.     Defendant McKinsey & Company, Inc. United States is a Delaware corporation with
 6

 7   its principal place of business is located at 711 Third Avenue, New York, NY 10017. It may be

 8   served with process via its registered agent, Corporation Service Company, 251 Little Falls Drive,

 9   Wilmington, DE 19808
10
            50.     Defendant McKinsey & Company, Inc. Washington D.C. is a Delaware corporation
11
     with its principal place of business is located at 711 Third Avenue, New York, NY 10017. It may
12
     be served with process via its registered agent, Corporation Service Company, 251 Little Falls
13
     Drive, Wilmington, DE 19808.
14

15          51.     Upon information and belief, McKinsey & Company, Inc. is the parent company of

16   McKinsey & Company Holdings, Inc., which is itself the parent company of both McKinsey &
17   Company, Inc. United States and McKinsey & Company, Inc. Washington D.C. Upon information
18
     and belief, each subsidiary corporation is wholly-owned by its parent. Despite the corporate form,
19
     McKinsey began as a partnership and still refers to its senior employees as “partners.” Those
20
     partners are the firm’s shareholders. Collectively, these four Defendants are referenced throughout
21

22   as “McKinsey.”

23          52.     McKinsey a is global management consultancy with offices in over 130 cities in 65

24   countries, including the following United States cities: Atlanta, GA; Austin, TX; Houston, TX;
25   Dallas, TX; San Francisco, CA; Los Angeles, CA; Redwood City, CA; Boston, MA; Charlotte,
26
     NC; Chicago, IL; Cleveland, OH; Denver, CO; Detroit, MI; Miami, FL; Miramar, FL; Tampa, FL;
27

28


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 1   Minneapolis, MN; Summit, NJ; New York, NY; Philadelphia, PA; Pittsburgh, PA; Seattle, WA;
 2   St. Louis, MO; Stamford, CT; Waltham, MA; and Washington, D.C.
 3
             53.    McKinsey is registered to do business in all fifty states.
 4
             54.    Defendant Publicis Health, LLC (“Publicis Health”) is a Delaware limited liability
 5
     company with its principal place of business in New York City. Additionally, Publicis maintains
 6

 7   an office within the State at 100 E Penn Square, 11th Floor, Philadelphia, PA 19107, and is

 8   registered to do business in Pennsylvania. It may be served with process through its registered

 9   agent, Corporation Service Company, 2595 Interstate Dr. #103, Harrisburg, PA 17110.
10
             55.    Defendant Practice Fusion, Inc. (“Practice Fusion”) is a Delaware corporation with
11
     its headquarters in San Francisco, California. It may be served with process through its registered
12
     agent, National Registered Agents, Inc. located at 818 West Seventh St., Ste 930, Los Angeles, CA
13
     90017. Practice Fusion provided electronic health records (“EHR”) services to clinicians and
14

15   healthcare providers, and was ultimately acquired by Defendant Allscripts.

16           56.    Defendant Allscripts Healthcare Solutions, Inc. (“Allscripts”) is a Delaware
17   corporation with its headquarters in Chicago, Illinois. On February 13, 2018, Allscripts completed
18
     a merger whereby it acquired Defendant Practice Fusion and became a successor in interest thereto.
19
             57.    Defendant ZS Associates, Inc., is a foreign corporation with its principal office
20
     located at 1800 Sherman Avenue, Evanston, Illinois 60201. It may be served with process through
21

22   its registered agent, Illinois Service Corporation, 801 Adlai Stevenson Dr., Springfield, IL 62703.

23   IV.     FACTUAL ALLEGATIONS

24           58.    Organizationally, this complaint will tell the individual stories of each defendant,

25   beginning with McKinsey, then Publicis, then Practice Fusion, and finally ZS, and will detail each
26   defendant’s interactions with multiple opioid manufacturers – and each other – in turn. As will be
27
     seen, each worked for the same opioid manufacturers at the same time and on the same projects,
28


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 1   and all were unified in their common purpose24: to maximize opioid sales and associated profits for
 2   the past two decades.
 3
             a.      The Opioid Crisis
 4
             59.     The term “opioid” refers to a class of drugs that bind with opioid receptors in the
 5
     brain and includes natural, synthetic, and semi-synthetic opioids. Natural opioids are derived from
 6

 7   the opium poppy. Generally used to treat pain, opioids produce multiple effects on the human body,

 8   the most significant of which are analgesia, euphoria, and respiratory depression.

 9           60.     The opium poppy contains various opium alkaloids, three of which are used in the
10
     pharmaceutical industry today: morphine, codeine, and thebaine. Early use of opium in Western
11
     medicine was a tincture of opium and alcohol called laudanum, which contains all of the opium
12
     alkaloids and is still available by prescription today. Chemists first isolated the morphine and
13
     codeine alkaloids in the early 1800s.
14

15           61.     In 1827, the pharmaceutical company Merck began large-scale production and

16   commercial marketing of morphine. During the American Civil War, field medics commonly used
17   morphine, laudanum, and opium pills to treat the wounded, and many veterans were left with
18
     morphine addictions. By 1900, an estimated 300,000 people were addicted to opioids in the United
19
     States, and many doctors prescribed opioids solely to prevent their patients from suffering
20
     withdrawal symptoms. The nation’s first Opium Commissioner, Hamilton Wright, remarked in
21

22   1911: “The habit has this nation in its grip to an astonishing extent . . . Our prisons and our hospitals

23   are full of victims of it, it has robbed ten thousand businessmen of moral sense and made them

24   beasts who prey upon their fellows . . . it has become one of the most fertile causes of unhappiness
25   and sin in the United States.”
26
27
     24
         See “McKinsey on Implementation”, McKinsey & Company Inc., April 30, 2017, available at:
28   https://www.youtube.com/watch?v=rEQOGVpl9CY (“One thing intriguing about the engagements is that they often
     have a common purpose, and a genuine cause,” Josh, a Senior Implementation Coach at McKinsey, explained.)

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 1             62.   Pharmaceutical companies have long tried to develop substitutes for opium and
 2   morphine that would provide the same analgesic effects without the addictive properties. In 1898,
 3
     Bayer Pharmaceutical Company began marketing diacetylmorphine (obtained from acetylation of
 4
     morphine) under the trade name “Heroin.” Bayer advertised heroin as a non-addictive cough and
 5
     cold remedy suitable for children, but as its addictive nature became clear, heroin distribution in
 6

 7   the United States was limited to prescription only in 1914 and then banned altogether a decade

 8   later.

 9             63.   Although heroin and opium became classified as illicit drugs, there is little
10
     difference between them and prescription opioids. Prescription opioids are synthesized from the
11
     same plant as heroin, have similar molecular structures, and bind to the same receptors in the human
12
     brain.
13
               64.   Due to concerns about their addictive properties, prescription opioids have usually
14

15   been regulated at the federal level as Schedule II controlled substances by the Drug Enforcement

16   Administration since 1970.
17             65.   Throughout the twentieth century, pharmaceutical companies continued to develop
18
     prescription opioids like Percodan, Percocet, and Vicodin, but these opioids were generally
19
     produced in combination with other drugs, with relatively low opioid content.
20
               66.   In contrast, OxyContin, the product whose launch in 1996 ushered in the modern
21

22   opioid epidemic, is pure oxycodone. Purdue initially made it available in the following strengths:

23   10 mg, 15 mg, 20 mg, 30 mg, 40 mg, 60 mg, 80 mg, and 160 mg. The weakest OxyContin delivers

24   as much narcotic as the strongest Percocet, and some OxyContin tablets delivered sixteen times
25   that.
26
               67.   The effects of opioids vary by duration. Long-acting opioids, such as Purdue’s
27
     OxyContin and MS Contin, Janssen’s Nucynta ER and Duragesic, Endo’s Opana ER, and Actavis’s
28


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 1   Kadian, are designed to be taken once or twice daily and are purported to provide continuous opioid
 2   therapy for, in general, twelve hours. Short-acting opioids, such as Cephalon’s Actiq and Fentora,
 3
     are designed to be taken in addition to long-acting opioids to address “episodic pain” (also referred
 4
     to as “breakthrough pain”) and provide fast-acting, supplemental opioid therapy lasting
 5
     approximately four to six hours. Still other short-term opioids, such as Insys’s Subsys, are designed
 6

 7   to be taken in addition to long-acting opioids to specifically address breakthrough cancer pain,

 8   excruciating pain suffered by some patients with end-stage cancer. The opioid manufacturers

 9   promoted the idea that pain should be treated by taking long-acting opioids continuously and
10
     supplementing them by also taking short-acting, rapid-onset opioids for episodic or “breakthrough”
11
     pain.
12
             68.    Patients develop tolerance to the analgesic effect of opioids relatively quickly. As
13
     tolerance increases, a patient typically requires progressively higher doses in order to obtain the
14

15   same perceived level of pain reduction. The same is true of the euphoric effects of opioids—the

16   “high.” However, opioids depress respiration and, at very high doses, can, and often do, arrest
17   respiration altogether. At higher doses, the effects of withdrawal are more severe. Long-term opioid
18
     use can also cause hyperalgesia, a heightened sensitivity to pain.
19
             69.    Discontinuing opioids after more than just a few weeks of therapy will cause most
20
     patients to experience withdrawal symptoms. These withdrawal symptoms include severe anxiety,
21

22   nausea, vomiting, headaches, agitation, insomnia, tremors, hallucinations, delirium, pain, and other

23   serious symptoms, which may persist for months after a complete withdrawal from opioids,

24   depending on how long the opioids were used.
25           70.    As one doctor put it, the widespread long-term use of opioids “was an experiment
26
     on the population of the United States. It wasn’t randomized, it wasn’t controlled, and no data was
27
     collected until they started gathering death statistics.”
28


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 1            71.      The results were devastating, and the nation continues to reach ever grimmer
 2   milestones. In 2020, drug-overdose deaths in the United States soared nearly 30%, reaching all-
 3
     time highs.25
 4
              b.       Selling Controlled Substances: Marketing and the Origins of the Opioid Crisis
 5
              72.      Selling drugs is big business:
 6

 7            Perhaps the most powerful tool that pharmaceutical companies have for driving up
              profit margins and cultivating growth of drug markets is advertising. Pharmaceutical
 8            companies, especially the makers of opioid prescriptions, spend an enormous
              amount of money advertising their products – far more than they ever spend on drug
 9            research and development (Swanson 2015). In 2012 alone, the US pharmaceutical
              industry spent more than $27 billion on drug promotion – including more than $24
10
              billion on marketing directly to physicians and $3 billion advertising to consumers.26
11
              73.      Professor Amanda Pustilnik of the Center for Law, Brain, & Behavior, and herself
12
     a former McKinsey & Company management consultant, emphasized the centrality of the role
13
     coordinated opioid sales and marketing played in creating the opioid crisis. “[T]he story of the
14

15   opioid epidemic is often misrepresented as a story of irresponsible patients and over-prescribing

16   doctors.” Referring to the recent lawsuit brought by the State of Massachusetts against Publicis,
17   Professor Pustilnik identified a more pernicious cause: the efforts by defendants to change
18
     prescriber behavior: “[T]his prosecution gets at the heart of the matter. Patients and doctors were
19
20

21

22
     25
        Betsy McKay, “U.S. Drug-Overdose Deaths Soared Nearly 30% in 2020, Driven by Synthetic Opioids,” Wall Street
23   Journal, July 14, 2020, available at: https://www.wsj.com/articles/u-s-drug-overdose-deaths-soared-nearly-30-in-
     2020-11626271200.
24   26
        Melina Sherman, “Opiates for the masses: constructing a market for prescription (pain)killers,” Journal of Cultural
     Economy,             Vol.           10,          Issue           6,            2017,           available           at:
25   https://www.tandfonline.com/doi/full/10.1080/17530350.2017.1352010 (citing Swanson, Ana, 2015. Big
     pharmaceutical companies are spending far more on marketing than on research. The Washington Post, February 11,
26   available    at:    https://www.washingtonpost.com/news/wonk/wp/2015/02/11/big-pharmaceutical-companies-are-
     spending-far-more-on-marketing-than-research/; Cegedim Strategic Data, 2013. 2012 U.S. pharmaceutical company
27   promotion spending. In the Pew Charitable Trust (2013), Fact Sheet: Persuading the Prescribers: Pharmaceutical
     Industry Marketing and its Influence on Physicians and Patients, available at: https://www.pewtrusts.org/en/research-
28   and-analysis/fact-sheets/2013/11/11/persuading-the-prescribers-pharmaceutical-industry-marketing-and-its-
     influence-on-physicians-and-patients).

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 1   not, on average, irresponsible. They acted under the influence of a concerted plan of misinformation
 2   and over-promotion orchestrated up and down the supply chain for these medications.”27
 3
             74.      Defendants, including Professor Pustilnik’s former employer, were members of the
 4
     concert and enterprise that devised and executed the plan Pustilnik identified as a primary source
 5
     of the opioid crisis.
 6

 7           75.      Although the introduction of OxyContin by Purdue Pharma in the late 1990’s is

 8   widely acknowledged as a precipitating cause of the opioid crisis, Purdue was not the only

 9   pharmaceutical company to enthusiastically foment and exploit the booming market of controlled
10
     substances used for the treatment of pain. An industry-wide sales and marketing effort was
11
     deployed over the years by numerous manufacturers of opioid medications in order to maximize
12
     the amount of opioids they could sell.
13
             76.      As referenced above, OxyContin, the principal product of the Sackler family’s
14

15   Purdue Pharma L.P., was introduced to the market in 1996. Within six years of its introduction, the

16   increasingly widespread misuse and abuse of OxyContin and similar opioids had drawn the
17   attention of the United States Senate.
18
             77.      Two decades ago, Dr. Art Van Zee traveled from the rural coal town of St. Charles,
19
     in the southwestern corner of Virginia, to Washington D.C. to provide testimony to the United
20
     States Senate Committee on Health, Education, Labor and Pensions. On February 12, 2002, that
21

22   Committee held a hearing entitled “Examining the Effects of the Painkiller OxyContin, Focusing

23   on Federal, State, and Local Efforts to Decrease Abuse and Misuse of this Product While Assuring

24   Availability for Patients Who Suffer Daily from Chronic Moderate to Severe Pain.”28
25

26
27   27
        Thomas F. Harrison, “Novel Opioid Lawsuit Goes After Ad Agency,” Courthouse News, May 6, 2021, available at:
     https://www.courthousenews.com/novel-opioid-lawsuit-goes-after-ad-agency/.
     28
28      A transcript of the hearing is available at: https://www.govinfo.gov/content/pkg/CHRG-107shrg77770/html/CHRG-
     107shrg77770.htm

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 1             78.     In those early days of the unfolding opioid epidemic, Dr. Van Zee’s medical practice
 2   in St. Charles put him in a position to offer informed, first-hand observations of the toll that the
 3
     pharmaceutical industry’s efforts to market opioids was exacting from his community. He testified:
 4
               In the 25 years I have practiced as a general internist in St. Charles, which is a small
 5             Appalachian coal mining town, there has never been anything to compare to the
               epidemic of drug abuse and addiction that we have seen the last 3 years with
 6             OxyContin. Contrary to what is sometimes portrayed in the media as long-term
 7             addicts switching to the drug du jour, what we have seen for the most part is
               numerous young people recreationally using OxyContin and then becoming very
 8             rapidly addicted. Many of these kids are good kids, good families with bright,
               promising futures that are being destroyed in every way by their opioid addiction.29
 9
               79.     Further, Dr. Van Zee identified the sales and marketing practices of the
10

11   pharmaceutical industry when selling controlled substances as a primary cause of the problem:

12             My own personal view of the complicated OxyContin abuse problem is that there
               are at least three major elements involved. First, there has been an obvious problem
13             with physician misprescribing and overprescribing of this drug. Second, this
               epidemic has been a vicious indicator of the alarming degree of prescription drug
14
               abuse in our society. Third and perhaps the one closest to this committee and
15             the FDA is that the promotion and marketing of OxyContin by Purdue Pharma
               has played a major role in this problem.30
16
               80.     Five years after Dr. Van Zee’s testimony and 80 miles from his hometown of St.
17
     Charles, United States Attorney John Brownlee announced in Abingdon, Virginia, the guilty plea
18

19   of the Purdue Frederick Company, the parent of Purdue Pharma, L.P., relating to the misbranding

20   of OxyContin. Brownlee stated, “Even in the face of warnings from health care professionals, the
21   media, and members of its own sales force that OxyContin was being widely abused and causing
22
     harm to our citizens, Purdue, under the leadership of its top executives, continued to push a
23
     fraudulent marketing campaign that promoted OxyContin as less addictive, less subject to abuse,
24
     and less likely to cause withdrawal. In the process, scores died as a result of OxyContin abuse and
25

26   an even greater number of people became addicted to OxyContin; a drug that Purdue led many to

27
     29
28        See https://www.govinfo.gov/content/pkg/CHRG-107shrg77770/html/CHRG-107shrg77770.htm
     30
          Id. (emphasis added).

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 1   believe was safer, less subject to abuse, and less addictive than other pain medications on the
 2   market.”31
 3
             81.     Along with the guilty plea, Purdue agreed to a Corporate Integrity Agreement with
 4
     the Office of Inspector General of the United States Department of Health and Human Services.
 5
     For a period of five years, ending in 2012, Purdue was obligated to retain an Independent Monitor
 6

 7   and submit annual compliance reports regarding its marketing and sales practices and training of

 8   sales representatives vis-à-vis their interactions with health care providers.

 9           82.     Two years later, in 2009, Dr. Van Zee published The Promotion and Marketing of
10
     OxyContin: Commercial Triumph, Public Health Tragedy in the American Journal of Public
11
     Health. As the title suggests, the paper applied formal rigor to some of the personal observations
12
     Dr. Van Zee previously provided to the US Senate in 2002.
13
             83.     In his 2009 paper, Dr. Van Zee stated the matter plainly: “Compared with
14

15   noncontrolled drugs, controlled drugs, with their potential for abuse and diversion, pose different

16   public health risks when they are overpromoted and highly prescribed.”32 In one sense, Dr. Van
17   Zee’s observation is not particularly novel. Indeed, it approaches tautology: controlled substances
18
     are controlled precisely because they should not be sold to maximize volume and profits. This did
19
     not prevent Purdue and ZS from marketing its opioids full hilt, however. By 2004, “OxyContin had
20
     become the most prevalent prescription opioid in the United States.”33
21

22           84.     Dr. Van Zee identified the three principal marketing tactics Purdue employed as a

23   source of OxyContin misuse and abuse and suggested that regulation may be appropriate to curtail

24

25
     31
          See the May 10, 2007, News Release from United States Attorney,                    John   Brownlee    at
26   https://media.defense.gov/2007/May/10/2001711223/-1/-1/1/purdue_frederick_1.pdf

27   32
        Art Van Zee, The Promotion and Marketing of OxyContin: Commercial Triumph, Public Health Tragedy, American
     Journal          of         Public         Health,         February        2009,          available        at
28   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2622774/pdf/221.pdf
     33
        Id.

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 1   its use. The first was the use of granular sales and marketing data to profile individual prescribers
 2   to identify those that already prescribe large amounts of opioids. “Through these profiles, a drug
 3
     company can identify the highest and lowest prescribers of particular drugs in a single zip code,
 4
     county, state, or the entire country. One of the critical foundations of Purdue’s marketing plan for
 5
     OxyContin was to target the physicians who were the highest prescribers for opioids across the
 6

 7   country.”34

 8              85.   The second tactic was the use of incentive compensation structures to encourage the

 9   salesforce to sell ever more prescriptions of OxyContin. Bonuses at Purdue were “uncapped,”
10
     meaning there was no upper limit to what an OxyContin salesperson could earn. Rather, salesforce
11
     remuneration was a direct function of overall OxyContin sales – the more you sell, the more you
12
     make. “A lucrative bonus system encouraged sales representatives to increase sales of OxyContin
13
     in their territories, resulting in large numbers of visits to physicians with high rates of opioid
14

15   prescriptions, as well as a multifaceted information campaign aimed at them.”35

16              86.   The third tactic was to increase the overall number of individual calls that the
17   salesforce placed to prescribers. “From 1996 to 2000, Purdue increased its internal sales force from
18
     318 sales representatives to 671, and its total physician call list from approximately 33,400 to
19
     44,500 to approximately 70,500 to 94,000 physicians.”36
20
                87.   When combined, these tactics produced the intended result. “The use of prescriber
21

22   profiling data to target high-opioid prescribers – coupled with very lucrative incentives for sales

23   representatives – would seem to fuel increased prescribing by some physicians – perhaps the most

24   liberal prescribers of opioids and, in some cases, the least discriminate.”37
25

26
     34
27      Id.
     35
        Id.
     36
28      Id.
     37
        Id.

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 1          88.     Dr. Van Zee’s 2002 and 2009 observations regarding the direct link between
 2   OxyContin marketing and overall opioid overdose mortality would, in time, be confirmed by
 3
     further academic work, including empirical research published by the National Bureau of Economic
 4
     Research in 2019.
 5
            89.     Moreover, the legal regime under which the opioid drugs Publicis assiduously
 6

 7   marketed and sold are regulated is the Controlled Substances Act. Publicis sought to maximize the

 8   sales of drugs known to be dangerous and addictive, and whose manufacture and distribution

 9   accordingly require control, not the same marketing tactics otherwise used for non-addictive
10
     products whose abuse liability does not routinely cause the user’s death.
11
            90.     In 1970, Congress enacted the Controlled Substances Act (“CSA”) in order to
12
     combat the spread and use of drugs known to be dangerous and/or addictive. It is also the legal
13
     regime that regulates the lawful production, possession, and distribution of substances deemed
14

15   deserving of control, but that have some recognized medical use.

16          91.     The Drug Enforcement Administration (“DEA”) administers the act. The CSA
17   allocates substances meriting control to one of five classifications based on the characteristics of
18
     each substance and the attendant risks posed.
19
            92.     In order to produce and market certain substances meriting control, pharmaceutical
20
     companies must register with the DEA and be bound by the reporting requirements of the CSA.
21

22   The act requires any person who seeks to manufacture, distribute, dispense, or conduct research

23   involving any controlled substance to obtain and maintain a registration from the DEA. See 21

24   U.S.C. 823(e); 21 C.F.R. 1301.74(b).
25          93.     The opioids that Defendants and their clients marketed are classified as Schedule II
26
     controlled substances under the CSA. Schedule II substances “have a high potential for abuse for
27

28


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 1   which may lead to severe psychological or physical dependence.”38 As such, opioids are subject to
 2   control under the CSA because the diversion of these substances poses recognized risks to public
 3
     health and safety.
 4
              94.      The CSA also imposes reporting requirements on manufacturers, whereby
 5
     registrants must monitor and report suspicious orders of opioids. These obligations include
 6

 7   recordkeeping, whereby registrants must maintain complete and accurate inventories and records

 8   of all transactions involving controlled substances and make those records available to the DEA.

 9   In addition, registrants must periodically report all sales, delivery, disposal, or dispensing activities
10
     of any controlled substance. Schedule II controlled substance manufacturers, such as Publicis’
11
     clients, must also file Automated Reports and Consolidated Orders System (ARCOS) reports with
12
     the DEA.
13
              95.      Upon information and belief, Defendants, through their efforts to increase opioid
14

15   sales for its clients, possessed and shared with its clients detailed information on the prescribing

16   and dispensing patterns and volumes of its clients’ Schedule II opioids. Upon information and
17   belief, McKinsey, Publicis and ZS could determine when the prescribing or dispensing of a given
18
     clients’ opioid product was unusual. For instance, upon information and belief, McKinsey, Publicis
19
     and ZS clients could identify aberrations in the number of units sold, doses prescribed, prescriptions
20
     written per prescriber, method of payment used, and other factors relevant to changes in the volume
21

22   of its clients’ opioid sales.

23            96.      The inputs necessary for a Registrant to identify suspicious orders that merit

24   reporting are the same inputs that McKinsey, Publicis and ZS collects, analyzes, and synthesizes in
25   order to define and target the marketing campaigns for its clients. Upon information and belief, the
26
27
     38
        See https://www.deadiversion.usdoj.gov/schedules/#define Schedule I substances also have a high potential for abuse
28   and dependance. The difference is that Schedule I substances have no recognized medical use. Schedule II substances,
     like opioids, do.

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 1   same information utilized and analyzed by McKinsey, Publicis and ZS presented to their clients for
 2   purposes of devising and optimizing opioid sales and marketing efforts should have led to
 3
     obligations by McKinsey’s, Publicis’ and ZS’ clients – as registrants under the CSA - to report
 4
     suspicious activity to the DEA.
 5
             97.     Many states, including Oklahoma, enacted similar state laws, rules and regulations
 6

 7   in order to regulate the manufacture, marketing, distribution and dispensing of controlled

 8   substances and provide oversight over this unique industry.39

 9           98.     In order to keep these dangerous and addictive drugs out of the wrong hands, this
10
     closed-system of state and federal authority imposes specific duties upon Registrants to monitor,
11
     identify, halt and, perhaps most importantly, report suspicious orders of controlled substances. 21
12
     C.F.R. § 1301.74; Masters Pharm., Inc. v. Drug Enf't Admin., 861 F.3d 206 (D.C. Cir. 2017).
13
             c.      What McKinsey Does: “Consulting is more than giving advice.”
14

15           99.     McKinsey is a global consulting firm with many areas of expertise, including the

16   pharmaceutical industry. As a management consulting firm, McKinsey provides plans to managers,
17   directors, and owners on how to run their companies or other enterprises, and helps implement
18
     those plans.
19
             100.    Management consulting is the business of providing solutions to clients. Solutions
20
     take many forms, depending on the client’s needs. “Management consulting includes a broad range
21

22   of activities, and the many firms and their members often define these practices quite differently.”40

23           101.    Broadly speaking, there are two schools of management consulting. “Strategy”

24   consulting provides big-picture advice to clients about how they approach their business: how the
25   business is structured, which markets to compete in, potential new business lines, and mergers and
26
27
     39
       See 63 OK Stat. 63-2-101 et. seq.
     40
28      Arthur Turner, Consulting is More Than Giving Advice, Harvard Business Review, September 1982, available at:
     https://hbr.org/1982/09/consulting-is-more-than-giving-advice

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 1   acquisitions. The strategy consultant provides a plan to the client that the client may choose to adopt
 2   or not.
 3
               102.   “Implementation” consulting is what comes next. If strategy consulting is providing
 4
     advice to a client, “implementation” work is what happens once the client has adopted the
 5
     consultant’s plan. After a client has adopted the strategy consultant’s recommendations, the
 6

 7   implementation consultant remains in place with the client to actually do the necessary work and

 8   execute on the plan.

 9             103.   In his 1982 Harvard Business Review article entitled “Consulting is More Than
10
     Giving Advice,” Professor Arthur Turner of the Harvard Business School described the then-
11
     current state of the consulting industry’s attitude toward implementation work:
12
               The consultant’s proper role in implementation is a matter of considerable debate in
13             the profession. Some argue that one who helps put recommendations into effect
               takes on the role of manager and thus exceeds consulting’s legitimate bounds.
14
               Others believe that those who regard implementation solely as the client’s
15             responsibility lack a professional attitude, since recommendations that are not
               implemented (or implemented badly) are a waste of money and time. And just as
16             the client may participate in diagnosis without diminishing the value of the
               consultant’s role, so there are many ways in which the consultant may assist in
17             implementation without usurping the manager’s job.41
18
               104.   Although McKinsey has historically been regarded as a “strategy” consulting firm,
19
     by the time it was working with Purdue, implementation services were a core component of the
20
     suite of services that McKinsey provided within the “transformational relationship” it developed
21

22   with its clients.42 Indeed, writing in 2013, Harvard Business School Professor Clayton Christensen

23   observed the decline in “pure” strategy work performed by consultants, as the industry sought to

24   diversify its income streams by offering implementation and other services to clients. “For example,
25

26
27
     41
       Id.
28   42
        For McKinsey’s own description of its implementation services, See https://www.mckinsey.com/business-
     functions/mckinsey-accelerate/how-we-help-clients/implementation (last accessed October 19, 2020).

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 1   at traditional strategy-consulting firms, the share of work that is classic strategy has been steadily
 2   decreasing and is now about 20%, down from 60% of 70% some 30 years ago.”43
 3
             105.     When partnering with clients, a core component of the McKinsey relationship is
 4
     discretion. “The basis of any client relationship with the firm is trust. Companies share their most
 5
     competitive secrets with McKinsey with the understanding that confidentiality is paramount.
 6

 7   McKinsey consultants aren’t even supposed to tell their own spouses about their client work.”44

 8   McKinsey recognizes it must have its clients’ trust and make confidentiality “paramount,” as

 9   “[c]ompanies share their most competitive secrets with McKinsey” for McKinsey to do its work.45
10
             106.     During the implementation phase, McKinsey essentially bonds with the client.
11
     Describing McKinsey’s approach to implementation, one McKinsey consultant stated, “In some of
12
     the most successful engagements I’ve seen, you can’t even tell the difference between a McKinsey
13
     team member and one of our clients because we working that cohesively together.”46
14

15           107.     Another McKinsey Senior Implementation Coach described McKinsey’s approach:

16   “We’re in there interacting with every element of that organization, from the welders or mechanics
17   on the front line, all the way up to the board of directors.”47
18

19
20

21

22
23

24

25

26   43
        Clayton Christensen, Dina Wang, and Derek van Bever, “Consulting on the Cusp of Disruption,” Harvard Business
     Review, October 2013, available at https://hbr.org/2013/10/consulting-on-the-cusp-of-disruption
     44
27      McDonald, The Firm, Pg. 308.
     45
        Id. at 308.
     46
28      McKinsey on Implementation, April 30, 2017, available at https://www.youtube.com/watch?v=rEQOGVpl9CY
     47
        Id.

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 1           108.     McKinsey’s implementation team even has a logo: a rowing team.
 2

 3

 4

 5

 6

 7

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 9

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12

13

14           109.     Jenny, a Practice Manager at McKinsey, explained its significance: “The rowers
15   symbolized to us being in the boat with the clients, doing real work and being jointly responsible
16
     for the success.”48
17
             110.     Eugene, a partner, explained its value:
18
             The reason McKinsey implementation works is because clients love it. The fact that
19           we are staying longer with them, the fact that we’re getting in to the trenches, the
20           fact that we are there to walk the emotional journey with them when they’re going
             through the tough times and really changing their companies, is what makes
21           McKinsey implementation truly distinctive.49

22           111.     In the broadest of generalities, then, McKinsey’s business model, as a provider of
23   strategy and implementation consulting services, is to partner with clients to pursue business
24
     objectives identified by McKinsey. Once an objective is identified, the client and McKinsey then
25

26
27
     48
        See “McKinsey Careers: what’s behind McKinsey Implementation’s logo and success?”, October 22, 2018, available
28   at https://web.archive.org/web/20200419140214/https://www.youtube.com/watch?v=3-Zx859VJtw
     49
        Id.

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 1   engage in concerted action as a seamless and cohesive unit in order to implement the necessary
 2   means to achieve it.
 3
                        i.       McKinsey’s Long-Term Partnership with the Pharmaceuticals Industry
 4
                112.    Today, McKinsey’s website explains “How We Help Clients” in the
 5
     pharmaceuticals industry: “Helping clients maximize commercial value by assisting with product
 6

 7   launch, marketing, sales, and market access.”50 McKinsey helps numerous clients throughout the

 8   pharmaceutical industry, from manufacturers to distributors and pharmacies. It often does so

 9   contemporaneously. For instance, McKinsey might advise multiple opioid manufacturers on the
10
     sales and marketing of competing branded opioid products.
11
                113.    McKinsey’s dominance of the consulting space in the pharmaceutical industry
12
     presents its own opportunity for further client service. Specifically, McKinsey also helps its clients
13
     by telling them what their competitors—who are also McKinsey clients—are doing.
14

15              114.    For example, McKinsey pitched its services to Purdue on the basis that it was able

16   to “bring examples from other successful companies” and perform “detailed analytics.”51
17                      ii.      The McKinsey Pharmaceuticals and Medical Products Practice Group
18
                115.    Like most management consulting companies, McKinsey organizes itself into
19
     practice groups that specialize in a given industry.
20
                116.    McKinsey has long maintained a Pharmaceuticals and Medical Products (“PMP”)
21

22   industry practice group dedicated to working with pharmaceutical companies. In 2004, when

23   McKinsey’s relationship with Purdue began, the PMP group was led by Michael Pearson. Pearson

24   worked for McKinsey for twenty-three years and was a member of the firm’s shareholder council
25

26
27
     50
28        https://www.mckinsey.com/industries/life-sciences/how-we-help-clients/commercial
     51
          PPLPC021000601208 (emphasis added).

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 1   (McKinsey’s equivalent of a board of directors) in addition to leading PMP before departing
 2   McKinsey in 2008 to helm Valeant Pharmaceuticals.52
 3
             117.     Pearson stated: “At McKinsey pharmaceuticals was one of our biggest industry
 4
     groups.”53 Pearson was “not the quintessential suave and intellectual McKinsey partner. He was
 5
     loud and profane and was seen, in the words of one former colleague, as ‘sharp-edged and sharp
 6

 7   elbowed.’”54

 8           118.     Under his leadership, McKinsey’s knowledge and expertise in the pharmaceutical

 9   industry was significant. By 2009, McKinsey described its capabilities: “We have an unparalleled
10
     depth of both functional and industry expertise as well as breadth of geographical reach. Our scale,
11
     scope, and knowledge allow us to address problems that no one else can. At heart, we are a network
12
     of people who are passionate about taking on immense challenges that matter to leading
13
     organizations, and often, to the world.”
14

15           119.     In 2012, while advising Purdue, McKinsey described PMP and its health care

16   capabilities thusly: “Indeed, there is a doctor in the house. We have more than 1,700 consultants
17   with significant healthcare experience, including more than 150 physicians and 250 consultants
18
     with advanced degrees in genetics, immunology, biochemical engineering, neurobiology, and other
19
     life sciences. We also have 75 consultants with advanced degrees in public health, healthcare
20
     management, and related fields.”
21

22
23

24   52
        John Gapper, McKinsey’s fingerprints are all over Valeant, Financial Times, March 23, 2016, available at:
     https://www.ft.com/content/0bb37fd2-ef63-11e5-aff5-19b4e253664a
25        Notably, Rob Rosiello, a McKinsey partner who was a Director of Client Services (or “DCS”) of the Purdue
     account alongside co-DCS’es Maria Gordian and Martin Elling , went on to join Pearson at Valeant in 2015 as Chief
26   Financial Officer. The DCS is the partner in charge of the client account.
     53
        Michael Peltz, Mike Pearson’s New Prescription for the Pharmaceuticals Industry, Institutional Investor, September
27   3, 2014, available at: https://www.institutionalinvestor.com/article/b14zbjfm8nf1c4/mike-pearsons-new-prescription-
     for-the-pharmaceuticals-industry
28   54
        John Gapper, McKinsey’s fingerprints are all over Valeant, Financial Times, March 23, 2016, available at:
     https://www.ft.com/content/0bb37fd2-ef63-11e5-aff5-19b4e253664a

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 1           120.     That same year, the PMP group published a report entitled “Death of a Sales Model,
 2   or Not: Perspectives on the Evolution of Pharmaceutical Field Based Selling.”55 In it, McKinsey
 3
     partner Laura Moran co-authored a segment called “The Few, The Proud, The Super-Productive:
 4
     How a ‘smart field force’ can better drive sales.” In the segment, Moran and her co-authors
 5
     described various ways a pharmaceutical company could optimize its sales force. Moran worked
 6

 7   on the Purdue account, where the strategies outlined in her article were incorporated into Project

 8   Turbocharge two years later.

 9           121.     With respect to pharmaceutical marketing, the PMP group states, “We support
10
     clients in creating high-impact strategies that maximize value, using customized tools. We also
11
     have detailed market data for all major geographic regions.”56 PMP also works with pharma clients
12
     regarding their sales force: “Our efforts span the entire organization—we can help train and
13
     restructure sales forces, work directly in the field to provide coaching, maximize value from back-
14

15   office services, develop strategies to accelerate short-term sales, and assist with company-wide

16   commercial transformations.”57
17           122.     McKinsey has long considered itself a “leadership factory” for good reason.58
18
     Nowhere is this more apparent than the pharmaceutical industry, where, thanks to PMP’s efforts
19
     under Pearson’s leadership, McKinsey continues to reign as the dominant management consultant.
20
             123.     Consistent with PMP’s ambition that McKinsey be the dominant consultant in the
21

22   pharmaceutical industry, McKinsey has blanketed the entire pharmaceutical supply chain with

23   alumni.

24

25
     55
         “Death of a Sales Model, or Not,” Pharmaceutical and Medical Product Practice, McKinsey, available at
26   https://www.mckinsey.com/~/media/mckinsey/dotcom/client_service/pharma%20and%20medical%20products/pmp
     %20new/pdfs/2012%20death%20of%20a%20sales%20model%20or%20not.pdf
     56
27      See https://www.mckinsey.com/industries/pharmaceuticals-and-medical-products/how-we-help-clients/commercial
     57
        Id.
28   58
        See Adam Jones, “Should business schools fear McKinsey’s leadership factory?,” Financial Times, May 22, 2016,
     available at: https://www.ft.com/content/0d17f670-1612-11e6-b197-a4af20d5575e

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 1           124.     Rajiv de Silva, for instance, was appointed CEO of Endo Pharmaceutical in March
 2   2013. Endo’s two top-selling drugs were pain medications. Endo—and de Silva, individually—
 3
     have been named in multiple lawsuits related to the ongoing opioid crisis. Previously, de Silva
 4
     worked with Pearson in a leadership position within PMP at McKinsey before joining Rob Rosiello,
 5
     a former McKinsey partner, and Pearson at Valeant.59 McKinsey advised Endo on its opioid
 6

 7   business.

 8           125.     Likewise, Frank Scholz was a partner at McKinsey and a leader in the PMP group

 9   for seventeen years prior to departing in 2013 to join Mallinckrodt, another opioid manufacturer
10
     presently in bankruptcy after being named in numerous lawsuits relating to the ongoing opioid
11
     crisis. In fact, Scholz was the President of the “Specialty Generics” division of Mallinckrodt
12
     (formerly SpecGX LLC), which is the division that sold generic opioids. McKinsey advised
13
     Mallinckrodt on its opioid business.
14

15           126.     Teva Pharmaceuticals,60 another opioid manufacturer named in numerous lawsuits

16   for its role in the opioid crisis, is led by President and Chief Executive Officer and McKinsey
17   alumnus, Kare Schultz. He joined the company in 2017, at which point he was also appointed to
18
     Teva’s board of directors. Through an asset manager named Deerfield, McKinsey’s in-house hedge
19
     fund held a financial stake in Teva Pharmaceuticals while McKinsey advised its numerous clients
20
     on how to maximize opioid sales.61
21

22
23

24

25   59
         David Sell, “Endo CEO downplays Valeant link,” Philadelphia Inquirer, November 5, 2015, available at
     https://www.inquirer.com/philly/business/20151106_Endo_CEO_downplays_Valeant_link.html
26   60
        “Teva Pharmaceuticals” or “Teva” refers to Teva Pharmaceutical Industries Ltd. and Teva
     Pharmaceuticals USA, Inc., together.
27   61
        Gretchen Morgenson, “Consulting giant McKinsey allegedly fed the opioid crisis. Now an affiliate may profit from
     treating addicts.,” NBC News, February 8, 2021, available at https://www.nbcnews.com/news/us-news/consulting-
28   giant-mckinsey-allegedly-fed-opioid-crisis-now-affiliate-may-n1256969
     McKinsey’s in-house hedge fund is discussed further, below.

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 1           127.    McKinsey’s involvement with Teva has been long-term. In 2006, upon his
 2   retirement from McKinsey, Roger Abravanel joined Teva’s board of directors the following year.62
 3
     By 2011, Teva had acquired Cephalon, Inc., another manufacturer of opioids, as “a core part of
 4
     [Teva’s] strategy” of “growth through acquisitions.”63 Befitting the pattern, Cephalon had its own
 5
     long-standing ties to McKinsey before being acquired by Teva. In 2008, when Cephalon’s
 6

 7   Executive Vice President, General Counsel, and Secretary John E. Osborn retired, he accepted a

 8   job as “an advisor on life sciences regulatory and compliance matters to the international consulting

 9   firm McKinsey & Company, Inc.”64
10
             128.    McKinsey has ties to another notable opioid industry combination: the 2012
11
     acquisition of Actavis, Inc.by Watson Pharmaceuticals, Inc. (“Watson”) for €4.25 billion. In the
12
     aftermath of the acquisition of the large European pharmaceutical company, Watson created a
13
     “Global Integration Management Office” reporting directly to its CEO, Paul Bisaro, to focus “on
14

15   planning and implementing the integration of Actavis.”65 In order to achieve this critical task,

16   Watson hired Marc Lehnen: “We were very pleased to recruit Marc from McKinsey & Company,
17   Inc. to lead the Integration Management Office. Marc has years of experience in the generic
18
     industry and knows our culture and way of operating.”66 Notably, the press release indicates that
19
     McKinsey was already advising Watson regarding the acquisition: “Although Marc does not
20
     formally join our Company until July, he will nevertheless be involved in the integration planning
21

22   during this interim period.”67

23
     62
24        Form 20-F dated December 31, 2012, Teva Pharmaceutical Industries Limited, available at
     https://www.sec.gov/Archives/edgar/data/818686/000119312513050510/d450498d20f.htm
     63
25      Id.
     64
         “Cephalon General Counsel John E. Osborn to Resign Position,” February 8, 2008, available at
26   https://www.sec.gov/Archives/edgar/data/873364/000110465908008569/a08-5085_1ex99d1.htm
     65
        “Watson Announces Formation of Global Integration Management Office to Support ending Actavis Acquisition,”
27   PR Newswire, May 9, 2012, available at https://www.prnewswire.com/news-releases/watson-announces-formation-
     of-global-integration-management-office-to-support-pending-actavis-acquisition-150755565.html
     66
28      Id.
     67
        Id. (emphasis added).

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 1              129.     Allergan,68 another opioid manufacturer and defendant in the nationwide opioid
 2   litigation, has also relied on McKinsey as a source of management candidates. McKinsey Senior
 3
     Adviser Christopher J. Coughlin joined Allergan’s board in 2014 and remains there today.
 4
                130.     Abbott Labs, which partnered with Purdue in the early years of OxyContin to use
 5
     Abbott’s sales force to market Purdue’s drug, has been led by CEO Miles White since 1998. White
 6

 7   began his career at McKinsey around 1980.

 8              131.     As the preceding paragraphs make clear, McKinsey was in a truly unique position:

 9   given its dominance of pharmaceutical management consulting through PMP, practically all opioid
10
     industry participants were its clients. And those same clients routinely hire McKinsey consultants
11
     to leadership positions within their companies. While advising multiple industry participants
12
     regarding the sales of competing products, McKinsey was in a position to know confidential
13
     information and trade secrets of these clients “with the understanding that confidentiality is
14

15   paramount.”69

16              132.     Because of its client relationships, McKinsey was, quite literally, the sole repository
17   on Earth of this collective knowledge of industry-wide tactics regarding the sales and marketing of
18
     opioids, and the outcomes thereof. This unique collection of knowledge and expertise made
19
     McKinsey a hub: even if any two given industry participants did not know what each other was
20
     doing, McKinsey knew exactly what both were doing because both were clients.
21

22              133.     McKinsey’s relationships and influence carry far beyond the manufacturers. For

23   instance, current McKinsey director Nancy Killefer has also been an independent director of

24   Cardinal Health, Inc. (“Cardinal”) —one of the “Big Three” Distributor Defendants in the ongoing
25   nationwide opioid litigation—since 2015. Chunhui Moi, Cardinal’s current Vice President of
26
     Corporate Strategy, was previously an associate principal at McKinsey, where he worked for nine
27
     68
28        Allergan is part of the same corporate family as Actavis and Watson.
     69
          McDonald, The Firm, Pg. 308.

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 1   years. Michele Holcomb, Cardinal’s current Executive Vice President, Chief Strategy and Business
 2   Development Officer, was a partner in the Global Pharmaceutical Practice at McKinsey.
 3
              134.     McKinsey populates the “strategy” positions at the other opioid distributors as well.
 4
     At AmerisourceBergen, the “Director of Corporate Development and Strategy” was hired away
 5
     from McKinsey, where she had previously been a senior associate. AmerisourceBergen’s Executive
 6

 7   Vice President and Chief Strategy Officer had previously been a partner at McKinsey.

 8            135.     At McKesson Corporation (“McKesson”), another McKinsey client, the President

 9   of McKesson Specialty Health and, previously Vice President of Corporate Strategy, was Marc
10
     Owen. “Prior to joining McKesson, Owen was a senior partner at McKinsey, advising
11
     pharmaceutical manufacturers, healthcare providers, distributors and technology companies,
12
     including McKesson, for more than a decade.”70 After Owen was promoted in 2012, McKesson
13
     hired yet another Vice President of Corporate Strategy away from McKinsey.
14

15            136.     In short, one way McKinsey adds value for a client is by knowing what all of its

16   competitors are doing. It possesses a greater body of knowledge about any given industry in which
17   it advises multiple participants than any individual participant does itself.
18
                       iii.     The Transformational Relationship
19
              137.     McKinsey has long touted the notion of a “transformational relationship.” It is the
20
     goal of every client relationship McKinsey develops and, McKinsey argues, the best way to extract
21

22   value from a client’s use of McKinsey’s services. McKinsey is not a one-off seller of advice for

23   any given CEO’s problem of the day. Rather, McKinsey argues that real value for the client derives

24   from an ongoing “transformational” relationship with the firm.71
25

26   70
        “Marc Owen Appointed President of McKesson Specialty Health,” McKesson, January 31, 2012, available at
     https://www.mckesson.com/about-mckesson/newsroom/press-releases/2012/marc-owen-appointed-president-of-
27   mckesson-specialty-health/ (emphasis added)
     71
        Duff McDonald, The Firm, Pg. 136-37 (“McKinsey no longer pitched itself as a project-to-project firm; from this
28   point forth [the late 1970s], it sold itself to clients as an ongoing prodder of change, the kind a smart CEO would keep
     around indefinitely.”).

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 1            138.     At its core, the “transformational relationship” is long-term. It is the antithesis of a
 2   one-off contract wherein McKinsey performs one discreet project for a client and then concludes
 3
     its business. Rather, “once McKinsey is inside a client, its consultants are adept at artfully creating
 4
     a feedback loop through their work that purports to ease executive anxiety but actually creates more
 5
     of it.”72 The long-term result can be “dependence” on the McKinsey consultants. “We insinuate
 6

 7   ourselves,” Ron Daniel, McKinsey’s then-managing partner, told Forbes in 1987.73

 8            139.     “They have follow-on work not just because they’re good at what they do, but

 9   because they are trained in how to manage these kinds of client relationships. They understand that
10
     the core reality is the relationship and the conversation, and that any particular engagement is
11
     merely epiphenomenal,” explained Alan Kantrow, formerly the editor of McKinsey Quarterly.74
12
              140.     This strategy of weaving itself into all aspects of its clients’ business proved
13
     enormously successful for McKinsey over the years. It was a strategy McKinsey encouraged its
14

15   consultants to take with clients to great effect:

16            The sell worked: Once ensconced in the boardrooms of the biggest corporate players
              in the world, McKinsey rarely left, ensuring a steady and growing flow of billings
17            for years if not decades. In 2002, for example, BusinessWeek noted that at that
              moment, the firm had served four hundred clients for fifteen years or more.75
18

19            141.     Another aspect of the transformational relationship McKinsey develops with clients

20   is the development and marketing of “leave-behind” products, such as software applications, that
21   are sold to clients as tools that can be used by the business on an on-going and recurring basis,
22
     separate and apart from McKinsey’s project-based consulting work. As described by Harvard
23
     72
24      Id. at pg. 6. Purdue provides a fine example of this feedback loop in action. In 2008, when McKinsey was advising
     Purdue regarding Risk Evaluation and Mitigation Strategies (“REMS”) for OxyContin required by the FDA, McKinsey
25   partner Maria Gordian wrote to fellow partners Martin Elling and Rob Rosiello regarding progress in the “REMS work”
     as well as “Broader Strategy work.” Regarding the latter, Gordian noted that Purdue board members Jonathan Sackler
26   and Peter Boer “basically ‘blessed’ [Craig Landau] to do whatever he thinks is necessary to ‘save the business.’. . . I
     believe there is a good opportunity to get another project here.” MCK-MAAG-0117875 (emphasis added). Indeed,
27   after the REMS work was completed, McKinsey continued to work on “Broader Strategy work” for another decade.
     73
        John Merwin, “We Don’t Learn from Our Clients, We Learn from Each Other,” Forbes, October 19, 1987.
     74
28      Duff McDonald, The Firm, Pg. 185.
     75
        Id. at pg. 136.

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 1   Business School Professor Clayton Christensen, starting in 2007, “McKinsey & Company initiated
 2   a series of business model innovations that could reshape the way the global consulting firm
 3
     engages with clients. One of the most intriguing of these is McKinsey Solutions, software and
 4
     technology-based analytics and tools that can be embedded at a client, providing ongoing
 5
     engagement outside the traditional project-based model.”76
 6

 7           142.     McKinsey’s relationship with Purdue provides an example of the deployment of

 8   these “leave-behind” products. One McKinsey Solution is a pharmaceutical sales and marketing

 9   workforce optimization tool called FieldGuide, a proprietary software application McKinsey sells
10
     to clients. “The FieldGuide tool optimizes salesforce deployment and territory design through
11
     advanced geospatial analysis that leverages both market-potential insights across device categories
12
     and advanced sales-response curve analysis.”77 McKinsey sold it to Purdue for the purpose of
13
     optimizing Purdue’s OxyContin salesforce.
14

15           d.       McKinsey and Purdue: A Case Study in Transformation

16           143.     Indeed, McKinsey’s work with Purdue is a prime example of the transformational
17   relationship in action. McKinsey counted Purdue as a client at least as early as 2004, three years
18
     before Purdue’s parent and officers first pleaded guilty to misbranding OxyContin in 2007.
19
     McKinsey was actively working with Purdue to increase OxyContin sales despite that guilty plea
20
     and continued to do so throughout the time period that Purdue and its advisors were bound by the
21

22   terms of the Corporate Integrity Agreement entered in to alongside the guilty plea. McKinsey’s

23   work with Purdue continued through at least 2018.

24           144.     McKinsey staffed at least forty known consultants to Purdue, from senior partners
25   all the way down through engagement managers and entry-level associates. Throughout the
26
27   76
         Clayton Christensen, Dina Wang, and Derek van Bever, “Consulting on the Cusp of Disruption,” Harvard Business
     Review, October 2013, available at https://hbr.org/2013/10/consulting-on-the-cusp-of-disruption
     77
28      https://www.mckinsey.com/industries/pharmaceuticals-and-medical-products/how-we-help-
     clients/medtech/marketing-and-sales

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 1   unfolding of the nationwide opioid crisis that only continued to worsen after the 2007 guilty plea,
 2   McKinsey remained steadfast alongside the Sacklers and Purdue every step of the way. The mea
 3
     culpas would come only later.
 4
             145.     McKinsey partner Maria Gordian, in her March 26, 2009 “EY 2009 Impact
 5
     Summary” internal report to McKinsey director Olivier Hamoir and McKinsey’s Personnel
 6

 7   Committee, recounted her accomplishments that year on the Purdue account. The document is an

 8   annual self-assessment produced by McKinsey partners. In it, Gordian described the state of firm’s

 9   relationship for Purdue:
10
             With client work extending through the 3rd quarter, and several additional proposals
11           in progress, we continue to expand the depth and breadth of our relationships at
             Purdue. We look forward to deepening our relationships with the Sackler family and
12           serving them on key business development issues, and to expanding our relationship
             with [John] Stewart and other members of the senior management team.78
13
             146.     Gordian even described herself as a counselor to Richard Sackler in the same
14

15   memorandum, in addition to being a “point of contact for the Board and Sackler family.”79

16           147.     The continued expansion of the depth and breadth of McKinsey’s relationship with
17   Purdue was an ever-present internal goal for McKinsey, as it was accompanied by recurring and
18
     ever-increasing client billings.
19
             148.     By 2014, both the breadth and depth of McKinsey’s relationship with Purdue had
20
     expanded dramatically. During the 2009 to 2014 period in particular, Purdue relied extensively on
21

22   McKinsey to develop and implement its sales and marketing strategy for OxyContin. But

23   McKinsey’s work for Purdue involved many other facets of Purdue’s business beyond sales and

24   marketing, including general and administrative consulting, review of product acquisition,
25

26
     78
         The Ad Hoc Group of Non-Consenting States’ Statement in Support of the Official Committee of Unsecured
27   Creditors’ Motions to Compel Production of Purportedly Privileged Documents for In Camera Review, Doc. No. 2012,
     In re Purdue Pharma, Inc., filed November 18, 2020, Case No. 19-23649 (S.D.N.Y.), Ex 7, Pg. 48; MCK-MAAG
28   0118669.
     79
        Id.

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 1   evaluation of research and development, advising Purdue on the design of clinical studies, risk
 2   management, and interactions with regulators.
 3
               149.   McKinsey’s sales and marketing work for Purdue focused on creating and
 4
     implementing strategies and tactics to bolster the sales of OxyContin, a Schedule II drug that is
 5
     widely recognized as among the most frequently diverted and abused opioids. As Purdue faced
 6

 7   growing scrutiny, McKinsey also helped the company protect its public image and profit from the

 8   market for illicit opioids, which McKinsey’s industry-wide efforts helped to promote and maintain.

 9             150.   McKinsey understood the Sacklers’ goals for Purdue and the work it would need to
10
     perform to maintain and grow Purdue’s opioid profits amidst a growing epidemic of addiction and
11
     abuse. Part of McKinsey’s work involved assessing the “underlying drivers” of OxyContin’s
12
     (financial) performance. As described below, these drivers boil down to two things: (1) a
13
     widespread deceptive marketing campaign and (2) fueling an illicit market for non-medical use.
14

15   Purdue entered into guilty pleas arising out of both types of conduct in 2007 and 2020, respectively.

16   McKinsey delved into the “granular” aspects of Purdue’s sales and promotion. And, throughout the
17   two companies’ long-term relationship, McKinsey understood Purdue’s business “both in terms of
18
     content and culture,” as its own renewed consulting agreement assured in 2013.
19
                      i.      2004: McKinsey and Purdue Meet
20
               151.   On March 1, 2004, McKinsey entered into a Master Consulting Agreement with
21

22   Purdue for services that would be defined from time to time.80 The Agreement was signed on

23   McKinsey’s behalf by Rob Rosiello, then a senior partner in the PMP practice group. After a ruling

24   that held patents on OxyContin unenforceable due to Purdue misleading the patent office,
25   McKinsey stepped in to help Purdue.81
26
27
     80
28        PPLPC012000069192
     81
          Id.

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 1          152.   The Master Consulting Agreement                          Redacted

 2

 3

 4

 5

 6

 7
                                       83
 8
 9          153.   From 2004 through 2008, McKinsey advised Purdue on research and development,
10
     business development, and product licensing related to Purdue’s opioid products.84 Consistent with
11
     its business model, McKinsey leveraged these projects into growth of its “Broader Strategy work”
12
     also underway with Purdue.85 Specifically, in October 2008, Purdue retained McKinsey for broad
13
     strategy work after two board members “blessed” Purdue executive Craig Landau with doing
14

15   “whatever he thinks is necessary to ‘save the business’” after the 2007 criminal plea and

16   introduction of generic competition to the older OxyContin.86
17                 ii.     2007: Purdue Pleads Guilty to Misbranding OxyContin and is Bound
                           by a Corporate Integrity Agreement
18

19          154.   On May 10, 2007, John Brownlee, United States Attorney for the Western District

20   of Virginia, announced the guilty plea of the Purdue Frederick Company, the parent of Purdue
21   Pharma, relating to the misbranding of OxyContin. Brownlee stated,
22
            Even in the face of warnings from health care professionals, the media, and members
23          of its own sales force that OxyContin was being widely abused and causing harm to
            our citizens, Purdue, under the leadership of its top executives, continued to push a
24          fraudulent marketing campaign that promoted OxyContin as less addictive, less
            subject to abuse, and less likely to cause withdrawal. In the process, scores died as
25          a result of OxyContin abuse and an even greater number of people became addicted
26
     82
        Id.
     83
27      PPLPC020000034087
     84
        PPLPC013000116218; PPLP004401340
     85
28      MCK-MAAG-0117875
     86
        Id.

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 1              to OxyContin; a drug that Purdue led many to believe was safer, less subject to
                abuse, and less addictive than other pain medications on the market.
 2

 3              155.     Purdue Frederick Company as well as three of Purdue’s officers, pleaded guilty to

 4   the misbranding of OxyContin pursuant to various provisions of the Federal Food, Drug, and

 5   Cosmetic Act, 21 U.S.C. §§ 301, et seq.
 6              156.     Purdue admitted that “supervisors and employees, with the intent to defraud or
 7
     mislead, marketed and promoted OxyContin as less addictive, less subject to abuse and diversion,
 8
     and less likely to cause tolerance and withdrawal than other pain medications.” Part of this
 9
     deceptive messaging included highlighting OxyContin as a long-acting (“LA”) or extended release
10

11   (“ER”) opioid and suggesting it created less chance for addiction than “immediate release” opioids

12   because it had fewer “peak and trough” blood level effects or “did not cause a ‘buzz’ or euphoria”

13   in the same manner as these other opioids.
14
                157.     Concurrent with its guilty plea, Purdue entered into a Corporate Integrity Agreement
15
     with the Office of Inspector General of the United States Department of Health and Human Services
16
     on May 7, 2007. Purdue’s compliance obligations under the Corporate Integrity Agreement ran for
17
     a period of five years, and ultimately terminated in January 2013.87
18

19              158.     Pursuant to the Corporate Integrity Agreement, Purdue was obligated to implement

20   written policies regarding its compliance program and compliance with federal health care program
21   and Food and Drug Administration requirements, including:
22
                a. “selling, marketing, promoting, advertising, and disseminating Materials or information
23              about Purdue’s products in compliance with all applicable FDA requirements, including
                requirements relating to the dissemination of information that is fair and accurate . . .
24              including, but not limited to information concerning the withdrawal, drug tolerance, drug
                addiction or drug abuse of Purdue’s products”;
25

26              b. “compensation (including salaries and bonuses) for Relevant Covered Persons engaged
                in promoting and selling Purdue’s products that are designed to ensure that financial
27

28
     87
          See https://www.justice.gov/opa/press-release/file/1329576/download

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 1           incentives do not inappropriately motivate such individuals to engage in the improper
             promotion or sales of Purdue’s products”; and
 2

 3           c. “the process by which and standards according to which Purdue sales representatives
             provide Materials or respond to requests from [health care providers] for information about
 4           Purdue’s products, including information concerning withdrawal, drug tolerance, drug
             addiction, or drug abuse of Purdue’s products,” including “the form and content of Materials
 5           disseminated by sales representatives,” and “the internal review process for the Materials
             and information disseminated by sales representatives.”
 6

 7           159.     Purdue was obligated to engage an Independent Review Organization to ensure its

 8   compliance with the strictures of the Corporate Integrity Agreement and to file compliance reports

 9   on an annual basis with the Inspector General.
10
             160.     In the wake of its accession to the Corporate Integrity Agreement, Purdue faced
11
     newly imposed constraints on its sales and marketing practices. The Corporate Integrity Agreement
12
     was a problem to solve. Despite the agreement’s constraints (i.e., do not lie about OxyContin),
13
     Purdue and its controlling owners, the Sackler family, still intended to maximize OxyContin sales.
14

15                    iii.    The Sacklers React to the “Concentration of Risk” Posed to Them by
                              Purdue’s Opioid Business.
16
             161.     The Sackler family has owned and controlled Purdue and its predecessors since
17
     1952. At all times relevant to this Complaint, individual Sackler family members occupied either
18

19   six or seven of the seats on Purdue’s board of directors, and at all times held a majority of Board

20   seats. To advise the board of directors of Purdue Pharma was to advise the Sackler family. The
21   interests of the Sackler family and the Purdue board of directors, and Purdue itself, as a privately
22
     held company, were all aligned. Practically, they were indistinguishable.88
23
             162.     As a result of the 2007 guilty plea, the Sacklers made the strategic decision to
24
     distance the family from Purdue, which was regarded, in the words of Richard Sackler, as an
25

26   increasingly dangerous “concentration of risk” for Purdue’s owners. Ten days after the guilty plea

27
     88
       Craig Landau, soon to become CEO of Purdue, acknowledged in May 2017 that Purdue operated with “the Board of
28   Directors serving as the ‘de facto’ CEO.” The future CEO of the company, in other words, understood that he would
     have little practical power despite his new title. The owners ran the business.

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 1   was announced, David Sackler wrote to his father, Richard Sackler, and uncle, Jonathan Sackler,
 2   describing precisely what that “risk” was: legal liability for selling OxyContin. In response to
 3
     Jonathan stating that “there is no basis to sue ‘the family,’” David replied:
 4

 5

 6

 7

 8
 9

10
            163.    Given concern over this “concentration of risk,” the two sides of the Sackler family
11
     spent considerable time and energy debating the best way to achieve distance from Purdue, and
12

13   collectively considered a variety of options for doing so. One option was to sell the company to or

14   merge the company with another pharmaceutical manufacturer. They discussed Shire as a possible
15   target, as were Cephalon, UCB, and Sepracor, Inc. The proceeds of such a transaction could then
16
     be re-invested in diversified assets, thereby achieving the Sacklers’ desired distance from opioids.
17
            164.    Mortimer D.A. Sackler advocated for a sale or merger in a February 21, 2008, email
18
     to Richard Sackler (a former president and co-chairman of Purdue) and several others, writing,
19
20   “The pharmaceutical industry has become far too volatile and risky for a family to hold 95% of its

21   wealth in. It simply is not prudent for us to stay in the business given the future risks we are sure

22   to face and the impact they will have on the shareholder value of the business and hence the family’s
23   wealth.” The risk he referred to was, at least in significant part, further liability related to
24
     OxyContin.
25
            165.    Another option was to have Purdue borrow money in order to assure Purdue had
26
     adequate funds to continue operating while the Sacklers, as owners, began to make substantial
27

28   distributions of money from the company to themselves. Once again, the proceeds of the


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 1   distributions could then be re-invested in diversified assets, thereby achieving the Sacklers’ desired
 2   distance.
 3
             166.     In order to pursue either of these options, the Sacklers needed to maximize opioid
 4
     sales in the short term so as to make Purdue—by then the subject of substantial public scrutiny—
 5
     appear either as an attractive acquisition target or merger partner to another pharmaceutical
 6

 7   manufacturer or as a creditworthy borrower to a lender.

 8           167.     In short, the Sacklers planned to engage in a final flurry of opioid pushing in order

 9   to rid themselves of their pharmaceutical company dependency for good.
10
             168.     In fact, in the years after the 2007 guilty plea, Purdue would retain only the absolute
11
     minimum amount of money within it as possible: $300 million. Purdue was required to retain that
12
     amount pursuant to a partnership agreement with separate company. Otherwise, all the money was
13
     distributed to its owners.89
14

15           169.     Given the complexity of the problem, the Sacklers and Purdue realized that they

16   would need assistance in achieving these internally contradictory objectives. Purdue did not have
17   the capabilities in-house to design and implement a sales strategy for OxyContin that would achieve
18
     the Sacklers’ objectives. They turned to the global management consulting firm McKinsey, which
19
     had already been advising the Sacklers and Purdue for at least three years, for help with their new
20
     problem.
21

22           170.     Notably, under the terms of Paragraph II.C.1(b) of the Corporate Integrity

23   Agreement, McKinsey, as a contractor to Purdue performing sales and marketing functions for the

24   company, was itself a “Covered Person” subject to the strictures of the Agreement.90
25
     89
26      See Jared S. Hopkins, At Purdue Pharma, Business Slumps as Opioid Lawsuits Mount, Wall Street Journal, June 30,
     2019, available at: https://www.wsj.com/articles/purdue-pharma-grapples-with-internal-challenges-as-opioid-
27   lawsuits-mount-11561887120?mod=hp_lead_pos6
     90
         The relevant language in the Corporate Integrity Agreement provides: “‘Covered Persons’ includes . . . all
28   contractors, subcontractors, agents, and other persons who perform sales, marketing, promotional, pricing, government
     contract, or regulatory functions . . . on behalf of Purdue.” PDD1712900096.

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 1
                     iv.      Purdue Tasks McKinsey with Boosting Opioid Sales in Light of the
 2                            Guilty Plea and Corporate Integrity Agreement.
 3
             171.    The Sacklers faced a problem: the need to grow OxyContin sales as dramatically as
 4
     possible so as to make Purdue an attractive acquisition target or borrower, while at the same time
 5
     appearing to comply with the Corporate Integrity Agreement. As one Purdue executive stated of
 6

 7   Purdue’s attitude toward the Corporate Integrity Agreement: “They did not listen to their critics

 8   and insisted they had just a few isolated problems. After the settlement, they didn’t change—the

 9   way the sales force was managed and incentivized, everything stayed the same.”91
10
             172.    Purdue and the Sacklers were well aware of the constraints posed by the Agreement.
11
     Indeed, during a May 20, 2009 Executive Committee Meeting, the discussion led to whether Purdue
12
     should have a single sales force marketing all Purdue products, including OxyContin, or instead to
13
     “create a separate Sales Force for Intermezzo (a sleeping pill) that would be comprised of
14

15   approximately 300 representatives.” John Stewart, Purdue’s then-CEO, saw an opportunity, and

16   asked if the Corporate Integrity Agreement would apply if Purdue were to launch Intermezzo and
17   another Purdue product, Ryzolt (a branded version of Tramadol, another narcotic painkiller), using
18
     the separate sales force. Might the new drug launch fall outside of the Corporate Integrity
19
     Agreement, he asked?92
20
             173.    It would not, he was told by Bert Weinstein, Purdue’s Vice President of
21

22   Compliance.93

23           174.    Given the tension between compliance with the Corporate Integrity Agreement and

24   the desire to sell more OxyContin, Purdue needed help.
25

26
27   91
        David Crow, How Purdue’s ‘one-two’ punch fuelled the market for opioids, Financial Times, September 9, 2018,
     available at: https://www.ft.com/content/8e64ec9c-b133-11e8-8d14-6f049d06439c
     92
28      PPLPC012000226606, Purdue Pharma Executive Committee Meeting Notes and Actions, May 20, 2009, Pg. 2.
     93
        Id.

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 1          175.    Ethan Rasiel, a former McKinsey consultant, has described the typical way
 2   McKinsey begins working with a client: “An organization has a problem that they cannot solve
 3
     with their internal resources. That’s the most classic way that McKinsey is brought in.”94
 4
            176.    Such was the case with Purdue. Because it did not have the requisite expertise to
 5
     address the problems posed by the Corporate Integrity Agreement internally, Purdue expanded on
 6

 7   its already-existing relationship with McKinsey to devise a sales and marketing strategy to increase

 8   opioid sales despite the Corporate Integrity Agreement and growing concern about the

 9   “concentration of risk” that Purdue’s business of selling opioids posed to its owners.
10
            177.    McKinsey’s task was to thread the needle: to increase OxyContin sales despite the
11
     strictures imposed by the five-year Corporate Integrity Agreement. This McKinsey did,
12
     turbocharging95 the sales of a drug it knew fully well was addictive and deadly, while purporting
13
     to respect to the Corporate Integrity Agreement.
14

15          178.    In short, Purdue would pay money to McKinsey in exchange for McKinsey enabling

16   the company how to sell as much OxyContin as conceivably possible so that the Sacklers could
17   obtain cash to diversify their investment holdings away from Purdue and keep their money safe
18
     from the reach of court judgments, fines, and penalties they feared.
19
            179.    Consistent with their plan to dissociate themselves from the company, the Sacklers
20
     appointed Mr. Stewart as the CEO of Purdue in 2007. The Sacklers viewed Stewart as someone
21

22   loyal to the family. He had previously worked for a division of Purdue in Canada. Stewart’s job

23   was to assist the Sacklers with the divestiture or eventual orderly wind-down of Purdue. Stewart

24   was paid more than $25 million for his services to Purdue from 2007 through 2013.
25

26
27
     94
        How McKinsey Became One of the Most Powerful Companies in the World, CNBC, June 6, 2019 available at:
28   https://www.youtube.com/watch?v=BBmmMj_maII
     95
        If the description is overbearing, note that it is McKinsey’s own, as described below.

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 1           180.     Purdue’s Executive Committee discussed Stewart’s concerns regarding the
 2   constraints posed by the Corporate Integrity Agreement on May 20, 2009. Within weeks, McKinsey
 3
     was working with Purdue to devise and implement new marketing strategies for OxyContin.
 4
             181.     Stewart, as CEO, was in charge of the relationship with McKinsey. He controlled
 5
     workflow to and from McKinsey and required his personal approval for any work orders with
 6

 7   McKinsey.

 8           182.     In addition, Purdue’s Vice President of Corporate Compliance, “responsible for

 9   developing and implementing policies, procedures, and practices designed to ensure compliance
10
     with the requirements set forth in the [Corporate Integrity Agreement],” reported directly to
11
     Stewart.96
12
             183.     Throughout their relationship, McKinsey routinely obtained information from,
13
     advised, communicated with, and ultimately worked for the Purdue board of directors, controlled
14

15   by the Sackler family.

16           184.     McKinsey would also work in granular detail with the Purdue sales and marketing
17   staff, led during the relevant period by Russell Gasdia, Vice President of Sales and Marketing.
18
             185.     From as early as June 2009 and continuing at least through July 14, 2014, Purdue
19
     routinely relied upon McKinsey to orchestrate its sales and marketing strategy for OxyContin. The
20
     relationship was characterized by ongoing interactions between teams from McKinsey and Purdue
21

22   regarding not only the creation of an OxyContin sales strategy, but also its implementation.

23   McKinsey was a real presence at Purdue. “A team of McKinsey analysts went in-house, camping

24   out in a conference room at Purdue headquarters.”97
25

26
     96
       PDD1712900096.
27   97
        Patrick Radden Keefe, Empire of Pain 302 (2021). In September, McKinsey named Mr. Keefe’s history of the
     Sackler family and Purdue and the opioid crisis to its 2021 shortlist for “Business Book of the Year.” See
28   https://www.mckinsey.com/about-us/new-at-mckinsey-blog/for-your-reading-list-the-2021-business-book-of-the-year-
     shortlist

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 1                    v.      Purdue Relies on McKinsey.
 2           186.     Purdue hired McKinsey not only to give advice, but to devise and then implement a
 3
     deceptive marketing strategy. For example, for one “major initiative” with Purdue, “McKinsey
 4
     forecast[ed] a potential incremental increase in sales in the $200-400mm range” over a three-year
 5
     period, “[w]hen properly implemented.”98
 6

 7           187.     McKinsey is not cheap, either. Indeed, hiring McKinsey is an expensive proposition.

 8   A single junior consultant—typically a recent college or business school graduate—runs clients

 9   millions of dollars annually.99 McKinsey is a highly selective employer and advertises that its
10
     employees join “for the opportunity to apply their talents to complex, important challenges.”100
11
     “Talent” is key to McKinsey’s model; clients pay for the best and brightest.
12
             188.     A client does not choose to pay McKinsey unless it expects to receive benefits it
13
     could not have obtained within its own organization. McKinsey offers solutions to clients facing
14

15   challenges they feel they cannot adequately address on their own. This model has been a stunning

16   success for McKinsey. In 2008, McKinsey’s annual revenue was $6 billion. Today, the firm earn
17   more than $10 billion in revenue each year.101
18
             189.     Clients pay these exorbitant rates for a reason: McKinsey’s plans and partnership
19
     work. Even critics of the consulting industry recognize the unique efficacy of McKinsey’s work.
20
     JPMorgan Chase CEO Jamie Dimon once derided consultants as “substituted management” and
21

22   stated that “consultants can become a disease for corporations.” Dimon made one exception to this

23

24

25
     98
        PPLPC012000257444
26   99
        Ian MacDougal, How McKinsey is Making $100 Million (and Counting) Advising on the Government’s Bumbling
     Coronavirus Response, ProPublica (July 15, 2020), https://www.propublica.org/article/how-mckinsey-is-making-100-
27   million-and-counting-advising-on-the-governments-bumbling-coronavirus-response.
     100
         https://www.mckinsey.com/about-us/overview
     101
28       Forbes, McKinsey & Company (retrieved September 9, 2021), https://www.forbes.com/companies/mckinsey-
     company/?sh=1201a12624c1.

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 1   rule: McKinsey.102 Given unique levels of trust, respect, and access by major corporations across
 2   the United States and the world, McKinsey has unmatched power to affect how those corporations
 3
     behave.
 4
             190.     When Purdue entered into a “Master Consulting Agreement” with McKinsey in
 5
     2004, Purdue explicitly recognized McKinsey “has a fine reputation as well as excellent experience
 6

 7   and relationships in our industry,” which Purdue was counting on to boost its opioids business.103

 8           191.     Purdue explicitly recognized that McKinsey stepped in to help Purdue “protect [its]

 9   sales and continue to grow our business.”104
10
             192.     Furthermore, that the Sacklers, as board members of Purdue, relied on McKinsey in
11
     their conduct of Purdue affairs is an admitted fact. In a public filing in the recent Purdue bankruptcy
12
     proceedings, the one side of the Sackler family conceded that they did so: “McKinsey is widely
13
     recognized as ‘a leading management consulting firm’ and the Former Directors were statutorily
14

15   entitled to rely on such expertise.”105

16                    vi.     McKinsey Delivers.
17           193.     Purdue, as a monoline manufacturer of opioids, relied on McKinsey in practically
18
     all aspects of its business.
19
                              1.       Courting the Regulators: “We All Feel Responsible.”
20
             194.     One critical aspect of Purdue’s operations, given its status as a producer of
21

22   controlled substances, was regulatory compliance. McKinsey guided Purdue through practically all

23   of its interactions with regulators whose efforts to protect the public might pose threats to Purdue’s

24   business.
25

26
     102
         Duff McDonald. Behind the singular mystique of McKinsey & Co. The Guest Blog. CNBC. Sept 25, 2013. Available
27   at: https://www.cnbc.com/2013/09/25/behind-the-singular-mystique-of-mckinsey-co.html
     103
         PPLPC012000069192
     104
28       Id. (emphasis added).
     105
         In re: Purdue Pharma, L.P., No. 19-23649, Doc. 3441-1, at ¶ 328 (Aug. 5, 2021).

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 1           195.     McKinsey advised Purdue on how to approach the FDA in light of its criminal
 2   conviction and retain business in light of the reputational damage to the company and to OxyContin
 3
     after the admissions in its guilty plea.
 4
             196.     In 2008, Purdue submitted a New Drug Application for a reformulation of
 5
     OxyContin, ostensibly to make it more difficult to abuse by extracting the active ingredient from it
 6

 7   or otherwise defeating the time-release mechanism in OxyContin tablets—i.e., another product

 8   Purdue would later deceptively promote as safer than and less prone to abuse than it was.

 9           197.     Having advised Purdue on the design of tests of reformulated OxyContin as part of
10
     Purdue’s FDA submission, McKinsey knew that reformulated OxyContin could still be abused.
11
     Purdue nonetheless touted its introduction of reformulated OxyContin and another ADF opioid as
12
     evidence of its good corporate citizenship and commitment to protecting the public. McKinsey
13
     worked with the Sacklers to prepare for Purdue’s meetings with the FDA.
14

15           198.     On January 20, 2009, McKinsey partner Maria Gordian wrote to partners Rob

16   Rosiello and Martin Elling to update them on these ongoing efforts with Purdue:
17           We had a very good FDA rehearsal yesterday with several family members present.
             The team did an outstanding job on the study. [P]reparing the client and executing
18
             the mock meeting. We are off to DC today for the actually (sic) FDA meeting
19           tomorrow.106

20           199.     Gordian’s email to Rosiello and Elling forwarded encouraging words from Richard
21   Sackler. He wrote to his daughter, Marianna:
22
             I am writing to tell you how impressed I was by the preparation for the FDA meeting.
23           Both the method and the process as well as the content was excellent and a major
             departure from efforts like this in the past. Please share with the team my views and
24           best wishes for a successful interchange with the FDA.107
25   Marianna forwarded the well-wishes to Gordian and the team at McKinsey.
26
27   106
         The Ad Hoc Group of Non-Consenting States’ Statement in Support of the Official Committee of Unsecured
     Creditors’ Motions to Compel Production of Purportedly Privileged Documents for In Camera Review, Doc. No. 2012,
28   In re Purdue Pharma, Inc., filed November 18, 2020, Case No. 19-23649 (S.D.N.Y.), Ex D, Pg. 25 (emphasis added).
     107
         Id.

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 1           200.     In September 2009, Purdue made a presentation to the FDA advisory committee
 2   considering its application for its reformulated OxyContin and stated that the new formulation
 3
     would deter abuse. According to metadata, the PowerPoint presentation was prepared by
 4
     McKinsey.
 5
             201.     The FDA approved the reformulation of OxyContin in April 2010.108
 6

 7           202.     Having successfully navigated the approval process with McKinsey’s chaperoning,

 8   Purdue then proceeded to market the ADF version of OxyContin as a solution to opioid abuse and

 9   as a reason that doctors could continue to safely prescribe their opioids.
10
             203.     In 2020, two FDA advisory committees evaluating the impact of the reformulated
11
     OxyContin concluded that reformulated OxyContin did not, in fact, substantially reduce abuse.
12
             204.     At the same time as it worked to rehabilitate Purdue’s image with the FDA,
13
     McKinsey, in parallel, advised Purdue on how to limit FDA regulations aimed at mitigating the
14

15   risks of opioid use. In 2008, shortly after Purdue’s criminal plea, the FDA requested Purdue submit

16   a proposed “Risk Evaluation and Mitigation Strategy” (“REMS”) for OxyContin. McKinsey
17   provided Purdue with drafts of the submission.109 Indeed, McKinsey was crucial in devising
18
     Purdue’s response to the FDA’s request for a REMS proposal from Purdue. Gordian informed
19
     Rosiello and Elling on October 23, 2008, that John Stewart, Purdue’s CEO, “is aware of the critical
20
     role we are playing in pulling REMs together and is very appreciative.” In the same email, she
21

22   noted that “the family” was focused “on the response to the non-approval letter” from the FDA.110

23           205.     In 2009, the FDA expanded its scope to a class-wide extended release/long-acting

24   REMS program.
25

26
     108
         See https://www.fda.gov/media/126835/download
     109
27       PDD8901578031
     110
         The Ad Hoc Group of Non-Consenting States’ Statement in Support of the Official Committee of Unsecured
28   Creditors’ Motions to Compel Production of Purportedly Privileged Documents for In Camera Review, Doc. No. 2012,
     In re Purdue Pharma, Inc., filed November 18, 2020, Case No. 19-23649 (S.D.N.Y.), Ex C, Pg. 22.

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 1           206.    Seeking to avoid a requirement that prescribers undergo mandatory training on
 2   OxyContin’s risks or management or obtain certification before prescribing OxyContin, which
 3
     would limit the numbers of available prescribers, Purdue turned to McKinsey. McKinsey found the
 4
     cost to Purdue of a system to verify completion of prescriber education before prescriptions could
 5
     be filled would be $50 million—an estimate Purdue used to oppose efforts for more rigorous risk
 6

 7   management strategies.111                                      Redacted

 8
 9

10                                                                          112

11
             207.    Armed with McKinsey’s analysis, Purdue’s strategy on REMS was effective. The
12
     REMS program avoided verification and enrollment provisions that would harm Purdue’s profits.
13
             208.    Meanwhile, based on McKinsey’s work on extended-release opioid REMS,
14

15   McKinsey was aware of warnings and adverse events included within the OxyContin medication

16   guide and communications plans, including risks of overdose and adverse events including
17   dizziness and lethargy.
18
             209.    In June 2009, McKinsey helped Purdue prepare for an FDA advisory committee
19
     meeting.                                            Redacted
20
                          113
21

22           210.    McKinsey prepared for Purdue an “FDA Advisory Committee on Reformulated

23   OxyContin: Question & Answer Book” in September 2009, with questions including “Why should

24   we trust you?” In response, McKinsey recommended Purdue say “We acknowledge mistakes made
25   in the past[;]” “We have x, y and z measures in place that did not exist before[;]” and “[a]t all levels,
26
27
     111
         PDD8901530124
     112
28       PPLPC019000622253
     113
         PDD8901645845

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 1   Purdue’s focus is on maintaining the highest ethical standards and meeting the needs of
 2   patients[.]”114
 3
             211.      Sometimes, McKinsey’s work was as obfuscating as it was self-revealing. To the
 4
     question of “Who at Purdue takes personal responsibility for all these deaths?[,]” McKinsey offered
 5
     the following response:115
 6

 7

 8
 9

10

11

12

13                            2.       The Granularity of Growth
14
             212.      To this end, McKinsey prides itself on certain managerial techniques it professes to
15
     have detailed knowledge of and expertise in deploying. These techniques are generally applicable
16
     to problems encountered by many businesses; they are conceptual frameworks that McKinsey
17

18   deploys when tasked with solving a problem for a client.

19           213.      After Purdue’s first guilty plea, the Sacklers desired dramatic, short-term growth of

20   Purdue’s opioid sales so as to increase the company’s attractiveness as an acquisition target or
21   borrower while allowing the Sacklers to take money out of the company. One service McKinsey
22
     offers to its clients is to tell them how to grow.
23
             214.      In order to identify growth opportunities for a client, McKinsey espouses a
24
     “granular” approach to identifying which subsets of the client’s existing business are the sources
25

26
     114
27      MCK-MAAG-0152135
     115
         The Ad Hoc Group of Non-Consenting States’ Statement in Support of the Official Committee of Unsecured
28   Creditors’ Motions to Compel Production of Purportedly Privileged Documents for In Camera Review, Doc. No. 2012,
     In re Purdue Pharma, Inc., filed November 18, 2020, Case No. 19-23649 (S.D.N.Y.), Ex F, Pg. 39.

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 1   of growth, and exploiting them for all they are worth. In August 2008, McKinsey directors Patrick
 2   Viguerie and Sven Smit, together with Mehrdad Baghai, published a treatise on the matter: The
 3
     Granularity of Growth: How to Identify the Sources of Growth and Drive Enduring Company
 4
     Performance (Wiley, April 2008). “The key is to focus on granularity, to breakdown big-picture
 5
     strategy into its smallest relevant components.”116
 6

 7           215.     Previously, in an article in McKinsey Quarterly (coincidentally published the same

 8   month that Purdue pled guilty), the authors explained:

 9           Our research on revenue growth of large companies suggests that executives should
             “de-average” their view of markets and develop a granular perspective on trends,
10
             future growth rates, and market structures. Insights into subindustries, segments,
11           categories, and micromarkets are the building blocks of portfolio choice. Companies
             will find this approach to growth indispensable in making the right decisions about
12           where to compete.117

13           216.     Additionally, McKinsey encouraged a granular assessment of the geography of
14
     corporate growth. “The story gets more precise as we disaggregate the company’s performance on
15
     the three growth drivers in 12 product categories for five geographic regions.”118
16
             217.     One can imagine this strategy applied to a seller of, say, cartons of milk. If
17
     McKinsey were to perform an analysis of the milk seller’s sales and marketing and discover that
18

19   the profit margin on milk cartons sold to university cafeterias in dairy-producing states is much

20   greater than the margin on cartons sold at convenience stores in the southwest, and further that the
21   milk seller has previously devoted equal amounts of time and resources selling to both university
22
     cafeterias and convenience stores, then McKinsey would likely advise the client to deploy
23
     additional resources towards selling milk to university cafeterias in dairy-producing states.
24

25

26
     116
          The granularity of growth, Book Excerpt, McKinsey & Company, March 1, 2008, available at:
27   https://www.mckinsey.com/business-functions/strategy-and-corporate-finance/our-insights/the-granularity-of-growth
     117
          Mehrdad Baghai et. al., The granularity of growth, McKinsey Quarterly, May 2007, available at:
28   https://www.mckinsey.com/featured-insights/employment-and-growth/the-granularity-of-growth
     118
         Id.

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 1   McKinsey’s “granular” approach to the milk seller’s business channels has identified a way to
 2   increase higher margin sales, leading to newfound growth and profitability for the client.
 3
             218.   Rather than milk, McKinsey deployed this strategy on OxyContin, a controlled
 4
     substance, after its manufacturer pled guilty to misrepresenting the addictive and deadly properties
 5
     of the drug.
 6

 7                         3.      “Identifying Granular Growth Opportunities for OxyContin”

 8           219.   McKinsey’s granular analysis of Purdue’s OxyContin sales efforts led to the

 9   implementation of a number of strategies to sell more pills.
10
             220.   By January 2010, McKinsey informed Purdue, in accordance with the lessons of
11
     McKinsey’s granular growth analysis, that Purdue could generate “$200-400mm” in additional
12
     annual sales of OxyContin by implementing McKinsey’s strategies.119
13
             221.   In November 2010, a McKinsey report instructed sales reps to maximize profits by
14

15   “emphasizing [the] broad range of doses”—which meant pushing the doses that were highest and

16   most profitable.120
17           222.   In 2012, John Stewart assigned McKinsey to “understand the significance of each
18
     of the major factors affecting OxyContin’s sales.”121
19
             223.   This McKinsey did in excruciatingly granular detail, analyzing each sales channel
20
     for Purdue’s opioids to identify weaknesses, opportunities, and to suggest courses of action to
21

22   improve performance. Many core themes of McKinsey’s work would be crystallized in a series of

23   presentations and updates made to the Sackler family and to Purdue’s board of directors in the

24   summer of 2013 entitled “Identifying Granular Growth Opportunities for OxyContin.”
25                                         a. Marketing – Countering Emotional Messages
26
27
     119
         PPLPC012000257443; PPLPC012000257446
     120
28       PPLPC018000346294
     121
         PPLPC020000587064

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 1             224.   From the outset of McKinsey’s known work for Purdue, the work was grim. In June
 2   2009, McKinsey teamed with Purdue’s then-Chief Medical Officer (and current CEO) Craig
 3
     Landau and his staff to discuss how best to “counter emotional messages from mothers with
 4
     teenagers that overdosed in [sic] OxyContin.”
 5
               225.   Months later, McKinsey advised Purdue to market OxyContin based on the false
 6

 7   and misleading notion that the drug can provide “freedom” and “peace of mind” for its users, give

 8   patients “the best possible chance to live a full and active life,” and concomitantly reduce stress

 9   and isolation.122
10
               226.   These marketing claims were tailored to avoid any pitfalls that the Corporate
11
     Integrity Agreement might hold. While false and misleading, these claims regarding “freedom” and
12
     “peace of mind” of OxyContin users were narrowly tailored in order to avoid representations
13
     regarding “the withdrawal, drug tolerance, drug addiction or drug abuse of Purdue’s products,” as
14

15   specified in Section III.B.2.c of the Corporate Integrity Agreement.123

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     122
28         PPLPC023000239858
     123
           PDD1712900096

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 1           227.     Purdue’s marketing materials from that time period are illustrative of the
 2   approach:124
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14           228.     Likewise, McKinsey informed Purdue that by highlighting the ability to “tailor the
15
     dose” and treat a “broad range of appropriate patients,” the prescriber-takeaway would be that
16
     “physicians can help their patients function better and lead a fuller and more active life,” even
17
     though this conclusion was not to be explicitly addressed.125
18

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22           229.     Claims that OxyContin improved function and quality of life were not supported by

23   substantial evidence and, in addition, failed to take into account risks of addiction. The FDA and
24   other federal agencies have, for years, made clear the lack of evidence for claims that the use of
25
     opioids for chronic pain improves patients’ function and quality of life.126 A Centers for Disease
26
27
     124
         Tennessee v. Purdue Pharma L.P., Case No. 1-173-18 (Compl. May 15, 2018) ¶ 24.
28   125
         PPLPC019000329253
     126
         The FDA has warned other drug makers that claims of improved function and quality of life were misleading. See

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 1   Control and Prevention guideline, following a “systematic review of the best available evidence,”
 2   concluded that “[w]hile benefits for pain relief, function and quality of life with long-term opioid
 3
     use for chronic pain are uncertain, risks associated with long-term opioid use are clearer and
 4
     significant.”127 According to the CDC director, “for the vast majority of patients, the known,
 5
     serious, and too-often- fatal risks far outweigh the unproven and transient benefits [of opioids for
 6

 7   chronic pain].”128

 8           230.     In addition to crafting carefully-tailored quality of life assurances designed to avoid

 9   the pitfalls of the Corporate Integrity Agreement, McKinsey invented other misleading marketing
10
     efforts for Purdue.
11
             231.     For instance, McKinsey urged Purdue to capitalize on OxyContin’s extended-
12
     release characteristics in another way: marketing OxyContin’s twelve-hour dosing as though users
13
     only need to take OxyContin twice a day, thus requiring fewer pills. OxyContin in fact was well
14

15   known to wear off after eight to ten hours in many patients, however. What McKinsey called

16   “convenient,” would later be called “a [d]escription of Hell.”
17           232.     This misleading assurance of twelve-hour relief is especially pernicious, as end-of-
18
     dose failure renders OxyContin even more dangerous because patients begin to experience
19
     withdrawal symptoms, followed by a euphoric rush with their next dose—a cycle that fuels a
20
     craving for OxyContin. For this reason, Dr. Theodore Cicero, a neuropharmacologist at the
21

22
23   Warning Letter from Thomas Abrams, Dir., FDA Div. of Mktg., Adver., & Commc’ns, to Doug Boothe, CEO, Actavis
     Elizabeth LLC (Feb. 18, 2010) (rejecting claims that Actavis’ opioid, Kadian, had an “overall positive impact on a
24   patient’s work, physical and mental functioning, daily activities, or enjoyment of life.”).
     ALLERGAN_MDL_00387583; Warning Letter from Thomas Abrams, Dir., FDA Div. of Mktg., Adver., &
25   Commc’ns, to Brian A. Markison, Chairman, President and Chief Executive Officer, King Pharmaceuticals, Inc.
     (March 24, 2008) (finding the claim that “patients who are treated with [Avinza (morphine sulfate ER)] experience an
26   improvement in their overall function, social function, and ability to perform daily activities . . . has not been
     demonstrated by substantial evidence or substantial clinical experience.”). ALLERGAN_CA_00161496. The FDA’s
27   warning letters were available to McKinsey on the FDA website.
     127
         CDC Guideline at 2, 18.
28   128
         Thomas R. Frieden and Debra Houry, New England Journal of Medicine, “Reducing the Risks of Relief – The CDC
     Opioid-Prescribing Guideline” at 1503 (Apr. 21, 2016).

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 1   Washington University School of Medicine in St. Louis, called OxyContin’s twelve-hour dosing
 2   “the perfect recipe for addiction.”129 Many patients will exacerbate this cycle by taking their next
 3
     dose ahead of schedule or resorting to a rescue dose of another opioid, increasing the overall amount
 4
     of opioids they are taking. Promotion of twelve-hour dosing, without disclosing its limitations, is
 5
     misleading because it implies that the pain relief supplied by each dose lasts twelve hours.
 6

 7           233.    In addition to designing misleading marketing messages, McKinsey even suggested

 8   encouraging a new channel through which those messages could be delivered to prescribers.

 9   McKinsey encouraged the tactic of “patient pushback,” wherein McKinsey and Purdue would
10
     foment patients to directly lobby their doctors for OxyContin even when those physicians expressed
11
     reservations regarding the administration of Purdue’s opioids.
12
             234.    The idea was that McKinsey and Purdue could spread their own message through
13
     pain patients who would be perceived as more credible sources suggesting a need for controlled or
14

15   extended-release opioid—even though the team devising this strategy would have known that

16   extended-release opioids did not substantially control pain or thwart addiction better than lower-
17   dose, immediate release opioids.130
18
             235.    McKinsey also coached Purdue on building “trust” (which from its vantage point,
19
     McKinsey knew was misplaced) in Purdue following its criminal conviction.
20
                                               b.      Targeting – Selling More OxyContin to Existing
21                                                     High Prescribers
22
             236.    Perhaps the key insight McKinsey provided was, using its granular approach, to
23
     identify historically large prescribers and target ever more sales and marketing resources on them,
24
     without any regard for, and indeed conscious disregard of, patient safety. Physician targeting
25

26   proved effective. McKinsey advised Purdue that visiting high-prescribing doctors many times per

27
     129
         Harriet Ryan, “‘‘You Want a Description of Hell?’ OxyContin’s 12-Hour Problem,” Los Angeles Times, May 5,
28   2016, available at http://www.latimes.com/projects/oxycontin-part1/.
     130
         PDD8901645845

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 1   year increased sales. This relentless drive to increase sales and create greater availability of opioids
 2   was made with no notable concern about the parallel increase in opioid-related deaths, abuse, and
 3
     misuse.
 4
               237.   On January 20, 2010, Purdue’s board was informed of the ongoing work McKinsey
 5
     was performing concerning a new “physician segmentation” initiative whereby McKinsey would
 6

 7   analyze the opioid prescribing patterns of individual physicians to identify those that had

 8   historically been the highest prescribers.131 McKinsey then worked with Purdue’s sales and

 9   marketing staff to specifically target those prescribers with a marketing blitz to encourage even
10
     further prescribing.
11
               238.   Purdue trained its sales force in tactics to market to these high prescribers based on
12
     McKinsey’s insights and designed in conjunction with McKinsey.
13
               239.   Many of the historically highest prescribers of OxyContin—those same individuals
14

15   that McKinsey urged Purdue to target for ever more prescriptions—had prescribed Purdue’s

16   OxyContin before the 2007 guilty plea and had already been subjected to Purdue’s
17   misrepresentations regarding OxyContin that were the subject of that guilty plea.
18
               240.   McKinsey identified these physicians—those that had already been influenced by
19
     Purdue’s misrepresentations and were thus already high prescribers—as optimal targets for a
20
     massive marketing push to sell more OxyContin.
21

22             241.   McKinsey worked assiduously with Purdue over many years to continually refine

23   this approach and required ever-more granular data for its analysis. More than three years after the

24   initial introduction of the physician segmentation initiative, McKinsey requested, and Purdue
25   provided, “prescriber-level milligram dosing data” so that McKinsey could further analyze the
26
     individual amounts of OxyContin prescribed by individual physicians.
27

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     131
           PPLPC012000257446

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 1             242.   At the same time, it requested this “prescriber-level milligram dosing data” from
 2   Purdue, McKinsey urged the Sacklers to strictly manage the target lists of each sales representative
 3
     to assure that the maximum amount of each sales representative’s time was spent with the most
 4
     attractive customers.
 5
               243.   On July 23, 2013, Purdue’s board discussed concerns about “the decline in higher
 6

 7   strengths” of Purdue’s opioids as well as an observed decline is “tablets per Rx.” In order to assure

 8   that the threat to OxyContin sales growth be addressed, McKinsey was assigned “to actively

 9   monitor the number and size of opioid prescriptions written by individual doctors.”132
10
               244.   In unveiling Project Turbocharge to Purdue and the Sacklers, McKinsey stated that
11
     the most prolific OxyContin prescribers wrote “25 times as many OxyContin scripts” as less prolific
12
     prescribers and urged Purdue and the Sacklers to “make a clear go-no go decision to ‘Turbocharge
13
     the Sales Engine’” by devoting substantial capital toward McKinsey’s plan.133
14

15             245.   McKinsey also stated that increased numbers of visits by sales representatives to

16   these prolific prescribers would increase the number of opioid prescriptions that they would write.
17   This singular focus on increasing prescriptions was not coupled with colorable concern for the
18
     patient population.
19
               246.   By November 2013, McKinsey had obtained the physician-level data they had
20
     previously requested and continued to study ways to sell additional OxyContin prescriptions by
21

22   refining and targeting the sales pitch to them. The Purdue board was kept apprised of McKinsey’s

23   progress.

24             247.   Not only did McKinsey identify which doctors prescribed the most of Purdue’s
25   opioids, McKinsey also recommended segmenting prescribers into “types” and tailoring messages
26
     and tactics to the different prescriber profiles. For prescribers dubbed “Early Adopting Experts”
27
     132
28         PPLP004307354
     133
           PPLP004409890

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 1   and “Proactive Teachers,” defined by a willingness to use extended release opioids, including in
 2   opioid naïve patients (patients who were not already using opioids), McKinsey urged emphasizing
 3
     that its seven tablet strengths provide flexibility to “tailor the dose” to customer needs. 134 Upon
 4
     information and belief, this message aimed to encourage prescribers to initiate and maintain patients
 5
     on OxyContin long-term by reminding them they could increase the dose as patients became
 6

 7   tolerant with long-term use (rather than discontinue use when the drug lost its effectiveness).

 8           248.   In its October 26, 2009, presentation, “OxyContin – driving growth through stronger

 9   brand loyalty,”135 McKinsey proposed tactics to turnaround declining sales, “[e]nhance loyalty to
10
     OxyContin among loyalist prescribers,” “[c]onvert[ing] ‘fence sitters’ into more loyal OxyContin
11
     prescribers,” and “[p]rotect OxyContin’s market share[.]”136 In other words, McKinsey proposed
12
     increasing sales by pushing both willing and reluctant physicians to prescribe more OxyContin.
13
             249.   McKinsey also recommended a strategy to target those prescribers who did not
14

15   regularly prescribe OxyContin—so-called “Resigned Followers and ER Delayers” —encouraging

16   them to “increase step-up” to extended-release opioids. These were physicians with “low comfort
17   with extended-release opioids.” McKinsey encouraged Purdue to emphasize to them the “range of
18
     appropriate patients.” In other words, McKinsey’s strategy recommended that Purdue encourage
19
     prescribers to use OxyContin earlier in a patient’s treatment for a wider range of patients and for
20
     longer periods of time.
21

22                                         c.      Titration – Selling Higher Doses of OxyContin

23           250.   McKinsey understood that the higher the dosage strength for any individual

24   OxyContin prescription, the greater the profitability for Purdue. Of course, higher dosage strength,
25

26
27
     134
         MCK-MDL2296-0126522
     135
28       Id.
     136
         Id. at 2.

                                                    - 63 -
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 1   particularly for longer periods of use, also contributes to opioid dependency, addiction and abuse.
 2   Nonetheless, McKinsey advised Purdue to focus on selling higher strength dosages of OxyContin.
 3
               251.   Consistent with its granular growth analysis, as early as October 26, 2009,
 4
     McKinsey advised the Sacklers and the Purdue board that Purdue should train its sales
 5
     representatives to “emphasiz[e] the broad range of doses,” which would have the intended effect of
 6

 7   increasing the sales of the highest (and most profitable) doses of OxyContin.137

 8             252.   McKinsey’s work on increasing individual prescription dose strength continued

 9   throughout the time period McKinsey worked with Purdue. The Sacklers were informed on July
10
     23, 2013, that Purdue had identified weakness in prescribing rates among the higher doses of
11
     OxyContin and reassured the Sacklers that “McKinsey would analyze the data down to the level of
12
     individual physicians” in order to study ways to maximize the sales of the highest-dose OxyContin
13
     pills.
14

15             253.   Purdue implemented McKinsey’s suggestions through adopting the marketing

16   slogan to “Individualize the Dose” and by 2013 encouraged its sales representatives to “practice
17   verbalizing the titration message” when selling Purdue’s opioids to prescribers.138
18
               254.   McKinsey would have known, however, that higher doses of opioids carry greater
19
     risk. Patients receiving high doses of opioids (e.g., doses greater than 100 mg morphine equivalent
20
     dose (“MED”) per day) as part of long-term opioid therapy are three to nine times more likely to
21

22   suffer overdose from opioid-related causes than those on low doses. As compared to available

23   alternative pain remedies, scholars have suggested that tolerance to the respiratory depressive

24   effects of opioids develops at a slower rate than tolerance to opioids’ analgesic effects. The Centers
25

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     137
28         PPLPC018000346294
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           PPLP003450924

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 1   for Disease Control and Prevention also recognize that higher doses of opioids tend to increase
 2   overdose risks relative to any potential patient benefit.139
 3
             255.     Claims that opioids could be taken in ever-increasing strengths to obtain pain relief,
 4
     without disclosing that higher doses increased the risk of addiction and overdose, are deceptive and
 5
     misleading. They were particularly important to promotional efforts, however, because patients on
 6

 7   opioids for more than a brief period develop tolerance, requiring increasingly high doses to achieve

 8   pain relief. Marketers needed to generate a comfort level among doctors to ensure the doctors

 9   maintained patients on the drugs even at the high doses that became necessary.
10
             256.     Purdue adopted McKinsey’s                  Redacted        proposal.140       Redacted
11

12

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            141
14

15           257.     The titration messaging worked. Nationwide, based on an analysis by the Los

16   Angeles Times, more than 52% of patients taking OxyContin longer than three months are on doses
17   greater than sixty milligrams per day, which converts to the ninety MED that the CDC guideline
18
     urges prescribers to “avoid” or “carefully justify.”142
19
                                              d.  Covered Persons – Sales Quotas and Incentive
20                                                Compensation
             258.     McKinsey urged the use of quotas and bonus payments to motivate Purdue’s sales
21

22   force to sell as many OxyContin prescriptions as possible. As McKinsey described it, “[r]evision

23   to incentive comp could better align reps to Purdue’s economics.”143

24
     139
         Dowell D, Haegerich TM, Chou R. CDC Guideline for Prescribing Opioids for Chronic Pain – United States,
25   2016. MMWR Recomm Rep 2016;65(No. RR-1):1–49. DOI: http://dx.doi.org/10.15585/mmwr.rr6501e1
     140
          PPLPC023000251226                                          Redacted
26                                           PPLPC012000245087                          Redacted
                              PPLPC012000246009              Redacted            PPLPC021000265092 Redacted
27
     141
         PKY183123435
     142
28       CDC Guideline at 16.
     143
         PPLPC012000441016

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 1              259.   Notably, this behavior was prohibited by the 2007 Corporate Integrity Agreement,
 2   which required Purdue to implement written policies regarding “compensation (including salaries
 3
     and bonuses) for [sales representatives] engaged in promoting and selling Purdue’s products that
 4
     are designed to ensure that financial incentives do not inappropriately motivate such individuals to
 5
     engage in the improper promotion or sales of Purdue’s products.”144
 6

 7              260.   By 2010, Purdue had implemented a four-year plan, consistent with McKinsey’s

 8   strategy, to dramatically increase the quota of required annual sales visits by Purdue sales

 9   representatives to prescribers. The quota was 545,000 visits in 2010, 712,000 visits in 2011,
10
     752,000 in 2012, and 744,000 visits in 2013.
11
                261.   On August 15, 2013, as part of their “Identifying Granular Growth Opportunities
12
     for OxyContin” presentation, McKinsey urged the Sacklers to “establish a revenue growth goal
13
     (e.g., $150M incremental stretch goal by July 2014) and set monthly progress reviews with CEO
14

15   and Board.”145

16              262.   In its “Identifying Granular Growth Opportunities for OxyContin” presentation to
17   the Purdue board in July 2013, McKinsey nonetheless urged Purdue, in addition to increasing the
18
     focus of the sales force on the top prescribers, to increase the overall quotas for sales visits for
19
     individual sales representatives from 1,400 to 1,700 annually.
20
                263.   In 2013, McKinsey identified one way that Purdue could squeeze more productivity
21

22   out of its sales force: by slashing one third of the time that Purdue devoted to training its sales force

23   (from 17.5 days per year to 11.5 days):

24

25

26
27
     144
28         PDD1712900096 (emphasis added).
     145
           PPLP004409890

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14          264.    By eliminating one third of the amount of time sales representatives were required
15   to be in training, McKinsey projected that Purdue could squeeze an additional 5% of physical calls
16
     per day out of its newly less-trained sales force.
17
            265.    Additionally, McKinsey developed and advised Purdue on a new incentive
18
     compensation structure for the sales representatives, who were Covered Persons pursuant to the
19
20   Corporate Integrity Agreement. McKinsey knew that, combined with the strictures of sales quotas

21   and less training for the sales force, bonus/incentive compensation to the sales representatives based

22   on the number of OxyContin prescriptions the representative produced could be a powerful driver
23
     of incremental OxyContin sales, without regard for patient safety.
24
                    vii.    Transformation: Purdue and McKinsey Adopt and Implement
25                          McKinsey’s Strategies.

26          266.    As early as September 11, 2009, McKinsey determined and told Purdue that it could
27
     generate $200 million to $400 million in additional annual sales of OxyContin by implementing
28
     McKinsey’s strategy based on the opportunities its granular growth analysis had identified.

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 1   McKinsey reiterated its assurances regarding the hundreds of millions of dollars of additional
 2   OxyContin sales on January 20, 2010.
 3
            267.    Purdue accepted and, with McKinsey’s ongoing assistance, implemented
 4
     McKinsey’s strategies for selling and marketing OxyContin.
 5
            268.    For instance, in January 2010, Purdue was training its sales and marketing force on
 6

 7   the new sales tactics based on a “physician segmentation” initiative that McKinsey urged. The

 8   strategy developed as a result of McKinsey’s granular analysis of OxyContin sales channels. The

 9   initiative sought to identify the most prolific OxyContin prescribers and then devote significant
10
     resources towards convincing those high prescribers to continue to prescribe ever more OxyContin,
11
     in higher doses, for longer times, to ever more patients.
12
            269.    On January 20, 2010, the Purdue board was informed of the progress in
13
     implementing McKinsey’s “physician segmentation” initiative.
14

15          270.    This transformative collaboration would continue over the course of the relationship

16   between Purdue and McKinsey.
17          271.    During the time that McKinsey was working with Purdue, Purdue deliberately
18
     minimized the importance of the Corporate Integrity Agreement. In 2008, Carol Panara joined the
19
     Purdue sales force from rival Novartis. She would stay with the company until 2013, during which
20
     time McKinsey was responsible for increasing OxyContin sales at Purdue, and culminating with
21

22   the implementation of McKinsey’s “Project Turbocharge,” beginning September 2013.

23          272.    Ms. Panara stated that the 2007 guilty plea was deliberately minimized by the

24   company in presentations to its sales staff: “They said, ‘We were sued, they accused us of mis-
25   marketing, but that wasn’t really the case. In order to settle it and get it behind us we paid a fine.’
26
27

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 1   You had the impression they were portraying it as a bit of a witch hunt.”146 (Purdue and its
 2   executives paid $634.5 million in fines.)
 3
             273.     Consistent with McKinsey’s mandate, McKinsey devised methods for sales staff to
 4
     sell OxyContin to doctors while at the same time maintaining technical compliance with the
 5
     Corporate Integrity Agreement. Ms. Panara stated that, though she was told she could not flatly
 6

 7   claim that OxyContin was better or safer than other opioids, “she was trained to talk about product

 8   in ways that implied that it was safer.” She might tout OxyContin’s twelve-hour formulation to a

 9   prescriber. “You could say that with a shorter-acting medication that wears off after six hours, there
10
     was a greater chance the patient was going to jump their dosing schedule and take an extra one a
11
     little earlier. We couldn’t say [it was safer], but I remember we were told that doctors are smart
12
     people, they’re not stupid, they’ll understand, they can read between the lines.”147
13
                      viii.   Project Turbocharge a/k/a Evolve to Excellence a/k/a E2E
14

15           274.     The Corporate Integrity Agreement expired in January 2013. With this restriction

16   lifted, McKinsey devised additional marketing and sales strategies for Purdue to further increase
17   OxyContin sales.
18
             275.     On May 14, 2013, McKinsey entered into a “Statement of Services to the Master
19
     Consulting Agreement” (the “2013 Agreement”) with Purdue to “conduct a rapid assessment of the
20
     underlying drivers of current OxyContin performance, identify key opportunities to increase near-
21

22   term OxyContin revenue and develop plans to capture priority opportunities.”                         Redacted


23

24                                                                              148


25

26
27   146
         David Crow, How Purdue’s ‘one-two’ punch fuelled the market for opioids, Financial Times, September 9, 2018,
     available at: https://www.ft.com/content/8e64ec9c-b133-11e8-8d14-6f049d06439c
     147
28       Id.
     148
         PPLPC030000770531

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 1           276.   The 2013 Agreement stated, “We have a long history of partnership with Purdue,
 2   and we would make best efforts to leverage our understanding of your business – both in terms of
 3
     content and culture.” It was signed by then-principal Arnab Ghatak, who would “lead the team with
 4
     senior leadership from Rob Rosiello and Martin Elling.” Elling was a leader of McKinsey’s PMP
 5
     group.149
 6

 7           277.   McKinsey was tasked with “Identifying Granular Growth Opportunities for

 8   OxyContin,” conducting an “assessment of the underlying drivers of current OxyContin

 9   performance,” identifying “key opportunities to drive near-term OxyContin performance,” and
10
     developing “plans to capture priority opportunities.”150
11
             278.   For purposes of the project, McKinsey would need “[f]ull access to work done to
12
     date and key data.”151 And,                                Redacted
13
                                                                152
14

15           279.   Staff told the Sacklers that McKinsey would study how to get doctors to prescribe

16   more OxyContin,153 how to use incentive compensation to push reps to generate more prescriptions,
17   how to use “patient pushback” to get doctors to prescribe more opioids, and how to keep patients
18
     on opioids longer.154
19
             280.   The 2013 Agreement would lead to Project Turbocharge, McKinsey’s successful
20
     bid to transform Purdue’s sales and marketing efforts for OxyContin now that Purdue was no longer
21

22   bound by the Corporate Integrity Agreement.

23

24

25
     149
26       Id.
     150
         PPLPC030000770531 / MCK-MAAG-0024283
     151
27       Id.
     152
         PPLPC012000431809
     153
28       PPLPC012000431262
     154
         Id.; PPLPC012000431266

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 1           281.    In the summer of 2013, McKinsey made multiple recommendations to Purdue’s
 2   board to increase OxyContin revenue, and urged the Sackler family to “make a clear go-no-go
 3
     decision to ‘Turbocharge the Sales Engine.”
 4
             282.    Purdue, like McKinsey, recognized that the initiative was no small thing. An internal
 5
     Purdue email states that                                   Redacted
 6
                                                          155
 7

 8           283.    The Sacklers were impressed. On August 15, 2013, Richard Sackler emailed

 9   Mortimer D.A. Sackler, “[T]he discoveries of McKinsey are astonishing.”
10
             284.    Eight days later, on August 23, 2013, McKinsey partners met with the Sackler
11
     family—not the Purdue board of directors—to pitch Project Turbocharge. Dr. Arnab Ghatak, one
12
     of the McKinsey partners leading the Purdue account, recounted the meeting to fellow McKinsey
13
     partner Martin Elling in an email exchange: “[T]he room was filled only with family, including the
14

15   elder statesman Dr. Raymond [Sackler] . . . . We went through exhibit by exhibit for about 2 hrs . .

16   . . They were extremely supportive of the findings and our recommendations . . . and wanted to
17   strongly endorse getting going on our recommendations.”156
18
             285.    Elling, a co-leader of the Purdue account, remarked in the same email
19
     correspondence that McKinsey’s “findings were crystal clear to” the Sacklers, and that the Sacklers
20
     “gave a ringing endorsement of ‘moving forward fast.’”157
21

22           286.    As a result of the Sackler family endorsement of McKinsey’s proposals, the

23   following      month   Purdue   implemented     Project    Turbocharge    based    on   McKinsey’s

24   recommendations. In adopting “Project Turbocharge,” Purdue acknowledged the improper
25

26
27
     155
         PPLPC012000437344
     156
28       MCK-MDL2996-0403095
     157
         Id.

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 1   connotations of the name, and re-christened the initiative the decidedly more anodyne “E2E: Evolve
 2   to Excellence.”158
 3
               287.   Evolve to Excellence (“E2E”) was the theme of Purdue’s 2014 National Sales
 4
     Meeting.
 5
               288.   CEO John Stewart also told sales staff that board member Paolo Costa was a
 6

 7   “champion for our moving forward with a comprehensive ‘turbocharge’ process,” referring to

 8   McKinsey’s plan.

 9             289.   After Purdue adopted McKinsey’s recommendations, McKinsey continued to work
10
     with Purdue sales and marketing staff reporting to Russell Gasdia during Purdue’s implementation
11
     of McKinsey’s recommendations.
12
               290.   In fact, the entire E2E initiative was overseen by McKinsey and some Purdue
13
     executives, who together comprised the E2E Executive Oversight Team and Project Management
14

15   Office.

16             291.   At the same time, the Sacklers were kept informed of the implementation of
17   McKinsey’s OxyContin strategy. According to a September 13, 2013, board agenda, the board
18
     discussed with the Sacklers the ongoing implementation of McKinsey’s sales tactics.
19
               292.   Evolve to Excellence called for a doubling of Purdue’s sales budget. Under
20
     McKinsey’s prior tutelage, Purdue’s promotional spending had already skyrocketed. McKinsey’s
21

22   ongoing influence on Purdue’s operations after the 2007 guilty plea is stark:

23

24

25

26
     158
27      Regarding the name change, CEO John Stewart wrote to McKinsey partners Rob Rosiello and Arnab Ghatak on
     August 15, 2013: “Paolo Costa was especially engaged in the discussion and he (among others) will be a champion for
28   our moving forward with a comprehensive ‘turbocharge’ process – though we do need to find a better and more
     permanently appropriate name.” PPLPC012000436626 (emphasis added).

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14           293.     At the time of McKinsey’s first known work for Purdue, Purdue spent

15   approximately $5 million per quarter on sales and marketing. By the time McKinsey’s Project
16   Turbocharge was implemented, total quarterly sales and marketing spending at Purdue exceeded
17
     $45 million, an increase of 800%.
18
             294.     Project Turbocharge continued despite the arrival of a new CEO at Purdue. On
19
     January 17, 2014, new CEO Mark Timney received reports from McKinsey emphasizing that, in
20

21   order to increase profits, Purdue must again increase the number of sales visits to “high-value”

22   prescribers, i.e., those that prescribe the most OxyContin.159

23

24
     159
        In fact, recent deposition testimony suggests McKinsey may have been responsible for the fact that Timney was
25   given the CEO job at Purdue in the first place. On October 30, 2020, Timney provided the following testimony
     (emphasis added):
26                      Q: Are you familiar with McKinsey & Company?
                        A: I decline to answer on the ground that I may not be compelled to be a witness against
27                      myself in any proceeding.
                        Q: Did individuals at McKinsey assist you in getting hired as the CEO of Purdue?
28                      A: I decline to answer on the ground that I may not be compelled to be a witness against
                        myself in any proceeding.

                                                         - 73 -
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 1            295.     Purdue and McKinsey worked together to implement “Turbocharging the Sales
 2   Engine.”                                                   Redacted
 3

 4
                                                                                                               160

 5
              296.     McKinsey and Purdue also worked together on an “implementation plan” for E2E,
 6

 7   with McKinsey taking on the role of “executive oversight” of projects including the creation of

 8   target lists, internal dashboards to track progress, and changes to Purdue’s incentive compensation

 9   plan consistent with E2E.161
10
                                1.       Targeting High Subscribers
11
              297.     Project Turbocharge called for revising the existing process for targeting high-
12
     prescribing physicians, with a shift from targeting solely on the basis of prescription deciles to
13
     considering additional factors. Based on its analysis, McKinsey told Purdue that “[t]here is
14

15   significant opportunity to slow the decline of OxyContin by calling on more high-value physicians”

16   and that “[t]he revenue upside from sales re-targeting and adherence could be up to $250 million.”
17            298.     The core objective of McKinsey’s initiative was to ensure that Purdue was “making
18
     calls on the highest potential customers with the right frequency to maximize prescribing potential.”
19
              299.     McKinsey determined and advised Purdue that the top half of prescribing physicians
20
     “write on average 25 times more scripts per prescriber” than the lower half. McKinsey advised that
21

22   Purdue would see a greater return on its sales investment by focusing on these targets, including on

23

24
     In fact, McKinsey appears to have played a substantial role in the succession of several Purdue CEO’s. Martin
25   Elling, in his 2018 annual self-assessment, provided the following example of “how I deliver impact:”
     “Actively managing CEO/CXO transitions: … from Michael Friedman to John Stewart (2007) to Mark
26   Timney (2014) to Craig Landau (2017) at Purdue.” MCK-MDL2996-0357931. “I drove our introduction of
     Purdue in 2004 and then, with Rob Rosiello, built it into a substantial and sustaining client… We have served
27   across four CEOs and are now helping the new leadership team adapt to a world of headwinds for their core
     product OxyContin,” he added. MCK-MDL2996-0357931.
     160
28       PPLPC021000615265
     161
         MCK-MDL2996-0180338, at 0180340

                                                            - 74 -
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 1   prescribers with alarming prescribing patterns that raised red flags they were writing
 2   “prescriptions” for non-medical use. McKinsey’s plan aimed at boosting sales of OxyContin by
 3
     targeting the highest volume opioid prescribers, without addressing whether the expanded sales
 4
     would be for an illicit market.
 5
             300.    McKinsey found that Purdue did not “focus on the highest potential docs,” measured
 6

 7   both by the number of prescriptions and reimbursement considerations.162 One McKinsey analyst

 8   urged McKinsey to recommend Purdue target “[l]iterally, at least all” prescribers in the top 20% of

 9   prescribers, “minus another few percent who are no sees[.]”163 McKinsey team lead Arnab Ghatak
10
     replied that “they probably have 20% no see[], but i’d also assume there are not many high writers
11
     that are no see.”164 (“No see” prescribers are prescribers who do not accept visits from
12
     pharmaceutical sales representatives. Thus, McKinsey recognized that most of the highest volume
13
     prescribers, or “high writers” of prescriptions, were willing to entertain sales visits from sales
14

15   representatives.)

16           301.    “To put this in perspective,” McKinsey stated,
17           the average prescriber in decile 5-10 [the top half of prescribers by volume] writes
             25 times as many OxyContin scripts as a prescriber in decile 0-4. In Q1 2013 the
18
             majority (52%) of OxyContin primary calls were made to decile 0-4 prescribers.
19           Including the secondary calls, 57% of the primary detail equivalents (PDEs) were
             made to decile 0-4 prescribers. Best practice in the industry is over 80% of effort on
20           higher value prescribers.”
21           302.    McKinsey concluded: “Given that there are 14,000 uncalled physicians in deciles 5-
22
     10, there is significant opportunity to shift calls to higher potential prescribers.”165
23
             303.    McKinsey pointed to a “true physician example” in Wareham, Massachusetts, who
24
     wrote 167 more OxyContin prescriptions after Purdue sales reps visited him.166
25

26
     162
         MCK-MDL2996-0364024
     163
27       MCK-MDL2996-0364267
     164
         Id.
     165
28       MCK-MDL2996-0187168 / PPLP004409892
     166
         PPLPC012000437356

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             304.   To slow or reverse the decline in OxyContin sales, McKinsey recommended a shift
11
     to “value deciles,” which purported to weigh prescribers according to factors including overall
12
     opioid prescriptions, including the number of branded versus generic prescriptions; prescriber rules
13
     in place limiting sales calls; managed care access; and the number of the prescribers new to brand
14

15   prescriptions, including new opioid patients and switches from other opioid products.167 The

16   cumulative effect of the value rankings was to shift detailer emphasis onto the highest-volume
17   prescribers. Further, McKinsey’s analysis found that the highest-volume prescribers were
18
     themselves most influenced by detail visits.
19
             305.   Purdue moved quickly to do as McKinsey advised. All sales representatives
20
     received a memo on December 23, 2013, identifying how to select “SuperCore” prescribers, or the
21

22   top ten targets,168 in their territory according to the E2E high prescribing principles and required

23   that each SuperCore prescriber be visited at least twice a month. 169             Redacted

24

25

26
27
     167
         PPLPC022000646874
     168
28       MCK-MDL2996-0316833
     169
         PURCHI-000005915

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 1                                                                                                               170
                                                      Redacted

 2   As part of these changes, McKinsey’s plan involved more minimum sales calls overall.171
 3
                 306.                                             Redacted
 4

 5
                        who later plead guilty to criminal charges related to an opioid drug ring. The
 6

 7   prescriber also surrendered his license to practice after an Ohio Medical Board investigation

 8   revealed that he prescribed excessive and dangerous combinations of opioids and muscle relaxers

 9   and that he prescribed opioids to a patient who complained of headaches and others who showed
10
     signs of addiction.172 The same prescriber received at least sixty visits from Purdue from mid-2013
11
     through 2016.173
12
                 307.                                             Redacted
13

14

15                                                        The doctor, who worked at a family practice, was

16   charged with involuntary manslaughter, Medicaid fraud, drug trafficking, grand theft, and other
17   offenses.
18
                 308.                                             Redacted
19
20
           174
                  In 2018, the Drug Enforcement Administration issued an Order to Show Cause and
21

22   Immediate Suspension Order to Dr. Khan-Jaffrey over concerns that her DEA registration

23   “constituted an imminent danger to the public health and safety,” finding she prescribed opioids

24   without a legitimate medical purpose and disregarded urine screens indicating abuse and
25
     170
26       PPLPC022000686986
     171
         MCK-MDL2996-0187168
     172
27       https://www.cnhinews.com/article_91ffac58-1b32-11e8-b264-6b34793bf5c3.html
     173
         Public information about visits at which a payment was made is available for this time period through “Open
28   Payments.”
     174
         PPLPC014000257127

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 1   diversion.175 Dr. Khan-Jaffrey’s DEA registration was fully revoked on July 28, 2020.176 Dr. Louis
 2   Spagnoletti, of Marlton, New Jersey,                                    Redacted
 3         177
                 lost his state license to prescribe controlled substances in 2018.178 Similarly, Dr. Vivienne
 4
     Matalon, a Decile 10 prescriber from Cherry Hill, New Jersey,                             Redacted
 5
                    179
                          went on to lose her license in 2018 as well, for allegedly receiving kickbacks to
 6

 7   prescribe the fentanyl drug Subsys to three patients, including one that died.180

 8               309.     Another prescriber, Dr. Damon Cary of Wilmington, Delaware,                      Redacted


 9                                                                                      181
                                                                                              received an emergency
10
     suspension order in 2019 after prescribing controlled substances, including opioids, to undercover
11
     officers without performing any medical examinations.182 Dr. Eva Dickinsson, of Harrington,
12
     Delaware,                                                Redacted
13
           183
                 was arrested on marijuana charges in 2016 and had her license suspended in 2017 for
14

15   sharing drugs, including opioids, with her patients.184

16               310.     Dr. Michael Cozzi of Fort Wayne, Indiana,                            Redacted

17                                                                            had his medical license suspended
18
     in 2016, where he had prescribed more controlled substances than any other Indiana prescriber,
19
     with over two million doses of oxycodone, seeing ninety to100 patients a day.185 Dr. Jamie Gurrero,
20

21
     175
22        https://www.federalregister.gov/documents/2020/07/29/2020-16387/kaniz-f-khan-jaffery-md-decision-and-order
     176
          Id.
     177
23        PPLPC014000257127
     178
          https://patch.com/new-jersey/moorestown/state-suspends-doctor-accused-illegally-prescribing-opioids
     179
24        PPLPC014000257127
     180
          https://nj.gov/oag/newsreleases18/pr20180504d.html
     181
25        PPLPC014000257130
     182
         https://www.delawareonline.com/story/news/health/2019/08/05/doctor-prescribed-opioids-undercover-cops-failed-
26   follow-protocol/1920386001/
     183
          PPLPC014000257130
     184
27       https://www.delawareonline.com/story/news/health/2017/01/19/doctors-license-suspended-delaware-
     maryland/96779080/
     185
28         https://www.wane.com/news/fort-wayne-pain-doctors-medical-license-suspended/ (He later died in a tractor
     accident, https://www.journalgazette.net/news/local/police-fire/20180816/tractor-accident-kills-pain-doctor)

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 1                                                      Redacted

 2                                 186
                                         was sentenced to 100 months in prison in 2016 after pleading guilty
 3
     to unlawful distribution or dispensing of controlled substances, health care fraud, conspiracy, and
 4
     money laundering.187
 5
             311.                                                  Redacted
 6

 7                                         Misrepresentations to these prescribers were especially insidious

 8   because they were aimed at general practitioners who lack the time and expertise to closely manage

 9   higher-risk patients on opioids.
10
             312.     McKinsey also urged, consistent with continually refining its granular approach,
11
     that sales representatives devote two-thirds of their time to selling OxyContin and one-third of their
12
     time selling Butrans, another Purdue opioid product. Previously, the split had been fifty-fifty.
13
                              2.         Circumventing Safeguards Against Abuse and Diversion
14

15           313.     Project Turbocharge also involved a granular analysis of Purdue’s individual sales

16   channels. In its August 8, 2013, report to the Purdue board, McKinsey also attributed the decline
17   in OxyContin sales to safeguards to limit suspicious opioid sales. McKinsey informed Purdue that
18
     “[t]he retail channel, both pharmacies and distributors, is under intense scrutiny and direct risk.”
19
     “There are reports of wholesalers stopping shipments entirely to an increasing number of
20
     pharmacies,” “[m]any wholesalers are also imposing hard quantity limits on orders based on prior
21

22   purchase levels,” and “[p]harmacy chains are implementing guidelines for which patients can fill

23   opioid prescriptions[.]”188

24           314.     For instance, McKinsey recommended that Purdue circumvent pharmacies entirely
25   with a mail order program because enforcement by federal regulators was decreasing OxyContin
26
     186
27       PPLPC014000257130
     187
         https://www.justice.gov/usao-wdky/pr/kentuckiana-anesthesiologist-sentenced-100-months-unlawful-distribution-
28   controlled
     188
         MCK-MAAG-0024297

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 1   dispensing through Walgreens. McKinsey informed the Sacklers that “[d]eep examination of
 2   Purdue’s available pharmacy purchasing data shows that Walgreens has reduced its units by 18%.”
 3
     Further, “the Walgreens data also shows significant impact on higher OxyContin dosages.”189
 4
             315.   In order to counter these perceived problems, McKinsey suggested that Purdue’s
 5
     owners lobby Walgreens specifically to increase sales and circumvent the safeguarding sales limits.
 6

 7   It also suggested the establishment of a direct-mail specialty pharmacy so that Purdue could

 8   circumvent Walgreens and sell directly to Walgreens’ customers. Finally, McKinsey suggested the

 9   use of opioid savings cards distributed in neighborhoods with Walgreens locations to encourage
10
     the use of Purdue’s opioids despite Walgreens actions.
11
             316.   McKinsey’s initiative also included ways to circumvent these safeguards. McKinsey
12
     recommended that the sales force distribute vouchers and “starter kits” for patients who faced co-
13
     pays for OxyContin prescriptions.190 In particular, McKinsey recommended dispensing vouchers
14

15   to outlets of a specific large national pharmacy chain where prescriptions and OxyContin

16   inventories were down.191 This chain, as part of its own settlement with the Drug Enforcement
17   Administration, had removed pharmacist bonuses for dispensing opioids.192
18
                           3.      Incentivizing Opioid Sales
19
             317.   McKinsey’s “turbocharging” plan also had other elements.             Redacted
20

21

22
23

24                                                                     194


25
     189
26       Id.
     190
         MCK-MDL2996-0290827.
     191
27       MCK-MDL2996-0041646.
     192
         MCK-MDL2996-0104431; MCK-MDL2996-0041646.
     193
28       PPLPC012000437346.
     194
         Id.

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 1                    ix.      McKinsey’s Efforts Triple OxyContin Sales
 2           318.     In 2013, despite significant headwinds, with marketing activities turbocharged,
 3
     OxyContin sales peaked. The restrictions on Purdue’s sales and marketing methods contained in
 4
     the Corporate Integrity Agreement should have resulted in fewer overall OxyContin sales; the
 5
     guilty plea identified a specific segment of existing OxyContin sales that were illegitimate and
 6

 7   should thus cease. All else being equal, OxyContin sales should have decreased to account for the

 8   successful elimination of improper sales. In fact, OxyContin sales did decrease in the immediate

 9   aftermath of the 2007 guilty plea.
10
             319.     And within five years, however, OxyContin sales would triple. McKinsey is
11
     responsible for the strategy that accomplished this. It presented specific plans to Purdue, which
12
     Purdue adopted and spent hundreds of millions of dollars implementing. The result: a final spasm
13
     of OxyContin sales before the inevitable decline of the drug.195
14

15           320.     The Purdue McKinsey collaboration was a spectacular success. Between the 2008

16   and 2016, Purdue distributed in excess of $4 billion to the Sackler family, with $877 million
17   distributed in 2010 alone.
18
             321.     These distributions would not have been possible without the McKinsey’s work
19
     dramatically increasing OxyContin sales.
20
             322.     The Sacklers were aware of the value McKinsey provided: on December 2, 2013,
21

22   CEO John Stewart informed Kathe Sackler and Vice President of Sales and Marketing Russell

23   Gasdia Project Turbocharge “was already increasing prescriptions and revenue.” Crucially, these

24   results were already being realized before the strategy was fully deployed as the theme of the 2014
25   National Sales Meeting. Stewart elaborated to Sackler that “trends are more positive than was the
26
27
     195
28      On February 10, 2018, Purdue announced that it is no longer marketing opioids, and disbanded its OxyContin sales
     force.

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 1   case a few months back, and when the E2E Project (the changes arising out of the McKinsey
 2   analysis) is fully implemented there will certainly be additional increases.”196
 3
              323.     Later that month,                                       Redacted
 4
                                                                  .197
 5
              324.     McKinsey’s contributions to Purdue’s growth after 2007 are remarkable. OxyContin
 6

 7   sales should have naturally declined; the Department of Justice identified OxyContin sales that

 8   were illegitimate because of Purdue’s conduct, and the Inspector General of the Department of

 9   Health and Human Services entered into a Corporate Integrity Agreement whereby Purdue was
10
     monitored to assure that those sales did not continue.
11
              325.     In 2007, the year of Purdue’s guilty plea, net sales of OxyContin totaled
12
     approximately $1 billion.198
13
              326.     The guilty plea “did little to stem Purdue’s blistering growth rate.” In fact, by 2010,
14

15   after McKinsey was advising Purdue on how to maximize sales, OxyContin sales exceeded $3

16   billion: a tripling of revenue from OxyContin sales.199
17            327.     Under McKinsey’s guidance, OxyContin sales would reach their all-time peak in
18
     2013, the year McKinsey proposed, and Purdue adopted, Project Turbocharge.200 That OxyContin
19
     sales peaked in 2013 is especially notable, given that overall opioid prescriptions had already
20
     peaked three years earlier, in 2010.201 McKinsey’s efforts added a final boost to OxyContin sales
21

22   before the eventual unraveling, and Purdue’s decision, in the end, to cease marketing the drug.

23
     196
         PPLPC012000454422
     197
24       PPLPC012000457292
     198
         See David Crow, How Purdue’s ‘one-two’ punch fueled the market for opioids, Financial Times, September 9, 2018,
25   available at: https://www.ft.com/content/8e64ec9c-b133-11e8-8d14-6f049d06439c
     199
         Id.
     200
26       Phil McCausland and Tracy Connor, OxyContin maker Purdue to stop promoting opioids in light of epidemic, NBC
     News, February 10, 2018, available at: https://www.nbcnews.com/storyline/americas-heroin-epidemic/oxycontin-
27   maker-purdue-stop-promoting-opioids-light-epidemic-n846726
     201
         Gery P. Guy Jr, at al., Vital Signs: Changes in Opioid Prescribing Patterns in the United States, 2006-2015, Centers
28   for Disease Control and Prevention, July 7, 29017, available at: https://www.cdc.gov/mmwr/volumes/66/
     wr/mm6626a4.htm

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 1           328.   Project Turbocharge was a continuing success.                 Redacted

 2                                                            202
                                                                    and Chief Financial Officer Edward
 3
     Mahoney reported to the Purdue board that the effort “has resulted in significant improvement.”
                                                                                                        Redacted




 4

 5
                        .203
 6

 7           329.   McKinsey was paid handsomely: it received more than        Redacted   for its work for

 8   Purdue from 2008 to 2013 alone.204 In pursuit of these profits, McKinsey continued to help Purdue

 9   grow opioid sales even after Purdue reached a 2015 Assurance of Discontinuance with New York
10
     arising out of an investigation concerning its Abuse and Diversion Detection program and media
11
     coverage highlighted its lack of attention to diversion control. McKinsey’s own work elsewhere
12
     identified “reducing prescribing” as among the efforts to combat the opioid epidemic and also
13
     showed that opioid prescribers were frequently writing prescription for patients with known risks
14

15   of abuse. Still, McKinsey continued to work to help opioid manufacturers increase opioid sales,

16   including through Purdue’s deceptive marketing campaign.
17           330.   By 2014, according to Purdue, there were 5.4 million OxyContin prescriptions
18
     written, 80% for twelve-hour dosing. Of those prescriptions, more than half were for doses greater
19
     than sixty milligrams per day.
20
             331.   The Sackler family has withdrawn over $10 billion from Purdue since 2008,
21

22   including $1.7 billion in 2009 alone. These distributions were made possible by McKinsey’s

23   services and came at the expense of a deepening national opioid crisis.

24           e.     McKinsey’s Opioid-Related Work with Other Clients.
25

26
27
     202
         PPLPC037000159028
     203
28       PPLPC014000263961
     204
         PPLPC029000547371

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 1           332.      Part of the unique value McKinsey provides is its deep knowledge of its clients’
 2   competitors, often because it counts those same competitors as its clients. McKinsey generally does
 3
     not disclose to its clients its work for their competitors.
 4
             333.      The opioid industry was no different. Indeed, McKinsey specifically worked to
 5
                                                         Redacted
 6

 7
                             205
 8
 9                   i.   Endo
10
             334.      While McKinsey was working for Purdue, McKinsey was also working for Endo
11
     Pharmaceuticals. Arnab Ghatak was a principal McKinsey partner on both accounts at the same
12
     time.206 There was additional overlap between the McKinsey teams staffed to Purdue and Endo,
13
     including McKinsey partners Nicholas Mills and Laura Moran. After all, these particular
14

15   consultants had granular expertise in the specific subject-matter relevant to these opioid

16   manufacturers. That subject-matter expertise is a compelling reason why McKinsey is hired in the
17   first place. McKinsey advised both Endo and Purdue how to maximize the sales or their branded
18
     opioid products—Belbuca (Buprenorphine), Butrans (Buprenorphine), Opana (Oxymorphone), and
19
     OxyContin (Oxycodone) —all at once.
20
                               1.       New Blues
21

22           335.      Like Purdue, Endo was historically a pharmaceutical manufacturer focused on the

23   pain market. Like Purdue, Endo relied on opioid sales for a significant portion of its business. As a

24
     205
25      MCK-MDL2996-0041741.
     206
        Ghatak’s familiarity with both Endo and Purdue is perhaps one reason why, on April 3, 2014, Ghatak was placed in
26   charge of analyzing a proposed partnership between Purdue and Endo to sell opioids. Lauran Moran described the
     “partnership workstream” that McKinsey was then performing for Purdue to identify ways for Purdue to obtain near-
27   term growth. She stated that Purdue and McKinsey “agreed the partnerships workstream should include the top 3
     potential partners (Valeant, Endo and Pfizer for now). And for each what assets each partner would bring and what
28   growth (most importantly) would the deal bring. Arnie [Ghatak] and Phil to work out Endo and Valeant, John G and
     Raul to do Pfizer tomo.” MCK-MDL2996-0421790.

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 1   matter of fact, Endo’s history with opioids predates the Sacklers’ ownership of Purdue. In 1950,
 2   Endo’s predecessor, Intravenous Products of America, Inc., launched Percodan, an
 3
     Oxycodone/Aspirin tablet. In 1971, Endo, then owned by E.I. du Pont de Nemours and Company
 4
     (“DuPont”), launched Percocet, another oxycodone-based tablet.207
 5
             336.   In 1997, Endo separated from DuPont to become a standalone private company
 6

 7   retaining Percodan and Percocet.208 In 2000, as the result of an acquisition, the company became

 8   public.209

 9           337.   In 2006, Endo launched its own branded oxymorphone products, Opana and Opana
10
     ER.210 With the legacy assets of Percodan and Percocet, Endo’s business had always been focused
11
     on opioid sales. Oxymorphone is not a new opioid, and Opana was not Endo’s first oxymorphone
12
     product. It was first synthesized more than a century ago in Germany. Endo began selling it in the
13
     United States in 1959 under the name Numorphan.
14

15           338.   Numorphan was referred to as “blues,” after the color of the 10mg pills. It delivered

16   a more euphoric high than heroin, according to some. In 1974, the National Institute on Drug Abuse
17   noted in its “Drugs and Addict Lifestyle” report that Numorphan was popular as an abused drug
18
     for its quick and sustained effect.211 By 1979, Endo withdrew Numorphan from the market. Upon
19
     information and belief,                                    Redacted
20
                        212
21

22
23
     207
24       https://www.endo.com/about-us/history#fragment-25
     208
         https://www.endo.com/about-us/history#fragment-24
     209
25       https://www.endo.com/about-us/history#fragment-21
     210
         https://www.endo.com/about-us/history#fragment-15
     211
26       John Fauber & Kristina Fiore, Abandoned Painkiller Makes a Comeback, MedPage Today (May 10, 2015),
     available at: https://www.medpagetoday.com/psychiatry/addictions/51448
     212
27       EPI000443330                                            Redacted
                                   ENDO-OPIOID-MDL-06246554                      Redacted
28


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 1           339.    The memory of the 1970s Numorphan addiction crises did not fade quickly. In 1989,
 2   the film Drugstore Cowboy featured Matt Dillon as an addict in the 1970s who robs drug stores to
 3
     obtain drugs to sell in order to finance his opioid dependency.213 In one scene, an addict asks
 4
     Dillon’s character if he has any “blues.” Dillon’s character explains that “blues” are increasingly
 5
     hard to find, and offers to sell morphine sulfate to an addict instead. The addict explained that he
 6

 7   much preferred the Numorphan, but settled for the morphine.214

 8           340.    With the launch of Opana, Endo decided it was time for history to repeat itself. After

 9   Opana’s approval in 2006, Endo solidified its position as a pain specialist among manufacturers.
10
     By 2012, opioid sales accounted for approximately $403 million of Endo’s $3 billion in revenue,
11
     more than 10%. From 2010 to 2013, total Opana ER revenue alone exceeded $1.1 billion.
12
             341.    Opana and Numorphan were both oxymorphone. The brand name was the only thing
13
     that changed. What Endo removed from the market in 1979 due to abuse concerns, it re-introduced
14

15   27 years later. After 2006, Opana was on occasion referred to as “blue heaven,” or, more to the

16   point, “new blues.”215
17           342.    In 2017, Endo would once again remove its branded oxymorphone product from the
18
     market, and for the same reason. Endo’s abuse-deterrent formulation of Opana was removed at the
19
     request of the FDA due to acute concerns about its abuse potential.
20
             343.    In addition to its branded products, Endo, through subsidiaries Qualitest
21

22   Pharmaceuticals, Inc. and, after its acquisition in 2015, Par Pharmaceuticals, also manufactured

23   generic versions of oxycodone, oxymorphone, hydromorphone, and hydrocodone. Over the course

24   of McKinsey’s relationship with Endo, McKinsey would repeatedly advise Endo how to maximize
25   its generics business in addition to sales of Endo’s branded opioids.
26
27
     213
         See https://www.imdb.com/title/tt0097240/; https://www.bionity.com/en/encyclopedia/Oxymorphone.html
     214
28       Scene from Drugstore Cowboy, available at: https://www.youtube.com/watch?v=TksvZdrx9_A
     215
         https://www.deadiversion.usdoj.gov/drug_chem_info/oxymorphone.pdf

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 1                             2.       Old Friends
 2           344.     McKinsey’s relationship with Endo began as early as in 2006, the same year as the
 3
     Opana launch.
 4
             345.     McKinsey’s earliest known work with Endo concerned the launch of Opana in
 5
     Europe, but its relationship with Endo would expand to encompass all aspects of Endo’s business,
 6

 7   including corporate organization and resource allocation, the launch of a new branded

 8   Buprenorphine product, and sales force optimization efforts for Endo’s branded and generic opioid

 9   products.
10
             346.     In 2007, McKinsey was shaping overall corporate strategy at Endo. In a presentation
11
     to Endo’s board of directors in May of that year                                Redacted
12

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                                                                                              216
15
16           347.     McKinsey’s partnership with Endo would last more than a decade, and, like its
17   relationship with Purdue, is an exemplary example of the transformational relationship in action.
18
             348.     In some ways, the McKinsey’s relationship with Endo was even more tightknit and
19
     companionable than with Purdue. For instance, no one at Purdue previously worked for McKinsey.
20
     In early 2013, Rajiv de Silva, previously a leader of McKinsey’s PMP group, was appointed CEO
21

22   of Endo. At Endo, McKinsey was now advising an old friend, one of its previous senior partners.217

23

24

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26
     216
        ENDO-OPIOID_MDL-02899510.
27   217
        See “Rajiv De Silva Named President and CEO of Endo Health Solutions,” Press Release dated February 25, 2013,
     available at: https://investor.endo.com/news-releases/news-release-details/rajiv-de-silva-named-president-and-ceo-
28   endo-health-solutions (“Earlier in his career, he was a Principal at McKinsey & Company, where he served as a member
     of the partnership group that led the global Pharmaceuticals and Medical Products practice.”)

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 1            349.     As de Silva himself explained,                                 Redacted

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 3                                                                                                                     218

 4
              350.     Under de Silva, Endo relied more heavily on McKinsey than ever before. McKinsey
 5
     consultants interacted directly and often exclusively with de Silva. McKinsey was so close to the
 6

 7   Endo CEO that it could intervene in direct reporting from one of de Silva’s deputies. 219 It is as if

 8   McKinsey had insinuated itself as a shadow layer of bureaucracy within Endo.

 9            351.     McKinsey maintained weekly performance review meetings with de Silva and
10
     senior Endo management. In these meetings, granular weekly sales data was reviewed for each of
11
     Endo’s branded products, including Opana.220
12
              352.     McKinsey advised both Purdue and Endo contemporaneously for more than a
13
     decade. With each client, the goal was the same: to maximize opioid sales. The work McKinsey
14

15   performed for each client was so similar that there was routinely confusion internally about whether

16   a specific project or task to perform was for Endo or Purdue.221
17            353.     Despite McKinsey’s emphasis on confidentiality, the fact that McKinsey repeats its
18
     work from one client to the next is well-known to the client. Indeed, it is part of the justification in
19
     hiring McKinsey in the first place. McKinsey can tell you what everyone else is doing.                       Redacted
20

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23

24
     218
         ENDO-OPIOID-DEPMAT-000047877 at pg. 320:22 – 321:3.
25   219
         See MCK-MDL2996-0405502 (Email from Ghatak to de Silva, stating that it “would be great for you to push Blaine
     and Bob [both Endo employees] on why there are no slides showing the metrics on field call attainment . . . there was
26   an explicit agreement to track them. Setting the expectation that you want them included would really help”).
     220
         MCK-MDL2996-0062712.
27   221
         In response to an internal email from Craig MacKenzie to other McKinsey consultants seeking “expert input on
     labels for abuse deterrent formulations” in conjunction with McKinsey’s work on the Belbuca launch (discussed infra.),
28   McKinsey consultant Jeff Smith replied, “Craig – is this for Purdue or Endo? If for Endo, I am conflicted.” MCK-
     MDL2996-0383805.

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 1                                                   Redacted

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 3                               222

 4
                               3.        Opana
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                354.     McKinsey’s earliest known work with Endo                       Redacted
 6

 7                           In a November 22, 2006, presentation223 entitled                  Redacted

 8                                                    McKinsey advised                    Redacted

 9

10

11                     224

12
                355.     McKinsey noted,                                    Redacted
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18             225

19
                356.     McKinsey also                                     Redacted
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     222
           ENDO-OPIOID-MDL-07619243.
     223
25         The McKinsey presentation was                                   Redacted
                                                                           ENDO-OPIOID_MDL-02936031. By 2007,
26   McKinsey had                                               Redacted
                                           ENDO-OPIOPID_MDL-06078889. Endo acquired Penwest in 2010. “Endo
27   Pharmaceuticals Agrees to Acquire Penwest Pharmaceuticals,” Fierce Biotech, August 10, 2010, available at:
     https://www.fiercebiotech.com/biotech/endo-pharmaceuticals-agrees-to-acquire-penwest-pharmaceuticals
     224
28       ENDO-OPIOID_MDL-02936031.
     225
         Id.

                                                       - 89 -
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 1                                                  Redacted

 2                                                             226

 3
               357.   McKinsey advised                                   Redacted
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                                  227
 7

 8             358.   McKinsey                                       Redacted

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15             359.   Within a few years of its introduction in the United States, abuse of the drug became

16   widespread. Endo then sought to introduce a reformulated version of Opana that it could market as
17   abuse-deterrent by introducing a tamper-resistant coating to the pill.
18
               360.   In December 2011, Endo obtained FDA approval for a new formulation of Opana
19
     ER with the coating that Endo claimed was crush-resistant. The following month, however, the
20
     FDA told Endo that it could not market Opana ER, even after the reformulation, as abuse-deterrent.
21

22             361.   Endo “did not submit any new clinical safety or efficacy data” as part of its

23   application, but rather relied entirely on the “bioequivalence” of the new and old formulations of

24   Opana. Obtaining approval of reformulated Opana ER on this basis allowed Endo to rely on the
25   safety and efficacy of the original version of the drug as the basis for approval of the reformulated
26
27
     226
         Id.
     227
28       Id.
     228
         Id.

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 1   version.229 The FDA found that such promotional claims “may provide a false sense of security
 2   since the product may be chewed and ground for subsequent abuse.” In other words, Opana ER
 3
     was still crushable. In December 2011, Endo admitted that “[i]t has not been established that this
 4
     new formulation of Opana ER is less subject to misuse, abuse, diversion, overdose, or addiction.”230
 5
             362.     In 2013, an Endo training module directed key opinion leaders to instruct prescribers
 6

 7   that OPANA ER with INTAC is the only oxymorphone designed to be “crush-resistant,” and

 8   advised the key opinion leaders to state during their speeches that “[t]he only way for your patients

 9   to receive oxymorphone ER in a formulation designed to be crush-resistant is to prescribe OPANA
10
     ER with INTAC.”231 The speakers were advised to stress that generic versions of Oxymorphone
11
     “are not designed to be crush-resistant.”
12
             363.     These abuse-deterrent attributes of the reformulation—the very characteristics
13
     McKinsey and Endo touted as a reason to prescribe Opana—were a sham. The reformulation was
14

15   designed to prevent the pill from being crushed and snorted through the nose. It did not prevent

16   intravenous use, however. The result was that many users already dependent of Opana began using
17   needles to inject the drug for the first time. As an internal Endo email put it,                   Redacted

18                                                                            232

19
             364.     Jeff, a veteran of the war in Iraq, explained the process. Jeff first became dependent
20
     on Percocet and Opana after returning from Iraq, where his back was injured when his Humvee
21

22   rolled over in 2008. After being prescribed opioids for his back pain, Jeff became dependent, and

23

24
     229
         Intervenor Impax Laboratories, Inc.’s (1) Cross-Motion to Dismiss; or, in the Alternative, (2) Opposition to
25   Plaintiff’s Motion for a Preliminary Injunction, Endo Pharmaceuticals Inc. v. U.S. Food and Drug Administration, et
     al. (“Impax Br.”), No. 1:12-cv-01936 Doc. 18 at 7 (D.D.C. Dec.9, 2012); see also FDA Summary Review for
26   Regulatory Action, NDA 201655 (Dec. 9, 2011) (stating that “[n]o new safety data were included in this submission”
     and “[n]o efficacy studies were submitted in this application.”).
     230
27       Endo Dec. 12, 2011 News Release; Ex. A to Rurka Decl., Endo Pharmaceuticals Inc. v. U.S. Food and Drug
     Administration, et al., No. 1:12-cv-01936 Doc. 18-2 (D.D.C. Dec. 9, 2012).
     231
28       EPI000421543.
     232
         END00010732.

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 1   began using Opana by snorting it. Endo then introduced the reformulated abuse-deterrent version
 2   of Opana in 2012. “[A]nd then they reformulated them,” he said, referring to the Opana pills. “And
 3
     the only way you could really do them is inject them because if you actually swallow them, it – you
 4
     – they really don’t do nothing.”233
 5
             365.    Jeff and his companion Joy showed the journalist how the drug was used. “You want
 6

 7   to see how to cook it?” Jeff asked. He and Joy then proceeded to place a portion of an Opana pill

 8   on piece of aluminum and heat it with a lighter. “Right away, I can start to see this hard, white

 9   coating just kind of floating off the piece of the pill. It looks like plastic,” described the journalist
10
     witnessing the process.234
11
             366.    Joy explained how the abuse-deterrent coating, once melted, was discarded by using
12
     the filter of a cigarette: “Now you see the coating of – all that mess laying there still? . . . That’s
13
     what the filter’s for.”235 The journalist described what then took place:
14

15           And Joy puts that cigarette filter into the liquid, and they Joy, Jeff and another guy
             each take turns with their needles, sticking it into the filter and pulling the liquid
16           through. Joy and Jeff turn their back to me while they inject. And then it just gets
             really, really quiet.
17
             367.    Joy couldn’t conceive of the position she was in. A nurse, she hurt her back at work
18

19   and began taking prescription pain medication. She began taking the pills by mouth, and later began

20   to snort them. Dependency began. But she told herself, “I’d never ever would use a needle, never.
21   I’m never going to do that.”236
22
23

24

25

26
     233
         Kelly McEvers, “Opioid Epidemic Sparks HIV Outbreak in Tiny Indiana Town,” NPR, March 31, 2016, available
27   at: https://www.npr.org/2016/03/31/472577254/opioid-epidemic-sparks-hiv-outbreak-in-tiny-indiana-town
     234
         Id.
     235
28       Id.
     236
         Id.

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 1           368.   After Opana’s reformulation, Joy began using it intravenously. “I started using the
 2   needle about – it was around the 6th of February,” she said. “I’m so ashamed . . . . I pack so much
 3
     shame, and I’m going to cry . . . . I pack so much shame from it. I do.”237
 4
             369.   Endo’s 2012 reformulation of Opana caused outbreaks of HIV in populations of
 5
     intravenous Opana users. In Austin, Indiana, where Jeff and Joy resided, Opana was linked to an
 6

 7   outbreak of at least 200 HIV cases in a town with a population of 4,500.238

 8           370.   Intravenous use of reformulated Opana has also been associated with outbreaks of

 9   Hepatitis C and Thrombotic Thrombocytopenic Purpura (“TTP”).239 The concerns even reached
10
     Wall Street, where an analyst asked Endo about a TPP outbreak in Tennessee associated with Opana
11
     ER. Endo assured the analyst that the outbreak was, like the outbreak in Indiana, in “a very, very
12
     distinct area of the country.”
13
             371.   Endo was well aware of these problems.                            Redacted
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18                                                                                               240

19
             372.   In June of 2013, McKinsey                              Redacted
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22
23

24

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26
     237
         Id.
     238
27       Id.
     239
         “Thrombotic Thrombocytopenic Purpura (TTP)–Like Illness Associated with Intravenous Opana ER Abuse —
28   Tennessee, 2012,” Morbidity and Mortality Weekly Report (Jan. 11, 2013).
     240
         ENDO00260151.

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 1                                                      Redacted

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               241

 5
             373.     McKinsey indicated                                     Redacted
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 9                                                                     242
                                                                                           Redacted

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11                                                      243

12
             374.     In addition to being neither feasible nor safe/ethical, the study was beside the point.
13
     An insufflation study is meant to determine the abuse characteristics of a drug when used nasally—
14

15   i.e., by snorting the drug.244 The relevant concern for Opana’s reformulated version was injection,

16   not insufflation.
17           375.     But the insufflation study worked for Purdue. Going forward, McKinsey suggested
18
                           Redacted                           .245
19
             376.     As the preceding paragraphs make clear, Endo and McKinsey were laser-focused
20
     on maximizing overall sales of Endo products, and decidedly not on concerns over their actual
21

22   abuse potential or the appropriate size of the market for these products, given evident, longstanding,

23   and ever-present concerns about their abuse. To the point, McKinsey regarded concerns about

24
     241
25       EPI002107711.
     242
         Id.
     243
26       Id. (emphasis added).
     244
         See General Principles for Evaluating the Abuse Deterrence of Generic Solid Oral Opioid Drug Products, FDA
27   Center       for     Drug      Evaluation      and      Research,      November       2017,     available    at:
     https://www.fda.gov/files/drugs/published/General-Principles-for-Evaluating-the-Abuse-Deterrence-of-Generic-
28   Solid-Oral-Opioid-Drug-Products-Guidance-for-Industry.pdf
     245
         EPI002107711.

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 1   opioid abuse only as a means by which its clients could introduce differentiated products (i.e., those
 2   with purported abuse-deterrent or tamper-resistant features) to continually perpetuate overall
 3
     opioids sales for their clients. In all instances, the parties desired for the size of that overall opioids
 4
     market to grow in line with the introduction of “differentiated” products like a reformulated Opana.
 5
             377.    Endo’s purported concern about deterring abuse of its drugs was laid bare as farce
 6

 7   by a particularly striking decision: to continue to sell the old formulation of Opana despite touting

 8   the notion that the old formulation was purportedly dangerous in ways that the new formulation

 9   was not. Endo                                                Redacted

10
                                                                                   .246
11
             378.    Endo not only continued to distribute original Opana for nine months after the
12
     reformulated version became available, it declined to recall original Opana ER despite its
13
     dangers.247 In fact, Endo also claimed in September 2012 to be “proud” that “almost all remaining
14

15   inventory” of the original Opana ER had “been utilized.”248

16           379.    In June 2013, an Endo employee informed the McKinsey consultants of                  Redacted


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22                            4.      Belbuca: Endo’s Answer to Butrans

23           380.    Buprenorphine is another differentiated product. Opioid manufacturers began to

24   introduce Buprenorphine products to the market after the introduction of OxyContin, Opana, and
25

26
     246
         ENDO-OPIOID-MDL-02324795.
     247
27       Impax Br. at 1.
     248
         Id.; Endo News Release, Sept. 6, 2012 (Ex. L to Rurka Decl) Endo Pharmaceuticals Inc. v. U.S. Food and Drug
28   Administration, et al.., No. 1:12-cv-01936 (Doc. 18-4) (D.D.C. Dec. 9, 2012).
     249
         ENDO-OR-CID-00400235 (emphasis added).

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 1   other branded opioids long-known to have abuse and dependency problems. Buprenorphine
 2   products were marketed as purportedly less dangerous than products such as OxyContin or Opana.
 3
               381.    Of course, Endo and Purdue continued to assiduously market and sell OxyContin
 4
     and Opana alongside their Buprenorphine products, and McKinsey worked with each at every step
 5
     of the way, despite the implicit contradiction in marketing two products at the same time whose
 6

 7   point of differentiation is one being less addictive and dangerous than the other.

 8             382.    For example, on August 13, 2015, McKinsey’s Craig MacKenzie circulated a

 9   discussion document to Endo and McKinsey staff entitled “Belbuca value proposition,” which laid
10
     out McKinsey’s thoughts on how to differentiate Endo’s buprenorphine product from other opioids
11
     in the marketplace.250 One point of differentiation McKinsey noted was that OxyContin was
12
     commonly abused, while Endo’s Belbuca hopefully would not be: 251
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               383.    The cognitive dissonance was palpable. At the same time that MacKenzie sent his
22
     email differentiating Belbuca, and as described supra, McKinsey was also maximizing OxyContin
23
     sales for Purdue—the opioid it was describing to Endo as commonly abused.
24

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26
27
     250
28         MCK-MDL2996-0410742.
     251
           MCK-MDL2996-0006669, at 0006675.

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 1           384.                                               Redacted

 2

 3
                              Butrans was Purdue’s buprenorphine product.
 4
             385.   Once Butrans was launched at Purdue, McKinsey worked with Endo to create
 5
     another branded Buprenorphine product to compete with Butrans. These product planning and
 6

 7   launch processes are long-term affairs. McKinsey worked with Endo on this project for four years

 8   before Endo’s Belbuca obtained FDA approval.

 9           386.   McKinsey remained in place at Endo to implement the launch of Endo’s
10
     Buprenorphine product. The strategic goal of Belbuca—the key to its commercial success—was to
11
     convert short acting opioid (“SAO”) users to Belbuca. As McKinsey explained to CEO Rajiv de
12
     Silva, “The fundamental question is whether Belbuca will take share from the short-acting
13
     opioids.”252
14

15           387.   Ultimately, Belbuca was not a large commercial success for Endo because it failed

16   to transition a sufficient number of short acting opioid users to the long-acting Belbuca. As the drug
17   underperformed, Endo felt ever more pressure to stimulate sales. John Harlow described one
18
     meeting with de Silva on April 8, 2016: “We just got out of the review with Rajiv and clearly our
19
     TRx trends are not good and are behind other recently launched pain products . . . the request from
20
     Rajiv was to do anything possible that could be implemented ASAP to stimulate RXs.”253
21

22           388.   By July 6, 2016, McKinsey and Endo were increasingly focused on converting

23   short-acting opioid users.                                      Redacted

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25                             254
                                     Notably, the goal was to increase overall buprenorphine prescriptions,
26
27
     252
         MCK-MDL2996-0210158.
     253
28       MCK-MDL2996-0358973, at 0358975.
     254
         ENDO-OPIOID_MDL-07264539

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 1   not only those of Belbuca. The discussion document identified an objective to create “a new
 2   treatment paradigm for [Buprenorphine] and Belbuca at the transition between SAO and LAO.”255
 3
     In order to do so, the discussion group needed to determine “what medical support we need to
 4
     position Buprenorphine as the best transition from SAO to LAO.”256
 5
             389.   McKinsey provided a slide to Endo describing the way that narrative would first be
 6

 7   created and then exploited for market positioning:257

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27
     255
         Id.
     256
28       Id.
     257
         MCK-MDL2996-0382731.

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18             390.   McKinsey and Endo referred to this effort to revive Belbuca sales by promoting

19   buprenorphine as a bridge to long-acting opioid use as a “moonshot.”258 One aspect of this
20   “moonshot” would be that Belbuca (and Buprenorphine, generally) would convert short-acting
21
     opioid users to long-acting opioids users of products other than Buprenorphine. McKinsey and
22
     Endo instead conceived of Belbuca as an “Initial ATC Opioid Therapy.” It was to be positioned as
23
     “the first LAO for poorly controlled or dissatisfied chronic pain patients transitioning from short-
24

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     258
           MCK-MDL2996-0382412.

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 1   acting to long-acting opioids.” Patients could eventually transition from Belbuca to other long-
 2   acting opioids, like Opana:259
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               391.    Thus, the overall marketing strategy McKinsey assisted Endo in designing and
20

21   deploying for Belbuca was designed to transition ever more patients to long-acting opioids. Belbuca

22   could find its market niche as a stepping stone as individuals proceed through the patient funnel

23   from short acting opioid users to longer-term long-acting opioid users. The farther individual
24
     proceeds through this funnel, the more the individual is worth.
25
               392.    McKinsey also knew that this same pathway that begins with opioid therapy after a
26
     serious injury also leads to opioid dependency and addiction. In 2011, McKinsey was working on
27

28
     259
           MCK-MDL2996-0404374, at 0404375.

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 1   “Project X.” which was the project to develop a buprenorphine product to compete with Butrans.
 2   (Belbuca, in other words, was the result of Project X.) McKinsey described the “opioid dependence
 3
     treatment pathway” as follows:260
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20             393.    In the same presentation, McKinsey identified the key to a successful launch of a

21   branded Buprenorphine product: “The challenge faced by Endo will not be to gain formulary
22   approval, it will be to gain tier 2 status and minimize restrictions on prescribing.”261
23
                              5.      Turbocharging the Sales Force with a Blitz
24
               394.    In 2015, a McKinsey team led by Arnab Ghatak proposed to Endo a sales
25
     transformation to invigorate Endo’s product sales, including its opioids. At the suggestion of
26
27
     260
28         MCK-MDL2996-0131500, at 0131512.
     261
           MCK-MDL2996-0131500, 0131525 (emphasis added).

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 1   Ghatak, McKinsey used the Purdue Pharma Project Turbocharge model from the previous year as
 2   a template for the Endo proposal.262 Even the PowerPoint presentations used to create the proposal
 3
     to Endo were drafted off the Project Turbocharge slides. On June 28, 2015, Sherin Ijaz of McKinsey
 4
     emailed Ghatak, Nicholas Mills, and Laura Moran to circulate a draft proposal for an “Endo sales
 5
     force transformation” PowerPoint presentation. Ijaz explained, “Laura, I heavily leveraged what
 6

 7   you send (sic) from Purdue as it was all applicable.”263 All three of the recipients of Ijaz’s email

 8   regarding the Endo proposal had been working on the Purdue account for years.

 9           395.   Endo                                      Redacted

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                                                                                          264
13
             396.   Endo’s Vice President & General Manager of its Pain Business Unit, John Harlow,
14

15                                                 Redacted

16

17                                     265
                                                                     Redacted
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                                             266

20
             397.   The Endo and Purdue proposals were essentially identical sales transformations. The
21

22   goals were the same: to maximize sales of opioids. Merely the names were changed. While

23   McKinsey offered to “turbocharge” Purdue’s sales force, McKinsey proposed a “sales force blitz”

24   for Endo.267
25
     262
26       MCK-MDL2996-0075895.
     263
         MCK-MDL2996-0070237.
     264
27       ENDO_AAC_00363406.
     265
         Id.
     266
28       Id.
     267
         E.g., MCK-MDL2996-0130803; MCK-MDL2996-0132851.

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 1             398.    In fact, the names weren’t entirely changed.    Redacted

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           Redacted
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20             399.                                         Redacted

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     268
           MCK-MDL2996-0069747, at 0069749.

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 1           400.                                         Redacted

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             401.   Upon McKinsey’s suggestion, Endo began reallocating sales force resources to
 6

 7   Opana from other Endo products such as Sumavel, a migraine medication, and Voltaren, an anti-

 8   inflammatory.269 Writing to the McKinsey team, Endo’s Alicia Logan stated the joint mission, “I

 9   agree that our main goal is to maximize the increased promotional efforts for [Opana ER] without
10
     disrupting/sacrificing [Sumavel] or [Voltaren] TRx volume and it appears that we [can] accomplish
11
     this with your recommendation of addition another 500 targets.”270
12
             402.   With the Sales Force Blitz underway, Endo received good news in New York. Years
13
     prior, Endo had initiated patent litigation against generic manufacturers of Opana ER, arguing that
14

15   the generic versions of the drug infringed on Endo’s patents. In part because of the perceived

16   impending loss of exclusivity, Endo had in recent years allocated its sales force capacity away from
17   Opana and to other Endo products.
18
             403.   On August 14, 2015, Endo received a favorable initial ruling declaring that the
19
     generic versions of Opana violated Endo’s patents, and enjoined their further sale. The ruling
20
     provided additional patent exclusivity for Opana, and Endo was keen to exploit its advantage.
21

22           404.   That afternoon,                                  Redacted

23

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25                                                                                                    271

26
27
     269
         MCK-MDL2996-0409466.
     270
28       MCK-MDL2996-0409436, at 0409437 (sic).
     271
         ENDO-OPIOID_MDL-02279530.

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 1             405.   The following week, Harlow wrote to the McKinsey team working for Endo to focus
 2   their attention on Opana ER. “Now with our litigation victory from last week, plus our UHC
 3
     opportunity, there is an increased need to increase FF support to drive Sep-Dec business. . . . With
 4
     this win, I am now willing to go broader with OER targeting.”272
 5
               406.   McKinsey and Endo proceeded to design and implement retargeting strategies to
 6

 7   boost Opana sales in late 2015.

 8                    ii.    Johnson & Johnson/Janssen

 9             407.   McKinsey also working with Johnson & Johnson, whose role overseeing and
10
     contributing to the opioid crisis has been exhaustively detailed in other complaints. See, e.g., City
11
     and County of San Francisco v. Purdue Pharma L.P., N.D. Cal. No. 18-2591, Doc. 128 (Mar. 13,
12
     2020). Johnson & Johnson occupied multiple roles within the opioids industry. Through its
13
     subsidiary, Janssen Pharmaceuticals (“Janssen”), it marketed and sold branded opioid products,
14

15   including Duragesic (a transdermal fentanyl patch) and Nucynta (tramadol tablets and oral

16   solution). Through its Noramco and Tasmanian Alkaloids subsidiaries, Johnson & Johnson farmed
17   the poppy plant in New Zealand and created the precursor chemical and raw materials necessary to
18
     manufacture all opioids. Noramco and Tasmanian Alkaloids sold these raw materials to the other
19
     opioid manufacturers: Purdue, Endo, Mallinckrodt, and others. Johnson & Johnson was the origin
20
     point in the entire opioids supply chain.
21

22             408.   Just like McKinsey’s relationships with Purdue, Endo, and the others, McKinsey’s

23   opioid-related work for Johnson & Johnson spanned decades.

24             409.   Just as Endo was led by former partner McKinsey partner Rajiv de Silva, Johnson
25   & Johnson similarly relied on McKinsey as a pipeline for its own management timber. As described
26
     above, McKinsey alumni tend to move on to positions with McKinsey clients. Janssen’s current
27

28
     272
           MCK-MDL2996-0358871, at 0358872; ENDO-OPIOID_MDL-02201117.

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 1   Director of Customer Marketing & Value Based Care was hired from McKinsey’s PMP group. The
 2   relationship flows both ways: Janssen’s former Vice President of Sales and Marketing for Janssen
 3
     Pharmaceuticals is currently a McKinsey partner. Moreover, Ian Davis has been an independent
 4
     director since 2010 and currently sits on the Audit and Regulatory Compliance committees of
 5
     Johnson & Johnson’s board. Previously, he was a Senior Partner at McKinsey, “having served as
 6

 7   Chairman and Worldwide Managing Director from 2003 until 2009.”273

 8            410.     Kevin Sneader, until recently McKinsey’s global managing partner, and one of

 9   Davis’ successors, described Davis as a “mentor” who was the managing partner of McKinsey’s
10
     London office when Sneader was working there and “worked on one of his teams.” 274 Given
11
     Frazier’s presence on the board, Johnson & Johnson was obviously an important account for
12
     McKinsey. At present, it is not known which McKinsey partner(s) was the Director(s) of Client
13
     Services for the Johnson & Johnson account.
14

15            411.     What is known, however, is that McKinsey                                 Redacted


16

17

18                                                                                      275
                                                                                              On July 6, 2011, Ghatak
19
     attended an internal McKinsey call with the consultants working on the Johnson & Johnson account
20
     to discuss the “J&J Nucynta sales force disruption.”276 The same day, Laura Moran, who like
21

22   Ghatak worked both the Purdue and Endo accounts, also provided internal advice regarding

23   Nucynta to her McKinsey partner Gerti Pellumbi, who was leading Nucynta sales efforts for the

24   Johnson & Johnson account, and engagement manager Bryan Reinholt, who was with Pellumbi on
25

26
     273
         https://www.jnj.com/leadership/ian-e-l-davis
     274
27       See Interview with Kevin Sneader, Harvard Project for Asian & International Relations, January 31, 2021, available
     at https://www.youtube.com/watch?v=qed53EGG8kU
     275
28       JAN-NH-00167575.
     276
         MCK-MDL2996-0222833.

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 1   the Johnson & Johnson account. 277 Martin Elling, one of the lead McKinsey partners on the Purdue
 2   account alongside Ghatak, attended internal McKinsey calls on March 25, 2010,278 and again on
 3
     May 27, 2011 to discuss McKinsey’s work for Johnson & Johnson’s Nucynta.279 Then, on
 4
     December 13, 2011, Elling attended a meeting with Johnson & Johnson personnel regarding
 5
     “acceleration opportunities.”280 Aamir Malik attended the meeting with Elling, and, naturally, also
 6

 7   worked on the Endo account.281 Malik and Ghatak had an internal McKinsey meeting amongst

 8   themselves regarding the “Nucynta Kickoff” at Johnson & Johnson six months prior, on June 3,

 9   2011.282
10
                             1.      Noramco
11
              412.    Janssen was not the only Johnson & Johnson unit that               Redacted
12
                         and Janssen was not Johnson & Johnson’s only division involved in the narcotics
13
     trade.
14

15            413.    Opioids—all of them—are derivatives of opium, which is derived from the poppy

16   plant. In order to sell opioids, someone needs to farm the opium poppy and process the harvest into
17   the raw materials necessary for opioid manufacturers—all of them—to make their products.
18
              414.    Johnson & Johnson was that farmer. It owned Noramco and Tasmanian Alkaloids,
19
     which grew poppies in New Zealand and sold the raw ingredients for opioids to practically all
20
     manufacturers.
21

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25
     277
26       MCK-MDL2996-0419348.
     278
         MCK-MDL-2996-0256186.
     279
27       MCK-MDL-2996-0255907.
     280
         MCK-MDL-2996-0255926.
28   281
         Id.; see also MCK-MDL-2996-0348536 (Example of Malik’s work on Endo account).
     282
         MCK-MDL-2996-0261694.

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 1           415.     On August 19, 2009, McKinsey’s                               Redacted

 2

 3              283

 4
             416.                                               Redacted
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                                                                                                  284
 8
 9           417.     Seven years later, in 2016, Johnson & Johnson exited the business by selling
10
     Noramco and Tasmanian Alkaloids to SK Capital, a private equity firm focused on the
11
     pharmaceuticals business, for approximately $800 million.285                          Redacted
12

13
                                                                           Not only was McKinsey’s advice
14

15   invaluable to Johnson & Johnson, the perspective McKinsey gained of the overall opioid market

16   from advising the principal upstream supplier to the entire industry would be invaluable in to its
17   own work with its other opioid manufacturer clients.
18
                              2.       Duragesic
19
             418.     Fentanyl was first synthesized by Paul Janssen and his pharmaceutical company
20
     Janssen Pharmaceuticals in 1959. In the 1990s, the company (by then owned by Johnson &
21

22   Johnson) developed Duragesic, which is a transdermal patch that administers fentanyl to the patient

23   wearing it.

24

25

26
     283
         NORAMCO_TX_01136410.
     284
27       NORAMCO_TX_01136411, slide 4.
     285
         Gareth Macdonald, “US Investor buys J&J’s opiate API business and announces restructuring,” Outsourcing
28   Pharma, July 20, 2016, available at: https://www.outsourcing-pharma.com/Article/2016/07/21/US-investor-buys-J-J-
     s-opiate-API-business-and-announces-restructuring

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 1            419.     “Duragesic proved to be one of the most successful analgesic pharmaceutical
 2   products ever developed, with sales in 2004 (its last year of patent life) exceeding $2.4 billion. The
 3
     success of the fentanyl patch caused many generic companies to produce equivalents once it went
 4
     off patent.”286
 5
              420.     McKinsey was an integral part of fentanyl’s success. As early as 2002, McKinsey
 6

 7   was advising Johnson & Johnson regarding methods to boost sales of its opioids. For example, on

 8   March 14, 2002, McKinsey prepared a confidential report for Johnson & Johnson’s subsidiary

 9   Janssen regarding how to market their opioid Duragesic. Incredibly, one of the recommendations
10
     McKinsey provided to Johnson & Johnson was that they concentrate their sales and marketing
11
     efforts on doctors that were already prescribing large amounts of Purdue’s OxyContin.287
12
              421.     In other words, as early as 2002, McKinsey had such intricate knowledge of the
13
     sales and marketing practices of opioid manufacturers, generally, and Purdue’s efforts with
14

15   OxyContin, specifically, that it was able to recommend to a competitor of Purdue that it boost its

16   own opioid sales by following in the footsteps of Purdue.
17            422.     McKinsey also advised Johnson & Johnson to target Duragesic on “high abuse-risk
18
     patients (e.g., males under 40).” This targeting would take advantage of the marketing claim that
19
     Duragesic “was harder to abuse than other opioids on the market.”288
20
              423.     McKinsey helped Janssen target its opioid marketing by identifying “priority growth
21

22   opportunities” and growth strategies for Duragesic.289 In 2002, McKinsey considered “[w]hat are

23

24   286
         Theodore Stanley, “The Fentanyl Story,” The Journal of Pain, Vol. 15, No. 12 (December), 2014, pg. 1220, available
     at: https://www.jpain.org/article/S1526-5900(14)00905-5/pdf
     287
25       Chris McGreal, Johnson & Johnson faces multibillion opioids lawsuit that could upend big pharma, The Guardian,
     June 23, 2019, available at: https://www.theguardian.com/us-news/2019/jun/22/johnson-and-johnson-opioids-crisis-
26   lawsuit-latest-trial
     288
         Julia Lurie, “Inside Johnson and Johnson’s Quiet Domination of the Opioid Market,” June 11, 2019, Mother Jones,
27   available        at     https://www.motherjones.com/politics/2019/06/johnson-and-johnson-opioid-poppies-tasmania-
     oklahoma-lawsuit/
     289
28       Oklahoma v. Johnson & Johnson, Oklahoma Proposed Findings & Conclusions, citing 5/30/19pm Tr. & S-1253;
     see also JAN-MS-00481545 (Deem-Eshleman Ex 73).

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 1   settings of care for opioid high-prescribers and treaters of back pain,” listing the “elderly” as an
 2   example;290                                                  Redacted
 3               291

 4
                              3.       Turbocharging Nucynta
 5
             424.      McKinsey’s infamous Project Turbocharge to boost OxyContin sales at Purdue in
 6

 7   2013 and 2014—the same project detailed in Purdue’s 2020 guilty plea with the Department of

 8   Justice—was not McKinsey’s first experience turbocharging opioid sales. Before OxyContin, there

 9   was Nucynta:292
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20
             425.      Nucynta was Janssen’s branded tapentadol product. Tapentadol is generally
21

22   regarded as a moderately strong opioid. Nucynta was first approved as a Schedule II controlled

23   opioid agonist tablet and oral solution in 2008 and indicated for “relief of moderate to severe acute

24   pain in patients 18 years of age or older.” In 2011, Janssen obtained approval for a long-acting
25

26
27
     290
         Oklahoma v. Johnson & Johnson, 5/30/19 Tr. At 46:1-15.
     291
28       JAN-MS-00481547 (Deem-Eshleman Ex 74) .
     292
         MCK-MDL-2996-0135636.

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 1   version Nucynta ER, which was indicated for “management of moderate to severe chronic pain in
 2   adults and neuropathic pain associated with diabetic peripheral neuropathy (DPN) in adults.”
 3
               426.     McKinsey is a repeat opioid sales turbocharger. McKinsey’s efforts to turbocharge
 4
     Nucynta sales resembled those it later deployed in more robust form at Purdue a few years later.
 5
     For example, “physician prescribing habits,” and “switching behavior,” were external factors
 6

 7   McKinsey identified as key issues “impacting future Nucynta growth.” Understanding these issues

 8   at a granular level would be crucial, including “What is physician/market awareness of Nucynta

 9   ER? By physician segment?”293 These same factors drove McKinsey’s later work turbocharging
10
     OxyContin.
11
               427.     Along the way,                                Redacted
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14
                  294
15
16             428.     Despite this ambivalence about tamper-resistance, in a status update on June 23,
17   2011, McKinsey informed Janssen that its “initial physician interview findings” indicate Nucynta
18
     ER has “lower addictive/abuse potential and side-effect profile as key differentiators vs. Oxycontin
19
     ER.”295
20
               429.     As part of the turbocharge process,                  Redacted
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22
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27
     293
         MCK-MDL-2996-0135636.
     294
28       JAN-MS-00322271.
     295
         MCK-MDL-2996-0009526, at 0009529.

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 1                                                      Redacted

 2                      296

 3
               430.     By 2014, Janssen was began exploring the sale of Nucynta, and McKinsey was
 4
     involved in the process. Incredibly,                                    Redacted
 5
                297
                      Purdue ultimately did not purchase Nucynta. Instead, in 2015, Johnson & Johnson’s
 6

 7   Janssen unit sold its Nucynta rights to another manufacturer, Depomed Inc., for just over one billion

 8   dollars.298

 9             431.     The year prior, Nucynta accounted for $172 million in annual sales for Janssen.
10
     Janssen described the Nucynta sale to Depomed as “a strategic decision designed to focus efforts
11
     on growth efforts.”299 Depomed, for its part, saw the Nucynta acquisition as a transformational
12
     opportunity to position itself as “a pain and neurology-focused specialty pharmaceutical
13
     company.”300
14

15             432.     When Depomed bought Nucynta,                                    Redacted

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                                                        Redacted
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21                                                                               .301
22
     296
           JAN-MS-02272779.
     297
23         PPLPC023000661013                                         Redacted

24

25
     298
             See   https://www.prnewswire.com/news-releases/depomed-announces-closing-of-acquisition-of-us-rights-to-
26   nucynta-tapentadol-nucynta-er-tapentadol-extended-release-tablets-and-nucynta-tapentadol-oral-solution-from-
     janssen-pharmaceuticals-inc-for-105-billion-300060453.html
27   299
         Josh Beckerman, “DepoMed to Buy U.S. Rights to Nucynta From J&J Unit,” Wall Street Journal, January 16, 2015,
     available at: https://www.wsj.com/articles/depomed-to-buy-u-s-rights-to-nucynta-from-j-j-unit-1421357503
     300
28       Id.
     301
         DEPO-CDI-00071072 (emphasis added).

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 1                  iii.    Other Manufacturers
 2           433.   McKinsey worked with numerous other manufacturers to promote the sale of
 3                                                                                          302
     opioids. To date, Plaintiffs have identified as McKinsey clients           Redacted          and   Redacted


 4
                                     303

 5
             434.   Coordination among these industry participants was a natural outgrowth of the fact
 6

 7   that McKinsey had existing client relationships with each participant. For instance, on May 7, 2009,

 8   Richard Sackler’s personal counselor, McKinsey partner Maria Gordian,                 Redacted

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10                                                                                  304

11
             435.                                         Redacted
12

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                           305
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15           436.                                         Redacted

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20
            Redacted
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     302
         MNK-MDL_001756041; MNK-T1_0000968026; MN-T1_0004715842; MNK-T1_0005985720.
     303
27       TEVA_CHI_00187019.
     304
         TEVA_CHI_00187019.
     305
28       TEVA_CHI_00187023.
     306
         See ALLERGAN_MDL_00637407.

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 1                    iv.      McKinsey’s Work with Opioid Distributors
 2           437.     McKinsey worked with opioid distributor AmerisourceBergen                           Redacted

 3
                                                         .307
 4
             438.     McKinsey worked with opioid distributor McKesson on the company’s Redacted
 5
                                                                     308
 6

 7                    v.       McKinsey’s Work with the FDA

 8           439.     As described above, McKinsey assisted Purdue and others to confront FDA

 9   regulations that posed threats to their clients’ ability to maximize revenues from their opioid
10
     products. McKinsey’s role in shepherding its clients through regulatory interactions takes on a
11
     different hew when considered in light of one of McKinsey’s other clients: the Food and Drug
12
     Administration itself.
13
             440.     Indeed, the FDA has proved a massive client for McKinsey, who since 2000 has
14

15   endeavored to expand its public sector practice under the direction and leadership of Nancy

16   Killefer, a now-retired senior partner and director of the firm.309 Since 2008, the FDA has paid
17   McKinsey more than $140 million.310 A significant portion of that work for the FDA related to the
18
     FDA’s Center for Drug Evaluation and Research (“CDER”). The CDER is the principal division
19
     tasked with approving, among other classes of drugs, opioids. Since 2008, McKinsey has been
20
     awarded at least 17 contracts worth at least $48 million for CDER work.311
21

22           441.     The REMS protocols, discussed above, that McKinsey assisted Purdue and others

23   in surmounting beginning in 2008 and culminating in 2012, were overseen by CDER.312

24
     307
25       ABDCMDL12135609, slide 5.
     308
         MCKSTCT00753097; MCKSTCT00753098.
     309
26       Duff McDonald, The Firm. Killefer is also a director of Cardinal Health, one of the distributor defendants in the
     ongoing nationwide opioid litigation, and a company subject to FDA regulations.
     310
27        Letter to Dr. Janet Woodcock from Senator Margaret Hassan et al, August 23, 2021, available at:
     https://www.hassan.senate.gov/imo/media/doc/fda-mckinsey_letter-final-210823.pdf (“Hassan Letter”)
     311
28       Id.
     312
         Id.

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 1           442.   Meanwhile, in 2010, McKinsey advised the FDA on building a monitoring system
 2   called “track and trace” to assist in the identification of potentially improper distribution of harmful
 3
     prescription drugs, such as opioids. “The ‘track and trace’ system deeply impacted McKinsey
 4
     clients, including the nation’s three largest drug distributors—McKesson, AmerisourceBergen, and
 5
     Cardinal Health [where Killefer has been a director since 2015].”313
 6

 7           443.   Under one contract, McKinsey developed a roadmap and implemented plans to

 8   modernize CDER’s new drug regulatory program. Under another, McKinsey developed a

 9   framework to increase information technology project delivery across CDER.314
10
             444.   In 2007, Congress passed the Food and Drug Administration Amendments Act
11
     (“FDAAA”), which placed new restrictions on the use of certain high risk prescription drugs,
12
     including opioids. The new law mandated that FDA require manufacturers of certain drugs to create
13
     REMS.
14

15           445.   The FDAAA also required the Secretary of Health and Human Services “to develop

16   standards and identify and validate effective technologies for the purpose of securing the drug
17   supply chain against counterfeit, diverted, subpotent, substandard, adulterated, misbranded, or
18
     expired drugs.” 21 U.S.C. § 355e(a).
19
             446.   In 2010 and 2011, under the FDAAA, the FDA awarded McKinsey contracts to
20
     design a “track and trace” system to monitor prescription drugs, including opioids, throughout the
21

22   supply chain and to streamline the drug approval process. The track and trace system had the

23   greatest effect on drug distributors, including McKinsey clients McKesson, AmerisourceBergen,

24   and Cardinal Health.315
25

26
     313
27       See http://cg.cardinalhealth.com/board-of-directors/default.aspx; Hassan Letter.
     314
           Letter to Senator Chuck Grassley from Andrew Tantillo, Oct. 22, 2021, available                at:
28   https://www.grassley.senate.gov/imo/media/doc/fda_to_grassley_-_mckinsey_conflicts_of_interest.pdf
     315
         Hassan Letter.

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 1           447.    Under these contracts, McKinsey was required to consult with “supply chain
 2   stakeholders,” which likely included these three McKinsey clients as well as pharmaceutical
 3
     manufacturers.316
 4
             448.    In 2011, McKinsey also won a $1.8 million contract with CDER’s Office of
 5
     Surveillance and Epidemiology (“OSE”), which monitors and evaluates the safety profiles of drugs
 6

 7   available to American consumers.317 OSE “evaluates more than 2 million adverse event reports

 8   submitted every year to FDA’s MedWatch program” and provides “risk management expertise on

 9   development and implementation of programs and initiatives to support [CDER’s] policies related
10
     to [REMS] authorities.318
11
             449.    The OSE contract tasked McKinsey with a widespread mission of understanding
12
     how OSE functions within the context of a broader system of drug safety in CDER and ultimately
13
     developing and implementing a new operating model. In other words, McKinsey helped to
14

15   restructure a key body that has oversight over the opioid supply chain.

16           450.    The 2012 Food and Drug Administration Safety and Innovation Act required the
17   FDA to modernize Sentinel, a system meant to monitor the safety of drugs once they are on the
18
     market.319 According to the FDA, “Sentinel generates real-world evidence to support regulatory
19
     actions aimed at protecting the public’s health,” which in turn “inform[s] healthcare provider
20
     decision-making for patients.”320
21

22           451.    A 2014 contract with the FDA charged McKinsey with assessing the “strengths,

23   limitations and appropriate use” of Sentinel. Like the track and trace contract, the Sentinel project

24

25
     316
          Id.
     317
26        https://www.documentcloud.org/documents/21071060-mckinsey-ose-contract
     318
         https://www.fda.gov/about-fda/center-drug-evaluation-and-research-cder/cder-office-surveillance-and-
27   epidemiology
     319
          https://www.documentcloud.org/documents/21071047-r_sentinel_assessment_award_contract_sow-redacted-pr
     320
28       https://www.fda.gov/files/about%20fda/published/Sentinel-System-Overview—-Presentation.pdf;
     https://www.healthaffairs.org/do/10.1377/hpb20150604.936915/full/

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 1   required McKinsey to interview “external stakeholders,” including “industry organizations” and
 2   “drug and device industry leaders.”321 McKinsey also evaluated how the FDA employees used
 3
     Sentinel to inform regulatory decision making.322
 4
             452.     McKinsey performed similar work for the FDA as recently as 2019, 323 when it
 5
     signed a contract extension with the agency for work relating to the FDA’s efforts to modernize the
 6

 7   process by which it regulates new drugs.324

 8           453.     The FDA’s drug tracking programs have been panned as failures.325

 9           454.     A theme was emerging: as new legislation and regulatory systems were enacted that
10
     could have hampered the opioid supply chain, McKinsey stepped in as a key consultant for the
11
     FDA. Each time, the new system failed to reign in the out-of-control opioid market. While the FDA
12
     was not solely responsible for regulating the opioid industry and McKinsey was not wholly
13
     responsible for the FDA’s inaction, tools like Sentinel and track and trace could have been
14

15   implemented in a way to provide new information to combat the country’s growing opioid crisis.

16           455.     At the same time it was consulting for the FDA, McKinsey was working with its
17   opioid industry clients on how skirt the FDA’s regulatory systems.
18

19
20

21
     321
         Ian MacDougall, “McKinsey Never Told the FDA It Was Working for Opioid Makers While Also Working for the
22   Agency,” ProPublica (Oct. 4, 2021), available at https://www.propublica.org/article/mckinsey-never-told-the-fda-it-
     was-working-for-opioid-makers-while-also-working-for-the-agency
     322
23         Letter to Bob Sternfels from Representative Carolyn B. Maloney, Nov. 5, 2021, available at:
     https://oversight.house.gov/sites/democrats.oversight.house.gov/files/2021-11-05.CBM%20to%20Sternfels-
24   McKinsey%20re%20Document%20and%20Information%20Request%20%28001%29.pdf
     323
         Ian MacDougall, “McKinsey Never Told the FDA It Was Working for Opioid Makers While Also Working for the
25   Agency,” ProPublica (Oct. 4, 2021), available at https://www.propublica.org/article/mckinsey-never-told-the-fda-it-
     was-working-for-opioid-makers-while-also-working-for-the-agency
     324
26         Letter to Bob Sternfels from Representative Carolyn B. Maloney, Nov. 5, 2021, available at:
     https://oversight.house.gov/sites/democrats.oversight.house.gov/files/2021-11-05.CBM%20to%20Sternfels-
27   McKinsey%20re%20Document%20and%20Information%20Request%20%28001%29.pdf
     325
          Sabrina Tavernise, “F.D.A. Faulted for Problems With Drug Tracking” The New York Times, Jan. 14, 2016,
28   available      at     https://www.nytimes.com/2016/01/15/health/fda-faulted-for-problems-with-drug-tracking.html;
     https://www.gao.gov/assets/gao-16-192.pdf

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 1           456.     For example, McKinsey advised Purdue on how to soften the FDA’s proposed
 2   REMS and on coordinating with other opioid manufacturers to advocate against strict oversight.326
 3
     The finalized REMS for opioid products was largely devoid of the restrictions that FDA had
 4
     initially proposed.327
 5
             457.     McKinsey’s work with the FDA was a key factor in why pharmaceutical industry
 6

 7   clients tapped McKinsey for FDA-related work. For example, in endorsing McKinsey’s proposed

 8   strategy of banding together with other opioid manufacturers, Purdue CEO John Stewart suggested

 9   that the consultant itself facilitate the pharmaceutical group’s approach to FDA. He wrote: “Perhaps
10
     a consultant such as McKinsey who did similar work in the industry and FDA on some aspects of
11
     clinical trials or a healthcare-related group that would be interested in playing an active role in the
12
     program’s development and delivery would be a good choice.”328
13
             458.     McKinsey performed work for the FDA without disclosing its potential conflicts of
14

15   interest to the FDA in violation of the contracts between the company and the agency.

16           459.     The FDA typically includes conflict of interest clauses in its contracts and relies on
17   contractors to assess and report any conflicts. McKinsey’s contracts with the FDA related to CDER
18
     processes contained such provisions. One contract required McKinsey to “make an immediate and
19
     full disclosure, in writing, . . . of any potential or actual organizational conflict of interest or the
20
     existence of any facts that may cause a reasonably prudent person to question the contractor’s
21

22   impartiality because of the appearance or existence of bias.”329

23

24

25
     326
26       Hassan Letter.
     327
         Hassan Letter; Maloney Letter.
     328
27       Purdue Bankruptcy, Doc. 2166-5, at 58-59.
     329
         Ian MacDougall, McKinsey Never Told the FDA It Was Working for Opioid Makers While Also Working for the
28   Agency, ProPublica (Oct. 4, 2021), available at https://www.propublica.org/article/mckinsey-never-told-the-fda-it-
     was-working-for-opioid-makers-while-also-working-for-the-agency

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 1           460.    But McKinsey never disclosed its work on behalf of opioid supply clients to the
 2   FDA despite having a hand in developing some of the FDA’s most important regulatory
 3
     processes.330
 4
             461.    Disclosing its conflicts might have turned off the lucrative tap to not only FDA
 5
     contracts but also to pharmaceutical industry clients, given the clear value such clients placed on
 6

 7   McKinsey’s work for the FDA.

 8           462.    McKinsey’s manipulation of regulatory requirements—whether to skirt its own

 9   contractual requirements or to bend processes that regulate its clients—is nothing new. McKinsey
10
     has come under fire from the Office of Inspector General for the General Services Administration
11
     for contract procurement violations331 and from the Justice Department related to violation of
12
     Chapter 11 bankruptcy rules.332 Most recently, six senators have begun to investigate the
13
     relationship between McKinsey and the FDA333 the House Committee on Oversight and Reform is
14

15   exploring its abusive conduct in connection with the opioid industry.334

16           463.    As one commentator noted, McKinsey’s conduct suggests that it “behaves as if it
17   believes the rules should bend to its way of doing things, not the other way around.”335
18
             f.      McKinsey’s Efforts to Increase the Overall Size of the Opioid Market: the
19                   Larger the Pie, the Larger the Slice

20           464.    McKinsey advised multiple opioid manufacturers regarding how to grow opioid
21   sales. In order to benefit all its clients, McKinsey engaged in efforts to grow the entire opioid
22
23
     330
           Id.; Letter to Senator Chuck Grassley from Andrew Tantillo, Oct. 22, 2021, available at:
24   https://www.grassley.senate.gov/imo/media/doc/fda_to_grassley_-_mckinsey_conflicts_of_interest.pdf
     331
          Ian MacDougall, How McKinsey Makes Its Own Rules, ProPublica (Dec. 14, 2019), available at
25   https://www.propublica.org/article/how-mckinsey-makes-its-own-rules
     332
         Mary Williams Walsh and Emily Flitter, McKinsey Faces Criminal Inquiry Over Bankruptcy Case Conduct, New
26   York Times, Nov. 8, 2019, available at https://www.nytimes.com/2019/11/08/business/mckinsey-criminal-
     investigation-bankruptcy.html
     333
27       Hassan Letter.
     334
         Maloney Letter.
     335
28        Ian MacDougall, How McKinsey Makes Its Own Rules, ProPublica (Dec. 14, 2019), available at
     https://www.propublica.org/article/how-mckinsey-makes-its-own-rules

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 1   market, and not only each individual client’s share of it. The theory, basically, is that a rising tide
 2   lifts all boats.
 3
              465.      For example, Purdue incentivized its sales staff “to increase not just sales of
 4
     OxyContin but also generic versions of extended release oxycodone.” Typically, one would not
 5
     wish to encourage the sales of generic competitors that offer a similar product to one’s own. If,
 6

 7   however, the goal is to position a company so as to look like an attractive acquisition target, the

 8   growth of the overall opioid market is just as important as one’s own market share: “Whereas

 9   pharma salespeople are usually compensated based on their ability to grow sales of a particular
10
     medicine, part of the bonus for Purdue’s staff was calculated in relation to the size of the overall
11
     market.”336 McKinsey designed that plan.337
12
              466.      This notion that the size of a company’s market share is not as important as the size
13
     of the overall market in which it competes is a core insight of McKinsey’s granular approach to
14

15   identifying corporate growth opportunities. Describing their authors’ conclusions in The

16   Granularity of Growth, McKinsey stated, “One of their most surprising conclusions is that
17   increased market-share is seldom a driver of growth. They contend, instead, that growth is driven
18

19
20

21   336
         See David Crow, How Purdue’s ‘one-two’ punch fuelled the market for opioids, Financial Times, September 9,
     2018, available at: https://www.ft.com/content/8e64ec9c-b133-11e8-8d14-6f049d06439c
     337
22       Worth noting is that this strategy of increasing overall opioid sales directly benefitted the Sacklers through their
     ownership of Rhodes Pharma, a generic opioid manufacturer. Naturally, McKinsey worked with the Sacklers in
23   connection with Rhodes as well, including proposing ideas for synergizing Purdue and Rhodes. See, e.g., MCK-
     MDL2996-0324955; MCK-MDL2996-0285201. Especially worth noting is that this strategy also benefitted
24   McKinsey’s other opioid clients as well. As one observer wrote: “They have a huge amount of inside information,
     which raises serious conflict issues at multiple levels,” stated a former consultant, referring to McKinsey’s influential
25   role as advisor to multiple participants in a given industry, such as opioid manufacturing. It “puts them in a kind of
     oligarchic position.” Michelle Celarier, The Story McKinsey Didn’t Want Written, Institutional Investor, July 8, 2019,
26   available    at:    https://www.institutionalinvestor.com/article/b1g5zjdcr97k2y/The-Story-McKinsey-Didn-t-Want-
     Written.
27            For example, in an August 15, 2013 presentation to Purdue management entitled “Identifying OxyContin
     Growth Opportunities,” McKinsey noted that “McKinsey’s knowledge of the ways other pharma companies operate
28   suggests Purdue should reassess the roles of MSL and HECON Groups – and further drive the salesforce to be more
     responsive to formulary coverage changes.” (emphasis added).

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 1   by where a company chooses to compete: which market segments it participates in . . . the key is
 2   to focus on granularity, to breakdown big-picture strategy into its smallest relevant components.”338
 3
             467.     In other words, “Purdue’s marketing force was indirectly supporting sales of
 4
     millions of pills marketed by rival companies.”339 “It’s the equivalent of asking a McDonald’s store
 5
     manager to grow sales of Burger King and KFC,” stated a government official with the Department
 6

 7   of Health and Human Services.340

 8           f.       McKinsey Portrays Itself as Part of a Solution to a Problem It was Integral in
                      Creating.
 9
             468.     McKinsey’s work on the other side of the aisle—helping clients address opioid
10

11   abuse and addiction—further proves that it was well aware of the risks of OxyContin, and thus the

12   risks of pushing OxyContin sales and high dose sales, and targeting the highest-volume prescribers.

13   McKinsey advised Purdue on “Project Tango,” a 2014 plan to enter the addiction drug market.341
14
     McKinsey noted the                                               Redacted
15                                                                             342

16
             469.     More than assisting specific clients with addressing the crisis itself, McKinsey saw
17
     the ongoing opioid crisis as an opportunity to posture itself as contributing more broadly to society.
18

19   McKinsey likes to think of itself as a change agent capable of solving problems that truly matter,

20   and the opioid crisis is one McKinsey realizes matters. Dr. Sarun Charumilind, a McKinsey partner
21   in Philadelphia, “has led the firm’s support to clients and society to combat the opioid crisis.343
22
23
     338
24        The granularity of growth, Book Excerpt, McKinsey & Company, March 1, 2008, available at:
     https://www.mckinsey.com/business-functions/strategy-and-corporate-finance/our-insights/the-granularity-of-growth
25   339
         See David Crow, How Purdue’s ‘one-two’ punch fueled the market for opioids, Financial Times, September 9, 2018,
     available at: https://www.ft.com/content/8e64ec9c-b133-11e8-8d14-6f049d06439c
     340
26       Id.
     341
         See David Armstrong, OxyContin Maker Explored Expansion Into “Attractive” Anti-Addiction Market, ProPublica
27   (Jan. 30, 2019), available at https://www.propublica.org/article/oxycontin-purdue-pharma-massachusetts-lawsuit-anti-
     addiction-market.
     342
28       PPLPC023000714734.
     343
         See https://www.mckinsey.com/our-people/sarun-charumilind

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 1           470.     In Detroit, partner Razili Lewis also helps “clients and society combat the opioids
 2   crisis.” She does so by providing “insights, expertise, analytics, and technology.”344
 3
             471.     Over in Cleveland, senior partner Tom Latkovic also “helps clients and society
 4
     combat the opioids crisis.”345
 5
             472.     Kana Enomoto, a senior expert in Washington, D.C., is a “national leader in mental
 6

 7   health and substance-use policy,” who acted as a “content director” on a study to “raise awareness

 8   about opioid-use disorders.” She also provided strategic guidance to the United States Surgeon

 9   General regarding efforts to “combat the opioid epidemic” when she was his Chief of Staff.346
10
             473.     McKinsey consistently states that it takes its obligations to society seriously. Indeed,
11
     the firm has established a center:347
12
             The Center for Societal Benefit through Healthcare was established to build on the
13           long-standing mission of McKinsey’s Public & Social Sector and Healthcare
             Systems & Services Practices to improve healthcare. The Center’s work is funded
14
             solely by McKinsey; it is not commissioned by any business, government, or other
15           institution. The Center brings a range of capabilities to bear, including McKinsey’s
             healthcare expertise, advanced analytics, functional knowledge, technology assets,
16           network, and investment capacity.
             The Center aspires to collaborate with other organizations to drive positive
17           innovation to improve overall health and well-being and reduce healthcare
             disparities.
18

19           474.     The Center has focused on addressing the impacts of the opioid crisis on society.

20   One of the metrics that McKinsey uses to track the opioid crisis as a matter of public health is the
21   “opioid prescribing rate” per 100 people in every county in the United States.348
22
             475.     As McKinsey’s data visualization makes clear, there is an association between areas
23
     with higher opioid prescribing rates and higher instances of opioid use disorder.
24

25
     344
          See https://www.mckinsey.com/our-people/razili-lewis
     345
26        See https://www.mckinsey.com/our-people/tom-latkovic
     346
          See https://www.mckinsey.com/our-people/kana-enomoto
     347
27       See          https://www.mckinsey.com/industries/healthcare-systems-and-services/how-we-help-clients/center-for-
     societal-benefit-through-healthcare/overview
     348
28       See                                                                 https://csbh-dashboard.mckinsey.com/#/data-
     insights?chart=SC&geo=County&lob=All&metric1=opioid_rxrate&metric2=oud&tab=Map

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 1             476.   The Center’s data visualization is also reminiscent of similar work McKinsey did
 2   for Purdue in 2013, although the analysis McKinsey did for Purdue was more granular, analyzing
 3
     opioid prescribing patterns on the zip-code level in all 50 states, as opposed to the county level:349
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     349
           MCK-MAAG-0024283.

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 1              477.     In other words, the “opioid prescribing rate” was a metric McKinsey worked with
 2   its client to boost for years. Now McKinsey measures the extent of the crisis by the same metric:
 3

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15              478.     Meanwhile, McKinsey has partnered with Shatterproof, a national non-profit
16
     organization dedicated to reversing the addiction crisis in the United States, to prepare a report on
17
     overcoming stigma associated with opioid use disorder.350 McKinsey touts the Shatterproof
18
     partnership on its webpage as an example of “our societal impact.”351
19
                479.     In August 2017, McKinsey prepared a presentation entitled “Perspectives on
20

21   Combatting the Opioid Crisis,” which referenced its work on combatting opioid addiction for

22   various other entities:
23

24

25

26
27
     350
28         See https://www.shatterproof.org/sites/default/files/2020-07/A-Movement-to-End-Addiction-Stigma.pdf
     351
           See https://www.mckinsey.com/us/our-societal-impact

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13          480.    In June 2018, Dr. Charumilind and Mr. Latkovic, along with fellow McKinsey
14   partner Elena Mendez-Escobar, published a public report, “Ten insights on the Opioid crisis from
15
     claims data analysis,” stating information about the risks of opioids that McKinsey knew while
16
     advising Purdue to sell more opioids and higher dose opioids, and target the highest volume
17
     prescribers:
18

19          a.      “Providers frequently prescribe opioids to patients with known or potential risk

20          factors for abuse[;]”

21          b.      “Approximately 35% of the patients given opioid prescriptions in our analysis had
22          features that put them at increased risk for opioid abuse[;]”
23
            c.      “Most opioids are prescribed by providers other than the natural ‘quarterback’ of a
24
            patient’s underlying complaint or condition. . . . This finding makes clear that high-dose
25
            prescribers and multi-prescriber patterns are separate issues—and both are important to
26
27          address[;]” and

28


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 1           d.       “A small portion of opioid use originates in emergency departments.”352
 2           481.     Two months later, the same authors, joined by Ms. Lewis, published “Why we need
 3
     bolder action to combat the opioid epidemic.”353 “Our research suggests that much broader – and
 4
     bolder – action is required,” they announced.354
 5
             h.       Coda
 6

 7           482.     Marvin Bower, the McKinsey legend who admonished, “Deliver bad news if you

 8   must, but deliver it properly,” died in 2003, one year before the firm began working with Purdue.

 9           483.     McKinsey’s work with Purdue would have been unrecognizable to Bower, one of
10
     the founders of modern management consulting. Instead of acknowledging the elephant in the
11
     room—that Purdue’s business was knowingly maximizing the amount of addictive and deadly
12
     opioids sold in the United States—and delivering that bad news promptly properly to the client,
13
     McKinsey instead committed to partner with Purdue to maximize opioid sales without regard to
14

15   the consequences.

16           484.     On October 23, 2017, the president of the United States declared the ongoing
17   nationwide opioid epidemic a “public health emergency.” Even at this late hour in the crisis,
18
     McKinsey continued to propose solutions to the Sacklers and Purdue to further boost opioid sales.
19
     These solutions were fashioned, in perfect McKinsey parlance, as “high impact interventions to
20
     rapidly address market access challenges.”
21

22           485.     Less than two months after the public health emergency declaration, McKinsey

23   proposed these high impact interventions to Purdue and its board. Among them was perhaps

24

25

26
     352
          https://www.mckinsey.com/industries/healthcare-systems-and-services/our-insights/ten-insights-on-the-us-opioid-
27   crisis-from-claims-data-analysis
     353
            See https://www.mckinsey.com/industries/healthcare-systems-and-services/our-insights/why-we-need-bolder-
28   action-to-combat-the-opioid-epidemic
     354
         Id.

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 1   McKinsey’s most audacious gambit of the entire Purdue relationship: paying money— “rebates”—
 2   to health insurers whenever someone overdosed on Purdue’s drug.
 3
             486.     These payments for future OxyContin overdoses were christened “Event-Based
 4
     contracts.”355
 5
             487.     Helpfully, McKinsey provided estimates for the future costs of these “events.”356
 6

 7   McKinsey noted that, if Purdue were to start making overdose payments, it would “need to

 8   determine which payment amount is optimal.”

 9           488.     A “meaningful” amount, according to McKinsey, would be somewhere between six
10
     and fifteen thousand dollars for each person who overdoses or develops opioid-use disorder as a
11
     result of Purdue’s drugs:
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26   355
         “Consultant-ese,” when applied to work as grim as maximizing opioid sales in the face of a national disaster, led
     one former McKinsey consultant to state: “This is the banality of evil, M.B.A. edition.” Walt Bogdanich and Michael
27   Forsythe, McKinsey Proposed Paying Pharmacy Companies Rebates for OxyContin Overdoses, New York Times,
     November 27, 2020, available at: https://www.nytimes.com/2020/11/27/business/mckinsey-purdue-oxycontin-
28   opioids.html
     356
         McKinsey defined an “event” as “first occurrence for overdose or opioid use disorder.”

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 1           489.    The money would be paid to health insurers for the increased costs of additional
 2   medical services that resulted from the fact that Purdue’s medications caused opioid-use disorder
 3
     and overdoses in people whose health care costs were the payors’ obligation. The money McKinsey
 4
     proposed Purdue pay out in these circumstances would not go to the individuals afflicted, nor the
 5
     estates of the dead.
 6

 7           490.    McKinsey’s analysis also suggested that it could predict the number of people who

 8   would become addicted to opioids or overdose on pills sold through Purdue’s downstream

 9   customers. McKinsey “projected that in 2019, for example, 2,484 CVS customers would either
10
     have an overdose or develop an opioid use disorder.”357
11
             491.    It is little surprise, then, that McKinsey was concerned with its legal liability for this
12
     work. Within months of recommending “event-based contracts” to Purdue, Martin Elling raised
13
     this concern with Arnab Ghatak and suggested corrective action: destroying evidence.
14

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27
     357
       Walt Bogdanich and Michael Forsythe, McKinsey Proposed Paying Pharmacy Companies Rebates for OxyContin
28   Overdoses, N.Y. Times (Nov. 27, 2020, updated Dec. 17, 2020), https://www.nytimes.com/2020/11/27/business/
     mckinsey-purdue-oxycontin-opioids.html

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 1          492.       Elling’s prediction that things would “get tougher” for Purdue would prove
 2   prescient.
 3
                       i.        Guilty Again - 2020
 4
            493.       On October 20, 2020, Purdue—McKinsey’s co-conspirator—agreed with the
 5
     United States Department of Justice to plead guilty to improper marketing of OxyContin and other
 6

 7   opioids again (the “2020 Settlement Agreement”). This time the plea agreement concerned conduct

 8   from 2010 to 2018. The agreement includes $8.3 billion in penalties from Purdue and $225 million

 9   from the Sackler family.
10
            494.       Purdue pleaded guilty to a dual-object conspiracy to defraud the United States and
11
     to violate the Food, Drug, and Cosmetic Act, 21 U.S.C. §§ 331, 353, violating anti-kickback laws,
12
     and “using aggressive marketing tactics to convince doctors to unnecessarily prescribe opioids—
13
     frivolous prescriptions that experts say helped fuel a drug addiction crisis that has ravaged America
14

15   for decades.”

16          495.       The new plea agreement does not identify Purdue’s co-conspirators, and McKinsey
17   is not identified by name in the agreement. Instead, McKinsey is referred to as the “consulting
18
     company.”
19
            496.       Purdue’s new guilty plea concerns Covered Conduct (as defined in the plea
20
     agreement) that directly implicates McKinsey in the conspiracy. It is the same conduct described
21

22   in this Complaint.

23          497.       Indeed, the plea agreement signed by McKinsey’s co-conspirator states bluntly:

24   “Purdue,     in        collaboration   with   [McKinsey],    implemented   many   of   [McKinsey’s]
25   recommendations.” (emphasis added).
26
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 1          498.    Further, Purdue admitted that E2E “was overseen by [McKinsey] and some of
 2   Purdue’s top executives through the creation of the E2E Executive Oversight Team (‘EOT’) and
 3
     Project Management Office (‘PMO’)” (emphasis added).
 4
                    ii.      A Mea Culpa
 5
            499.    On December 5, 2020, six weeks after Purdue’s second guilty plea, McKinsey
 6

 7   issued a rare public statement regarding its work with a specific client on its website. The client

 8   was Purdue, and the statement was issued is response to Purdue’s second guilty plea and recent

 9   media reports regarding McKinsey’s work selling OxyContin after 2007:
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22          500.    As the statement indicates, McKinsey stopped doing work “anywhere in the world.”

23   Given that Purdue’s operations addressed only the United States, the global reach of McKinsey’s
24   regret is noteworthy.
25
            501.    In August 2013, when the Sacklers adopted McKinsey’s “Project Turbocharge” for
26
     Purdue, Tim Reiner, a long-time McKinsey consultant, joined Mundipharma. Mundipharma is a
27
     separate company—also owned by the Sacklers—that sells opioids internationally.
28


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 1           502.     As late as 2019, Mundipharma has been asserting many of the same misleading
 2   claims about opioids that previously led to criminal liability in the United States.358 McKinsey has
 3
     long assisted the Sacklers in growing Mundipharma’s opioids market.359 By 2015, McKinsey’s
 4
     workload with Mundipharma was large enough to merit formal coordination and incorporation with
 5
     the overall McKinsey team servicing the Purdue account. Around this time, McKinsey’s Elling
 6

 7   agreed to assume “a real operational DCS” role with respect to the work that McKinsey was

 8   performing for the various Sackler interests, including “integrat[ing] the Mundipharma stuff.”                 360


 9   Even if the various components of the Sackler “family conglomerate” were nominally independent,
10
     McKinsey consolidated its own treatment of its work for all of these companies as serving just a
11
     single client.
12
                      iii.     A Hedge Fund
13
             503.     On February 4, 2021, forty-nine state attorneys general announced a multistate
14

15   settlement with McKinsey related to its work for opioid manufacturers. McKinsey agreed to pay

16   almost $600 million dollars. At the time of the announcement, most of the participating states each
17   filed a complaint and consent decree finalizing the settlement.
18
             504.     Three days after the settlement, it came to light that McKinsey appears to have
19
     benefitted from its work promoting opioids not only through the fees paid to McKinsey by its
20
     clients, but also through investments in opioid-related business made by McKinsey’s own hedge
21

22   fund, the McKinsey Investment Office (“MIO”). MIO is the hedge fund referenced above, with

23   respect to McKinsey’s investment in Teva Pharmaceutical.

24

25

26
     358
         See Kinetz, Erika, Fake doctors, pilfered medical records drive OxyChina sales, Associated Press, November 19,
27   2019, available at: https://apnews.com/article/4122af46fdba42119ae3db30aa13537c
     359
         See, e.g., MCK-MDL2996-0256120; MCK-MDL2996-0327127; MCK-MDL2996-0183279; MCK-MDL2996-
28   0238998; MCK-MDL2996-0286490.
     360
         MCK-MDL2996-0210149

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 1           505.     Consultants don’t typically have in-house hedge funds overseeing retirement
 2   accounts and partners’ personal investments. In fact, McKinsey is the only one. “Most large
 3
     companies, including all the major consulting firms, hire third-party firms . . . to oversee their
 4
     employees’ retirement accounts.”361 MIO manages approximately $31 billion on behalf of
 5
     McKinsey partners, employees, and former partners.362
 6

 7           506.     Through MIO, McKinsey was heavily invested in the opioid industry, and stood to

 8   gain financially from the continuation of the opioid crisis. It even invested in opioid addiction

 9   treatment businesses—a growing industry, as McKinsey knew.
10
             507.     In short, “during the years McKinsey was helping opioid makers propel sales of the
11
     drugs, MIO Partners held stakes in companies that profited from increased usage.”363
12
             508.     To understand MIO, an organizational chart of McKinsey is helpful:
13

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21

22
23

24
     361
         Gretchen Morgenson, “Consulting giant McKinsey allegedly fed the opioid crisis. Now an affiliate may profit from
25   treating addicts.,” NBC News, February 8, 2021, available at https://www.nbcnews.com/news/us-news/consulting-
     giant-mckinsey-allegedly-fed-opioid-crisis-now-affiliate-may-n1256969
     362
26       SEC Order dated November 19, 20201 at Para. 5, available at: https://www.sec.gov/litigation/admin/2021/ia-
     5912.pdf. That $31 billion under management would make MIO Partners the thirteenth largest hedge fund on Earth.
27   See https://www.pionline.com/interactive/largest-hedge-fund-managers-2021.
     363
         Gretchen Morgenson, “Consulting giant McKinsey allegedly fed the opioid crisis. Now an affiliate may profit from
28   treating addicts.,” NBC News, February 8, 2021, available at https://www.nbcnews.com/news/us-news/consulting-
     giant-mckinsey-allegedly-fed-opioid-crisis-now-affiliate-may-n1256969

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11
            509.   MIO Group, Inc., and MIO Partners, Inc. are directly-owned subsidiaries of
12
     McKinsey & Company, Inc. Given that McKinsey advises countless large corporations,
13

14   McKinsey’s hedge fund inevitably invests in McKinsey’s clients.

15          510.   MIO manages money for pension plans sponsored by McKinsey in which current

16   and former McKinsey employees participate, as well as privately-offered investment funds
17   available to partners and former partners. Today, nine of MIO’s eleven directors are current or
18
     former McKinsey partners. Prior to 2017, there were no outside directors at MIO.
19
            511.   MIO structures its investment activities in three principal ways: (1) approximately
20
     50-60% of MIO’s assets are managed by third-party money managers, who have sole discretion on
21

22   what securities to buy with MIO’s money, and where MIO may or may not have information

23   regarding which securities the third-party money manager has purchased for MIO’s benefit; (2)

24   “separately managed accounts,” comprising approximately 40% of MIO’s holdings, are portfolios
25
     of securities managed by a third-party money manager, but where MIO “knows what securities are
26
     held through each account,” and; (3) direct investments, where MIO invests its own money directly,
27
     which comprises approximately 10% of MIO’s investments.
28


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 1           512.    In other words, for at least 40% of MIOs holdings, McKinsey partners are able to
 2   know the specific investments held by the various MIO funds. “MIO has a ledger for every security
 3
     in their managed accounts.”364 That comprises a pool of capital worth more than $6 billion.
 4
             513.    MIO is run for the benefit of McKinsey’s partners and, to a separate extent,
 5
     McKinsey’s employees. Those individuals (and, crucially, former McKinsey partners) invest their
 6

 7   own money in MIO, and their access to those investment opportunities constitutes a meaningful

 8   and important component of those individuals’ compensation. MIO has, “at a minimum, the ability

 9   to view the individual securities that account for approximately 40 to 50 percent.” This is
10
     approximately $6 billion dollars of invested capital. What is more, MIO directly invests
11
     approximately 10% of its assets. That is $1.5 billion MIO directly invests in securities without the
12
     use of any outside money manager. These numbers exclude leverage.
13
             514.    From a conflicts perspective, the fact that former partners may participate in MIO
14

15   investments merits consideration. With respect to McKinsey’s opioid investments, it is notable to

16   consider just who some of those “former partners” are. As noted above, Rajiv de Silva, Chief
17   Executive Officer of opioid defendant Endo Pharmaceuticals, is a former McKinsey partner. Kare
18
     Shultz, Chief Executive Officer of opioid defendant Teva Pharmaceutical, is a former McKinsey
19
     partner. Frank Scholz, President of opioid defendant SpecGX, a subsidiary of Mallinckrodt, is a
20
     former McKinsey partner. Marc Owen, President of opioid defendant McKesson, is a former
21

22   McKinsey partner. This list is merely illustrative; it is not exhaustive.

23           515.    The result is the prospect of individual executives at various opioid manufacturing

24   and distribution companies obtaining financial gain from the ongoing propagation of the opioid
25

26
27
       Michelle Celarier, McKinsey’s Managed Accounts Come Under Scrutiny in Trial, Institutional Investor, February
     364

28   5, 2020, available at: https://www.institutionalinvestor.com/article/b1k6wnn251s472/McKinsey-s-Managed-
     Accounts-Come-Under-Scrutiny-in-Trial

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 1   crisis not via compensation from their employers, but via participating in investments alongside
 2   their former employer (and, in many cases, current consultant).
 3
             516.     Three days after McKinsey and the state attorneys general announced their
 4
     settlement, NBC News reported that MIO, McKinsey’s hedge fund, owned opioid-related
 5
     investments during the time that it advised its opioid clients.
 6

 7           517.     One is Deerfield Management Co., “a $10 billion dollar health care investment firm

 8   based in New York.”365 As ever, “two top Deerfield executives previously worked at McKinsey.”

 9   A retirement fund managed by MIO held a $108 million stake in funds managed by Deerfield and
10
     invested in opioid industry participants. “In 2017, for example, Deerfield was a 6 percent
11
     shareholder in Mallinckrodt, a major opioid maker.”366 From 2011 through 2016, Deerfield held a
12
     stake of up to $90 million in Teva. Deerfield also took stakes in the distributors described above,
13
     including McKesson and Cardinal Health.367
14

15           518.     McKinsey is also invested in treatment, an inevitable growth industry sprouting

16   from the over-selling of opioids. Separate from its investments with Deerfield, MIO is also invested
17   in Adamis Pharmaceuticals, “a company that develops products to treat opioid overdoses,” and
18
     therefore “may also benefit from opioid settlement funds” paid by McKinsey as a result of its
19
     settlement with the states. As of 2020, MIO owned 26% of the Adamis’ preferred shares through
20
     another outside investment manager (not Deerfield).368 Separately, Deerfield invested $331 million
21

22   in Recovery Centers of America, an addiction treatment company that operates facilities in states

23   that McKinsey recently settled with.369

24

25
     365
         Gretchen Morgenson, “Consulting giant McKinsey allegedly fed the opioid crisis. Now an affiliate may profit from
26   treating addicts.,” NBC News, February 8, 2021, available at https://www.nbcnews.com/news/us-news/consulting-
     giant-mckinsey-allegedly-fed-opioid-crisis-now-affiliate-may-n1256969
     366
27       Id.
     367
         Id.
     368
28       Id.
     369
         Id.

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 1           519.     These relationships and investments give a glimpse into the myriad means
 2   McKinsey deploys to make money. Consulting is more than giving advice. Indeed, On November
 3
     19, 2021, MIO Partners agreed to pay an $18 million fine to the SEC due to MIO’s possession of
 4
     material nonpublic information related to its holdings, information obtained through consulting.
 5
             i.       Publicis: “The Power of One”
 6

 7           520.     Defendant Publicis Health is an advertising and consulting company that services

 8   pharmaceutical manufacturers. Publicis Health is a division of the French multi-national

 9   advertising and communications conglomerate Publicis Groupe, S.A. (“Publicis”). Annual
10
     revenues exceed $9 billion annually.
11
             521.     Publicis is one of the “Big Four,” as the four firms that account for more than half
12
     of the global advertising industry are called.370 In 2002, as the opioid crisis was taking root across
13
     the United States, the president of the American Association of Advertising Agencies, stated, “Now
14

15   you have four megacompanies with revenues that are staggering, bigger than some of the

16   companies they serve.”371
17           522.     The rise of the Big Four came through decades of mergers and acquisitions of
18
     separate agencies and industry consolidation; each is essentially a conglomerate. For its part,
19
20

21

22
     370
23       The other three are Omnicom Group, the Interpublic Group of Companies, and the WPP Group. Stuart Elliott,
     Advertising’s Big Four: It’s Their World Now, New York Times, March 31, 2002, available at:
24   https://www.nytimes.com/2002/03/31/business/advertising-s-big-four-it-s-their-world-now.html
     Other primary vendors to large companies have their own little linguistic conferences. For advertising’s Big Four,
25   consulting has its Big Three – also referred to as “MBB” – comprised of McKinsey, Bain, and Boston Consulting
     Group. See https://en.wikipedia.org/wiki/Big_Three_(management_consultancies). The Big Four and the Big Three
26   increasingly compete for the same project work at the same clients. Moreover, accountancies have their own Big Four,
     and compete with the Big Three and the other Big Four. See https://en.wikipedia.org/wiki/Big_Four_accounting_firms.
27   These Big vendors provide services demanded by thousands of overlapping clients. That market reality confers
     substantial power to this Big, elite few.
28   371
         Stuart Elliott, Advertising’s Big Four: It’s Their World Now, New York Times, March 31, 2002, available at:
     https://www.nytimes.com/2002/03/31/business/advertising-s-big-four-it-s-their-world-now.html

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 1   Publicis grew by acquiring the agencies Fallon McElligott, Saatchi & Saatchi, and Nelson
 2   Communications, among many others.372
 3
             523.      Today, Publicis operates numerous subsidiaries focusing on subsets of the
 4
     advertising industry. Publicis Health is the conglomerate’s division that specializes in work for
 5
     healthcare and pharmaceutical companies. Within Publicis Health, there at least fifteen “agency
 6

 7   brands” – subsidiaries, essentially, operating under their own brand names. Each provides

 8   specialized advertising and communications strategies to Publicis’ pharmaceutical clients.

 9   Razorfish Health, Publicis Health Media, Digitas Health, Rosetta, and Verilogue are some
10
     examples.373
11
             524.     Each brand specializes in a specific niche within the overall suite of sales and
12
     marketing services offered by Publicis Health. Razorfish pioneered and specializes in digital
13
     marketing; Digitas specializes in interactive marketing; Publicis Health Media’s wheelhouse has
14

15   been creative and media marketing. Verilogue’s niche is providing audio recordings of interactions

16   between patients and doctors that may be mined for insights on how to sell more drugs. Routinely,
17   a Publicis client would engage with more than one of its subsidiaries in tandem and as part of an
18
     overall client relationship with Publicis.374
19
             525.     Until 2019, Publicis also owned Publicis Touchpoint Solutions, which provided
20
     contract sales organization (“CSO”) services to pharmaceutical manufacturer clients. 375
21

22   Pharmaceutical companies routinely seek to optimize their salesforces to maximize profitability.

23
     372
         Stuart Elliott, Advertising’s Big Four: It’s Their World Now, New York Times, March 31, 2002, available at:
24   https://www.nytimes.com/2002/03/31/business/advertising-s-big-four-it-s-their-world-now.html
     373
         See https://publicishealth.com/companies.
     374
25       For example, upon information and belief, Purdue used Publicis Health Media and Razorfish during the same year,
     and paid separate invoices to each agency, despite their joint ownership.
     375
26       On January 31, 2019, Publicis Healthcare Solutions, formerly known as Publicis Touchpoint Solutions, was sold by
     Publicis Groupe to Altamont Capital Partners. See “Altamont Capital Partners Acquires Publicis Healthcare Solutions,”
27   January 31, 2019, available at: https://www.prnewswire.com/news-releases/altamont-capital-partners-acquires-
     publicis-healthcare-
28   solutions300787750.html#:~:text=Altamont%20Capital%20Partners%20Acquires%20Publicis%20Healthcare%20So
     lutions

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 1   As such, the typical pharmaceutical company does not maintain under-utilized salesforces, or
 2   salesforces larger than necessary to maximize revenue on the company’s current product offerings.
 3
     The result, oftentimes, is that a pharmaceutical company hoping to launch a new product will not
 4
     have the resources in-house to adequately push a new product launch.
 5
              526.     Publicis Touchpoint Solutions solved these problems for clients by offering contract
 6

 7   salesforces to augment the number of sales representatives a manufacturer can deploy in order to

 8   maximize the success of a product launch. Or, in many cases, Publicis would employ and control

 9   the entire sales force for a given drug, on a contract basis, for drug manufacturers that wish to
10
     outsource the entirety of their sales and marketing efforts.376 As will be seen, Publicis Touchpoint
11
     Solutions provided sales representatives to numerous opioid manufacturers for numerous opioid
12
     products at different stages of the product life cycle.
13
              527.     These different divisions offering complementary services to clients function as a
14

15   seamless whole. “‘The Power of One’ is Publicis Groupe’s operating philosophy. Bringing together

16   80,000 employees across more than 110 countries and 56 agency brands, we deliver a seamless and
17   modular experience in the relentless service of our clients,” Publicis says.377 That seamless and
18
     modular experience is “free from silos,” with “unified P&L’s” and no operational barriers between
19
     Publicis’ brands.378
20
              528.     “The Power of One” is more than marketing pablum. It governs the operations of
21

22   the parent organization and how it exerts control over its numerous agencies. This control can at

23   times lack subtlety. “Publicis Groupe executives gathered a few months ago to debate which agency

24   would service a new piece of business won by the holding company’s centralized Power of One
25

26
     376
         While the new product launch is a classic use case for a CSO, is it’s not their only use. A drug manufacturer may
27   also choose to utilize a CSO at other stages of the product life cycle, for instance as loss of exclusivity approaches and
     a manufacturer wishes to re-deploy its internal sales force to focus on newer drugs or those about to be launched.
     377
28       See https://publicishealth.com/companies.
     378
         See https://www.publicisgroupe.com/en/the-groupe/about-publicis-groupe

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 1   team, which is composed of talent from its various shops. According to a person at the meeting – a
 2   former creative from a Publicis agency – a suggestion was made for the assignment to be handled
 3
     out of Saatchi & Saatchi New York. According to that creative, one of Publicis’ CEO-Chairman
 4
     Arthur Sadoun’s ‘main people’ responded: ‘Don’t put that there; [Saatchi] won’t be here next
 5
     year.’”379
 6

 7           529.    By October of 2021, Publicis had risen to become the largest advertising

 8   conglomerate in the world, with a market capitalization of a little more than $16 billion.380

 9           j.      What Publicis Does: Marketing and Consulting
10
             530.    Traditionally, the advertising industry organized itself based on the “agency model,”
11
     with advertising agencies performing both creative and advertising placement services. At the top
12
     of the pyramid was the “agency of record,” or “AOR.” The AOR is the advertising agency
13
     appointed by the client to coordinate the purchase of media time and space for the placement of
14

15   client advertisements. While any given client may choose to employ multiple advertising agencies

16   to assist with specific projects, the AOR sits atop those other agencies performing project work and
17   directs the placement of project work performed by other agencies for the client. Typically, the
18
     AOR will receive payment from an agency performing project work for the client for its
19
     placement.381 Given its control over the placement of client content – in effect, a monopoly on the
20
     client marketing distribution channel – the AOR was in a position to influence the conduct of other
21

22   contracting agencies performing discrete projects for the client, should the client choose to utilize

23   different agencies for different marketing functions (digital vs. print media, for example).

24

25

26
     379
         Lindsay Rittenhouse, “Uncertainty Over Future Direction of Publicis Triggers Employee Unrest – And Talent
27   Exodus,” Ad Age, January 16, 2020, available at: https://adage.com/article/agency-news/uncertainty-over-future-
     direction-publicis-triggers-employee-unrest-and-talent-exodus/2226346
     380
28       See https://www.prweek.com/article/1731568/publicis-overtakes-rivals-worlds-valuable-agency-group
     381
         See https://www.allbusiness.com/barrons_dictionary/dictionary-agency-of-record-4962111-1.html

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 1           531.       Publicis’ various divisions performed multiple roles for various opioid
 2   manufacturers, including AOR roles on numerous campaigns as well as project work under the
 3
     aegis of other AORs. Publicis’ Rosetta, for example,                                Redacted
 4
                  382
                        Publicis’ Saatchi & Saatchi Healthcare                  Redacted                .
 5
             532.       The traditional AOR model has evolved significantly over the years as a result of
 6

 7   consolidation within the industry, as well as competition from without. As the marketing industry

 8   has consolidated into the Big Four, it has transformed its product offerings in response to

 9   competition from consulting firms. The result is that Publicis has outgrown its heritage and is now
10
     far more than an advertising agency. It has transformed into an offeror of strategy and consulting
11
     services in addition to traditional agency work.383
12
             533.       In response to competition from outside the traditional agencies, coupled with the
13
     expansion of traditional advertising channels to encompass new technologies, the rise of digital
14

15   marketing, the erosion of traditional print mediums, and other market dynamics, the Big Four

16   agencies have evolved in recent years beyond the traditional AOR hierarchy to offer services to
17   their clients in more nuanced and flexible ways, and to pair traditional product offerings with newer
18
     services.
19
             k.         A Consulgency
20
             534.       Publicis is no exception; indeed, it is an exemplar of these industry trends.
21

22           535.       These days, Publicis is not just a content creator and placement agent; it is also a

23   consultant. Indeed, the evolution of management consulting and advertising (and particularly

24   pharmaceutical advertising) has created a market reality in which there is substantial overlap in the
25   product offerings of global advertising agencies like Publicis and global management consultants
26
     382
27      Transcript of Amanda Stephens Hogan Deposition dated January 25, 2019, Pg. 414:3-8,
     383
        For example, Publicis Sapient’s Strategy & Consulting Practice Group describes its approach, “Our strategy and
28   consulting teams work seamlessly with our experience and engineering teams to ensure we develop the most high-
     impact strategies to drive effective digital business transformation.”

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 1   like McKinsey & Company, Inc. Just as McKinsey’s traditional management consulting business
 2   has evolved to encompass various operational roles performed for clients, including sales and
 3
     marketing design and implementation, the traditional advertisers have similarly evolved.
 4
              536.     Publicis, for example, evolved to offer strategy consulting services and perform
 5
     implementation work in addition to merely proposing advertising campaigns. By 2018, Publicis’
 6

 7   investor presentation emphasized this shift, declaring that “We have the organization to shift from

 8   a communications partner to a transformation partner.”384 The goal of any Publicis client

 9   relationship is to “be our clients’ indispensable partner in their transformation.”385
10
              537.     This is part of a broader shift in the overall consulting and marketing industries.
11
     “Traditionally, marketing agencies spoke to the Chief Marketing Officer and implemented
12
     communication strategy, while consultants spoke with the CEO and devised the general strategy –
13
     with marketing communications being the tail of it. In an effort to compete, agencies have started
14

15   to develop consulting skills, creating ‘consulgencies.’”386 As an example, Publicis’ Publicis Sapient

16   division was ranked in 2019 as the premier leader in providing “digital transformation” services,
17   besting traditional consultants Accenture, Ernst & Young, PwC, and McKinsey.387 According to
18
     the rankings analysis, these digital transformation leaders “blend strategy and execution chops and
19
     couple them with the soft skills for inspiring leadership and training teams,” and identified Publicis
20
     as “the top consultancy on the customer experience front” and “an especially strong partner where
21

22   the transformation emphasis is on creating world-class digital customer and employee

23   experiences.”388

24
     384
25            Publicis  Groupe      Investor    Day      Presentation   dated   March     20,     2018,      available    at:
     http://documents.publicisgroupe.com/events/2018-03-investor-day-intro.pdf (emphasis in original).
     385
26        Id.
     386
          “Agencies, consulting firms, and the future of marketing,” Rewire Mag, available at: https://rewire.ie.edu/agency-
27   vs-consulting-firms-future-marketing/
     387
         https://www.consulting.us/news/1991/publicis-sapient-named-a-leader-in-digital-transformation
28   388
           “Publicis Sapient named leader in digital transformation,” Consulting.us, March 21, 2019, available at:
     https://www.consulting.us/news/1991/publicis-sapient-named-a-leader-in-digital-transformation. Firms like Razorfish

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 1            538.     One marketing executive, upon his company being acquired by a large consulting
 2   firm, explained, “we see the next decade as belonging to what we call ‘consulgencies’ – offerings
 3
     at the cusp of what consultancies do and agencies do – bringing the best of both worlds together.”389
 4
     One benefit of this hybrid model is greater access to client information than a traditional agency
 5
     model would entail. “I think consultancies are allowed more to look at the business side of things
 6

 7   than agencies. Clients are not willing to share confidential information with us,” explained one

 8   marketing professional.390

 9            539.     A natural outcome of this convergence between the management consulting and
10
     advertising industries has been partnerships between incumbent management consultants and
11
     incumbent agencies as both find themselves competing for the same business in a new competitive
12
     landscape.
13
              540.     Publicis and McKinsey routinely partner on projects together for mutual clients.
14

15            541.     “McKinsey & Company and Publicis Health work together to help clients develop

16   agile approaches to winning launches,” declaimed a pharmaceutical industry marketing
17   publication.391 In 2016, Janet Winkler, then a Group President at Publicis Health392, and Brian Fox,
18

19
20   and Sapient were seen as competitors to McKinsey from the outset, as McKinsey was experiencing a wave of employee
     departures during the early 2000’s. “It wasn’t just dot-com startups that were alluring. A whole new class of consulting
21   firm burst onto the scene, with hipper names – Razorfish, Scient, Viant, and Sapient – and sexier projects. The work
     they were doing seemed far more crucial than redrawing organizational charts. They were helping companies use the
22   Internet to transform everything about the way they did business – from sourcing to distribution to how they treated
     and served their customers.” Duff McDonald, The Firm, Pg. 265. Razorfish, Scient, and Sapient were eventually
23   acquired by Publicis. (Viant, which was not scooped up by one of the Big 4, was instead acquired in 2002 by a company
     named Divine that liquidated in bankruptcy the following year.)
24   389
          “The deal that unlocks the value of our industry,” Marketing Magazine, June 8, 2018, available at:
     https://marketingmagazine.com.my/arrival-of-the-consulgency/
25   390
         Shareen Pathak, “‘We’re giving the business away to consultants:’: Agencies brace for new competition, Digiday,
     October 25, 2017, available at: https://digiday.com/marketing/giving-business-away-consultants-agencies-brace-new-
26   competition/
     391
         Janet Winkler, Brian Fox, et. al. “Five Inconvenient Truths That Can Make or Break a Product Launch,” PM360,
27   November 23, 2016, available at: https://www.pm360online.com/five-inconvenient-truths-that-can-make-or-break-a-
     product-launch/
     392
28       In 2017, Winkler left her role as Group President of Publicis. The following year, she joined McKinsey & Company
     as a Senior Advisor.

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 1   a Senior Partner at McKinsey, co-authored the article “Five Inconvenient Truths That Can Make
 2   or Break a Product Launch” in industry trade publication PM360.
 3
             542.     McKinsey and Publicis co-authored393 the piece to highlight their joint expertise in
 4
     pharmaceutical marketing. “Applying complementary tool and capabilities, [McKinsey and
 5
     Publicis Health] deliver rapid, actionable analytics as well as change management and execution
 6

 7   support to accelerate brand performance throughout the lifecycle,” explained a note accompanying

 8   the article.

 9           543.     Purdue is one example, but Publicis and McKinsey had many other mutual opioid
10
     manufacturer clients. They worked for these clients contemporaneously and for years while the
11
     opioid epidemic grew to its present scourge.
12
             l.       Publicis and Purdue: Selling the Sackler Strategy
13
             544.     As explained in detail above, in the wake of Purdue’s 2007 guilty plea with the
14

15   Department of Justice and accession to a 5-year Corporate Integrity Agreement with the Office of

16   Inspector General for the United States Department of Health and Human Services, Purdue faced
17   newly imposed constraints on its sales and marketing practices. As a result, the Sackler family
18
     desired to achieve distance from this “concentration of risk” by diversifying the family fortune
19
     away from Purdue, and by increasing OxyContin sales in the near term in order to achieve that
20
     distance.
21

22
23

24

25
     393
        In addition to Winkler and Fox, “Gregory Graves, Associate Partner, McKinsey & Company; Catherine Mayone,
26   EVP, General Manager, Publicis Health and Sapient Health; and Dan Tinkoff, Partner, McKinsey & Company, also
     contributed to this article.” See https://www.pm360online.com/five-inconvenient-truths-that-can-make-or-break-a-
27   product-launch/

28   Notably, the McKinsey authors – Fox, Graves, and Tinkoff –                       Redacted



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 1            545.     Alongside McKinsey, Publicis was integral to the sales and marketing campaigns
 2   deployed to increase OxyContin sales notwithstanding the Corporate Integrity Agreement and in
 3
     furtherance of the Sacklers wishes.394
 4
                     i.    Hopelessly dependent on consultants; “Desperately seeking new growth.”
 5
              546.     Purdue was captured. After the 2007 guilty plea, the Sackler family wished to
 6

 7   dispose of Purdue because it was concerned about both legal liability and reputational risk

 8   associated with owning the monoline opioid manufacturer. After 2007, the name of the game was

 9   profit maximization of a drug Purdue’s owners knew had no long-term future.
10
              547.     The company, in other words, was a basket case: pursuing internally contradictory
11
     goals to maximize opioid sales because its previous efforts to maximize opioid sales had created
12
     an existential crisis for the company. Threading a needle like that is hard. Purdue needed others to
13
     tell it what to do in order to achieve its owners’ mandate.
14

15            548.     By the end of 2013, Purdue was seeking any opportunity to maintain growth it could

16   identify. Publicis noted that Purdue’s Board (meaning the Sackler family) was “always looming,”
17   and the pressure was always to increase sales. One risk Publicis identified was the risk that the
18
     Sacklers would fire the CEO at that time, John Stewart.
19
              549.     Publicis summed up its outlook for its client, “PURDUE in 2014: Desperately
20
     seeking new growth.”
21

22            550.     This is red meat to consultants. McKinsey & Company. ZS Associates. Publicis.

23   These happy warriors395 serviced Purdue after the company’s executives pleaded guilty in 2007,

24

25
     394
         To emphasize the disregard with which the CIA was met, Dr. Richard Sackler has testified, incredibly, that he has
26   never read the agreement, despite his years of continued service on Purdue’s Board of Directors before, during, and
     after the CIA compliance period.
27   395
         Consultants love martial metaphors. See “Publicis 2020: Sprint to the Future,” Publicis Groupe, March 20, 2018,
     available     at:     https://www.publicisgroupe.com/en/news/press-releases/publicis-2020-sprint-to-the-future-en-1
28   (Publicis helping clients to “reduce their costs and win the battle with new competition); see also, “A battle plan for
     telcos’    digital    attacker    brands,”      McKinsey      &     Co.,    March     5,    2021,     available     at:

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 1   and with full knowledge of that guilt.396 All worked for Purdue on an ongoing basis right up until
 2   Purdue stopped marketing OxyContin in 2018. And they worked together. They teamed up to
 3
     service a client so dependent on their offerings that it could no longer function without their ongoing
 4
     assistance.
 5
             551.     Indeed, the consultants banded together to achieve their own goals with respect to
 6

 7   mutual clients. “McKinsey & Company and Publicis Health work together to help clients develop

 8   agile approaches to winning launches. Applying complementary tools and capabilities, they deliver

 9   rapid, actionable analytics as well as change management and execution support to accelerate brand
10
     performance.”397
11
             552.     As will be seen, Publicis’ complementary tools and capabilities were critical to
12
     McKinsey’s Project Turbocharge, which was adopted by Purdue and implemented by all three (and
13
     ZS) in late 2013 and thereafter.
14

15                    ii.      Branded Marketing

16           553.     Purdue was a monoline manufacturer of opioids. OxyContin (oxycodone), Hysinglia
17   (hydrocodone), Targiniq (oxycodone/naloxone) and Butrans (buprenorphine) were Purdue’s
18
     principal branded opioid products. Publicis worked on campaigns for all four. But OxyContin was
19
     the cash cow. As Publicis’ Rosetta unit described it in 2014, “for 17 years Purdue has relied almost
20
     solely on the revenue from their $3b blockbuster opioid medication, OxyContin (~90% of Purdue’s
21

22   revenue).”

23
     https://www.mckinsey.com/industries/technology-media-and-telecommunications/our-insights/a-battle-plan-for-
24   telcos-digital-attacker-brands;
     396
         For example, an internal Publicis Client Service Team review document prepared in 2013 for the Purdue account
25   began with a section entitled, “To know Purdue,” which stated, “In 2007, John Brownlee U.S. Attorney charged that
     ‘Purdue, under leadership of its top executives, continued to push a fraudulent marketing campaign… In the process
26   scores died as a result of OxyContin abuse and an even greater number of people became addicted to OxyContin; a
     drug that Purdue led many to believe was safer, less abusable and less addictive than other pain medications on the
27   market.”
     397
         Janet Winkler and Brian Fox, “Five Inconvenient Truths That Can Make or Break a Product Launch,” PM360,
28   November 23, 2016, available at: https://www.pm360online.com/five-inconvenient-truths-that-can-make-or-break-a-
     product-launch/ (emphasis added).

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 1            554.     The Publicis-Purdue relationship began as early as April 2010, during the pendency
 2   of the 5-year Corporate Integrity Agreement to which Purdue was bound as a result of its 2007
 3
     guilty plea, when Rosetta Marketing Services LLC entered into a Master Services Agreement to
 4
     work on OxyContin and other Purdue opioids.398 The Purdue relationship lasted as late as 2019.
 5
              555.     As one industry trade journal described the relationship, “Rosetta’s unique role lies
 6

 7   in developing personalized marketing program built on consumer insights, as in the agency’s

 8   integrated campaigns for… Purdue’s pain drug OxyContin and pain patch Butrans”399

 9                              1.        OxyContin
10
              556.     From the outset of the Purdue relationship in 2010, Publicis entities, beginning with
11
     Rosetta, were Covered Persons400 pursuant to the Corporate Integrity Agreement Purdue was then
12
     bound by, and which remained in effect until May 2013.
13
                                          a.       Project Turbocharge a/k/a Evolve to Excellence a/k/a E2E
14

15            557.     Within a few months of its expiration, and with the CIA now out of the way,

16   McKinsey proposed, and Purdue adopted, Project Turbocharge, a sweeping effort to revitalize
17   OxyContin sales by overhauling and empowering Purdue’s sales force to deliver in a precision-
18
     targeted way new messaging regarding OxyContin. Purdue adopted McKinsey’s recommendations,
19
     coordinated with McKinsey to implement the recommendations, and immediately involved Rosetta
20
     in doing so. As a sign of the transformative nature of the undertaking, the project was unveiled as
21

22   the theme of Purdue’s 2014 national sales campaign.

23

24
     398
         Publicis acquired Rosetta in May of the following year for $575 million. See Eric Pfanner, “Publicis to Acquire
25   Rosetta      for     $575      Million,”      New       York   Times,     May       17,      2011,       available     at:
     https://www.nytimes.com/2011/05/18/technology/18iht-publicis18.html
26   399
         Marc Iskowitz, “100 Agencies: Rosetta – Acquisition by Publicis, integration activities lead to flat year for agency,”
     Medical Marketing and Media, July 1, 2012, available at: https://www.mmm-online.com/home/channel/features/100-
27   agencies-rosetta/
     400
         The relevant language in the Corporate Integrity Agreement provides: “‘Covered Persons’ includes . . . all
28   contractors, subcontractors, agents, and other persons who perform sales, marketing, promotional, pricing, government
     contract, or regulatory functions . . . on behalf of Purdue.”

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 1               558.   On Saturday, September 28, 2013,                             Redacted


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                                                                                                                he
 4
     explained.401                                            Redacted
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 9                                                                402


10
                 559.                                          Redacted
11                                                                 403
                                                                                      Redacted
12

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                                                       404
15
16               560.   From the outset, Rosetta was an integral partner in shaping what McKinsey’s
17   program would become. By the end of the first month of Project Turbocharge, Rosetta was working
18
     to assemble, ratify, and finalize informational streams from other consultants regarding targeting
19
     healthcare providers with new OxyContin messaging.                              Redacted
20

21

22
           405
23               The additional work included                                 Redacted

24

25
     401
26       PPLPC018000873870.
     402
         PPLPC018000873870. “ADF” is an acronym for “abuse deterrent formulation,” i.e., the reformulated OxyContin
27   that was crush-resistant. ADF is addressed further in this Complaint, below.
     403
         PPLPC018000873870.
     404
28       PPLPC018000873870.
     405
         PPLPC018000885202

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 1                                                      Redacted

 2                                                     406

 3
             561.     Internally, Rosetta envisioned itself as perhaps playing an even more central role in
 4
     McKinsey’s Project Turbocharge at Purdue than it actually did. Rosetta described itself in an
 5
     internal presentation as the “strategic backbone” of Purdue’s marketing efforts, including Evolve
 6

 7   to Excellence, which Rosetta identified as one of the definitive characteristics for “success” at

 8   Purdue in 2014. 407

 9           562.     Whether backbone or limb, Rosetta was present at the creation.408 The following
10
     sections describe certain components of Rosetta’s work on Evolve to Excellence (or E2E, f/k/a
11
     Project Turbocharge). The conduct described is not exhaustive of Rosetta’s (or Publicis’) work in
12
     conjunction with McKinsey and for Purdue relating to E2E and adjacent projects. It is merely
13
     illustrative.
14

15                                     b.       Titration and Length of Therapy

16           563.     If you sell drugs to people, there are two ways to sell more drugs. One is to start
17   selling the drug to someone who wasn’t using it before (or, to use the lingo, a “new patient start”).
18
     The other way is to sell more of it to the people already using it. Titration and Length of Therapy
19
     (“LoT”) efforts are directed at the latter opportunity. Stronger pills made more money; the higher
20
     the dosage strength for any individual OxyContin prescription, the greater the profitability for
21

22   Purdue. Publicis went to great lengths to quantify the money to be made from increasing the length

23

24
     406
25       PPLPC018000885202
     407
         McKinsey’s name, “Project Turbocharge” was seen as perhaps too crass or off-tone by Purdue. At a minimum, it
26   was not “permanently appropriate.” CEO John Stewart wrote to McKinsey partners Rob Rosiello and Arnab Ghatak
     on August 15, 2013: “Paolo Costa was especially engaged in the discussion and he (among others) will be a champion
27   for our moving forward with a comprehensive ‘turbocharge’ process – though we do need to find a better and more
     permanently appropriate name.” (emphasis added). They settled on the decidedly more anodyne “Evolve to
28   Excellence,” (or “E2E”).
     408
         See Dean Acheson, Present at the Creation: My Years in the State Department, W.W. Norton, (1969).

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 1   of therapy. According to their calculations, an increase of 1% in average LoT for yearly unique
 2   patients represents $20 million in additional revenue to Purdue:
 3

 4

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12          564.    Of course, higher dosage strength and increased lengths of therapy also contribute

13   to opioid dependency, addiction and abuse. But Publicis was there to focus on selling higher
14
     strength dosages of OxyContin, and ROI was what was most important.
15
            565.    From 2012 through 2014, Publicis worked on numerous projects to design or refresh
16
     marketing campaigns to drive higher dose prescribing, for longer periods of time. In August of
17
     2012, Publicis explained, “A strategic driver for [OxyContin] in 2013 is to drive appropriate
18

19   titration and length of therapy with continuing patients. In an effort to add more emphasis to the

20   importance of titrating to adequate analgesia… the brand team would like to create a ‘campaign’
21   to raise awareness.”
22
            566.    Remarkably, Publicis created two separate marketing campaigns: one internal, for
23
     the Purdue sales representatives to understand how important titration and length of therapy is to
24
     Purdue (i.e., how the messaging effects profits), and a separate one designed to deliver the broader
25

26   message to prescribers.

27          567.    In September 2013, Publicis was brought in to “refresh” the already existing

28   Individualize the Dose titration campaign. The campaign had its origins around four years prior


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 1   when, on October 26, 2009, McKinsey advised the Sacklers and the Purdue board that Purdue
 2   should train its sales representatives to “emphasiz[e] the broad range of doses,” which would have
 3
     the intended effect of increasing the sales of the highest (and most profitable) doses of OxyContin.
 4
     McKinsey and Purdue subsequently implemented the campaign, and Publicis was brought in to do
 5
     the “refresh” of the campaign in light of “an emerging market dynamic:” the decline in “mean
 6

 7   patient dose” of OxyContin.

 8              568.     In other words, patients were buying less drugs. Publicis was brought in to reverse

 9   the decline; to “shift” the “trend”:409
10

11

12

13

14              569.     With respect to length of therapy, Publicis offered up a blunt instrument: coupons.

15   In April of 2013, Publicis deployed an email marketing campaign, which sent out “Savings Cards”
16
     for OxyContin that could be downloaded. These coupons were known to be an effective method of
17
     encouraging patients to continue taking OxyContin for longer than they typically would otherwise.
18
                570.     The work continued into 2014 as E2E was being implemented, by which time
19
     Publicis was asking probing questions like, “Does a titration step lead to longer LoT?” “Does 1
20

21   titration step correlate with a higher likelihood of a 2nd titration step? And a 2nd to a 3rd, and so on?”

22              571.     In 2017, Publicis employees discussing titration messaging knew the score. As one
23   put it, “We know discontinuation is usually an irrelevant subject matter (the persistent mindset is,
24
     once on an ERO [Extended-Release Opioid], the only way is up.”
25
                572.     Higher doses of opioids taken for longer periods carry greater risk. Patients
26
     receiving high doses of opioids (e.g., doses greater than 100 mg morphine equivalent dose (“MED”)
27

28
     409
           See 2013-09-03 Rosetta Creative Brief, cited in the Massachusetts Attorney General Complaint, Paragraph 57.

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 1   per day) as part of long-term opioid therapy are three to nine times more likely to suffer overdose
 2   from opioid-related causes than those on low doses. As compared to available alternative pain
 3
     remedies, scholars have suggested that tolerance to the respiratory depressive effects of opioids
 4
     develops at a slower rate than tolerance to opioids’ analgesic effects. The Centers for Disease
 5
     Control and Prevention also recognize that higher doses of opioids tend to increase overdose risks
 6

 7   relative to any potential patient benefit.410

 8           573.     Claims that opioids could be taken in ever-increasing strengths to obtain pain relief,

 9   without disclosing that higher doses increased the risk of addiction and overdose, are not only
10
     deceptive and misleading, they are deadly. These claims were particularly important to promotional
11
     efforts, however, because patients on opioids for more than a brief period develop tolerance,
12
     requiring increasingly high doses to achieve pain relief. Marketers needed to generate a comfort
13
     level among doctors to ensure the doctors maintained patients on opioids even as the high doses
14

15   became necessary.

16           574.     Publicis was ever vigilant in its protection of the titration messaging. In a June 2014
17   internal “Brand Overview” presentation regarding OxyContin, a Publicis employee struck out
18
     language in a draft version referring to utilizing the “lowest possible dose” because that language
19
     was contrary to the titration and length of therapy goals for the brand.
20
             575.     The vigilance paid dividends; the titration messaging worked. Nationwide, based on
21

22   an analysis by the Los Angeles Times, more than 52% of patients taking OxyContin longer than

23   three months are on doses greater than sixty milligrams per day, which converts to the ninety MED

24   that the CDC guideline urges prescribers to “avoid” or “carefully justify.”411
25                                     c.       Targeting Patients; Targeting Prescribers
26
27
     410
         Dowell D, Haegerich TM, Chou R. CDC Guideline for Prescribing Opioids for Chronic Pain – United States, 2016.
28   MMWR Recomm Rep 2016;65(No. RR-1):1–49. DOI: http://dx.doi.org/10.15585/mmwr.rr6501e1
     411
         CDC Guideline at 16.

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 1            576.   In order to aid prescribers and to deliver the titration message, Rosetta sought to
 2   differentiate and segment patients into different “types,” so that physicians might familiarize
 3
     themselves of instances in which titration is appropriate. In June 2014, in furtherance of the E2E
 4
     initiative, Rosetta was hired to refresh two and create a third “patient profile,” which could be left
 5
     behind in brochure form in healthcare providers’ offices.
 6

 7            577.   These profiles were meant to personalize OxyContin patients in the eyes of the

 8   prescriber and described the instances in which an OxyContin patient’s dosage should be changed.

 9   “Maggie” is 43 years old with “significant” lower back pain. After falling at home, she begins a
10
     40mg OxyContin twice daily regimen, and is then titrated up to a 60mg tablet twice daily before
11
     she “reports that her pain is properly managed.” “Carol” is 51 years old and has osteoarthritis in
12
     her left hip. She starts at a 15mg dose and is titrated up to 20mg dose, “with better relief of pain
13
     symptoms.” “James” is 40 and his osteoarthritis is in his knee. He starts at a 10mg OxyContin dose,
14

15   then is doubled titrated to 15mg. After reporting that “his pain is still not well managed,” James is

16   titrated up again to a 20mg dosage, at which point he experiences “good response to his arthritic
17   pain.”
18
              578.   Notably, in none of these patient “vignettes,” as Rosetta called them, was a patient
19
     ever titrated down. With EROs like OxyContin, the goal of titration was always ever skyward.
20
     These patient vignettes were to be included alongside information about obtaining “savings cards”
21

22   – coupons – in order to get a discount on your OxyContin prescription. The savings cards were

23   offered because Publicis knew from experience that their use correlated with longer average length

24   of therapy for the patients that used the coupons.
25            579.   Another patient group that Rosetta targeted were individuals already prescribed
26
     short-acting opioid medications. The goal was to transition these patients to an extended-release
27

28


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 1   formulation for long-term management of their pain. A longer length of therapy on an ERO like
 2   OxyContin is more profitable than sales of short acting opioids.
 3
               580.   As Rosetta segmented and targeted patient types, so too did it segment and target
 4
     certain prescribers. It did so in order to deliver tailored messaging to targeted individuals in order
 5
                                                                   412
     to maximize the goal, to                 Redacted
 6

 7             581.   As mentioned above, from the outset of E2E, Rosetta was working on identifying

 8   target lists of OxyContin prescribers,                              Redacted

 9                                                 413
                                                         Rosetta’s targeting efforts were organized by
10
     segmenting OxyContin prescribers into deciles by volume of prescriptions written.
11
               582.   Once these target lists were compiled, the purpose was to concentrate marketing
12
     efforts on the highest decile prescribers, i.e., those doctors who were already prescribing OxyContin
13
     and who, upon information and belief, had previously been subjected to Purdue’s tainted marketing
14

15   efforts prior to the 2007 guilty plea.

16             583.   At the same time, Publicis also focused marketing efforts on new prescribers who
17   were prescribing more OxyContin than their peers. This separate market segment of “new to brand
18
     prescribers” (or “NBRx”) could be plumbed for additional growth. Thus, Publicis advised sending
19
     sales representatives to both “high decile prescribers” and “High-decile NBRx HCPS” up to three
20
     times a month. These efforts were part of an overall initiative to generate “new patient starts”
21

22   (which is one way to increase sales, the other being Titration and Length of therapy, described

23   above), as set forth in an “OxyContin 2015 Tactical Planning” presentation prepared by Rosetta:

24

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27
     412
28         PPLPC018000873870.
     413
            PPLPC018000885202.

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            584.    Rosetta identified these physician targeting efforts to sell more OxyContin, which
16
     could result in more than $1 billion of additional revenue for Purdue.
17
            585.    The targeting was not limited to segmenting physicians into deciles by volume of
18

19   OxyContin prescriptions written. It also identified different physician profiles. Two patient profiles

20   in particular were identified for targeting. The “motivated believer” was “convinced that opioid
21   medication is essential to treatment of the chronic pain patient” and recognized OxyContin as “the
22
     leading FDA-recognized Opioid with Abused Deterrent Properties.” A “brand loyalist” was a
23
     prescriber that would remain an OxyContin prescriber despite growing concern within the medical
24
     profession regarding its abuse liability.
25

26          586.    One difficult physician segment type is the “no-see.” Some physicians simply do

27   not want to see sales representatives and will not meet with them in person. Obviously, this creates

28   an impediment to access that pharmaceutical manufacturers seek to surmount. If you cannot


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 1   communicate to a physician, it is difficult to influence that individual’s prescribing patterns. Rosetta
 2   offered solutions.
 3
            587.    Of course, there are other channels that can be used, such as email marketing
 4
     campaigns, and this Rosetta did. But there are other ways to gain access. For instance, Publicis
 5
     suggested that a list of all “no-see” prescribers who worked at “integrated delivery networks” be
 6

 7   compiled: “We should target anyone on the IDN Lists… regardless of decile.” Rosetta and Purdue

 8   then set up a call center where these prescribers who did not wish to meet with sales representatives

 9   would receive phone calls instead.
10
            588.    Another response to barriers to physician access is to go around them, to talk to
11
     someone else at the doctor’s office instead. Rosetta designed strategies to target physician assistants
12
     and nurse practitioners instead of the physicians themselves. Like the physician profiles it created,
13
     Rosetta also segmented the physician assistants and nurses into “attitudinal and behavioral
14

15   profiles,” the better with which to target OxyContin messaging, such as “dose titration

16   opportunities.” In 2015, Rosetta proclaimed that these efforts to target nurses and physician
17   assistants could yield an additional 14,500 OxyContin prescriptions in the first year of
18
     implementation.
19
            589.    Two years later, Publicis’ efforts at targeting nurses and physician assistants
20
     continued, with a Publicis employee noting the particular importance of this market segment for
21

22   OxyContin. In a September 27, 2016, email, she noted, “NP/Pas are a growing provider segment

23   and help offset the decline from PCPs.”

24          590.    Publicis also saw their work on targeting nurses and physician assistants as a cross-
25   selling opportunity. In 2016, Rosetta suggested Purdue hire Rosetta’s affiliate, Publicis Touchpoint
26
     Solutions, to deploy clinical nurse educators “trained on the Purdue sales force platform” to help
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 1   these nurses and PA’s “understand and implement” OxyContin treatment plans and “overcome
 2   behavioral obstacles that may interfere with patient adherence.”414
 3
              591.     As a part of the overall implementation of E2E, Rosetta was involved not only in
 4
     delivering the marketing messages that Purdue would then deliver to healthcare providers. Rosetta
 5
     remained deeply involved in the actual rollout of these marketing messages. In July of 2015, three
 6

 7   Rosetta employees on the Purdue account joined sales representatives in the field for ride-alongs to

 8   meet with targeted prescribers. These Rosetta employees observed in person the interactions

 9   between Purdue sales representative and target prescribers during which Rosetta’s messaging was
10
     delivered. Rosetta was able to use the knowledge they gained from observing prescribers’ reactions
11
     to their messaging, which further refined their approach and maximized the effectiveness of the
12
     marketing outreach.
13
              592.     These field trips served the overarching goal, as Purdue’s Ron Cadet explained, to
14
                                                  415
15                    Redacted

16                                       d.       Non-indicated Uses
17            593.     Publicis introduced a search engine marketing “Conditions Campaign” for
18
     OxyContin as early as 2013 and continued these efforts throughout the implementation of E2E. The
19
     campaign was designed to drive prescribers conducting web searches about certain medical
20
     conditions – lower back pain, for instance – to Purdue’s website. “The Campaigns pertaining to
21

22   Conditions were the most successful out of last year’s [search engine marketing] strategy and

23

24

25
     414
         Consistent with the “Power of One” approach described supra., this was not the first time Publicis cross-sold other
26   Publicis divisions into the Purdue account. In 2015, Razorfish advised Purdue to hire Verilogue without going through
     a competitive bidding process. This cross-selling initiative – a fine example of the “Power of One” in action – resulted
27   in Verilogue’s analysis of patient-provider conversations being used to devise to tactics to increase sales volumes of
     Purdue’s opioids. Verilogue’s was used in furtherance of targeting and messaging goals of E2E, and its work was part
28   of the overall efforts to             Redacted                PPLPC018000873870.
     415
         PPLPC018000873870.

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 1   resulted in 25,548 Clicks, driving the most visits to PurdueHCP site,” Publicis explained in a June
 2   2014 presentation.
 3
               594.   The Conditions that Publicis targeted included low back pain, cancer pain, and
 4
     osteoarthritis pain. OxyContin is only approved, or indicated, to treat certain conditions, and is not
 5
     approved to be marketed for a non-indicated used.
 6

 7             595.   Publicis proposed to expand the Conditions campaign to target multiple sclerosis,

 8   trigeminal neuralgia, and spinal cord injury, but the proposal “raised some red flags.” John Dwyer

 9   explained in an internal Publicis email, “there are search words that are disease states OxyContin
10
     is not indicated for. And by having it in a document associated with OxyContin even for internal
11
     review can put [Purdue] in a liability risk.” Accordingly, Publicis altered the text of the
12
     advertisements that would appear when a given disease state was searched for in order to delete
13
     reference to that disease state. (The ads still appeared when prescribers searched for the non-
14

15   indicated Conditions, the text of the ad merely referred to “that” condition, instead of a specific

16   reference to multiple sclerosis, low back pain, or the like.)
17                             2.   Purdue’s other brands: Butrans, Hysinglia, et. al.
18
               596.   While OxyContin accounted for the lion’s share of Purdue’s revenue, the monoline
19
     manufacturer sold other flavors of opioids. By the end of 2016, Publicis had won the agency of
20
     record position for the rest of the Purdue’s brands as well.
21

22             597.   In a 2014 presentation,                            Redacted

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     416
           PPLPC012000477940

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15   Publicis worked on Purdue’s Butrans, Intermezzo, Targiniq, and Hysinglia brands in addition to

16   OxyContin.
17          598.    The same year, John Dwyer met with Purdue’s Peter Justaston to discuss “Agency
18
     consolidation,” and what Publicis “would need to do” to win the single Agency spot. Dwyer assured
19
     Purdue that Publicis was “up to the challenge” of being the sole Agency for all of Purdue’s products.
20
     It was a goal Publicis pursued doggedly.
21

22          599.    “For the last 4 years, every year as we do the forecast for the new year, I’ve put

23   ‘Butrans AOR business’ in there under whitespace, which is where we put areas where we think

24   we can grow,” John Dwyer said to his team at Publicis in April 2016. That year, Publicis achieved
25   Dwyer’s goal, with Purdue deciding to shift some work it previously assigned to competitor
26
     agencies to Publicis’ Razorfish.
27

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 1           600.   Dwyer sent a congratulatory email on April 4, 2016, to the Publicis team about
 2   Publicis’ winning additional business from Purdue, and explained that their success on the
 3
     OxyContin account is what drove the decision for Purdue to award Publicis’ Razorfish additional
 4
     work:
 5
             … when the client told us that he was going to move the rest of the Butrans business
 6           over to Razorfish Health, the reason he said he was doing it was because he wanted
 7           up to replicate exactly everything we did last year [2015] on OxyContin. The
             creative campaign refresh, the vis[ual] aid that far outshone the Butrans and
 8           Hysinglia ones which were done by another agency, the strategic planning we
             brought them for the new competitors who are coming, and the overall revitalization
 9           of the brand… He said, “We want more like that. We want you to do the exact same
             thing this year, but now with Butrans.
10

11           601.   The following month, Razorfish was awarded the Hysinglia account as well.

12   Publicis’ Karl Tiedemann noted in an email the “amazing relationship” developing between Purdue

13   and Publicis, and quoted a Purdue employee as stating that the Hysinglia account was “the final
14
     piece and we now own Purdue.” (emphasis added).
15
                            3.      Selling red herring: ADF
16
             602.   One way to keep selling opioids once widespread abuse and dependence has gripped
17
     the patient population that uses them is to introduce a new version of the drug that can be sold as
18

19   “abuse deterrent.” The opioid manufacturers did just that, with Purdue leading the way. Publicis

20   was there at every step of the way to define the message and deliver it to crucial audiences:
21   prescribers, patients, and regulators.
22
             603.   Purdue’s “[abuse deterrent formulation] does not prevent abuse via swallowing,”
23
     Publicis stated in a June 2014 confidential internal memorandum.
24
             604.   “As long as a drug is addictive, can be abused by swallowing higher doses, and ways
25

26   to defeat the [abuse deterrent formulation] are online,” no drug would ever meet the FDA’s standard

27   for      “reduced     abuse,      misuse,    and/or      diversion     in     the     community,”

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 1   explained former Publicis partner Ted Whitby in a June 15, 2017, email to his former colleagues at
 2   Publicis.
 3
             605.   In other words, the new formulations didn’t prevent abuse. They were red herrings,
 4
     a distraction that an opioid manufacturer could point to in order to mollify regulators and other
 5
     interested parties, while knowingly not addressing the underlying abuse liabilities of their products.
 6

 7   Publicis knew this good and well, but never mind that. ADF was a message to deliver.

 8           606.   And Publicis was eager to spread the word. In July 2014 (one month after the internal

 9   Publicis memorandum discussing the ineffectiveness of the abuse-deterrent formulation), Publicis
10
     prepared the following language as a “value proposition” that sales representatives could recite to
11
     doctors: “OxyContin is the only opioid that addresses the pain management needs of both patients
12
     (efficacy and dosing flexibility) and society (proven abuse deterrent properties).”
13
             607.   This work was part of an ongoing project by Rosetta to get the ADF message out to
14

15   the world for Purdue. On March 31, 2014, as part of the overall E2E initiative,          Redacted


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17                                                        417
                                                                                Redacted

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                          418                                                                        419
23                                                            Redacted

24           608.   The work proved grim. Publicis knew that the ADF messaging they were crafting
25   was misleading, but craft it they did, nonetheless. In May 2015, Publicis was working on creating
26
27
     417
         PPLP0033598595
     418
28       PPLP0033598595
     419
         PPLP004128540

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 1   marketing messaging on the topic of the crush-resistant formulation of OxyContin introduced in
 2   2010. Publicis was looking for data to support the claim that the reformulation was effective in
 3
     reducing opioid use disorder. They just couldn’t find it. The message would have to be carefully
 4
     crafted, because Publicis couldn’t find evidence to support their message: that the reformulation
 5
     reduced abuse rates. As one Publicis employee described it, “Ugh…”:
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26                         4.     Responding to an External Threat: The Centers for Disease
                                  Control
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 1           609.    In response to the growing crisis, in March 2016 the Centers for Disease Control
 2   and Prevention issued a Guideline for Prescribing Opioids for Chronic Pain (the “CDC
 3
     Guidelines”) in order to reduce the recognized overprescribing of opioids and the concomitant rise
 4
     in opioid use disorder.
 5
             610.    Within a month of their issuance, Publicis provided an assessment of the threats and
 6

 7   opportunities that each of the twelve Guidelines posed. The “threat” was that the Guidelines would

 8   result in reduced OxyContin prescribing. The “opportunity” was that the Guidelines could be used

 9   to position Purdue’s products to sell more of them by using the Guidelines.
10
             611.    In general, the Guidelines were seen as a threat as they recommended actions that
11
     ran directly counter to Purdue’s marketing efforts. For instance, the Guidelines recommended that
12
     prescribers use the “lowest effective dosage” when prescribing opioids, which is anathema to the
13
     titration and length of therapy messaging that Publics and Purdue had been articulating and
14

15   delivering for years.

16           612.    The Guidelines also called for a curtailment of prescriptions exceeding 90 morphine
17   milligram equivalents per day. These high dose prescriptions accounted for nearly half of total
18
     OxyContin prescriptions and were each more profitable than their lower dosage equivalents. The
19
     Guidelines therefore risked to substantially erode OxyContin revenue. Purdue estimated the cost to
20
     Purdue resulting from implementation of the Guidelines could be in excess of twenty million dollars
21

22   annually in lost sales in single state.

23                   iii.      Unbranded Marketing

24           613.    It might be obvious, but “unbranded” opioid marketing does not promote any
25   particular brand of opioid. Instead, unbranded marketing promotes opioids as a class of drugs
26
     worthy of ever increased prescription. Here, Publicis excelled in its work for Purdue.
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 1           614.     If one thinks of the entire opioid market as a pie, each individual brand (as well as
 2   generic formulations) would comprise individual slices. Crucially, even if an individual product’s
 3
     market share does not change, that portion can grow in value if the overall market grows. The larger
 4
     the pie, the larger the slice.
 5
             615.     The long-term goal was to “make the whole pie bigger, not only for us, but for our
 6

 7   competitors as well,” a Purdue executive explained in a 2000 speech.420

 8                             1.       Practical Tools to Advocate for yourself.

 9           616.     On January 22, 2012, Jennifer Grey, the actor known for co-starring in “Dirty
10
     Dancing,” appeared as a “patient advocate” on a local television talk show in San Francisco to
11
     discuss “Partners Against Pain,” a campaign with which she was affiliated. Noting the website’s
12
     address for the audience, she explained, “it’s called PartnersAgainstPain.com, and it’s a really
13
     interesting educational program… It’s a campaign that was meant to help people become advocates
14

15   for themselves who are in chronic pain and because chronic pain is such an insidious syndrome.”421

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26   420
         Sari Horwitz, Scott Higham, Dalton Bennet and Meryl Kornfield, “Inside the opioid industry’s marketing machine,”
     Washington               Post,          December            6,              2019,             available          at:
27   https://www.washingtonpost.com/graphics/2019/investigations/opioid-marketing/
     421
         Sari Horwitz, Scott Higham, Dalton Bennet and Meryl Kornfield, “Inside the opioid industry’s marketing machine,”
28   Washington               Post,          December            6,              2019,             available          at:
     https://www.washingtonpost.com/graphics/2019/investigations/opioid-marketing/

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12           617.      In 2019, Grey provided the Washington Post with the following statement regarding
13   her prior affiliation with PAP422:
14
             When this unbranded [Purdue] Pharma campaign was brought to me in 2011, I was
15           excited by the opportunity to help people who, like myself, suffered from chronic
             pain by giving them practical tools to advocate for themselves and manage their pain
16           in a safe, responsible way. I never suspected I was being used to potentially
             advance a darker agenda. (emphasis added).
17

18           618.      Rosetta and Purdue designed the PAP campaign together.                         Redacted


19
20            423
                    They were the ones who “brought” the “unbranded [Purdue] Pharma campaign” to Grey.
21           619.      From the outset,                                      Redacted
22                                                                                              424        Redacted

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     422
         Sari Horwitz, Scott Higham, Dalton Bennet and Meryl Kornfield, “Inside the opioid industry’s marketing machine,”
27   Washington               Post,          December            6,              2019,             available          at:
     https://www.washingtonpost.com/graphics/2019/investigations/opioid-marketing/
     423
28       PPLP003518651
     424
         PPLP003518651

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 1                                             425
                       Redacted                                                    Redacted

 2                                                                                                               .426
 3
                620.    PAP was part of Purdue’s broader efforts in the realm of “Patient Access,” or, put
 4
     differently, efforts to ensure that OxyContin was well-known and easily available to patients who
 5
     desired to advocate for themselves and ask their doctor about OxyContin.427 One method was to
 6

 7   emphasize that pain is under-treated.                                        Redacted

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11
                621.    Ms. Grey’s later concern that she was “used to potentially advance some darker
12
     agenda” was prescient. There was more to it than “providing practical tools” to the local television
13
     audience so that they could “advocate” for themselves.
14

15              622.                                                 Redacted

                                                          429
16                                                              ,                       Redacted

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18                                                                                                     430
                                                                                                             In furtherance
19
     of that goal,                                                  Redacted
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23
     425
24       PPLPC012000409258
     426
         PPLPC017000301209
25   427
         See Dr. Anna Lembke, Drug Dealer, M.D., pg. 58 (noting that the common pharmaceutical refrain to “Ask your
     doctor if drug X is right for you” – a form of patients advocating for themselves in conversations with healthcare
26   providers – “can influence prescribing because doctors are eager to please their patients, and when a patient asks about
     a particular medication, a doctor may prescribe it over other comparable choices.”).
     428
27       PPLPC017000541631
     429
         PPLPC017000328575, at 328587.                                         Redacted
28
     430
           PPLPC017000328575, at 328586.

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 1                                                                                                                431
                                                       Redacted

 2   (emphasis added).
 3
               623.     In other words, Grey was hired to sell more drugs. Her work was just another line
 4
     item in the marketing budget, and Rosetta and Purdue expected a return on the money spent for it.
 5
               624.     Not content with Grey alone, Rosetta and Purdue enlisted Country Music Icon
 6

 7   Naomi Judd as well. “Judd wants people to know the journey to appropriate pain management can

 8   begin       with    a   visit   to    the    recently     updated     Partners      Against      Pain   website

 9   (www.PartnersAgainstPain.com),” proclaimed the press release.432                             Redacted

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                                                         Redacted
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                                                                                   433
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15             625.     Like Grey, Judd appeared in television spots as a “patient advocate”:434

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     431
         PPLPC017000328575, at 328587.
     432
27       See https://ftper.newsusa.com/Pdfs/NaomiJudd.pdf
     433
         PPLP003518651 at 3518686 (underlined emphasis in original; italicized emphasis added –        Redacted
28
     434
           See https://www.youtube.com/watch?v=cUav8M9mep4

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             626.    “From day to day, pain can limit your ability to work, your hobbies, even the simple
14
     joys of huggin’ somebody you love,” she explained.435
15
16           627.    Five years later, in 2016, Publicis proposed to revamp the Partners Against Pain

17   website in light of the fact that the website had been “named in lawsuits.” Better to “start from
18   scratch,” Publicis proposed. Publicis instead pitched to Purdue its “Patient Support Program.” The
19
     ultimate goal of the new campaign would be the same as the original Partners Against Pain
20
     campaign, “extending patients’ length of therapy.”
21
                             2.      Join the Team!
22
23           628.    Razorfish Health was the agency of record for Purdue in connection with the launch

24   of the now-defunct website TeamAgainstOpioidAbuse.com.436 Purdue claimed the website was

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     435
        See https://www.youtube.com/watch?v=cUav8M9mep4
28   436
        Kevin McCaffrey, “Purdue debuts opioid-abuse resource,” Medical Marketing and Media, August 17, 2015m,
     available at: https://www.mmm-online.com/home/channel/campaigns/purdue-debuts-opioid-abuse-resource/

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 1   “designed to help healthcare professionals and laypeople alike learn about different abuse-deterrent
 2   technologies and how they can help in the reduction of misuse and abuse of opioids.”437
 3
             629.    The unbranded website contained misleading information regarding the
 4
     effectiveness of abuse-deterrent properties of certain opioid formulations, including Purdue’s
 5
     reformulated OxyContin and Hysinglia. At the time, only three abuse-deterrent formulations were
 6

 7   available on the market (the third was Embeda, manufactured by Pfizer). 438 “The concept is that

 8   we’re all part of a team,” explained Dr. David Haddox, Purdue’s Vice President of Health Policy.439

 9                           3.      The Meaning of the Message
10
             630.    There was a recursive nature to the marketing of opioids as companies evolved from
11
     growing the market for opioids to responding to the abuse and dependency issues that were the
12
     natural outgrowth of that initial boom in opioid sales. “Hello, my name is Mark Timney… We at
13
     Purdue are committed to doing everything we can to reverse this public health problem,” read the
14

15   script written by Rosetta for newly-installed Purdue CEO Mark Timney to read on a 60-second

16   television ad prepared by Rosetta in 2014.
17           631.    Initially, opioids were marketed primarily based on their efficacy (while
18
     disregarding their abuse liability). The PAP campaign was one facet of that effort. Once abuse
19
     became a concern, opioid marketers then sought to contextualize opioid addiction within a broader
20
     context of the individuals’ right to manage their own pain as a part of their own interactions with
21

22   the nation’s healthcare system. The words Timney said on TV and the website

23   TeamAgainstOpioidAbuse.com exemplify this later approach.

24

25

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     437
             “Purdue Pharma L.P. Launches TeamAgainstOpioidAbuse.com,” Purdue, Aug. 17, 2015,
27   http://www.purduepharma.com/news-media/2015/08/purdue-pharma-l-p-launches-teamagainstopioidabuse-com/.
     438
         Kevin McCaffrey, “Purdue debuts opioid-abuse resource,” Medical Marketing and Media, August 17, 2015m,
28   available at: https://www.mmm-online.com/home/channel/campaigns/purdue-debuts-opioid-abuse-resource/
     439
         Id.

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 1           632.     Melina Sherman, of the Institute for Public Knowledge at New York University, has
 2   written extensively regarding the evolving communications strategies used to market opioids. She
 3
     explained, “[a]s its name indicates, the Team Against Opioid Abuse website is discursively
 4
     constructed around the theme of abuse prevention – a decision that works strategically to shield the
 5
     company [Purdue] from the negative press and attention being directed at its products.”440 But while
 6

 7   the website did not specifically name brands of abuse-deterrent opioids, the website nonetheless

 8   operated to promote further use of Purdue’s drugs. Of the three abuse-deterrent opioid products

 9   then on the market, Purdue manufactured two of them. As such, “the site also functioned as a
10
     marketing platform for those same drugs, which it framed as a solution to the problem of opioid
11
     addiction and abuse.”441
12
             633.     It is no accident that Ms. Grey spoke about providing “practical tools” to consumers
13
     in order to allow them to “advocate” for themselves. These tactics, subtle and insidious as they are,
14

15   are meant to increase overall opioid prescribing. “Pharmaceutical companies often mobilize

16   education campaigns around a particular diagnosis in order to indirectly market the cure and as a
17   mean of evading legal constraints that restrict the ways that companies advertise their drugs to
18
     consumers.”442
19
             634.     Ms. Grey expressed concern about being used for a “darker agenda.” It was simply
20
     to sell more drugs.
21

22           635.     For example, the Partners Against Pain website that Ms. Grey promoted “groomed”

23   potential opioid customers by offering assessment tools to website visitors – including “checklists

24   and lists of questions used to guide patients through the process of obtaining medication from their
25

26   440
         Melina Sherman, “How to Train Your Opioid Consumer,” Communication, Culture & Critique Vol. 10 (2017), Pgs.
     600-601.
     441
27       Id.
     442
         Melina Sherman, “How to Train Your Opioid Consumer,” Communication, Culture & Critique Vol. 10 (2017), Pg.
28   599 (citing Angell, M. (2004). The truth about drug companies: How they deceive us and what to do about it. New
     York, NY: Random House).

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 1   doctors,” as a means of educating the viewer.443 The website also included a “Find a Doctor” tool,
 2   whereby viewers could search for pain management practitioners in their local area.
 3
              636.     As the Rosetta ad that Purdue CEO Mark Timney read on TV emphasized, “Purdue
 4
     is greatly expanding our ongoing efforts to help educate the public about prescription opioid abuse.
 5
     We will be doubling our investment in 2015 to continue building awareness about the problem and
 6

 7   better educating physicians, pharmacists, school health officials, insurers, and lawmakers about the

 8   risks of opioid abuse.” TeamAgainstOpioidAbuse.com was one such educational effort.444

 9            637.     But “tools such as these go further than education: They also function as
10
     technologies of power that manage communication and information in a way that is normative and
11
     directional and, in so doing, guide visitors’ behavior toward actions that benefit the company.”445
12
              638.     Dr. Marcia Angell, former Editor in Chief of the New England Journal of Medicine,
13
     summed things up plainly:446
14

15            No one should rely on a business for impartial evaluation of a product it sells. Yet
              the pharmaceutical industry contends it educates the medical profession and the
16            public about its drugs and the conditions they treat, and many doctors and medical
              institutions – all recipients of the industry’s largesse – pretend to believe it. So
17            does the government. But “education” comes out of the drug companies’
              marketing budgets. That should tell you what is really going on.
18
              639.     Publicis employee Karl Tiedemann summed it up tidily, stating that the work
19
     Publicis was doing for Purdue was “not about education, but persuasion.”
20

21

22
     443
         Melina Sherman, “How to Train Your Opioid Consumer,” Communication, Culture & Critique Vol. 10 (2017), Pg.
23   599.
     444
         Even today, these educational efforts are cited as justification for Purdue’s actions. See Eric Russell, “Portrayed as
24   villain in TV series about opioid crisis, ex-U.S. attorney for Maine says he didn’t sell out,” Portland Press Herald,
     February 27, 2022, available at: https://www.pressherald.com/2022/02/27/portrayed-as-villain-in-tv-series-about-
25   opioid-crisis-ex-u-s-attorney-for-maine-says-he-didnt-sell-out/ (“McCloskey said the scene depicts an inaccurate
     timeline and he was especially disappointed with the insinuation that he was paid by Purdue to keep quiet. ‘There’s no
26   truth to that whatsoever,’ he said. ‘Purdue did a number of things I asked them to do. They took a pill off the market
     because I asked them to do it. They worked on tamper-proof prescription pads. They spent millions producing
27   educational brochures.’”) (emphasis added).
     445
         Melina Sherman, “How to Train Your Opioid Consumer,” Communication, Culture & Critique Vol. 10 (2017), Pg.
28   599.
     446
         Dr. Marcia Angell, The Truth About the Drug Companies, Random House, 2004, Pg. 135.

                                                             - 170 -
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 1              640.     A 2015 Publicis presentation backed up Tiedemann’s statement. It identified
 2   “patient education” and “increase[ing] awareness as the “strategies” to achieve the “objectives” of
 3
     “grow[ing] volume” in light of, among other things, “increasing pressure to reduce abuse,
 4
     diversion, and overdose:”
 5

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19              641.     Moreover, unbranded marketing schemes like the one in which Ms. Grey

20   unwittingly participated have a broader purpose of creating an information ecosystem designed to
21   benefit the interests of pharmaceutical companies. As Verilogue noted, by “shaping the dialogue,”
22
     one can “shape the future.”447
23
                642.     Dr. Sherman explained,
24
                This practice of dispersing branding materials in new contexts is emblematic of what
25              Dumit (2012) has referred to as “strategic ubiquity,” a tactic in which companies
26              attempt to create a “universe” of syndicated and sponsored content through forming
                alliances with advocacy groups and developing partnerships with other influential
27              third parties. For potential customers navigating this landscape, every piece of

28
     447
           See infra, fn. 493 and accompanying text.

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 1            information they read or hear about inevitably directs them toward specific actions
              that will serve the benefit of the company.448
 2

 3            643.     The strategic intent of these campaigns, then, is “to construct an echo-chamber of

 4   pro-opioid information.”449

 5            644.     One example of this echo-chamber is Publicis’ groundbreaking work with
 6   regulators on their own opioid marketing campaigns. In 2018, Razorfish Health partnered with the
 7
     FDA’s Center for Drug Evaluation and Research (CDER) to design the “Search and Rescue”
 8
     campaign, which “makes innovative use of optimized search and direct email to reach family
 9
     physicians, physician assistants and nurse practitioners, and in states with the highest opioid
10

11   prescribing rates.”450 Razorfish’s campaign for the FDA was designed to further the same

12   educational messages Purdue was espousing, to “equip prescribers to be proactive in identifying

13   and helping patients at risk for prescription drug abuse.”451
14
              645.     In other words, Publicis was able to deliver Purdue messages through alternative
15
     channels, including not only unbranded websites, but through the mouthpiece of Purdue’s
16
     regulator, the United States Food and Drug Administration, as well. That is an echo-chamber.
17
                       iv.      Qui audet adipiscitur
18

19            646.     “By nature, healthcare advertising provides a crutch to advertisers and marketers in

20   the form of industry guidelines and regulations. We’re quick to point out why we can’t do
21

22
23

24
     448
         Melina Sherman, “How to Train Your Opioid Consumer,” Communication, Culture & Critique Vol. 10 (2017), Pg.
25   603. (citing Dumit, J. Drugs for life: How pharmaceutical companies define our health. Durham, NC: Duke University
     Press) (emphasis added).
26   449
         Melina Sherman, “Opiates for the masses: constructing a market for prescription (pain)killers,” Journal of Cultural
     Economy,             Vol.             10,        Issue          6,            2017,             available           at:
27   https://www.tandfonline.com/doi/full/10.1080/17530350.2017.1352010
     450
             See https://drugfree.org/newsroom/news-item/partnership-drug-free-kids-announces-relaunch-search-rescue-
28   opioid-prescriber-education-campaign-website/
     451
         Id.

                                                            - 172 -
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 1   something, rather than eager to question how we could make something work within those
 2   boundaries,” pronounced Publicis Health Media’s Media Director, Eric Delash.452
 3
              647.     Instead, Delash encouraged pharmaceutical marketers to “embrace risk:”453
 4
              Challenge the status quo. Disrupt the norm. Create your Gritty. Embrace strategic
 5            risk and drive real innovation in healthcare marketing.
 6            648.     Delash’s dashing attitude is reminiscent of prior rakish campaignors. “Who dares
 7
     wins,” chose Sir David Stirling before him.454 Naturally, Publicis has long embodied the principles
 8
     espoused in its Media Director’s blog post. Indeed, Publicis has embraced risk and dared greatly455
 9
     on behalf of its clients. In 2016, Publicis submitted proposed work for the aforementioned
10

11   TeamAgainstOpioidAbuse.com website, as well as a separate campaign for Hysinglia that it had

12   pitched to Purdue, for consideration in the category of “Most Daring Campaign” in Medical

13   Marketing and Media’s annual industry awards.456
14
                       v.       Coda Part II
15
              649.     Success is determined by what is being measured. In one sense, Purdue was an
16
     inordinately profitable account for Purdue. Publicis’ relationship grew from its start in 2010 to
17

18
     452
19       Eric Delash, Healthcare Marketers Must Embrace Risk to Innovate, Publicis Health Media Blog, December 13,
     2018, available at: https://www.publicishealthmedia.com/perspective/healthcare-innovations/
     453
20       Eric Delash, Healthcare Marketers Must Embrace Risk to Innovate, Publicis Health Media Blog, December 13,
     2018, available at: https://www.publicishealthmedia.com/perspective/healthcare-innovations/
     454
21          See     David     Stirling:  The    Phantom       Major,     National     Army       Museum,      available    at:
     https://www.nam.ac.uk/explore/david-stirling (recounting the origin of the motto of the British Special Air Service –
22   Qui audet adipiscitur – during World War II); see also: https://en.wikipedia.org/wiki/Who_Dares_Wins
     455
         See another rakish campaignor, Theodore Roosevelt, supra, fn 16. (“It is not the critic who counts; not the man who
23   points out how the strong man stumbles or where the doer of deeds could have done them better. The credit belongs to
     the man who is actually in the arena, whose face is marred by dust and sweat and blood; who strives valiantly; who
24   errs, who comes short again and again, because there is no effort without error and shortcoming; but who does actually
     strive to do the deeds; who knows the great enthusiasms, the great devotions; who spends himself in a worthy cause;
25   who at the best knows in the end the triumph of high achievement, and who at the worst, if he fails, at least fails while
     daring greatly, so that his place shall never be with those cold and timid souls who neither know victory nor
26   defeat.”)(emphasis added).
     456
         Incredibly, that year, “MM&M’s esteemed and independent panel of judges elected not to award a Gold for Most
27   Daring Campaign… While some excellent and creative unsold work was entered, the judges felt that none of the
     submissions were precisely ‘daring’ enough, according to the judging criteria, to receive the top honor.” Tanya Lewis,
28   Most Daring Campaign of 2016, Medical Marketing and Media, October 6, 2016, available at: https://www.mmm-
     online.com/mmm-awards/most-daring-campaign-of-2016/ Not all who dare, win.

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 1   encompass practically all branded marketing business from Purdue six years later. By 2016,
 2   Publicis was the agency of record for OxyContin, Butrans, Hysinglia, and Targiniq. “The growth
 3
     we continue to see in this business is phenomenal,” congratulated a Publicis group president to the
 4
     Purdue team. On March 22, 2016, John Dwyer emailed Karl Tiedemann to let him know that the
 5
     expected annual revenue from Purdue for that year was approximately $12 million. “Oh boy,”
 6

 7   replied Tiedemann. The Subject line of the email thread was “We’re gonna need a bigger boat.” In

 8   that sense, Publicis was very successful.

 9             650.      Viewed differently, Publicis’ daring work was outrageously successful for Purdue
10
     and, more to the point, the Sacklers. After 2013, the goal of E2E was to               Redacted
11            457
                    and this Publicis did with great success. The Sackler Strategy that Publicis sold yielded
12
     large amounts of money available for distribution from Purdue to the Sackler family for over a
13
     decade. In that sense, Publicis was very successful.
14

15             651.      In another sense, Purdue itself ended up bankrupt and, just like its parent, the Purdue

16   Frederick Co., before it, a convicted felon. This might be something other than success.
17             652.      On October 20, 2020, Purdue— Publicis’s co-conspirator—agreed with the United
18
     States Department of Justice to plead guilty to improper marketing of OxyContin and other opioids
19
     again (the “2020 Settlement Agreement”). This time the plea agreement concerned conduct from
20
     2010 to 2018. The agreement includes $8.3 billion in penalties from Purdue and $225 million from
21

22   the Sackler family.

23             653.      Purdue pled guilty to a dual-object conspiracy to defraud the United States and to

24   violate the Food, Drug, and Cosmetic Act, 21 U.S.C. §§ 331, 353, violating anti-kickback laws,
25   and “using aggressive marketing tactics to convince doctors to unnecessarily prescribe opioids —
26
27

28
     457
           PPLPC018000873870.

                                                         - 174 -
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 1   frivolous prescriptions that experts say helped fuel a drug addiction crisis that has ravaged America
 2   for decades.”
 3
                654.     The new plea agreement did not identify Purdue’s co-conspirators, but Purdue’s new
 4
     guilty plea concerned Covered Conduct (as defined in the plea agreement) that directly implicates
 5
     Publicis in the conspiracy, including the same conduct described in this Complaint.
 6

 7              m.       Publicis and Other Opioid Manufacturers

 8              655.     Publicis’ role in the propagation of the opioid epidemic extends far beyond its work

 9   with felons. During the pendency of its long-term relationship with Purdue, and their joint efforts
10
     to grow the overall opioid market, Publicis also partnered with Endo, Teva, Janssen, and others to
11
     market those clients’ opioid brands. While it sought to grow the overall pie, Publicis also
12
     endeavored to grow each slice. It attacked the problem from both angles. And in doing so, it
13
     deployed many of the same tactics, at the same time, for numerous competing opioid brands. If
14

15   some of the following paragraphs appear redundant, there is a reason. Lots of manufacturers’ opioid

16   marketing strategies looked a lot alike. Publicis was a common denominator.
17                     i.   Endo
18
                656.     Publicis’ Saatchi and Saatchi unit (“Saatchi”) was the Agency of Record for Opana,
19
     Endo Pharmaceutical’s branded oxymorphone product. As described above, Opana is the same
20
     molecule as Endo’s previous product – Numorphan – depicted in the film Drugstore Cowboy.
21

22              657.     With the launch of Opana, Endo decided it was time for history to repeat itself. After

23   Opana’s approval in 2006, Endo solidified its position as a pain specialist among manufacturers.

24   By 2012, Endo’s opioid sales accounted for approximately $403 million of its $3 billion in revenue,
25   more than 10% of its total sales. From 2010 to 2013, total Opana ER revenue alone exceeded $1.1
26
     billion.
27

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 1             658.    Opana and Numorphan were both oxymorphone. The brand name was the only thing
 2   that changed.458 What Endo removed from the market in 1979 due to abuse concerns, it re-
 3
     introduced 27 years later. After 2006, Opana was on occasion referred to as “blue heaven,” or, more
 4
     to the point, “new blues.”459
 5
               659.    In 2017, Endo would once again remove its branded oxymorphone product from the
 6

 7   market, and for the same reason. Endo’s abuse-deterrent formulation of Opana was removed at the

 8   request of the FDA due to acute concerns about its abuse potential.

 9                             1.      Championing the Molecule
10
               660.    Publicis touted its new work for Endo Pharmaceuticals as one of its “main wins” of
11
     new business in 2018.460 But Publicis’ relationship with Endo already dated back more than decade.
12
                                                        Redacted
13
               461                                                                            462
                                                  Redacted
14

15             661.                                              Redacted

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23
     458
24         Literally, the only difference was the name. See ENDO_OPIOID_MDL-00863548                Redacted

25
                                                                                                   (emphasis added)).
     459
26       https://www.deadiversion.usdoj.gov/drug_chem_info/oxymorphone.pdf
     460
          See https://www.publicisgroupe.com/en/news/press-releases/publicis-groupe-2018-annual-results. Publicis also
27   touted its work with co-Defendant Allscripts as a “main win.” Id.
     461
         ENDO-OPIOID_MDL-02090726
     462
28       ENDO_FLAG-01075412
     463
         ENDO_OPIOID_DEPMAT-000068238, at 000068258.

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 1            662.                                     Redacted

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                                                 464
                                                                         Redacted
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 8            663.                                     Redacted

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              664.                                     Redacted
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     464
25         ENDO_OPIOID_DEPMAT-000068238, at 000068255, 00068256.                Redacted

26
27
                                               ENDO-CHI_LIT-00446003
     465
28       ENDO_OPIOD_MDL-02017196.
     466
         ENDO_OPIOID_MDL-03656526

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 1                                                      Redacted

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 3                       467

 4
                               2.        “Durable Efficacy”
 5
             665.     With respect to 12-hour dosing, the Federal Trade Commission has observed,
 6

 7   “Compared with immediate-release oxymorphone formulation, oxymorphone ER provides longer-

 8   lasting, 12-hour pain relief that allows the patient to take fewer pills each day.” 468 The problem,

 9   however, is that “in order to reduce dose frequency, each long-acting opioid carries more active
10
     pharmaceutical ingredient than its short-acting counterpart. This makes long-acting opioids such as
11
     Opana ER subject to abuse; crushing and ingesting the pills immediately releases the larger amount
12
     of active ingredient into the bloodstream.”469
13
             666.     With respect to 12-hour dosing,                               Redacted
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17                             470
                                     Separately,                             Redacted
18

19
20
                                                                              471                Redacted
21

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     467
         ENDO_FLAG-01075147
     468
25       See Complaint, Federal Trade Commission v. Endo Pharmaceuticals, Inc. et al., No. 1:21-cv-217-RCL (D.D.C.) at
     Paragraph                               57,                            available                              at:
26   https://www.ftc.gov/system/files/documents/cases/003_2021.03.02_revised_redacted_complaint.pdf
     469
         See Complaint, Federal Trade Commission v. Endo Pharmaceuticals, Inc. et al., No. 1:21-cv-217-RCL (D.D.C.) at
27   Paragraph                               57,                            available                              at:
     https://www.ftc.gov/system/files/documents/cases/003_2021.03.02_revised_redacted_complaint.pdf
     470
28       ENDO_FLAG-00911443
     471
         ENDO_FLAG-01075147

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 1                                                 Redacted

 2                                                                                                   472

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               Redacted
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                             3.     Targeting Patients; Targeting Prescribers
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               667.   The targeting work that Publicis’s Rosetta performed for Purdue, described supra.,
20

21   was done for other clients as well.                              Redacted

22
23                                                                  473
                                                                                   Redacted

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27
     472
28         ENDO_FLAG-00911567
     473
           ENDO_FLAG-00915025

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 1                                               474
                       Redacted                                               Redacted

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                                                                        476
                                                                                           Redacted
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 6
                                                                                                      477
 7

 8           668.    Whether young or old, opioid naïve or an experienced user exhibiting signs of

 9   increasing opioid tolerance; or whether the pain was emanating from cancer or construction labor,
10
                                     Redacted                                    .
11
             669.                                            Redacted
12

13
                    For example,                                   Redacted
14

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17                                                     478                      Redacted

18

19
                                         479
                                               Accordingly,                      Redacted
20

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                                                                                              480
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     474
         ENDO_FLAG-00915027
     475
26       ENDO_FLAG-00915029
     476
         ENDO_FLAG-00915031
     477
27       ENDO_FLAG-00915033
     478
         ENDO_OPIOID_MDL-02072698.
     479
28       ENDO_OPIOID_MDL-02072698.
     480
         ENDO_OPIOID_MDL-02072698.

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 1            670.     Also in 2007,                                         Redacted

 2                                                                                                                      481

 3
     Saatchi relied on the fact that the Joint Commission on Accreditation of Healthcare Organizations
 4
     (JCAHO) had recently adopted pain to as “the fifth vital sign,” and now required hospitals to assess
 5
     and treat patients’ pain as a matter of course.482 JCAHO “mandated that hospitals poll each of their
 6

 7   patients at the end of their stay about whether their pain had been adequately treated.”483

 8            671.     The scores that the hospitals received were484 existentially important to the hospitals

 9   seeking to maintain their accreditation. “A low score puts a hospital in jeopardy of being ruled
10
     ineligible for Medicaid reimbursements.”485
11
              672.                                                    Redacted
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                                                                                       486
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     481
23       ENDO-NY_00625759.
     482
         Sari Horwitz, Scott Higham, Dalton Bennet and Meryl Kornfield, “Inside the opioid industry’s marketing machine,”
24   Washington               Post,          December               6,           2019,              available            at:
     https://www.washingtonpost.com/graphics/2019/investigations/opioid-marketing/
25   483
         Melina Sherman, “Opiates for the masses: constructing a market for prescription (pain)killers,” Journal of Cultural
     Economy,             Vol.           10,          Issue             6,         2017,             available           at:
26   https://www.tandfonline.com/doi/full/10.1080/17530350.2017.1352010
     484
         JCAHO has since abandoned the idea that pain is the fifth vital sign.
27   485
         Melina Sherman, “Opiates for the masses: constructing a market for prescription (pain)killers,” Journal of Cultural
     Economy,             Vol.           10,          Issue             6,         2017,             available           at:
28   https://www.tandfonline.com/doi/full/10.1080/17530350.2017.1352010
     486
         ENDO-NY_00625759.

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             Redacted
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              673.                                                 Redacted
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19
              674.     The idea was simple: prescribe Opana, and you won’t have to worry about low
20
     JCAHO scores. “It suffices to say that this system incentivizes the use of drugs – as reliable, fast-
21

22   acting opioids for (temporarily) warding off the experience of pain. It is telling, after all, that the

23   uptake of these new systems and instruments of objectively measuring the subjective experience of
24   pain have paralleled steep increases in opioid prescriptions.”488
25

26
     487
27      ENDO-NY-00625759
     488
        Melina Sherman, “Opiates for the masses: constructing a market for prescription (pain)killers,” Journal of Cultural
28   Economy,           Vol.           10,           Issue          6,            2017,             available           at:
     https://www.tandfonline.com/doi/full/10.1080/17530350.2017.1352010

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 1                             4.      Beyond Saatchi: Endo’s Broader Relationship with Publicis
 2           675.       Saatchi wasn’t Publicis’ only source of revenue from Endo. In January of 2012,
 3
                                                      Redacted
 4
                                                   .489
 5
             676.       A few months later, in April of 2012, Endo                     Redacted
 6

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11          490
                                                             Redacted
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                                                      491
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15           677.       Endo was keen on getting prescribers to switch from drugs like Vicodin to long

16   acting opioids like Opana ER.                                      Redacted

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18
                                                    as well as                     Redacted
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                                           492
                                                                          Redacted
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                  493
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22                      ii.    Teva

23           678.       Teva Pharmaceuticals (“Teva”) also availed itself of Publicis’ myriad services. Teva

24   sold Fentora, a fentanyl buccal tablet, after it acquired Cephalon, Inc. – Fentora’s original
25

26
     489
         ENDO-OPIOID_MDL-03744169.
     490
27       ENDO0111659
     491
         ENDO0111708
     492
28       ENDO0111708
     493
         ENDO0111708

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 1   manufacturer – in 2011.494 The fentanyl pill was authorized by the FDA for use in the treatment of
 2   breakthrough pain in cancer patients receiving opioid treatment and who have become tolerant to
 3
     it.495 By 2008,                           Redacted
                                                                                   496             Redacted

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                                     497
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 7           679.      From the outset,                                       Redacted

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11                                                                                  498
                                                                                          Nonetheless,    Redacted
12

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                               499
15
16           680.                                                 Redacted

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                                                                                           500

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             681.      By October 2009,                                      Redacted
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     494
          See https://www.fiercepharma.com/pharma/teva-completes-acquisition-of-cephalon
     495
25       Seehttps://www.fda.gov/drugs/postmarket-drug-safety-information-patients-and-providers/fentanyl-buccal-tablets-
     marketed-fentora-information
     496
26          Publicis acquired Verilogue, which began as an independent company in 2006, in 2013. See
     https://www.benzinga.com/pressreleases/13/12/tr4138223/publicis-groupe-acquisition-of-verilogue
     497
27         TEVA_MDL_A_01061669
     498
          TEVA_MDL_A_01061669 (emphasis in original)
     499
28        TEVA_MDL_A_01061669
     500
          TEVA_MDL_A_01533872

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 1                                                                                   501
                                           Redacted                                             Redacted

 2

 3                       502
                                                                  Redacted
 4

 5
                                                                                       503
                                                                                             Upon information
 6

 7   and belief,      Redacted   in this context refers to                      Redacted

               504
 8
 9             682.    Notably,                                     Redacted

10

11

12
                                                                                                       505   Redacted


13

14

15
16                                                                    Upon information and belief, Redacted
17

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19
               683.    The following year,                               Redacted
20

21

22
                                                                                                506
23                                                                                                    Redacted

24

25
     501
         TEVA_MDL_A_01091399
     502
26       TEVA_CHI_00001592
     503
         TEVA_CHI_00001592
     504
27       TEVA_MDL_A_00721323                                         Redacted

     505
28         TEVA_MDL_A_00721323
     506
           TEVA_MDL_A_02004878

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 1                                                      Redacted

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                              507

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             684.                                                Redacted
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             685.                                                Redacted
11
                                                                                              .509     Redacted
12

13
               510                                                                                                 511
                                                              Redacted
14

15                                                      Redacted

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     507
20       TEVA_MDL_A_02004912
     508
         TEVA_MDL_A_02769828
     509
21       TEVA_MDL_A_08670617
     510
         TEVA_MDL_A_02769830
     511
22       TEVA_MDL_A_02769830. Subsys was a fentanyl spray product sold by competitor Insys Therapeutics. See
     “Founder and Former Chairman of the Board of Insys Therapeutics Sentenced to 66 Months in Prison,” Press Release,
23   FDA, January 23, 2020, available at: https://www.fda.gov/inspections-compliance-enforcement-and-criminal-
     investigations/press-releases/founder-and-former-chairman-board-insys-therapeutics-sentenced-66-months-prison
24
     Publicis’ comprehensive and detailed knowledge of the market for fentanyl products extended to Lazanda, another
25   fentanyl spray initially manufactured by Archimedes Pharma and subsequently purchased by Depomed, Inc. in 2013.
     Publicis Touchpoint Solutions was contracted to provide Depomed “15 full-time sales representatives employed by
26   Publicis but dedicated to us” to market Lazanda. Form 10-Q, Depomed, Inc. dated August 8, 2013, at pg. 21.

27                                                       Redacted
                          TEVA_MDL_A_06478770. Lazanda is indicated for treatment in cancer patients. See
28   https://www.accessdata.fda.gov/drugsatfda_docs/label/2011/022569s005lbl.pdf). TEVA_MDL_A_06478770.
     512
         TEVA_MDL_A_02769830

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 1            686.                                        Redacted

 2                                                                          513              Redacted

 3

 4
                       .514
 5
              687.   This                Redacted                 work was eerily similar to the work
 6

 7   Publicis performed for Purdue during the same time period in furtherance of E2E, as described

 8   supra.

 9            688.   On March 3, 2014,                               Redacted

10                                                                    515
                                                                            The following year,          Redacted

11

12

13

14

15         .516

16            689.   As one Teva executive explained                              Redacted

17                                                                                                 517


18
              690.   In November 2015,                               Redacted
19
20
                                                                                             518
                                                                                                   By the end of
21

22   the year,                                         Redacted

                                         519
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25
     513
         TEVA_MDL_A_08670617
     514
26       TEVA_MDL_A_08670617
     515
         TEVA_MDL_A_11132793
     516
27       TEVA_MDL_A_8649676
     517
         TEVA_MDL_A_08650706
     518
28       TEVA_NY_00095129
     519
         TEVA_MDL_SF_00044499

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 1           691.    The Teva account was important to Publicis, and                       Redacted

 2

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 4
                                                                                .520
 5
             692.    A few months later,                                   Redacted
 6

 7
                                                                     521
 8
 9                                                    Redacted

10

11

12

13                   iii.    Johnson & Johnson/Janssen
14
             693.    Arista Marketing (hereinafter “Arista”) was a Publicis company eventually folded
15
     in to Publicis Touchpoint Solutions. Arista specialized in “multi-channel physician access above
16
     and beyond face-to-face detailing.”522 “We create live conversations with physicians and other
17
     healthcare professionals, ranging from 2-minute teledetails to 12-minute web-based video details,”
18

19   Arista explained.”523

20           694.    In 2009,                                       Redacted

21

22                                                            524

23

24
     520
         TEVA_MDL_A_08960291
     521
25       TEVA_MDL_A_08734851
     522
          Publicis Strategic Solutions Group, “Arista Marketing Associates Rolls Out Multichannel Physician Access
26   Program for Leading Pharma Co.,” June 11, 2009, PRLOG, available at: https://www.prlog.org/10256062-arista-
     marketing-associates-rolls-out-multichannel-physician-access-program-for-leading-pharma-co.html
27   523
          Publicis Strategic Solutions Group, “Arista Marketing Associates Rolls Out Multichannel Physician Access
     Program for Leading Pharma Co.,” June 11, 2009, PRLOG, available at: https://www.prlog.org/10256062-arista-
28   marketing-associates-rolls-out-multichannel-physician-access-program-for-leading-pharma-co.html
     524
         JAN-MD-00121873

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 1            695.         Nucynta was Janssen’s branded tapentadol product. Nucynta was first approved as
 2   a Schedule II controlled opioid agonist tablet and oral solution in 2008 and indicated for “relief of
 3
     moderate to severe acute pain in patients 18 years of age or older.”
 4
              696.                                                 Redacted
 5

 6

 7

 8
 9                                                                               .
10
              697.                                                 Redacted
11

12
                                                           525
                                                                                           Redacted
13
                                                                                                            526   Redacted
14

15
                     527
16

17            698.                                                 Redacted

18
                              .528
19
              699.         In 2010,                                         Redacted
20

21

22
                                                                      529   Redacted 530
23                                                                                                    Redacted

24
     525
25       JAN-MND-00106720
     526
         JAN-MND-00106720
     527
26       JAN-MND-00106720
     528
         TEVA MDL A 13645931 at pg. 11-12.
27   529
         In 2011, Janssen obtained approval for a long-acting version Nucynta ER, which was indicated for “management
     of moderate to severe chronic pain in adults and neuropathic pain associated with diabetic peripheral neuropathy (DPN)
28   in adults.”
     530
         JAN-MS-00018344 at 18368

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 1                                                       Redacted

 2                                             531

 3
               700.                                              Redacted
 4
                                                   532
                                                                                 Redacted
 5

 6

 7
                                                                                                                   533
 8
 9             701.   Three years later,                                    Redacted

10                                           534
                                                   Indeed, by 2013                       Redacted
11
                                 while simultaneously working for competing products manufactured by
12
     others.
13
                      iv.      Servicing Manufacturers in Groups
14

15             702.   Publicis did more than perform discreet work for individual opioid manufacturers;

16   it crafted industry-wide marketing efforts to boost sales not only of individual opioid products, but
17   of opioids generally. A rising tide lifts all boats. Or, to borrow the Purdue’s executive’s analogy,
18
     Publicis worked to “make the pie bigger for all.”535
19
               703.   Accordingly, in addition to maintaining separate client relationships with multiple
20
     opioid manufacturers, Publicis also worked for industry-wide groups to coordinate marketing and
21

22   advertising related to opioids, broadly.                                   Redacted


23

24

25
     531
         JAN-MS-00018344 at 18368
     532
26       JAN-MS-00772421 at 2, 5.
     533
         JAN-MS-00772421 at 6.
     534
27       JAN_MS_01093081; JAN_MS_01093079
     535
         See supra. at Paragraph 90; Sari Horwitz, Scott Higham, Dalton Bennet and Meryl Kornfield, “Inside the opioid
28   industry’s     marketing     machine,”     Washington     Post,    December     6,    2019,      available     at:
     https://www.washingtonpost.com/graphics/2019/investigations/opioid-marketing/

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 1                                                     Redacted

 2                                               .
 3
             704.    Likewise,                                       Redacted
 4

 5

 6

 7

 8
 9                    536


10
                     v.       Servicing Demand on the Comeback537 – Publicis and Orexo AB
11
             705.    The cognitive dissonance within Publicis as it embarked upon its work with Purdue
12
     on E2E must have been palpable. Three months after Publicis was working on OxyContin coupons,
13
     Swedish pharmaceutical company Orexo AB announced that the U.S. Food and Drug
14

15   Administration had approved Zubsolv, its drug designed to treat opioid addiction. Zubsolv is a

16   combination of buprenorphine and naloxone. At the time of Zubsolv’s launch in 2013, Orexo
17   projected peak sales of the drug to exceed $500 million, annually.
18
             706.    But Orexo did not have a significant presence in North America when Zubsolv was
19
     approved. It did not have its own sales force in North America that could market its drug. As the
20
     most attractive market in which to sell opioid dependency treatments, Orexo desired to partner with
21

22   someone who had the expertise and capacity to successfully launch Zubsolv in the United States.

23           707.    On July 1, 2013, Orexo announced “that the company has entered into a commercial

24   partnership with Publicis Touchpoint Solutions for the launch of Zubsolv in the United States…
25

26
     536
        JAN-NYDFS-0000123744
     537
27      See Chris Rock, Bigger & Blacker, HBO TV Special, July 10, 1999, CR Enterprises, 3 Arts Entertainment,
     Production Partners, available at: https://www.youtube.com/watch?v=RRN3d5S_MTk (“There ain’t no money in the
28   cure; the money’s in the medicine. That’s how you get paid… on the comeback. That’s how a drug dealer makes his
     money. On the comeback.”)

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 1   Publicis Touchpoint Solutions will be responsible for the execution of all field-based promotion
 2   activities through dedicated sales representatives and medical support to health care practitioners
 3
     through deployment of a dedicated medical scientific liaison team.”538
 4
             708.    In announcing the partnership, Orexo Chief Executive Officer Nikolaj Sorensen
 5
     emphasized Publicis’ “knowledge of the opioid dependence therapeutic area,” in addition to its
 6

 7   expertise with “similar product launches,” as primary reasons Orexo chose Publicis to be its partner.

 8           709.    As described in detail above, Publicis did indeed have expertise with similar product

 9   launches. While its sales representatives in Publicis Touchpoint Solutions were diligently selling
10
     Zubsolv for Orexo, Publicis worked just as diligently through its other agencies with other opioid
11
     manufacturers to maximize the sales of the drugs that were the direct source of Zubsolv’s
12
     indication. The same year it partnered with Orexo to launch Zubsolv, Publicis billed Purdue Pharma
13
     around $8mm for marketing work on OxyContin and other Purdue opioid products.
14

15           710.    Most incredibly, Publicis began work on Purdue and McKinsey’s E2E project less

16   than three months after its partnership with Orexo was announced.
17           711.    Through its work with Orexo, Publicis gained knowledge of the market
18
     opportunities created by widespread opioid dependency, and of the co-dependence of the markets
19
     for opioid treatments and opioid use disorder treatments.
20
             712.    As Orexo, Publicis’ partner, described in its 2013 annual report, “[p]rescription
21

22   painkillers containing opioids are highly addictive, and regular or long-term use can lead to physical

23   dependence.” Orexo further observed that “[m]any abusers begin by taking opioids orally,” and

24   that the misuse of opioid prescription drugs was a “growing problem,” with “opioid dependence
25   more common than the abuse or, or dependence on, any other type of prescription medication.”
26
27
     538
        “Orexo Forms a Commercial Partnership with Publicis Touchpoint Solutions for Launch of Zubsolv in the US,”
28   July 1, 2013, available at:       https://www.businesswire.com/news/home/20130701005515/en/Orexo-Forms-a-
     Commercial-Partnership-with-Publicis-Touchpoint-Solutions-for-launch-of-Zubsolv™-in-the-US

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 1           713.       Describing the addressable market for Zubsolv, Orexo stated that the “cost of
 2   prescription opioid abuse, dependence and misuses in the US is estimated to exceed USD 56 billion
 3
     per year,” and further, “15,000 people die from opioid pain relievers each year in the US. Deaths
 4
     from opioid pain relievers exceed those from all drugs and traffic accidents.”
 5
             714.       The conclusion was obvious:
 6

 7           Zubsolv has entered a large and growing market. The current US market of
             products containing buprenorphine/naloxone amounts to approximately USD 1.9
 8           billion, before rebates to payers, co-ay support and other discounts. The market
             continued to grow by 9 percent in value and 10 percent in volume during 2013.
 9           Continued double-digit growth is likely in the years to come, and will be
             driven by the significant unmet medical need, the growing number of opioid
10
             dependent patients as well as the impact of the Affordable Care Act.539
11
             715.       Publicis Touchpoint Solutions provided a contract sales force to Orexo through the
12
     second quarter of 2014, and continued to advise its client on Zubsolv sales through at least 2019.540
13
             716.       By 2015, Orexo stated flatly, “[t]here is no doubt opioid addiction has become one
14

15   of the major health concerns in the US and a disease currently out of control.”541 The market for

16   Zubsolv was booming, with an 83% increase in revenue compared to the prior year.542
17           717.       Throughout its time selling a treatment for opioid use disorder, Publicis endeavored
18
     on multiple fronts, with multiple clients, to maximize the sales of opioids, the drugs that cause the
19
     condition that Zubsolv – another drug it was paid to sell – treats. The synergies were hard to beat.
20
     Publicis helped Orexo service a demand it had a principal role in creating and sustaining through
21

22   its contemporaneous work on E2E and other projects. Indeed, without Publicis efforts promoting

23   opioids for its other clients, there may not have been an addressable market for Orexo’s product in

24   the first place.
25           n.         Alternative Channels: Publicis and Practice Fusion
26
     539
27       See http://mb.cision.com/Main/694/9557375/224609.pdf (emphasis added).
     540
         See https://www.linkedin.com/in/susan-broadnix-8794bb7/
     541
28       See https://mb.cision.com/Main/694/9942119/491960.pdf
     542
         Id.

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 1             718.   In pharmaceutical sales, the traditional workhorse of sales and marketing campaigns
 2   is the individual sales representative calling on individual prescribers to meet in-person with them
 3
     in order to extol the virtues of a given drug and encourage the doctor to prescribe more of it to
 4
     patients. Classically, this has been the primary channel through which a pharmaceutical company’s
 5
     message has been delivered to the intended audience.
 6

 7             719.   Of course, there are alternatives to face-to-face meetings with doctors by sales

 8   representatives. In theory, wherever a prescriber’s attention is focused at any given moment is a

 9   potential spot to deliver content to her. Over the past few decades, for instance, doctors increasingly
10
     interact with screens that they look at while at work. Forty years ago, doctors didn’t walk around
11
     their offices holding iPads, but they do now. This is an “alternative channel” through which a
12
     message can be delivered, and Publicis endeavored with its clients to create multi-faceted
13
     campaigns so that a prescriber would be surrounded, in effect, with pharmaceutical company
14

15   messaging coming from all directions: the people he has lunch with, the speakers at conferences he

16   attends, the ads on his screen, the search results on his computer when he uses Google to search for
17   a condition state, etc.
18
               720.   There are lots of alternative channels.                    Redacted

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                543
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27

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     543
           PPLPC014000224450.

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 1




               Redacted
 2

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13
                721.     These channels, when utilized together as part of an overall package, can be said to
14
     comprise the overall “marketing mix” that Publicis, ZS, McKinsey and others continually endeavor
15
16   to optimize and espouse as a “best practice,” which is another way of saying that lots of the

17   consultants’ other clients do the same thing.                        Redacted            Publicis stood athwart
18   the industry, in a position to advise their clients on which vendors to pick to best utilize these
19
     alternative channels.544 In this way, as in others, it served as a hub, or an intermediary connecting
20
     multiple participants in the overall efforts to market opioids to maximum effect.
21
                722.     “EHR” stands for Electronic Health Record. It is a relatively new marketing channel,
22
23   and one whose growth was spurned by federal legislation in 2009 that encouraged doctors to adopt

24   electronic record-keeping methods for patient records. As early as 2012, Publicis was working with

25   Purdue to develop banner advertising and other types of content that could be placed in the EHR
26
27

28
     544
           Indeed, this position athwart the distribution channels is what being an AOR is.

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 1   channel. This work continued at late as 2018, and Publicis, as AOR, also selected EHR vendors in
 2   which the content could be placed.
 3
             723.     They chose Practice Fusion.
 4
             724.     As the varieties of marketing channels above make clear, pharmaceutical marketing
 5
     is complex. Publicis Health’s Chief Digital Officer recently remarked on his complexity:
 6

 7           When we think about our ecosystem, the complexity goes beyond just regulatory.
             We are in a complex ecosystem in the sense that we are marketing to two different
 8           audiences in a patient, and a physician. We’re hoping that they come together and
             have a productive conversation, and in that conversation, we’re hoping that they talk
 9           about the treatment that we’re marketing to them. And that’s complex, I don’t think
             there’s any other industry that is met with that challenge.545
10

11           725.     This complexity creates reams of data. ZS Associates, the pharmaceutical sales and

12   marketing consultancy, has described the “endemic challenge” facing the pharma industry: “It has

13   a complex and circuitous sales process involving drug manufacturers, physicians, pharmacies,
14
     patients, and insurance companies. Each step in a buying process creates data – and more of it is
15
     being created every day.”546
16
                    i.   Electronic Health Records – A New Frontier
17
             726.     These data streams may be used as a tool. The data available and the information
18

19   provided by EHR is all-encompassing in its breadth. As ZS Associates noted, “[t]he spectrum of

20   data is almost unprecedented: lab results, diagnoses, prescriptions, patient compliance, physician
21   notes, and follow-on or replacement prescriptions.”547 The result is that EHR data can provide an
22
23
     545
24         Ray Rosti, Chief Digital Officer of Publicis Health Media, December 7, 2020, available at
     https://www.youtube.com/watch?v=AG4HLlDSQ_A
25   546
         Steve Love, Sudhanshu Bhatnagar, Greg Rickman, and Jedy Wang, “The Value of EMR Data: Unlocking Insights
     That Drive Pharma Sales,” Journal of Pharmaceutical Management Science Association, Spring 2016, available at:
26   https://1library.net/document/zlewp5lq-value-emr-data-unlocking-insights-drive-pharma-sales.html .
     In 2011, ZS touted Publicis’ endorsement of its own product offerings, such as Javelin. See
27   https://twitter.com/ZSAssociates/status/119892005756215297
     547
         Steve Love, Sudhanshu Bhatnagar, Greg Rickman, and Jedy Wang, “The Value of EMR Data: Unlocking Insights
28   That Drive Pharma Sales,” Journal of Pharmaceutical Management Science Association, Spring 2016, available at:
     https://1library.net/document/zlewp5lq-value-emr-data-unlocking-insights-drive-pharma-sales.html.

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 1   end-to-end perspective for the entirety of a patient’s journey from the diagnosis of a disease through
 2   treatment and through cure or death.548
 3
             727.    This data can be used to sell more drugs. With the proliferation of electronic health
 4
     data, vendors have arisen to aggregate and sell data sets and analytics platforms based on this data.
 5
     These providers “now give pharma companies greater visibility than ever into its (sic) marketplace
 6

 7   of buyers, consumers, and decision-makers – and the factors that drive sales.”549

 8                   ii.      What Practice Fusion does

 9           728.    Practice Fusion was founded in 2005 as a vendor of free electronic health record
10
     storage (EHR) software. It “makes software that many doctors see on their devices. When you go
11
     into the exam room, your electronic records pop up on their screens.”550
12
             729.    Practice Fusion’s cloud-based EHR software platform serves tens of thousands of
13
     active health care providers in the United States, and the software is used during millions of
14

15   physician-patient encounters each month. It is “the #1 cloud-based ambulatory EHR platform in

16   the U.S.,551 supporting 30,000 medical practices in delivering better care to 5 million patients a
17   month. With a best-in-class satisfaction rate,552 Practice Fusion is committed to delivering intuitive
18
     and easy-to-use health IT solutions to small, independent medical practices.”553
19
             730.    The business model was daring; most EHR vendors – Practice Fusion’s competitors
20
     – charge users to use their software platforms, typically in the form of a licensing fee. Practice
21

22
23

24
     548
25       Id.
     549
         Id.
26   550
         Brian Mann, “Health Care Software Firm Fined $145M in Opioid Scheme With Drug Companies,” NPR, February
     1, 2020, available at: https://www.npr.org/2020/02/01/801832788/healthcare-software-firm-fined-145m-in-opioid-
27   scheme-with-drug-companies
     551
         SK&A, Report on Physician Office Usage of Electronic Healthcare Records Software (February 2016).
     552
28       Reaction Data, Report on EHR Satisfaction According To Physicians (January 2018).
     553
          Practice Fusion Company Profile, https://www.practicefusion.com/about/

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 1   Fusion was different. Ryan Howard, founder and CEO of Practice Fusion, explained, “our product
 2   being free and web-based was incredibly unorthodox.”554
 3
              731.     The company didn’t charge the doctors for these intuitive and easy-to-use health IT
 4
     solutions. It was free to them.555 Instead, Practice derived revenue from payments from
 5
     pharmaceutical companies in exchange for ad space, and other marketing products like “clinical
 6

 7   decisions alerts” (CDS) in its EHR software that served as advertisements for the pharmaceutical

 8   company’s products.556

 9            732.     Practice Fusion marketed its platform to the pharmaceutical companies as a way to
10
     influence prescriber behavior. For instance, Practice Fusion’s pitch materials to pharmaceutical
11
     companies indicated that a pain CDS could be aligned with that company’s “brand objectives.”
12
              733.     From the advertiser’s perspective, this product offering was tantalizing.                    Redacted
13

14

15
                                                                                                              557 Redacted
16

17

18                                                                           558
                                                                                   “Practice Fusion, the cloud-based
19
     electronic medical system, mirrors the real-life workflow of a doctor’s office,” explained John
20
     Mehta, Publicis Sapient’s Chief Experience Officer from 2019 to 2020.559
21

22
     554
          Ryan Howard, CEO Practice Fusion, Cracking the Entrepreneur Code, September 26, 2011, available at:
23   https://www.youtube.com/watch?v=JaTIgMUEc9Y&t=1067s
     555
         “If something is free, you’re the product.” See Richard Serra, Carlota Fay Schoolman, Television Delivers People,
24   1973 (“The Product of Television, Commercial Television, is the Audience… Television delivers people to an
     advertiser.”), available at: https://www.youtube.com/watch?v=LvZYwaQlJsg
25   556
         Christina Farr, “Practice Fusion, once headed for $1.5 billion valuation, ends in ‘disappointing’ fire sale,” CNBC,
     January 8, 2018, available at: https://www.cnbc.com/2018/01/08/practice-fusion-acquired-by-allscripts-for-100-
26   million-in-cash.html (“”Rather than selling expensive licenses, the company makes money by showing ads to
     physicians that use the service.”)
     557
27       See                                     Redacted                                      TEVA_CHI_00437579.
     558
                                              Redacted                                     TEVA_CHI_00437579.
28   559
         John Maeda, “Better Health by Design: Making Healthcare Tech More Usable, Understandable And Profitable,
     TechCrunch, December 8, 2015, available at: https://techcrunch.com/2015/12/08/better-health-by-design-making-

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 1           734.     The brand objectives that Practice Fusion pursued for Purdue and other opioid
 2   manufacturers included expanding the market share of a given company’s extended-release opioids
 3
     as well as growing the overall size of the ERO opioid market by targeting “opioid naïve” patients
 4
     and patients that were on immediate release (“IRO”) opioid therapies.
 5
             735.     Practice Fusion’s EHR platform provided Purdue and other opioid manufacturers a
 6

 7   way to reach into the examination room and interact with the prescriber and the patient by utilizing

 8   the “wealth of data” available in EHR records560 to deliver targeted messaging when and when it

 9   matters.    Moreover, Practice Fusion provided its customers (pharmaceutical companies, not
10
     doctors) with “novel tools” to “drive appropriate care for patients with chronic pain,” by utilizing
11
     private, individualized patient health care records in order to target the delivery of messages
12
     intended to increase overall ERO prescribing. The platform enabled Practice Fusion’s customers to
13
     insert promotional messaging throughout the provider workflow, including during patient visits and
14

15   “patient-centric provider targeting.”561 Practice Fusion provided these services to its customers so

16   without patient or physician consent.562
17           736.     As early as 2012, Publicis was working with Purdue to develop banner advertising
18
     and other types of content, including CDS alerts, that could be placed within the EHR channel. This
19
     work continued at late as 2018, and Publicis, as AOR, also selected EHR vendors in which the
20
     content could be placed: Practice Fusion.
21

22
23   healthcare-tech-more-usable-understandable-and-profitable/.                           See                       also
     https://forward.recentiprogressi.it/en/magazine/number-17-places-of-care/articles/better-health-by-design/
24   (identifying Maehda as Publicis’ Chief Experience Officer. According to LinkedIn, Maehda left Publicis Sapient in
     October of 2020. See https://www.linkedin.com/in/johnmaeda/).
     560
25       See PFDPA00000025-27 (noting the wealth of data gleaned from access to the medical records helped build a
     franchise to treat patients in pain “around the clock” and expand the data sets of conditions for which to prescribe
26   opioids).
     561
         Id. at 4.
     562
27       Press Release, Department of Justice, Electronic Health Records Vendor to Pay $145 Million to Resolve Criminal
     and Civil Investigations, Practice Fusion Inc. Admits to Kickback Scheme Aimed at Increasing Opioid Prescriptions
28   (Jan. 27, 2020), https://www.justice.gov/opa/pr/electronic-health-records-vendor-pay-145-million-resolve-criminal-
     and-civil-investigations-0

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 1                    iii.      Publicis and Practice Fusion
 2             737.   Publicis piloted Practice Fusion to Purdue over years of working with both. In one
 3
     sense, this is Publicis performing its role as AOR for Purdue. The AOR not only creates the content,
 4
     but places it as well. The AOR acts as a distributor of the client’s ads to people selling space in
 5
     which to put them. A billboard on the side of an interstate, a prospective patient’s TV screen,
 6

 7   signage on the wall above the urinals in a barroom bathroom, a prescribers’ iPad screen… it’s all

 8   placement. Choosing the best places and putting Purdue’s messages in them was part of Publicis’

 9   job as AOR.
10
               738.   One of the best spots, Publicis informed Purdue, was Practice Fusion. In the simplest
11
     of terms, Practice Fusion had advertising space to sell in the form of banner advertising and
12
     embedded features such as CDS alerts that could be placed within Practice Fusion’s software
13
     programs that prescribers looked at on their screens throughout the day, and Publicis put some
14

15   Purdue content there.

16             739.   In October 2013,                                 Redacted


17

18                                                563
                                                        Practice Fusion’s subsequent work with Purdue was
19
     carried out in coordination and conjunction with Publicis, and as a part of the McKinsey’s
20
                                                                                        564
     implementation of E2E alongside Purdue to                    Redacted
21

22             740.   Publicis even paid Practice Fusion’s invoices on behalf of Purdue.

23             741.   Publicis and Practice Fusion coordinated their work for Purdue. In April 2014, with

24   E2E in full swing, Publicis’ John Dwyer reached out to Practice Fusion’s Jim Pantaleo to discuss
25   some “aggressive EMR strategies” for Purdue, and focused on the point of prescription, when the
26
     563
27         PPLPC014000224450; PPLPC014000224448                            Redacted

28
     564
           PPLPC018000873870.

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 1   doctor is deciding whether and what to prescribe to a patient. For doctors contemplating prescribing
 2   an immediate-release opioid (IRO), an ad featuring Oxycontin’s 12-hour dosing would appear. A
 3
     doctor contemplating an extended-release opioid (ERO) would see an ad touting OxyContin’s
 4
     formulary coverage. Dwyer also suggested a “reassessment” reminder appear within the EMR each
 5
     time a patient receives a consecutive prescription for OxyContin, in which the prescriber would be
 6

 7   reminded of Purdue’s titration messaging, described above. Dwyer suggested four such

 8   “aggressive” strategies, and suggested that the strategies that have the “highest ROI” and are the

 9   best “Rx drivers” be reinvested in:
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            742.    Three months later, in July 2014, Publicis proposed that EHR channels be used to
25
     encourage conversion of immediate-release opioids (IRO) patients to extended-release opioids
26
27   (EROs). This would have the effect of growing the overall size of the ERO market by creating new

28


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 1   ERO users who previously were prescribed IROs. One idea was to target any patient who has been
 2   prescribed an IRO “multiple times (3 or 4) with a branded or unbranded message for OXC.”
 3
                743.     Consistent with the overall goals of E2E, Publicis encouraged Practice Fusion to
 4
     help grow the ERO market by encouraging conversions of IRO users. Publicis informed Purdue
 5
     that Practice Fusion had the relevant capabilities: the ability to deliver “Branded OxyContin &
 6

 7   clinical messages… during patient eRx, patient Medication Selection… and edit patient

 8   Medication.” Publicis’ John Dwyer asked his colleagues whether Practice Fusion had “any kind of

 9   ROI or Rx impact metrics around these that they can share?”
10
                         iv.     Practice Fusion and Purdue
11
                744.     In April of 2013, Publicis agreed to Purdue place banner advertisements inside of
12
     Practice Fusion’s EMR software. The banner ads would appear when a prescriber was seeing a
13
     patient with certain health conditions, and the Purdue ads would appear with the patient’s EHR
14

15   suggested pain-related content (for instance, a reference to the patient’s “pain symptoms.”). Three

16   of the banner ads were for OxyContin, two were for Butrans.
17              745.     After a few months, because of compliance concerns, Purdue paused the banner
18
     advertisement initiative, but in December 2013, Publicis made the case for continuing the initiative,
19
     and told Purdue, “Practice Fusion is the only partner that offers Banners within workflow prior to
20
     making a prescribing decision. Helps to increase awareness – and ultimately sales.”565
21

22              746.     Meanwhile, Practice Fusion continued to solicit business from Purdue directly. In

23   May 2014, for instance, Practice Fusion sent a news article to Purdue about Practice Fusion’s

24   implementation of a CDS program for a vaccine manufacturer. The article was forwarded internally
25   at Purdue to the new CEO, Mark Timney, who had been appointed CEO four months prior. Timney
26
     responded, “Thanks. The key is understanding how it grows or protects scripts.”566
27
     565
28         Massachusetts Publicis Complaint Para. 103.
     566
           Practice Fusion Information at Para. 28.

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 1                    v.       CDS Alerts: Circumventing No-Sees, Influencing Prescribing, Making
                               Money
 2

 3           747.     What is a CDS Alert? A doctor using Practice Fusion’s software would see a

 4   message “alerting the healthcare provider that, given the particular personal health information and

 5   circumstances of the patient before the provider at that moment, the provider should consider
 6   certain clinical information, perform certain tests or assessments, and complete certain
 7
     documentation.”567
 8
             748.     Do CDS alerts work?568 At a 2016 seminar for pharmaceutical companies put on by
 9
     Ogilvy (another advertising agency, owned by Publicis competitor WPP), Practice Fusion
10

11   presented, and gave the audience an example of the of power of the clinical decision support

12   program:569

13           Practice Fusion, a cloud-based EHR provider, offered an example in which it
             launched an obesity clinical decision support program. The HER notified physicians
14
             with messages at the point of care about recording patients’ BMI stats and, if high,
15           noting a treatment plan. The program reached more than 50,000 physicians and 3.7
             million patients resulting in 25,000+ more patient plans, which was a 5-fold
16           increase.
17           749.     Why do CDS alerts work? Well, “the closed system of EHR’s… means the
18
     marketing and communications from pharma to physicians are not scattershot web ads, but much
19
     more targeted inside communications that can inform doctors at a critical moment.”570 “Presenter
20

21

22
23
     567
         Practice Fusion Information at Para. 17.
24   568
         “Work,” in the sense of making money for the pharmaceutical company. ROI is the relevant metric. If the product
     cannot increase sales for the pharmaceutical company that pays Practice Fusion, no pharmaceutical company will pay
25   Practice Fusion money, and the company would go broke or have to “pivot” to another busines model and pray for
     rain. Practice Fusion was not a non-profit, nor a B Corp. It was in business to make money.
26   569
         Beth Snyder Bulik, “Ogilvy CommonHealth takes deep dive on EHR as a marketing strategy for pharma clients,”
     Fierce Pharma, May 9, available at: https://www.fiercepharma.com/marketing/ogilvycommonhealth-takes-deep-dive-
27   ehr-as-a-marketing-strategy-for-pharma-clients (emphasis added).
     570
         Beth Snyder Bulik, “Ogilvy CommonHealth takes deep dive on EHR as a marketing strategy for pharma clients,”
28   Fierce Pharma, May 9, available at: https://www.fiercepharma.com/marketing/ogilvycommonhealth-takes-deep-dive-
     ehr-as-a-marketing-strategy-for-pharma-clients (emphasis added).

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 1   after presenter noted not only the value of EHRs but also that using them needs to be thought of as
 2   a strategy, not just a tactic or channel.”571
 3
              750.     Could CDS alerts be used as a strategy (or tactic) to maximize sales of a controlled
 4
     substance that the planners know is causing widespread addiction, abuse, and death? Yes.
 5
              751.     Were they? They were.
 6

 7            752.     In late 2015, Purdue gave its approval to move forward with the Pain CDS alert

 8   program. Because the overall goal of the program was to increase the size of the overall ERO

 9   market, each of Purdue’s three ERO brands split the cost of the Practice Fusion program.
10
              753.     By 2016, Purdue and Practice Fusion were working to use CDS alerts for the
11
     “objective” to “Grow ERO prescriptions within the Practice Fusion eHR.” Publicis estimated that
12
     the return on investment (ROI) on the CDS alerts would be 2:1.572 An additional $2 million in
13
     annual revenue was possible by using Practice Fusion to convert IRO patients to ERO patients, but
14

15   it would cost $1 million annually in payments to Practice Fusion in order to obtain that additional

16   revenue:
17

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23   571
         Beth Snyder Bulik, “Ogilvy CommonHealth takes deep dive on EHR as a marketing strategy for pharma clients,”
     Fierce Pharma, May 9, available at: https://www.fiercepharma.com/marketing/ogilvycommonhealth-takes-deep-dive-
24   ehr-as-a-marketing-strategy-for-pharma-clients (emphasis added).
     572
         Practice Fusion performed its own ROI analysis of the Pain CDS program for Purdue, and estimated that Purdue
25   would enjoy a decidedly rosier 5.8 to 7.8 times its cost. Practice Fusion Information at Para. 37. Just like Publicis,
     Practice Fusion was at all times focused on delivering ROI for Purdue. In an April 22, 2015, internal email, a Practice
26   Fusion employee conceded, “Since this is being sent to a marketing audience the idea of ROI has to be part of the plan
     to justify the costs of the program.” Practice Fusion Information at Para. 42.
27   Notably, this ROI analysis was left out of the written presentations that Practice Fusion provided to Purdue, as it would
     raise compliance concerns. “Don’t include the ROI in the [written] proposal. We’ll walk the client the ROI,” advised
28   the same employee who stated that “the ROI has to be part of the plan.” Practice Fusion Information at Para. 43. Instead,
     Practice Fusion “voiced over” the “commercial impact” of its proposed program, instead of creating a paper trail.

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12              754.     Practice Fusion and Purdue entered into a Statement of Work on March 1, 2016, to

13   provide a CDS program “directed at chronic pain management treatment with immediate release
14   opioids and chronically used NSAIDs.”573
15
                755.     The contract stated that the “Parties agree and acknowledge that the collaboration
16
     project will follow national evidence-based guidelines, and will not encourage the prescribing or
17
     utilization of Purdue-specific product or services.”574 Both Practice Fusion and Purdue knew at the
18

19   time of contract formation this mutual representation was false. In fact, “national evidence-based

20   guidelines” such as the CDC Guidelines released on March 15, 2016, were known to the Parties

21   while the CDS was designed and implemented, but those guidelines were ignored. Likewise, a 2016
22
     New England Journal of Medicine article entitled “Opioid Abuse in Chronic Pain – Misconceptions
23
     and Mitigation Strategies counseled against the use of opioids for chronic pain, where the benefits
24
     of opioids were “much more questionable” than in the acute treatment context. Purdue and Practice
25

26
27
     573
28         Practice Fusion Information at Para. 75.
     574
           Practice Fusion Information at Para. 78.

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 1   Fusion reviewed the article but ignored its conclusions. Instead, they designed the CDS alerts to
 2   convert users of IROs to EROs for long-term maintenance of chronic pain.
 3
                756.     Purdue’s marketing team – not Purdue’s medical experts – worked with Practice
 4
     Fusion to design the CDS and determine its functionalities. For instance, the CDS was designed to
 5
     incorporate patient’s Pain Score and a brief pain inventory (“BPI”), and Purdue’s marketing staff
 6

 7   also contributed to the design of the Care Plan options presented within the CDS, and the logic of

 8   the CDS software functionality itself.575 “BPI can increase ERO use,” Purdue noted.576

 9              757.     The CDS program was launched on the Practice Fusion platform in early July 2016.
10
     The final pain CDS contained three separate alerts: (1) the first alert urged the healthcare provider
11
     to record a pain score; (2) the second alert recommended that healthcare providers take a brief pain
12
     inventory (“BPI”) of patients that met a certain threshold, for patients who had a chronic pain
13
     diagnosis, and for patient who recorded two or more pain scores of four or more in the previous
14

15   three months (utilizing a zero to ten point scale); (3) the third alert suggested the creation of a follow

16   up plan to treat the patient’s pain, which alert appeared when a patient reported a pain scale of four
17   or higher within four months, or if a patient with chronic pain had a BPI contemplated.
18
                758.     The pain CDS alert implemented by Practice Fusion deviated from established
19
     medical guidelines by directing providers to record a treatment plan only when pain was classified
20
     as chronic or was above a certain threshold over a period of time. It did not incorporate the
21

22   substance of the New England Journal of Medicine article from which the CDS sourced a list of

23   treatment options.

24              759.     Moreover. the Clinical Quality Measures (“CQM”) performance standards require
25   providers to record a treatment plan any time the pain assessment was documented as positive.
26
     Contrary to accepted medical practice, the pain CDS alert listed EROs as a treatment option on
27
     575
28         Practice Fusion Information at Para. 90.
     576
           Practice Fusion Information at Para. 91.

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 1   equal footing with IROs and non-opioid therapy. Likewise, it also listed EROs as a treatment option
 2   for opioid naïve patients without regard to whether the provider had the adequate expertise to
 3
     prescribe EROs.
 4
              760.     As the CDS alerts went live, Practice Fusion kept Purdue updated on progress.
 5
     Practice Fusion told Purdue that through November 30, 2016, the pain CDS alert had produced
 6

 7   alerts during 21 million patient visits, involving 7.5 million patients and 97,000 healthcare

 8   providers.

 9            761.     Practice Fusion further indicated that since its Pain CDS alerts went into effect
10
     “there is a general shift toward EROs from IROs,” the biggest impact recorded “within Emergency
11
     Medicine, Orthopedics, and Pain Medicine.”
12
              762.     The Pain CDS alert was live on the Practice Fusion platform from early July 2016
13
     to the spring of 2019. The Pain CDS alerted more than 230,000,000 times during this period.
14

15   Physicians wrote hundreds of thousands of ERO prescriptions after one of the Pain CDS alerts had

16   been triggered. Moreover, healthcare providers who received Practice Fusion’s Pain CDS alerts
17   prescribed EROs at a higher rate than those that did not.577
18
                       vi.      Guilty
19
              763.      In January 2020, Practice Fusion paid $145 million and entered into a deferred
20
     prosecution agreement with the Department of Justice for these CDS alerts and its work with
21

22   Purdue.578 Nine months later, Purdue pled guilty for conspiring with Practice Fusion to violate the

23   Anti-Kickback Statute by paying Practice Fusion for the CDS alerts which were intended to

24
     577
25      See Practice Fusion Information, at Paragraph 115.
     578
        Press Release, Department of Justice, “Electronic Health Records Vendor to Pay $145 Million to Resolve Criminal
26   and Civil Investigations, Practice Fusion Inc. Admits to Kickback Scheme Aimed at Increasing Opioid Prescriptions”,
     Department of Justice (Jan. 27, 2020), available at: https://www.justice.gov/opa/pr/electronic-health-records-vendor-
27   pay-145-million-resolve-criminal-and-civil-investigations-0 (describing Practice Fusion’s conduct as “abhorrent” and
     noting Practice Fusion and Purdue “illegally conspired to allow [Purdue] to have its thumb on the scale at precisely the
28   moment a doctor was making an incredibly intimate, personal, and important decisions about a patient’s medical care,
     including the need for pain medication and prescription amounts.”)

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 1   increase sales of Purdue’s drugs.579 Then, on March 8, 2021, Practice Fusion’s former Director of
 2   National Accounts, Steven Mack, pled guilty to one count of attempting to obstruct a federal
 3
     investigation into the relationship between Practice Fusion and Purdue.580
 4
                      vii.     Another Mea Culpa
 5
             764.     “I was horrified.”
 6

 7           765.     So wrote Ryan Howard, co-founder and former Chairman and CEO of Practice

 8   Fusion, describing his reaction to “encountering some staggering news:” “Practice Fusion, a

 9   company I founded in 2005 and left in 2015, had reached a settlement with the DOJ for suddenly
10
     partnering with an opioid manufacturer, and for encouraging doctors on the platform to prescribe
11
     opioids to patients.”581
12
             766.     Howard “founded [Practice Fusion] in 2005 and was its Chairman and CEO until
13
     2015… Under Ryan’s leadership the company raised $134 million in capital Kleiner Perkins
14

15   Caulfied & Byers… Deerfield Management Company [and others] to fuel its rapid growth.”582

16           767.     Howard noted that Practice Fusion “advertised to doctors 230 million times to
17   prescribe opioids,” and concluded that his “successors” fell “prey to the allure of capital over human
18
     lives.”583 He minced no words regarding the appropriate outcome for his “successors” at Practice
19
     Fusion for allowing the company to partner with Purdue: “Following my departure in 2015, my
20

21

22
23   579
         Press Release, “Justice Department Announces Global Resolution of Criminal and Civil Investigations with Opioid
     Manufacturer Purdue Pharma and Civil Settlement with Members of the Sackler Family,” Department of Justice,
24   October 21, 2020, available at: https://www.justice.gov/opa/pr/justice-department-announces-global-resolution-
     criminal-and-civil-investigations-opioid
25   580
         Press Release, “Former Practice Fusion Sales Executive Pleads Guilty to Obstructing Government Investigations
     into Purdue Pharma and Practice Fusion,” Department of Justice, March 8, 2021, available at:
26   https://www.justice.gov/usao-vt/pr/former-practice-fusion-sales-executive-pleads-guilty-obstructing-government
     581
         Ryan Howard, “How to Prevent Your Company from Being Used for Evil From a Founder Who’s Been There,”
27   Entrepreneur, November 28, 2020, available at: https://www.entrepreneur.com/article/359624
     582
         See https://www.practicefusion.com/practice-fusion-founders/
28   583
         Ryan Howard, “How to Prevent Your Company from Being Used for Evil From a Founder Who’s Been There,”
     Entrepreneur, November 28, 2020, available at: https://www.entrepreneur.com/article/359624 (emphasis in original).

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 1   successors seemingly adopted a new mission – they allowed the [Purdue] partnership to take root
 2   – and for this, I suggest they experience the full retribution of our justice system.” 584
 3
             768.       Howard suggested that other entrepreneurs and founders of companies look into
 4
     registering as benefit corporations, or B corporations, in order to prevent their creation from “being
 5
     used for evil.” He also provided the following “full disclosure:”585
 6

 7           I was never contacted by the DOJ, or any other authority, regarding Practice
             Fusion’s investigations. Likewise, I was not part of any conversation with any
 8           opioid manufacturer while I was CEO. The referenced partnership occurred in 2016,
             after my departure, as detailed in the official DOJ Report (p. 18).
 9
             769.       Like the Sackler’s before him, Howard desired to distance himself from Purdue
10

11   Pharma. But, as noted above, Practice Fusion’s relationship began in the fall of 2012, and Howard

12   was CEO for approximately 2 years while the company partnered with and serviced Purdue. In the

13   fall of 2012, Purdue was “working with Practice Fusion to conduct a pilot (test) with Butrans
14
     advertising on the EHR (electronic health record) site to determine if banner ads work at driving
15
     traffic to our e-marketing collateral (websites, savings cards online, patient education downloads,
16
     etc.). The strongest interest is in seeing if we can improve coupon and co-pay program
17
     utilization.”586
18

19           770.       And as early as September 13, 2012, Ryan Howard                   Redacted


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21

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     584
         Ryan Howard, “How to Prevent Your Company from Being Used for Evil From a Founder Who’s Been There,”
27   Entrepreneur, November 28, 2020, available at: https://www.entrepreneur.com/article/359624
     585
         Ryan Howard, “How to Prevent Your Company from Being Used for Evil From a Founder Who’s Been There,”
28   Entrepreneur, November 28, 2020, available at: https://www.entrepreneur.com/article/359624
     586
         PPLPC018000741102

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 1                                                     Redacted

 2                                                                587

 3
                771.    Then, on February 25, 2014,                                Redacted
 4

 5

 6

 7
                                                 588
 8
 9              772.    In other words,                                 Redacted

10
                                                                                                         Howard
11
     wrote, “I was not part of any conversation with any opioid manufacturer while I was CEO.”589
                                                                                                                Redacted




12

13
                                                           Maybe he forgot.590 Howard’s words of wisdom
14

15   to other founders regarding preventing their companies being “used for evil” are heartfelt,

16   nonetheless.
17              773.    On August 18, 2015, Ryan Howard stepped down from his role as CEO of Practice
18
     Fusion and became Chairman of the Board. The Chief Commercial Officer, Tom Langan, replaced
19
     Howard as CEO. Langan had joined Practice Fusion only one year before.591
20
                774.    Within months of Howard’s departure, Practice Fusion hired JPMorgan Chase to
21

22   explore the possibility of the company’s initial public offering at a valuation range of $1.1 to $1.5

23
     587
         PPLPC022000561019
24   588
         PPLPC021000631187
     589
         Ryan Howard, “How to Prevent Your Company from Being Used for Evil From a Founder Who’s Been There,”
25   Entrepreneur, November 28, 2020, available at: https://www.entrepreneur.com/article/359624

26   590
           Likewise, Howard may have forgotten                             Redacted
                                                                                                         See MNK-
27   71_0006314898; MNK-T1_0006316021.
     591
         Mark Sullivan, “Practice Fusion CEO Ryan Howard steps down, becomes chairman of the board,” Venture Beat,
28   August 18, 2015, available at: https://venturebeat.com/2015/08/18/practice-fusion-ceo-ryan-howard-steps-down-
     becomes-chairman-of-the-board/

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 1   billion valuation in 2017. The valuation was based on projected annual revenues in 2018 of between
 2   $155 million and $181 million.592 Its actual annual revenue in 2015, the year Practice Fusion
 3
     engaged its financial advisors to explore sales options, was approximately $50 million.593
 4
             775.     Around the same time, however, Practice Fusion was seeking other options. Practice
 5
     Fusion’s board hired Evercore, an investment bank, in November 2015 to solicit interest from
 6

 7   people who might want to buy Practice Fusion whole. Interested parties indicated a bid range for

 8   Practice Fusion between $50 million to $225 million, or around 0.5% of the IPO valuation. 594

 9           776.     Four months after engaging Evercore and obtaining the low estimated offers,
10
     Practice Fusion was eager to show greater profitability as soon as possible so as to close the gap
11
     between the low valuations anticipated in a whole company sales transaction versus the billion
12
     dollar company it wanted to be in the event of an IPO.
13
             777.     In February 2016, Practice Fusion fired one quarter of its workforce. Howard’s
14

15   successor, Langan indicated the downsizing was necessary “to get the company to a profit, at the

16   same time that the low-priced acquisition offers were starting to accumulate.”595
17           778.     It was within this context, with Practice Fusion desperately seeking near term
18
     revenue in order to validate an inflated valuation of the company, that Practice Fusion partnered
19
     with Purdue, who was likewise willing to pay top dollar in order to obtain its own “near term”
20
     growth. The two companies needed each other. For example, in discussing the proposed CDS alert
21

22
23   592
         Katie Benner, “Practice Fusion Said to Hire JPMorgan Chase to Explore I.P.O.,” New York Times, January 19, 2016,
     available at: https://www.nytimes.com/2016/01/20/business/dealbook/practice-fusion-said-to-hire-jpmorgan-chase-
24   to-explore-ipo.html
     593
         Christina Farr, “Employees at Practice Fusion expected IPO riches, but got nothing as execs pocketed millions,”
25   CNBC, January 23, 2018, available at: https://www.cnbc.com/2018/01/23/practice-fusion-workers-got-nothing-in-
     deal-as-execs-made-millions.html
26   594
         Christina Farr, “Employees at Practice Fusion expected IPO riches, but got nothing as execs pocketed millions,”
     CNBC, January 23, 2018, available at: https://www.cnbc.com/2018/01/23/practice-fusion-workers-got-nothing-in-
27   deal-as-execs-made-millions.html
     595
         Christina Farr, “Employees at Practice Fusion expected IPO riches, but got nothing as execs pocketed millions,”
28   CNBC, January 23, 2018, available at: https://www.cnbc.com/2018/01/23/practice-fusion-workers-got-nothing-in-
     deal-as-execs-made-millions.html

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 1   program with Purdue, Practice Fusion’s Senior Vice President on May 11, 2015, noted that there
 2   was “urgency” for Practice Fusion to generate revenue.596
 3
              779.     Ultimately, Practice Fusion was sold to Allscripts, another EHR vendor, on January
 4
     8, 2018, for $100 million, more than 90% less than their projected IPO valuation, in “a
 5
     disappointing fire sale.”597
 6

 7            o.       ZS – The Salesforce Specialists

 8            780.     Management consulting is the business of providing solutions to corporate clients.

 9   “Business consulting is really focused on solving our clients’ business problems, and it is a very
10
     diverse set of issues that we might tackle, for example, ‘where are the growth the growth
11
     opportunities in our business, and how to we go after them,’ to something very specific, like ‘what
12
     is the comp design that we should put together to incentivize our sales representatives next
13
     quarter,’” explained Kelly Tousi, a Principal at ZS Associates.598 “That’s a wide range, as you can
14

15   imagine, and we do everything in between,” she said.599

16            781.     Solutions take many forms, depending on and tailored to the client’s needs.
17   “Management consulting includes a broad range of activities, and the many firms and their
18
     members often define these practices quite differently.”600
19
              782.     As described above, broadly speaking, there are two schools of management
20
     consulting, namely “Strategy Consulting” and “Implementation Consulting.” ZS engages in both.
21

22
23
     596
24       Practice Fusion Information at Para. 45.
     597
         Christina Farr, “Practice Fusion, once headed for $1.5 billion valuation, ends in ‘disappointing’ fire sale,” CNBC,
25   January 8, 2018, available at: https://www.cnbc.com/2018/01/08/practice-fusion-acquired-by-allscripts-for-100-
     million-in-cash.html
26   598
         See “Business Consulting at ZS: learn how ZS recruits and interviews talent,” ZS Associates, March 16, 2018,
     available at https://www.youtube.com/watch?v=YZ3ZjARBnrI
     599
27       Id.
     600
         Arthur Turner, Consulting is More Than Giving Advice, Harvard Business Review, September 1982, available at:
28   https://hbr.org/1982/09/consulting-is-more-than-giving-advice.



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 1           783.     ZS describes itself as “a professional services firm that works side by side with
 2   companies to help develop and deliver products that drive customer value and company results.”601
 3
     “Impact where it matters,” the ZS webpage declares.602 ZS describes its impact as results, not just
 4
     ideas. “That’s why we partner with our clients from strategy to implementation and beyond.” 603
 5
             784.     Consistent with the origins of ZS in academia, the company’s initial focus was on
 6

 7   building models that could be used by their clients to drive decision-making regarding salesforce

 8   structure and operations. As the founders explain, “early in our modeling careers in the 1970’s, our

 9   thinking was centered on models, and we believed that the model was a large and prominent art of
10
     solving sales-resource-optimization problems.”604
11
             785.     Like many consulting firms, ZS performs both strategy and implementation work
12
     for its clients. But what sets ZS apart is that it has developed a particular niche in offering these
13
     services in the context of pharmaceutical sales and marketing. ZS specializes in the optimization
14

15   of pharmaceutical sales forces in order to maximize sales and profit. In fact, ZS boasts that, “[i]n

16   its first three years, ZS helped eight of the 10 largest pharmaceutical companies in the world align
17   territories and resize their sales forces. By 2011, ZS worked with 40 of the 50 largest drug makers
18
     in healthcare and 17 of the 20 largest medical device makers.”605
19
             786.     In addition to developing overall sales and marketing strategies for specific drugs
20
     and drug portfolios, ZS regards implementation work as a core component of its overall product
21

22   offerings to its clients. Indeed, implementation – and in some instances wholesale outsourcing of

23   key business functions to ZS – are included as a component of practically every project that ZS

24   takes on for a client.
25
     601
26       See https://twitter.com/ZSAssociates.
     602
         Id.
     603
27       See https://www.zs.com/about/our-impact.
     604
         See Prabhakant Sinha and Andris Zoltners, Sales Force Decision Models: Insights from 25 Years of Implementation,
28   Interfaces 31:3, Part 2 of 2, Pg. S35-36, May-June 2001.
     605
         See https://www.zs.com/about/our-story.

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 1           787.    In the broadest of generalities, then, ZS’ business model, as a provider of strategy
 2   and implementation consulting services to the pharmaceutical industry, is to partner with clients to
 3
     pursue business objectives identified by ZS. Once the objective is identified, the client and ZS then
 4
     engage in concerted action, as a seamless and cohesive unit, in order to implement the necessary
 5
     means to achieve the objectives for the client.
 6

 7           788.    Beyond these traditional consulting services, ZS Associates are also known to serve

 8   as thought leaders by authoring articles or providing soundbites or quotes in order to influence

 9   perceptions in their client’s favor. For example, when physician’s offices began restricting access
10
     to sales representatives, ZS joined with manufacturers to create content designed to counter this
11
     movement.606
12
             789.    ZS optimizes pharmaceutical sales forces for the explicit purpose of increasing sales
13
     and profit for the manufacturer client. In 2001, the founders of ZS published a paper entitled “Sales-
14

15   Force Decision Models: Insights from 25 Years of Implementation.” Describing ZS specialist

16   expertise, the founders stated, “Over 25 years, we have developed many sales-force and modeling
17   insights through over 2,000 projects with several hundred selling organizations in over 50 countries
18
     … Two to three percent of all of the field salespeople in the US have been touched by the results.
19
     The firms had pressing issues that required quick attention. Companies sought help when merging
20
     separate selling organizations, when launching new products, when facing deregulation, or when
21

22   faltering in performance.”607

23           790.    In 2013, Chris Wright, ZS’ current Chief Executive Officer, explained to the New

24   York Times: “There’s a group of geeks, if you will, who are running the numbers and helping the
25

26
     606
          See George Chressanthis et. al., Can Access Limits on Sales Representatives to Physicians Affect Clinical
27   Prescription Decisions? A Study of Recent Events With Diabetes and Lipid Drugs, The Journal of Clinical
     Hypertension, Vol. 14, No. 7, July 2012, available at: https://onlinelibrary.wiley.com/doi/epdf/10.1111/j.1751-
28   7176.2012.00651.x
     607
         Id. at S9.

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 1   sales guys be much more efficient.”608 The effect is “what would happen if Arthur Miller’s Willy
 2   Loman met up with the data whizzes of Michael Lewis’s ‘Moneyball.’”609
 3
             791.    Wright was only a managing director at ZS when he provided his comments to the
 4
     Times in 2013. In his 25 years at ZS, according to an “Impact Fact” described on ZS’ website,
 5
     “Chris has helped dozens of pharmaceutical companies differentially resources their sales
 6

 7   deployments, leading to multibillion-dollar industry cost savings.”610

 8           792.    By exploiting “vast databases of patient and doctor information,” companies like ZS

 9   can provide advanced analytics capabilities to clients to maximize sales efforts. “They know
10
     whether patients are filling their prescriptions – and refilling them on time. They know details of
11
     patients’ medical conditions and lab tests, and sometime even their age, income and ethnic
12
     backgrounds.”611
13
             793.    ZS cannot drive customer value or company results, however, if its work is placed
14

15   in a drawer and ignored. As such, ZS does not merely provide advice or models to clients. Instead,

16   it works “side by side” with them to achieve results the client alone cannot. This reality was
17   recognized early on in the history of ZS. “Over the years, we have realized that we spend much
18
     more energy on other activities, such as articulating the issues, building databases, and dealing with
19
     change management and implementation. For example, in the geographic deployment work we
20
     have done, we spend over 95 percent of the time in activities unrelated to model building.”612
21

22           794.    Likewise, clients of ZS do not wish to pay top dollar for specialized management

23   consulting services regarding their crucial sales and marketing practices merely for suggestions

24

25
     608
         Katie Thomas, “Pills Tracked from Doctor to Patient to Aid Drug Marketing,” New York Times, May 16, 2013,
26   available at: https://www.nytimes.com/2013/05/17/business/a-data-trove-now-guides-drug-company-pitches.html
     609
         Id.
     610
27       See https://www.zs.com/about/our-people/Chris-Wright
     611
         Katie Thomas, “Pills Tracked from Doctor to Patient to Aid Drug Marketing,” New York Times, May 16, 2013,
28   available at: https://www.nytimes.com/2013/05/17/business/a-data-trove-now-guides-drug-company-pitches.html
     612
         Id. at S36.

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 1   about how best to do things on their own. Just as an automobile manufacturer does not hire an
 2   airbag company to advise it on how to design, create, and install safe airbags in its cars, but instead
 3
     just hires the airbag company to sell it safe airbags; pharmaceutical manufacturers hire consultants
 4
     like ZS to implement mission-critical salesforce tasks they do not have the capability to perform
 5
     on their own.
 6

 7            795.     ZS speaks in terms of “optimizing” its clients’ efforts to sell its products. ZS’ clients

 8   are for-profit companies, and “optimization” implies a specific variable you are optimizing. In the

 9   case of ZS, the variable is the amount of money the client can make.613
10
              796.     ZS applied its hard-won expertise to multiple clients, “optimizing” their salesforces
11
     for the purposes of maximizing the profits derived from selling controlled substances.
12
                     i.    The Salesforce – Pharma’s Engine
13
              797.     Sales forces are a major component of pharmaceutical companies’ operations.
14

15   Indeed, they are the core of the industry. In 2007, it was estimated that there were 100,000

16   pharmaceutical sales representatives in the United States pursuing approximately 200,000
17   prescribers.614
18
              798.     These armies of sales reps are employed by pharmaceutical companies and detailed
19
     to health care providers to market the companies’ drugs to those with the power to prescribe them.
20
     By 2000, at the outset of the opioid crisis, pharmaceutical companies were spending in excess of
21

22   $15 billion annually promoting drugs, with 84% of the total spend directed at detailing sales

23   representatives to prescribers, drug samples, and ads in medical journals.615

24

25

26
     613
          See https://www.zs.com/solutions/artificial-intelligence-and-analytics/analytics (Touting ZS’s “Analytics
27   optimization” solutions, ZS emphasized, “You need to ensure that you’re investing in the right analytics capabilities,
     tapping into the right data sets and maximizing your ROI with key insights that drive business transformations.”)
     614
28       Tobias L. Milrood, When Drug Representatives Go Too Far, American Association for Justice, February 2007.
     615
         M.B. Rosenthal et al., Promotion of Prescription Drugs to Consumers, 346 New England J. Med. 498 (2002).

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 1           799.     “Because of the large size of pharmaceutical sales forces, the organization,
 2   management, and measurement of effectiveness of the sales force are significant business
 3
     challenges.”616 This is ZS’ niche. ZS tells its clients how to optimize, incentivize, and deploy these
 4
     armies of pharmaceutical sales representatives for the purpose of maximizing revenue. In the words
 5
     of ZS’ founders, “[t]hat marketing investment drives sales is a fundamental principle supported by
 6

 7   data.”617 ZS has observed the statistically significant relationship between sales force effort and

 8   sales of pharmaceuticals, as depicted in the following scatter plot618:

 9

10

11

12

13

14

15
16

17

18

19
20

21           800.     ZS provided these services to numerous opioid manufacturers, which produced
22   controlled substances known to be addictive at the time ZS advised them, for the explicit purpose
23
     of maximizing the sales and revenue of these deadly and addictive drugs during the pendency of a
24
     nationwide opioid crisis wrought by the over-selling of opioids by ZS’ clients.
25

26
     616
         Tobias L. Milrood, When Drug Sales Representatives Go Too Far, American Association for Justice, February
27   2007.
     617
         Prabhakant Sinha and Andris Zoltners, Sales Force Decision Models: Insights from 25 Years of Implementation,
28   Interfaces 31:3, Part 2 of 2, Pg. S10, May-June 2001.Id. at S10.
     618
         Id. at S12.

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 1                    ii.      ZS – Pharma’s long-term partner
 2           801.     Like many participants in the pharmaceutical consulting space, ZS does not merely
 3
     provide advice to its clients on a one-off basis. Rather, according to ZS, a client relationship is
 4
     “about results, not just ideas. That’s why we partner with our clients from strategy to
 5
     implementation and beyond.”619 “We work side-by-side with you at every stage to help you achieve
 6

 7   success.”620 These partnerships are long term. For instance, ZS’ founders have observed that,

 8   “having worked with some managers repeatedly for over a decade or more, we have observed

 9   patterns in the ways managers use consulting assistance and models.”621
10
             802.     At ZS, “business consulting is really focused on solving our clients’ business
11
     problems, and it is a very diverse set of issues that we might tackle, for example you could be
12
     anything from ‘where are the growth opportunities in our business and how should we go after
13
     them,’ to something very specific, like ‘what is the comp design that we should put together to
14

15   incentivize our sales representatives next quarter’? So that’s a wide range, as you can imagine; we

16   do everything in between.”622
17           803.     In other words, ZS does not merely provide ideas and advice to its clients. Rather,
18
     it designs and implements sales force models aimed at the most efficient allocation of marketing
19
     spending and maximization of profits for their manufacturer clients. In fact, ZS’ recommendations
20
     are routinely implemented on such a systematic and industry-wide basis that ZS itself is now able
21

22
23

24
     619
25       See https://www.zs.com/about/our-impact
     620
         Id.
     621
26       Prabhakant Sinha and Andris Zoltners, Sales Force Decision Models: Insights from 25 Years of Implementation,
     Interfaces 31:3, Part 2 of 2, Pg. S37, May-June 2001 (emphasis added).
27   622
          See ZS Associates, “Business consulting at ZS: learn how ZS recruits and interviews talent,” available at:
     https://www.youtube.com/watch?v=YZ3ZjARBnrI. Incidentally, the factors ZS articulates in its sales pitch as firm
28   competencies – identifying growth opportunities and incentivizing the sales representatives – are both identified as
     principal origin points of the opioid epidemic by Dr. Van Zee as early as 2002.

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 1   to draw on its own history of implementing change for its clients, as a data set of its own worthy of
 2   academic study.623
 3
                      iii.     ZS services its clients
 4
             804.     Even though the marketing of OxyContin has been described as the “taproot” of the
 5
     opioid epidemic, Purdue was not the only manufacturer to zealously market their own opioids. Nor
 6

 7   was Purdue ZS’ only opioid client.

 8           805.     ZS provided similar services, as explained below, to fellow opioid manufacturers

 9   Mallinckrodt Pharmaceuticals, Endo Pharmaceuticals, Teva Pharmaceuticals, and Johnson &
10
     Johnson’s Janssen Pharmaceuticals. Consistent with its work for Purdue, ZS designed,
11
     implemented, and optimized salesforce strategies to maximize the profits derived from selling a
12
     controlled substance for practically every major opioid manufacturer. ZS’ client work is described
13
     in individual detail below.
14

15                             1.       Purdue

16           806.     As described above624, after 2007 Purdue was pursuing the Sackler’s goal of
17   maximizing near-term OxyContin sales so as to extract as much money from Purdue as possible in
18
     order to diversify away from the dangerous “concentration of risk” that continued financial reliance
19
     on Purdue represented for the billionaire family.
20
             807.     ZS happily agreed to help, and by                Redacted     ZS and Purdue were working
21

22   together to increase sales of Purdue’s opioids.                                Redacted


23                                  based on ZS’ own independent research and unique methodologies,

24   including modelling expertise. Purdue adopted ZS’ strategies and worked closely with ZS to
25

26
     623
27       Prabhakant Sinha and Andris Zoltners, Sales Force Decision Models: Insights from 25 Years of Implementation,
     Interfaces 31:3, Part 2 of 2, Pg. S18-19, May-June 2001 (“The repeated application of several normative sales-force-
28   decision models has produced a series of insights that have led to a number of valuable sales-force insights.”)
     624
         See Paragraphs 87-93, supra.

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 1   implement ZS’ plan. Despite the strictures imposed upon Purdue by the Corporate Integrity
 2   Agreement, OxyContin sales began to multiply.
 3
            808.    ZS’ relationship with Purdue lasted at least through Redacted, during which ZS engaged
 4
     in numerous projects for Purdue, each with the intent of maximizing sales and profits of Purdue’s
 5
     controlled substances.
 6

 7          809.    Purdue hired ZS for                                Redacted

 8                 These       Redacted        were necessary in light of the Sackler family’s – Purdue’s

 9   sole owners – decision to exit the opioid business in light of the perceived risks of staying there.
10
            810.    From the outset,                                 Redacted
11
                                             – an acknowledgement by both Purdue and ZS of the real-
12
     world stakes at issue in ZS’ work.
13
            811.    ZS’ first known work for Purdue commenced in the final months of             Redacted
                                                                                                            and
14

15   focused on                                           Redacted

16                    One of the               Redacted                ZS observed, was       Redacted

17

18
                                                                                                   In other
19
     words, ZS would find ways to get prescribers to change their prescribing behavior by prescribing
20
     more extended-release opioids for longer periods of time.
21

22          812.    Once ZS identified the drivers behind these prescriber behaviors, ZS developed a

23   plan to “correct” the behavior in ways beneficial to Purdue, and, once adopted by the client, began

24   implementing changes at Purdue to increase OxyContin sales. ZS would “evaluate and determine
25   optimal sales and marketing strategy to support OxyContin,” and would “draw an implementation
26
     roadmap” incorporating “tangible action steps regarding identified OxyContin hurdles in terms of
27
     sales, marketing, and managed care approach. ZS would also conduct “Solution Design
28


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 1   Workshops” with Purdue’s staff regarding the best ways to undertake the changes in strategy
 2   identified by ZS.
 3
             813.                                         Redacted
 4
                                              while Purdue was still bound by the Corporate Integrity
 5
     Agreement. This time ZS’ work related to                              Redacted
 6

 7

 8           814.   The work took a holistic approach to Purdue’s entire sales and marketing efforts for

 9   its pain portfolio, including OxyContin, MS Contin, and RyzoltTM.
10
             815.   In addition to working on Purdue’s existing pain portfolio, in     Redacted
                                                                                                  ZS assisted
11
     Purdue in                                          Redacted
12
                                          At that early point in the opioid crisis, Purdue was already
13
     interested in expanding into products for the treatment for opioid use disorder, which, according to
14

15   ZS,                           Redacted

16           816.   ZS focused on answering mission-critical questions for Purdue, including but not
17   limited to:
18
                                                       Redacted
19
20

21

22
23

24
             817.   As always, ZS’ work included an implementation component, including
25
                               Redacted                              and              Redacted
26
                                                                                ZS assured Purdue that
27

28


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 1                                              Redacted

 2

 3
            818.   In 2012,                                 Redacted
 4

 5

 6

 7

 8
 9

10

11
            819.                         Redacted                        ZS agreed to      Redacted
12
                                                                                       and Redacted
13

14

15
16                                                  ZS agreed to address “key questions” like Redacted
17

18
                       Additionally, ZS undertook an analysis to               Redacted
19
20
            820.    ZS conducted this work in conjunction with a core team of Purdue employees
21
                                                Redacted
22
23

24          821.   By 2013, one year after Purdue was no longer shackled by the constraints of the
25   2007 Corporate Integrity Agreement that expired in 2013, Purdue also engaged with a separate
26
     consulting company, McKinsey & Company, Inc., to design a new company-wide sales and
27
     marketing approach. McKinsey’s proposals, initially dubbed Project Turbocharge, were eventually
28


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 1   rechristened Evolve to Excellence and were implemented by McKinsey and Purdue for the explicit
 2   purpose of maximizing opioid sales despite the by-then obvious risks associated with selling as
 3
     much OxyContin as possible.
 4
              822.     ZS worked in cooperation with McKinsey and Purdue to implement and continually
 5
     refine Project Turbocharge, including                               Redacted                        McKinsey’s
 6

 7   efforts to target the highest prescribers of OxyContin and blitz them with the newly turbocharged

 8   sales force. ZS worked with an Executive Oversight Team and Project Management Office,

 9   comprised of Purdue and McKinsey staff, to implement McKinsey’s plans for Purdue.
10
              823.     That same year, despite significant headwinds, OxyContin sales finally peaked. The
11
     restrictions on Purdue’s sales and marketing methods contained in the Corporate Integrity
12
     Agreement should have resulted in fewer overall OxyContin sales. Within five years of Purdue’s
13
     guilty plea, however, OxyContin sales tripled.
14

15            824.     ZS played a crucial role in accomplishing this feat. It presented specific plans to

16   Purdue, which Purdue adopted and spent hundreds of millions of dollars implementing alongside
17   ZS and other consultants. The result: a final spasm of OxyContin sales before the inevitable decline
18
     of the drug.625
19
              825.     In August of 2013, McKinsey urged, as part of the overall sales maximization
20
     approach, that sales representatives should devote two-thirds of their time to selling OxyContin and
21

22   one-third of their time selling Butrans, another Purdue product. Previously, the split had been fifty-

23   fifty.

24            826.     Two months later,                             Redacted                          . ZS sought to
25   answer the question,                                             Redacted
26
27
     625
28      On February 10. 2018, Purdue announced that it is no longer marketing opioids, and disbanded its OxyContin sales
     force.

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 1                  Redacted               Within months of McKinsey’s recommendation that Purdue
 2   should shift its resource allocation from a 50/50 split between OxyContin and Butrans to 2/3’s
 3
     OxyContin and 1/3 Butrans,                                Redacted
 4

 5
             827.   In other words,                             Redacted
 6

 7                                                                            As stated earlier (and

 8   exemplified here), the pharmaceutical industry is complex, and manufacturers do not do everything

 9   themselves. Purdue continually sought the ongoing assistance of ZS and many others to achieve its
10
     aims.
11
             828.   In conjunction with the ongoing implementation of McKinsey’s Evolve to
12
     Excellence at Purdue, ZS’ relationship with Purdue flourished. With the rollout of Evolve to
13
     Excellence in 2014, ZS was intimately involved in Purdue’s sales transformation.      Redacted
14

15
16

17

18
                                                                                      The requests for
19
     support were granular in their detail, including a                    Redacted
20
                               and                              Redacted
21

22                                                                                    which was work

23   necessary to implement the overall physician targeting strategy espoused and directed by McKinsey

24   at Purdue, such as the design of a                           Redacted

25

26
             829.   ZS was not merely working on a project that McKinsey created and oversaw. ZS
27
     routinely interacted with McKinsey consultants in furtherance of their mutual goal of maximizing
28


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 1   sales of Purdue’s opioids. For example, on July 31, 2013,                            Redacted


 2

 3                                   626
                                           A few weeks later,                        Redacted
 4

 5

 6
                                         627
 7                                             Then, on October 15, 2013,                   Redacted

 8
 9                                                                                             .628 At the same
10                                                                                                              629
     meeting,                                          Redacted
11
     Two weeks later,                                          Redacted
12
                                   630
                                                                          Redacted
13
                                                                                                           631
14

15           830.   The following month, the Project Management Office recommended to the

16   Executive Oversight Team through which McKinsey and Purdue implemented E2E                      Redacted


17

18                                                              632                   Redacted

19
20
     the email stated.633
21

22           831.   Throughout this time period,                               Redacted


23

24
     626
25       MCK-MDL1996-0219810
     627
         MCK-MDL2996-0220115
     628
26       MCK-MDL2996-0077806
     629
         MCK-MDL2996-0077806
     630
27       MCK-MDL2996-0077733
     631
         Id.
     632
28       MCK-MDL2996-0421514
     633
         Id. (emphasis added).

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 1                                                       Redacted

 2

 3                                                                            634

 4
             832.      By this time, ZS had also begun providing its AccessMonitor software for Purdue
 5
     to use. AccessMonitor is one example of a common tactic used by consultants to maintain an
 6

 7   ongoing revenue stream from its clients, separate and apart from traditional project-based work:

 8   the development and marketing of “leave-behind” products, such as software applications, that are

 9   sold to clients as tools that can be used by the business on an on-going and recurring basis, separate
10
     and apart from the project-based consulting work that is ZS’ core offering.
11
             833.      As described by famed Harvard Business School Professor Clayton Christensen,
12
     these sorts of “software and technology-based analytics and tools that can be embedded at a client,”
13
     are a tool used by a consultancy to deepen its partnerships with clients and earn additional and
14

15   recurring revenue from them. Tools such as ZS’ AccessMonitor, Prof. Christensen noted, provide

16   “ongoing engagement outside the traditional project-based model” traditionally used by
17   consultants.635
18
             834.      By 2017, McKinsey was working on Project Scottsdale for Purdue. The goal of the
19
     project was to “transform Purdue’s entire business model” by splitting Purdue’s assets into three
20
     separate companies and downsizing the employee headcount at the companies by 500 people.636
21

22   Just like Project Turbocharge, ZS collaborated with McKinsey on Project Scottsdale. In a

23   December 2017 internal McKinsey email, McKinsey consultant Albert Lee reported to John Goldie

24

25
     634
         MCK-MDL2996-0326142 (emphasis added).
26   635
         Clayton Christensen, Dina Wang, and Derek van Bever, “Consulting on the Cusp of Disruption,” Harvard Business
     Review, October 2013, available at https://hbr.org/2013/10/consulting-on-the-cusp-of-disruption
27   636
         The Firm and the FDA: McKinsey & Company’s Conflicts of Interest at the Heart of the Opioid Epidemic, Interim
     Majority Staff Report, Committee on Oversight and Reform, U.S. House of Representatives, April 13, 2022, at Pg. 27,
28   available              at:            https://oversight.house.gov/sites/democrats.oversight.house.gov/files/2022-04-
     13.McKinsey%20Opioid%20Conflicts%20Majority%20Staff%20Report%20FINAL.pdf

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 1   and Amir Golan that work on re-sizing Purdue’s sales forces pursuant to the goals of Project
 2   Scottsdale was “a WIP [work in progress] with ZS.”637
 3
                835.    In December of 2015, ZS’ client Purdue agreed to a settlement with the State of
 4
     Kentucky relating to the improper marketing of OxyContin and other Purdue products. Purdue
 5
     agreed to pay $24 million in conjunction with the settlement.
 6

 7              836.    Despite this second enforcement action against its client, ZS’ work on Purdue’s sales

 8   and marketing efforts continued unabated. Throughout its relationship with Purdue, ZS worked on

 9   core functions of Purdue’s efforts to sell its drugs.
10
                837.    These core functions were previously identified as particular areas of concern with
11
     respect to Purdue’s business conduct, and were specifically monitored and regulated under the 2007
12
     Corporate Integrity Agreement, which governed, inter alia:
13
                                 •   “selling, marketing, promoting, advertising, and disseminating Materials
14
                                     or information about Purdue’s products in compliance with all applicable
15                                   FDA requirements, including requirements relating to the dissemination
                                     of information that is fair and accurate … including, but not limited to
16                                   information concerning the withdrawal, drug tolerance, drug addiction
                                     or drug abuse of Purdue’s products;
17

18                               •   compensation (including salaries and bonuses) for Relevant Covered
                                     Persons engaged in promoting and selling Purdue’s products that are
19                                   designed to ensure that financial incentives do not inappropriately
                                     motivate such individuals to engage in the improper promotion or sales
20                                   of Purdue’s products; …
21
                                 •   the process by which and standards according to which Purdue sales
22                                   representatives provide Materials or respond to requests from HCP’s
                                     [health care providers] for information about Purdue’s products,
23                                   including information concerning withdrawal, drug tolerance, drug
                                     addiction, or drug abuse of Purdue’s products,” including “the form and
24                                   content of Materials disseminated by sales representatives,” and “the
                                     internal review process for the Materials and information disseminated
25
                                     by sales representatives.”638
26
27
     637
           MCK-MDL2996-0334687
     638
28         See https://s3.documentcloud.org/documents/6452110/2007-Purdue-Corporate-Integrity-Agreement.pdf at pgs. 7-
     9.

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 1            838.     In fact, under the terms of Paragraph II.C.1(b) of the Corporate Integrity Agreement,
 2   ZS, as a contractor to Purdue performing sales and marketing functions for the company, was a
 3
     “Covered Person” subject to the strictures of the CIA.639
 4
              839.     In addition to ZS’ “expertise and thought leadership,” ZS’ assumption of these
 5
     obligations for Purdue involved the deployment of Javelin, its proprietary salesforce optimization
 6

 7   software tool. Like AccessMonitor, described supra, Javelin was a software tool that ZS could

 8   embed with clients. With Javelin, a ZS client can “streamline sales performance management with

 9   a comprehensive platform that simplifies sales strategy management and helps you build and
10
     motivate a successful sales force.”640 The Javelin products include “suites” of software for the
11
     management and operation of Incentive Compensation (IC) and Call Planning (CP) functions.641
12
              840.     Upon information and belief, all of Purdue’s then 712 sales representatives were
13
     licensed users of ZS’ trademarked Javelin suite of software solutions.
14

15            841.     On October 20, 2020, Purdue entered into a plea agreement with the United States

16   Department of Justice to plead guilty to improper marketing of OxyContin and other opioids,
17   again.642 This time the plea agreement concerned conduct from 2010 to 2018. ZS collaborated with
18
     Purdue on its sales and marketing practices Redacted the time period relevant to Purdue’s second
19
     guilty plea.643
20

21

22
     639
         The relevant language in the CIA provides: “Covered Persons” includes … all contractors, subcontractors, agents,
23   and other persons who perform sales, marketing, promotional, pricing, government contract, or regulatory functions …
     on behalf of Purdue.” Id. at 2.
     640
24       See https://www.zs.com/products/javelin.
     641
         Id.
     642
25       See https://www.justice.gov/opa/press-release/file/1329576/download
     643
          On February 10, 2018,                                        Redacted                                      Purdue
26   announced that it is no longer marketing opioids, and disbanded its OxyContin sales force. “OxyContin maker stops
     promoting opioids, cuts sales staff,” Reuters, February 10, 2018, available at: https://www.reuters.com/article/us-usa-
27   opioids-purduepharma/oxycontin-maker-stops-promoting-opioids-cuts-sales-staff-idUSKBN1FU0YL (“OxyContin
     maker Purdue Pharma LP said on Saturday that it has cut its sales force in half and will stop promoting opioids to
28   physicians, following widespread criticism of the ways that drugmakers market addictive painkillers.”). As such,    Redacted




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 1              842.     Purdue agreed to plead guilty to a dual-object conspiracy to defraud the United
 2   States and violating the Food, Drug, and Cosmetic Act, 21 U.S.C. § 331, 353, among other charges,
 3
     relating to its opioid sales and marketing practices after the 2007 guilty plea.644 Purdue’s co-
 4
     conspirators were not identified in the plea agreement.
 5
                843.     Purdue’s second guilty plea concerns Covered Conduct (as defined in the plea
 6

 7   agreement) relating to Purdue’s sales and marketing efforts that directly implicates ZS in the

 8   conspiracy. ZS’ work for Purdue described in this Complaint was a core component of the sales

 9   and marketing tactics that lead to Purdue’s second guilty plea.
10
                                 2.       Mallinckrodt
11
                844.     Upon information and belief, around the same time ZS was working with Purdue to
12
     implement McKinsey’s Project Turbocharge to maximize OxyContin sales by continual
13
     refinement of physician targeting and other sales and marketing tactics, ZS was also working with
14

15   another long-term client, Mallinckrodt,                                     Redacted

16

17              845.     Mallinckrodt is the largest supplier of opioid pain medications and among the top
18
     ten generic pharmaceutical manufacturers in the United States. In 2015, for instance,
19
     Mallinckrodt’s opioids accounted for approximately one quarter (25%) of the entire annual
20
     production quota for controlled substances under DEA regulations. Mallinckrodt produced the
21

22   following branded and generic opioids:

23

24

25

26
27

28
     644
           See https://www.justice.gov/opa/press-release/file/1329576/download

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10           846.    Previously,                                     Redacted
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12

13
     Mallinckrodt sought to use ZS’ expertise to                                Redacted
14

15                                                      and to                       Redacted

16

17

18
             847.    Mallinckrodt promoted Exalgo as having characteristics that made the drug less
19
     likely to be addictive or abused, despite the lack of FDA approval for the drug as “abuse-deterrent.”
20
             848.    Then, on March 12, 2014, Mallinckrodt obtained FDA approval for Xartemis XR,
21
     its extended-release opioid tablet.645 Upon information and belief, by the time Mallinckrodt
22
23   obtained approval to market its opioid, ZS had already established a long-term working relationship

24   with Mallinckrodt regarding the sales and marketing of Mallinckrodt’s portfolio of pain
25   medications.
26
             849.    ZS was intimately involved                  Redacted             from the outset.
27

28   645
         See “Xartemis receives approval: May reduce opioid abuse,” Formulary Watch, March 28, 2014, available at
     https://www.formularywatch.com/view/xartemis-xr-receives-fda-approval-may-reduce-opioid-abuse

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 1            850.     In anticipation of Xartemis’ launch, Mallinckrodt augmented its salesforce by
 2   adding hundreds of contracted sales representatives to promote the drug. CEO Mark Trudeau
 3
     anticipated Xartemis would generate “hundreds of millions” in revenue for Mallinckrodt.646
 4
              851.     In September, only months after FDA approval, ZS unveiled an overall sales and
 5
     marketing strategy for the drug. The scope of the plan was all-encompassing, including overall
 6

 7   global strategy as well as granular details of execution and implementation. Tactics to be deployed

 8   in ZS’ plan included the deployment of marketing materials in the offices of health care providers

 9   (including “in-office patient education materials” meant for the consuming public), physician
10
     targeting and decile segmentation, a video series interviewing clinicians about the benefits of the
11
     drug, patient testimonials, a speaker program, patient co-pay cards, targeting promotion outreach
12
     to regional associations of physician assistants647, and other efforts to maximize sales and revenue.
13
     Many of these same tactics were weapons in Purdue’s arsenal, designed by ZS.
14

15            852.     Part of ZS’ plan                                       Redacted

                                                                                648
16                                                                                    ,             Redacted

17                                                                                        in addition to      Redacted

18

19
              853.     ZS’                                             Redacted
20

21

22
23
     646
         See https://www.bizjournals.com/stlouis/blog/health-care/2014/01/mallinckrodts-new-drug-should.html
24   647
         This focus on physician’s assistants is consistent with ZS’ finding in an August 2016 report it issued, arguing that
     “[a]nother way to increase reps’ chances for success is to expand the potential audience beyond the physician.” ZS
25   explained, “Other people on staff at the physician’s office could be worthwhile targets for pharmaceutical messaging,
     such as nurse practitioners and physician assistants. On average, people in these roles are incrementally more
26   accessible than physicians.” Physicians Becoming More Restrictive About Rep Sales Calls; Digital Communications
     Picks Up, 28 No. 8 FDA Advertising & Promotion Manual News. 8, October 2016 (emphasis added).
27   648
         “TRx” is an abbreviation for the measurement of increase in “total prescriptions,” meaning all new prescriptions
     plus refills on those prescriptions. “Growing TRx,” in other words, means encouraging refills of new prescriptions.
28   This approach to maximizing revenue by encouraging refills of controlled substances known to be addictive carried
     obvious risks.

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 1                                              Redacted

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            854.   Ominously,                                 Redacted
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            Redacted
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            855.   Mallinckrodt encouraged its sales reps to aggressively market its new opioid by
23

24   implementing ZS’ marketing and sales strategy. One supervisor urged the Xartemis sales force to

25   “ATTACK” health care providers and informed representatives that they could obtain “big bonus

26
27

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 1   dollars” by waiting in front of doors of health care providers and using free trial offers to gain
 2   prescriptions.649
 3
              856.     Another sales supervisor encouraged sales representatives that Xartemis “is the
 4
     BEST opportunity to make lots of money! ! !”650
 5
              857.     ZS designed and implemented the incentive compensation plan for Xartemis.
 6

 7            858.     The above is even more alarming in light of the fact that ZS had been using its hub-

 8   like position among many manufacturers to develop a business intelligence tool by analyzing call

 9   note reports from over 45,000 sales reps across the country.651 Given their ability to analyze the
10
     large amounts of data ZS possessed, ZS were the only ones with the keys to unlock the prescribing
11
     practices of each target physician.
12
              859.     Mallinckrodt repeatedly promoted Xartemis ZR as having physical properties that
13
     made the drug less likely to be addictive or abused, even though the drugs had never been approved
14

15   by the FDA as abuse-deterrent. For instance, promotional materials provided to prescribers stated

16   “Xartemis XR has technology that requires abuses to exert additional effort to extract the active
17   ingredient from the large quantity of inactive and deterrent ingredients.”652
18
              860.     Not only had the FDA not approved Xartemis as an abuse-deterrent formulation, the
19
     marketing claims were false and misleading in that none of the characteristics of Xartemis address
20
     the most common form of opioid abuse: simple oral ingestion, swallowing the pill.
21

22
23

24
     649
         William K. Rashbaum, Roni Caryn Rabin and Danny Hakim, “Opioid Sales Reps Swarmed New York at Height of
25   Crisis,” New York Times, April 19, 2019, available at https://www.nytimes.com/2019/04/11/health/opioids-sacklers-
     new-york-purdue.html
     650
26       Id.
     651
         See “Crossing the threshold: More than half of physicians restrict access to sales reps,” ZS Associates, September
27   1, 2015, available at: https://www.zs.com/about/newsroom/crossing-the-threshold-more-than-half-of-physicians-
     restrict-access-to-sales-reps
28   652
         See “Xartemis receives approval: May reduce opioid abuse,” Formulary Watch, March 28, 2014, available at
     https://www.formularywatch.com/view/xartemis-xr-receives-fda-approval-may-reduce-opioid-abuse

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 1           861.    As stated above, the data and analytics capabilities of ZS, when tasked to the purpose
 2   of maximizing drug sales and revenue, should result in the unearthing of suspicious orders worthy
 3
     of reporting to the DEA.653 Despite ZS working with Endo to assiduously study in granular detail
 4
     the topic of where its pills are sold (and how to sell more of them), Endo nonetheless failed in its
 5
     reporting obligations under the Controlled Substances Act.
 6

 7           862.    In a July 2017 Memorandum of Agreement with the DEA and the Department of

 8   Justice, Mallinckrodt agreed that “at certain times during the Covered Time Period prior to January

 9   1, 2012, certain aspects of Mallinckrodt’s system to monitor and detect suspicious orders did not
10
     meet the standards outlined in letters from the DEA Deputy Administrator, Office of Diversion
11
     Control to registrants [Mallinckrodt] dated September 27, 2006, and December 27, 2007.”654
12
                             3.       Endo
13
             863.    ZS’ relationship with Endo Pharmaceuticals                         Redacted
14

15
16           864.    Upon information and belief,                               Redacted

17          months after Endo’s launch of Opana ER, its extended-release oxymorphone tablet in 2006.
18
     At the time, Endo’s marketing efforts were primarily focused on Opana ER, its branded extended-
19
     release oxymorphone hydrochloride tablet. Oxymorphone hydrochloride is three times as strong as
20
     morphine.
21

22           865.    ZS’ first known work for Endo involved developing and implementing                Redacted



23

24                                                                                                            ZS
25   acknowledged.
26
27
     653
        See supra, ¶ 64-65.
     654
28     See the July 2012 Memorandum of Agreement between Mallinckrodt and the DEA at https://www.justice.gov/usao-
     edmi/press-release/file/986026/download

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 1           866.     ZS designed                                        Redacted

 2                  for Opana. This was crucial, as Endo required a                         Redacted
 3
                in order for Endo to            Redacted
 4
             867.     Moreover, ZS was engaged not only                               Redacted
 5

 6

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 8
 9           868.     By 2009,                                         Redacted

10
                                                                                     As such, ZS was tasked with
11
                                                        Redacted
12

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16           869.     ZS’ focus on ROI for its clients, described in Section D, above, is front and center
17   in the title of its July 16, 2012, presentation to Endo Pharmaceuticals: “Promotional Mix
18
     Optimization Brand Level Model Results and ROI.” In it, ZS conducted a “historical ROI and
19
     marginal ROI analysis” of Endo’s “pain brands.” As explained in the presentation, at the time Endo
20
     had been employing “a variety of marketing tactics to drive prescribing volume within the Pain
21

22   and UEO portfolios,” and Endo “would like to better understand the effectiveness of each of these

23   tactics, and to optimize marketing spending to drive efficiency.”655 Key questions ZS sought to

24   answer for its client were “how effective is each of Endo’s marketing activities in terms of driving
25   prescription volume,” and “what is the ROI for each marketing activity.”656
26
27
     655
         ZS Presentation to Endo dated July 16, 2012, In re: National Prescription Opiate Litigation, Case No. 1:17-md-
28   02804-DAP, Doc. 2421-2, filed August 15, 2019 (N.D. OH).
     656
         Id.

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 1             870.   ZS informed Endo plainly that, regarding its portfolio of pain medications, “[s]ales
 2   force detailing is the most impactful tactic, detailing accounts for 35-65 & of all sales and marketing
 3
     impact.”657 With respect to Opana, Endo’s extended-release opioid tablet meant to compete with
 4
     Purdue’s OxyContin, sales force detailing accounted for 11.7% of the contribution to annual sales
 5
     and profitability among Endo’s sales tactics for Opana. In second place was co-pay cards, with
 6

 7   4.4%:658

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21             871.   Opana ER constituted $383 million in annual sales for Endo at the time of the ZS

22   Associates analysis, good enough for the second highest selling Endo product analyzed by ZS. Of
23   that $383 million in sales, ZS determined that 19%, or $72 million, is “driven by Sales and
24
     Marketing.”659 Furthermore, ZS informed Endo that “most of the promotional channels for Opana
25

26
27
     657
         Id.
     658
28       Id.
     659
         Id.

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 1   ER have high ROI.” These “promotional channels” include marketing tactics such as copay cards,
 2   website advertising, medical journal sponsorship, speaker programs, and detailing to prescribers.
 3
                872.     The Opana marketing messages whose delivery ZS sought to optimize for Endo
 4
     conveyed misrepresentations regarding the dangers of the drug. For example, Endo maintained
 5
     until April 2012 the website opana.com, which stated, “[m]ost healthcare providers who treat
 6

 7   patients with pain agree that patients treated with prolonged opioid medicines usually do not

 8   become addicted.” Upon information and belief, Endo did not conduct and does not possess data

 9   or evidence to support that statement. Furthermore, the statement is misleading in that it suggests
10
     that addiction is not a risk from taking extended-release opioids such as Opana.
11
                873.     Thus, ZS worked with Endo for at least a decade optimizing and implementing
12
     misleading sales and marketing tactics, including managing critical sales and marketing functions
13
     such as IC and CP. ZS’ successful performance of these tasks was critical to Endo’s efforts to
14

15   market Opana. Without ZS, Endo could not have achieved its opioid revenue goals.

16              874.     On March 3, 2016, the New York Attorney General announced a settlement with
17   Endo to address the misleading marketing of Opana. The settlement required Endo “to cease all
18
     misrepresentations regarding properties of Opana ER, to describe accurately the risk of addiction
19
     to Opana ER, and to summarize studies regarding Opana ER on its website.”660 The settlement
20
     further required Endo to create programs to prevent its sales representatives “from promoting
21

22   [Opana ER] to health care providers who may be involved in the abuse and illegal diversion of

23   opioids.661 Those safeguards were not in place under the sales and marketing program ZS designed

24   and helped Endo implement for years. Even at the time of the settlement announcement, ZS was
25   still working with Endo to shape and manage its Opana ER sales force.
26
27
     660
28          See https://ag.ny.gov/press-release/2016/ag-schneiderman-announces-settlement-endo-health-solutions-inc-endo
     661
           Id.

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 1           875.     In May 2017, an advisory committee to the Food and Drug Administration
 2   recommended that Opana ER be withdrawn from the market due in part to the fact Opana ER could
 3
     be “readily prepared for injection” (thereby bypassing the purportedly “abuse-deterrent” features
 4
     of the formulation that Endo touted in its marketing) and was associated with outbreaks of HIV and
 5
     a blood-clotting disorder known as thrombotic thrombocytopenic purpura (“TTP”). On June 8,
 6

 7   2017, the FDA adopted the committee’s recommendation.662

 8           876.     One month later, on July 6, 2017, Endo announced that it would agree to cease

 9   marketing and selling Opana ER altogether.
10
             877.     Just as was the case with Purdue, ZS was working with Endo on marketing its
11
     branded opioid product at the time that the company voluntarily ceased selling and marketing the
12
     drug in response to the dangers of continuing to market it.
13
                              4.       Teva
14

15           878.     Not to be left out, Teva Pharmaceuticals also relied on ZS                      Redacted


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17                                          663


18
             879.     Fentora is a fentanyl buccal tablet that is, “used for the treatment of breakthrough
19
     pain in cancer patients receiving opioid treatment and who have become tolerant to it.”664 It was
20
     approved by the Food and Drug Administration in 2006 for this limited use, but, as the FDA noted
21

22   two years later, “off-label prescribing has, unfortunately, been widely practiced.”665

23

24   662
           “FDA requests removal of Opana ER for risks related to abuse,” June 8, 2017, available at:
     https://www.fda.gov/NewsEvents/Newsroom/PressAnnouncements/ucm562401.htm
     663
25         See Teva Completes Acquisition of Cephalon, Fierce Pharma, October 11, 2011, available at:
     https://www.fiercepharma.com/pharma/teva-completes-acquisition-of-cephalon
     664
26       See   Fentanyl     Buccal      Tablets    (marketed     as     Fentora)     Information,     available   at:
     https://www.fda.gov/drugs/postmarket-drug-safety-information-patients-and-providers/fentanyl-buccal-tablets-
27   marketed-fentora-information.
     665
          Memorandum from Bob A. Rappaport, MD to the Anesthetic and Life Support Drugs Advisory Committee
28   (ALSDAC) dated April 26, 2008, Doc. 2231, In re National Prescription Opiate Litigation, No. 1:17-md-02804-DAP
     (N.D. Ohio) (filed August 13, 2019).

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 1           880.     The Food and Drug Administration, in an April 26, 2008, memorandum discussing
 2   the possibility of an “expanded indication for Fentora for use in break-through pain in patients with
 3
     chronic pain not caused by malignancy,” expressed concern about Fentora’s active ingredient,
 4
     fentanyl, and the growing misuse of opioids despite the safeguards already put in place by the FDA:
 5
             Fentanyl has an extremely narrow therapeutic window, and even in opioid tolerant
 6           patients misuse and errors in dosing can result in significant morbidity and mortality.
 7           Exposure to minute quantities of fentanyl in opioid non-tolerant people, especially
             children and the elderly, can be lethal in minutes. If this product is to be indicated
 8           for increased widespread use, and if availability increases, a risk mitigation program
             that will attempt to prevent, monitor, and intervene, when necessary, will be
 9           essential. However, as already noted, the current paradigms for risk management
             for potent opioid drug products may not have been fully successful.666
10

11           881.      Consistent with Dr. Rappaport’s concerns, on December 28, 2011, the FDA

12   mandated a Risk Evaluation and Mitigation Strategy (“REMS”) for Fentora and other

13   Transmucosal Immediate Release Fentanyl (“TIRF”).667
14
             882.     The following year, ZS determined that                            Redacted
15
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21           883.                                                Redacted
22
23

24

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26
     666
         Memorandum from Bob A. Rappaport, MD to the Anesthetic and Life Support Drugs Advisory Committee
27   (ALSDAC) dated April 26, 2008, Doc. 2231, In re National Prescription Opiate Litigation, No. 1:17-md-02804-DAP
     (N.D. Ohio) (filed August 13, 2019) (emphasis added).
     667
28       See https://www.fda.gov/drugs/information-drug-class/questions-and-answers-fda-approves-class-risk-evaluation-
     and-mitigation-strategy-rems-transmucosal.

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 1                                                          Redacted

 2                                                                       668
                                                                                                Redacted
 3

 4
                                            .669
 5
               884.                                                  Redacted
 6

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               885.    ZS was tasked not only with specific recommendations to                             Redacted
14

15   such as                                                   Redacted                                                   but

16   in                                                       Redacted

17                                                                                                                       670


18
               886.    In short, ZS was in charge of maximizing Teva’s profit from selling fentanyl by
19
     optimizing and assisting in managing Teva’s sales force.
20

21
     668
         See      Corporate     Integrity     Agreement       dated      September        28,     2008,     available       at:
22   https://oig.hhs.gov/fraud/cia/agreements/cephalon.pdf
     669
          See     Corporate      Integrity     Agreement       dated     September        28,     2008,     available       at:
23   https://oig.hhs.gov/fraud/cia/agreements/cephalon.pdf
     670
          The concept of “marketing mix” is one used by ZS to contextualize the product offerings it provides clients.
24   “Marketing mix, simply stated is really just the set of promotional tactics that a product is using to sell and market
     itself. In the pharmaceutical industry, this can include a broad set of different kinds of promotional activities, things
25   from very traditional tactics such as salesforce promotion or sampling, to more recent advances, things like co-pay
     cards, digital media,” explained ZS’ John Bienko. “Of course, the biggest question on anybody’s mind is ‘what is the
26   financial impact I’m getting from these promotions, what’s the bang for the buck?’” he added. See
     https://www.youtube.com/watch?v=V8mppVKr9_0
27   Obtaining an optimal marketing mix is an overarching goal of any client relationship ZS maintains. For example, in
     addition to its work for Teva, the concept of marketing mix was front of mind for ZS’ work for Endo as well. See supra,
28   Paragraph 869. “Optimal,” in this context, means most profitable.



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 1                           5.      Johnson & Johnson/Janssen
 2             887.   In addition to the manufacturer clients described above, ZS also worked for Janssen
 3
     Pharmaceuticals, Johnson & Johnson’s subsidiary that sold opioids,                     Redacted

 4

 5
                           Johnson & Johnson used ZS just like everyone else: always.
 6

 7             888.   The foregoing paragraphs make clear ZS’ central role in the operations of its clients.

 8   Just as all pharmaceutical companies rely on IMS Health for sales data, or McKinsey for strategy

 9   consulting, practically all opioid manufacturers depend on ZS for salesforce optimization and sales
10
     and marketing advice. ZS is a critical part of the economic ecosystem that sells drugs in the United
11
     States.
12
               p.     Defendants work kills people.
13
               889.   For Defendants, the name of the game is pleasing clients. Client retention is a key
14

15   metric by which publicly traded advertising firms like Publicis and Allscripts are judged in the

16   capital markets and therefore pay particular attention to. Client retention ensures stable revenue
17   streams for agencies like the Big Four, which is seen as more valuable in the eyes of capital markets
18
     than one-off engagements. At the same time, Defendants must exert effort (which costs money) to
19
     retain a new client. Client development is a cost for Defendants, and selling additional services to
20
     an existing client is an inexpensive way to maximize the return on the investment (“ROI”) that
21

22   Defendants make in developing and maintaining a client relationship.

23                    i.     ROI is King

24             890.   Likewise, from the client’s perspective, return on investment is the coin of the realm
25   as well. The profit motive drives behavior on both sides. If an agency does not increase revenue
26
     and profit for the client, they are worthless.
27

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 1              891.     The only thing that matters is the bottom dollar, and the bottom dollar is driven by
 2   the volume of goods sold.
 3
                892.     Publicis understands this. In Publicis’ own words:671
 4
                In healthcare, performance cannot be measured in clicks or impressions or even
 5              office visits. Our only KPI is outcomes — business outcomes and patient outcomes.
                Our best-in-class outcomes analytics methodology enables us to see real ROI. But
 6              sound, evidence-based measurement isn’t just about proving ROI — it’s also about
 7              optimizing for it. With the best data-driven analytics team in healthcare media,
                we’re able to achieve performance that outclasses the field — with ROI four times
 8              greater than our closest competitor.

 9              893.     Publicis’ actions for its clients provide numerous real-world instances of this myopic
10
     focus on money. For example, in April 2013, Publicis implemented an email marketing campaign
11
     offering downloadable OxyContin “Savings Cards,” which Publicis knew was a tactic for patient
12
     retention, or, keeping patients on OxyContin for longer periods of time. Again, Publicis couched
13
     the campaign’s worth in terms of “return on investment” for Purdue. While Publicis charged Purdue
14

15   $47k for the campaign, Publicis and Purdue later assessed the incremental impact of the campaign

16   to have been an additional 67,000 OxyContin prescriptions by April 2014.
17              894.     Despite that apparent success, Publicis and Purdue wanted more. Notes from an
18
     internal Publicis meeting held four months later, in August of 2014, to discuss work on the Purdue
19
     account make it plain. Patient retention and return on investment remained top of mind:
20

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     671
           See https://www.publicishealthmedia.com/our-approach/ (emphasis added).

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 1            “What is a patient worth?... How do we get a 2:1 return on this?... getting just one more
 2   refill.” Internally, Publicis was direct in describing what matters.
 3
              895.     The meeting was held to discuss additional projects to be performed in the realm of
 4
     “patient retention” for Purdue. “Patient retention” for Purdue has all of the same benefits as “client
 5
     retention” does for Publicis. In other words, Publicis was working to assure people stayed on their
 6

 7   OxyContin prescriptions and never quit. Given the unpleasantness of that goal, Publicis wondered,

 8   “Does portfolio retention need to be veiled in a patient engagement program?”672

 9            896.     Likewise, ROI was paramount in Publicis’ decision to engage Practice Fusion on
10
     the Purdue account. In a July 18, 2014, internal email, Publicis’ John Dwyer asked a colleague,
11
     “Can you find out if they [Practice Fusion] have any kind of ROI of Rx impact metrics around these
12
     that they can share?”
13
              897.     ROI was king, but Publicis knew you couldn’t just say that. In October 2014,
14

15   Publicis was working with Purdue to devise an “Outward Facing Strategy,” whereby Publicis would

16   help Purdue present itself as a responsible corporate citizen to the world. Publicis noted that the
17   current corporate tagline of “profitable growth” was not “outward facing” and was instead “strictly
18
     for internal use.”
19
              898.     Describing the bottom line regarding the services ZS provides its clients, ZS
20
     Principal John Bienko stated, “Of course, the biggest question on anybody’s mind is ‘what is the
21

22   financial impact I’m getting from these promotions, what’s the bang for the buck?’”673

23

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27   672
         For a discussion of why Publicis might wish to “veil” its retention goals in the guise of “patient engagement,” see
     supra., Section IV(e)(iii)(c).
     673
28        See ZS Associates, “Marketing mix strategy: why it’s so important for pharmaceutical marketing,” available at:
     https://www.youtube.com/watch?v=V8mppVKr9_0

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 1              899.    ZS’ raison d’etre is maximizing return on investment for all sales and marketing
 2   spending for a pharmaceutical manufacturer. ZS was not shy about couching its entire product line
 3
     to pharmaceutical manufacturer clients in terms of ROI674:
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                .
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20              900.    ROI is the basis upon which ZS advertises and sells its services to pharmaceutical

21   companies, and it is the principal reason that a pharmaceutical company hires ZS in the first place.
22   As established herein, ZS couched substantially all of its proposals to work for opioid
23
     manufacturers in terms of how much money they will make by doing what ZS recommends.
24
                901.    This myopic focus on the bottom line, when applied to controlled substances known
25
     to be addictive, would have predictable consequences.
26
27                      ii.      McKinsey Publicis Knew; Practice Fusion Knew; ZS Knew; Everyone
                                 Knew
28
     674
           See https://www.zs.com/solutions/marketing/promotions-and-marketing-mix

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 1           902.    As described above, the problem with broadly and aggressively marketing addictive
 2   opioids was apparent from the start: controlled substances are controlled precisely because they
 3
     should not be sold to maximize volume and profits. Defendants actively disregarded this plain fact,
 4
     repeatedly, and for decades.
 5
                              1.       McKinsey Knew
 6

 7           903.    The deceptive marketing strategies McKinsey developed and helped to implement

 8   were successful. Its granular growth tactics, myopically focused on increased revenues for its

 9   clients, substantially contributed to an explosion in the use of opioids across the country.
10
     Approximately 20% of the population between the ages of 30 and 44, and nearly 30% of the
11
     population over 45, have used opioids. Opioids are the most common treatment for chronic pain,
12
     and as of 2016, 20% of office visits for non-cancer pain included the prescription of an opioid.675
13
             904.    The dangers of opioids were known to McKinsey at the time it engaged in the
14

15   misconduct described in this Complaint. The addictive potential of opioids and the need for control

16   and restraint in their use was internally understood, as was the likelihood of large-scale opioid
17   addiction, abuse, overdoses, illness, and early death resulting from sharply increased use.
18
             905.    McKinsey also performed its own research in evaluating the anticipated effects of
19
     Project Turbocharge. An April 2014 implementation update observed an increase in sales calls, as
20
     well as that “OxyContin [health care providers] with increased calls consistently outperform HCPs
21

22   with decreasing or no change in call frequency.”

23           906.    McKinsey continued working with Purdue long after the severity of the opioid crisis

24   was well known. McKinsey knew that high dose OyxContin prescriptions carried a serious risk of
25   overdose. In 2017, over half of Purdue’s opioids prescriptions exceeded the ninety mg morphine
26
27
     675
28      Deborah Dowell, Tamara M. Haegerich, and Roger Choi, CDC Guideline for Prescribing Opioids for Chronic Pain
     – United States, 2016, CDC (March 18, 2016), https://www.cdc.gov/mmwr/volumes/65/rr/rr6501e1.htm

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 1   equivalence threshold a day—the recommended maximal dose per the 2016 CDC Guideline for
 2   Prescribing Opioids for Chronic Pain.
 3
               907.   Purdue’s 2007 guilty plea put McKinsey on notice of Purdue’s misconduct. By that
 4
     time, McKinsey had access to public information indicating that OxyContin and other opioids pose
 5
     significant risk of addiction and misuse.
 6

 7             908.   McKinsey was well aware of the risks of OxyContin based on its extensive

 8   experience in the pharmaceutical industry, close collaboration with Purdue, and participation in the

 9   regulatory submissions for reformulated OxyContin.676
10
               909.   The first bullet point of Purdue’s 2007 “Observations and Activities Requiring an
11
     [Abuse, Diversion, and Detection] Report” was “[a]n apparent pattern of an excessive number of
12
     patients for the practice type[.]”677 Thus, McKinsey knew or should have known that there was a
13
     higher risk of abuse and diversion among high-volume prescribers.
14

15             910.   What is more, on September 13, 2013 McKinsey briefed Purdue on the ongoing

16   concerns regarding OxyContin addiction and diversion among prescribers:
17

18

19
20

21

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23

24

25

26
     676
27         McKinsey                                      Redacted

28                                        McK-MAAG-0118819 (email chain).
     677
           PPLPC010000033944.

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            911.    In a PowerPoint slide entitled “Findings on messaging and positioning,” part of a
13
     presentation to Purdue entitled “OxyContin growth opportunities: Phase 1 Final Report:
14
     Diagnostic,” McKinsey noted that “most prescribers are concerned about abuse,” and that “most
15
16   physicians do not feel that [OxyContin] reformulation positively impacts their prescribing

17   behavior, and that diversion, abuse and regulatory concerns continue to weigh on prescribers.”
18          912.    In an August 2017 presentation, McKinsey recognized that the opioid epidemic was
19
     “triggered, in large part, by a massive increase in prescribed opioids in the early 2000’s.”
20
            913.    McKinsey’s presentations to Purdue included extensive discussion of doctors’
21
     concerns about opioid misuse and side effects, demonstrating McKinsey’s awareness of the dangers
22
23   of opioids. Rather than working to limit these disastrous effects, McKinsey treated doctors’

24   misgivings as obstacles to confront with new messaging.

25          914.    Indeed, one reason that Purdue had knowledge that their own products were
26   addictive and dangerous is because McKinsey told them.
27

28


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 1           915.     If McKinsey was not aware of the adverse consequences of OxyContin, the drug it
 2   was paid to sell, such ignorance could not survive the granular reality of its relationship with
 3
     Purdue. For example, in June 2009, McKinsey worked to “counter the emotional messages from
 4
     mothers with teenagers that overdosed on OxyContin.”678
 5
             916.     Within a few years of countering these emotional messages, McKinsey even
 6

 7   developed a method to identify geographic hot spots of OxyContin abuse and diversion. Once

 8   developed, however, McKinsey simply never used it to decrease these harms.

 9           917.     Paul Coplan                                          Redacted


10

11                                                                         679

12
             918.     In deposition testimony in prior opioid-related litigation, Coplan was asked, “While
13
     you were at Purdue, did Purdue make an effort to identify hot spots for opioid abuse and addiction
14

15   or not?”680

16           919.                                                 Redacted

17

18           681
                                                                Redacted
19
                    .682
20
             920.                                                 Redacted
21

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26
     678
         PDD8901645845.
     679
27       Paul M. Coplan 1/18/19 Dep. Tr. At 16:18 -17:17.
     680
         Id. at 355:10.
     681
28       Id. at 355:14–356:11.
     682
         Id. at 357:8-16.

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 1                                                       Redacted

 2         683

 3
                 921.   Instead, McKinsey focused on increasing opioid sales for its clients, despite
 4
     knowing the harmful consequences of doing so. In yet another indication that OxyContin sales
 5
     should not be turbocharged: during McKinsey’s work for Purdue, Purdue was unable to purchase
 6

 7   product liability insurance to cover its practice of selling OxyContin.

 8               922.   The basic premise of McKinsey’s work put it on notice of the harmful consequences

 9   that would ensure. It was tasked with advising a monoline manufacturer of opioids about sales and
10
     marketing practices for its addictive products while that manufacturer was bound by a five-year
11
     Corporate Integrity Agreement covering the very same opioid sales and marketing practices. In
12
     2012, OxyContin accounted for 94% of Purdue’s revenue.684 As late as 2018, it remained 84% of
13
     Purdue’s revenue.685 According to the U.S. Department of Justice, “[f]rom 2010 to 2018, Purdue’s
14

15   profits were almost entirely driven by its success in selling OxyContin.”686 In 2015 alone, it

16   obtained $3 billion in annual opioid sales—a four-fold increase from its 2006 sales of $800 million.
17               923.   McKinsey’s mandate was to increase Purdue’s opioid sales during a time when
18
     Purdue was obligated to restrict its previous marketing strategies because those strategies had
19
     caused the overprescribing of opioids and the inevitable consequences thereof. McKinsey’s job
20
     was to counter the intended results of the Corporate Integrity Agreement; to devise strategies to sell
21

22   as many pills as conceivably possible. Under McKinsey’s tutelage, Purdue’s growth continued its

23   upward trajectory unabated, the Corporate Integrity Agreement notwithstanding.

24

25                             2.       Publicis Knew
26
     683
27       Id. at 357:22–358:6.
     684
         Gerald Posner, Pharma, pg. 524 (Simon & Schuster 2020).
     685
28       Id.
     686
         https://www.justice.gov/opa/press-release/file/1329571/download

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 1           924.     Like Publicis Touchpoint Solutions’ work with Orexo, Publicis’s Saatchi and
 2   Saatchi also worked the other end of the epidemic. In 2017, it sponsored New York Festivals Global
 3
     Awards Young Globals competition, where the winning team would win an internship opportunity.
 4
     The Young Globals is “the only college/portfolio competition for healthcare advertising.”687 The
 5
     competition called for “creative challenge briefs” to be submitted “for the (fictional) National
 6

 7   Opioid Addiction Prevention Council and invites student entrants to develop a unique and

 8   compelling multi-channel experience (print, social media, digital, etc.) for their project Push Back

 9   on Opioid Abuse,” in order to “raise awareness about opioid addiction.”688
10
             925.     The same year, the President of the United States declared the opioid crisis a
11
     National Health Emergency.
12
             926.     Of course, everyone was aware of the problem long before 2017. On June 11, 2014,
13
     Publicis’ John Dwyer was informed that the DEA believed “an oversupply of painkillers is fueling
14

15   the black market for both prescription opioids and heroin,” and furthermore that 668 individuals in

16   the State of Massachusetts alone died of opioid overdoses in a single year (2012). In an internal
17   Publicis email, Dwyer conceded, “in the opioid market there are so many other factors to consider
18
     than just ‘how can we increase sales of our product?’”
19
             927.     Dwyer’s expressed concern about “other factors to consider” when selling opioids
20
     is belied the by reality of Publicis actual work with Purdue, where “increasing sales of our product”
21

22   was literally the goal Publicis were hired to pursue.689 When the rubber meets the road, ROI is the

23   only metric that matters.

24           928.     Dwyer himself was in a unique position of knowledge. As a Publicis colleague told
25   him in July 2016, “I doubt there’s a marketer that knows the opioid marketplace like you do. You
26
     687
27       See https://www.lbbonline.com/news/new-york-festivals-young-global-awards-open-for-entries
     688
          See https://www.lbbonline.com/news/new-york-festivals-young-global-awards-open-for-entries
     689
28        See PPLPC018000873870                                          Redacted



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 1   are speaking from a very secure place of knowledge in terms of RX targeting and who is driving
 2   RXs.”
 3
             929.   That knowledge was placed front and center in Publicis’ pitch to the non-profit
 4
     Partnership to End Addiction for work on the website drugfree.org. In the pitch, Dwyer and
 5
     Razorfish Health Vice President Karl Tiedemann highlighted Publicis’ deep knowledge of the
 6

 7   opioid marketplace, and described its work for Purdue:

 8           We’ve been immersed in the evolving national opioid medication dialogue going on
             between pharma companies, the government and FDA, the media, and the public
 9           via inside access as a trusted and informed consulting partner… We’ve been
             ingrained in the evolution of these issues for 6 years as other companies have come
10
             and gone; monitoring the progress made with HCP’s and patients. (emphasis added).
11
             930.   The detailed scope of Publicis’ involvement in the opioid industry that Tiedemann
12
     and Dwyer set forth in their pitch to a nonprofit combatting opioid addition is remarkable. On
13
     March 1, 2016, Dwyer jotted down fifteen reasons why Publicis was “the indisputably most
14

15   knowledgeable and most experienced agency to help with drugfree.org:”

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18                                 3.       Practice Fusion Knew

19              931.     In April 2014, an internal email between Practice Fusion employees counseled that
20   “indicating that Purdue influenced clinical decisions through sponsored money has legal
21
     implications versus a marketing program where a banner can be displayed and influence a
22
     prescribing behavior.”690
23
                932.     Practice Fusion knew which side of the line their conduct fell on. In a March 23,
24
     2015, internal email, Practice Fusion discussed pitching CDS alerts to Purdue, and stated that
25

26   Purdue “has communicated that the average dosage of OxyContin is declining,” because prescribers

27

28
     690
           Practice Fusion Information at Para. 27.

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 1   are “hesitant about using high dosages to combat pain for a variety of reasons, mostly, political
 2   pressure.” Because of this “pressure,” Purdue might use Practice Fusion to boost prescriptions…
 3
     “Purdue is toying with the idea of using Pain Assessment tools with the provider at every visit and
 4
     before every RX.”
 5
              933.     In September 2015, a Practice Fusion employee advised a Practice Fusion colleague
 6

 7   in an internal email, “I understand that the Purdue proposal has shifted to a commercial focus and

 8   that marketing folks were in the room instead of outcomes… there are several things incorrect with

 9   this presentation/proposal from pricing to products. Please do not share. Just be aware…” 691 That
10
     same month, another Practice Fusion employee wrote in a separate internal email describing a
11
     meeting with Purdue: “[W]e were talking to product managers, and they could care less about RWE
12
     [real world evidence]. For them, this was all about marketing.”692
13
              934.     Practice Fusion knew that Purdue was only concerned about increasing
14

15   prescriptions. On May 11, 2016, a Practice Fusion employee observed that in a meeting with Purdue

16   to discuss the development of the CDS alert, he kept “hearing the client [Purdue] revert back to ‘Rx
17   lift’ as the primary objective of the program, this came up in the kickoff meeting and again during
18
     last week’s meeting.” Repeatedly, Purdue made it clear to Practice Fusion what mattered.
19
              935.     Practice Fusion knew that even Purdue had legal concerns about the CDS alerts
20
     program. Purdue asked that Practice Fusion provide an update on the results of the CDS Program,
21

22   including whether “the CDS alerts change prescribing behavior” with respect to EROS. The

23   meeting between Practice Fusion and Purdue occurred on December 14, 2016. A Purdue attorney

24   at the meeting expressed reservations about the CDS program and noted that the program had not
25   received appropriate legal review within Purdue.693
26
27
     691
         Practice Fusion Information at Para. 58.
     692
28       Practice Fusion Information at Para. 60
     693
         Practice Fusion Information at Para. 110.

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 1           936.     A post-hoc legal review of the CDS alert program was conducted by Purdue with
 2   Practice Fusion’s input in December 2016 and January 2017. Despite the legal review, none of the
 3
     conduct that led to Purdue’s subsequent guilty plea and Practice Fusion’s deferred prosecution
 4
     agreement was altered or paused. The conduct continued until 2019.
 5
                               4.       ZS Knew
 6

 7           937.     ZS was in a truly unique position, given its dominance of pharmaceutical sales and

 8   marketing consulting, practically all industry participants were its clients. While advising multiple

 9   industry participants regarding the sales of competing products (OxyContin and Opana, for
10
     instance) at the same time, ZS was in a position to know confidential information and trade secrets
11
     of these clients. Indeed, the contracts between ZS and its clients specify that ZS will have access to
12
     the clients’ confidential and proprietary information. Given the nature of ZS’ work, it cannot
13
     adequately perform its function for clients without that access.
14

15           938.     ZS’ clients were repeatedly subjected to enforcement actions for their work selling

16   opioids both before and during the pendency of the ZS client relationship. For instance, in addition
17   to its 2007 guilty plea with the United States Department of Justice (“DOJ”), Purdue Pharma settled
18
     with the State of Kentucky in 2015 for $24 million.694 The settlement concerned similar conduct as
19
     the 2007 guilty plea, including the sales and marketing of Purdue’s opioids. ZS was involved in
20
     this work.
21

22           939.     Two years later, on July 11, 2017, another ZS client settled charges that it failed to

23   report suspicious orders of opioids and for various recordkeeping violations. In this case,

24   Mallinckrodt’s failure to comply with DEA regulations regarding the sales of opioids resulted in a
25   $35 million payment to the DOJ.695
26
     694
27       See the December 22, 2015, settlement between the Commonwealth of Kentucky and Purdue Pharma Inc., available
     at https://ag.ky.gov/pdf_news/purduepharmaoxycontin.pdf.
     695
28       See           https://www.justice.gov/opa/pr/mallinckrodt-agrees-pay-record-35-million-settlement-failure-report-
     suspicious-orders.

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 1           940.    The settlement agreement related to conduct between 2008 and 2011, during which
 2   time ZS was advising Mallinckrodt.
 3
             941.    Because of these client relationships, ZS was in a unique position to know how the
 4
     entire industry’s opioid sales and marketing tactics were playing out, both in terms of return on
 5
     investment for their individual clients, as well as overall market trends such as the rise of the opioid
 6

 7   crisis. Endo may not have known the specifics of competitor Purdue’s marketing efforts for

 8   OxyContin, just as Purdue may not have known the specifics of Endo’s Opana plan. But ZS knew

 9   both, as well as what Teva and Mallinckrodt were doing with their own branded opioid sales and
10
     marketing efforts in real time.
11
                              5.      Everyone Knew
12
             942.    The evidence of a direct link between increased opioids marketing and sales and
13
     increased opioid abuse was everywhere. A 2007 study found “a very strong correlation between
14

15   therapeutic exposure to opioid analgesics, as measured by prescriptions filled, and their abuse.”696

16   McKinsey evidently understands this. In a September 2016 online article, McKinsey asserts that
17   “[t]here is no doubt that more consistent use of best practices – across geographic areas, institutions,
18
     and clinicians – would provide tremendous help in combating the crisis” and describes certain
19
     examples of such practices as “successful in reducing prescribing.”697
20
             943.    There is a “parallel relationship between the availability of prescription opioid
21

22   analgesics through legitimate pharmacy channels and the diversion and abuse of these drugs and

23

24

25

26
     696
          Theodore J Cicero et al., Relationship Between Therapeutic Use and Abuse of Opioid Analgesics in Rural,
27   Suburban, and Urban Locations in the United States, 16.8 Pharmacoepidemiology and Drug Safety, 827-40 (2007),
     available at https://onlinelibrary.wiley.com/doi/10.1002/pds.1452.
28   697
         https://www.mckinsey.com/industries/healthcare-systems-and-services/our-insights/why-we-need-bolder-action-
     to-combat-the-opioid-epidemic

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 1   associated adverse outcomes.”698 The opioid epidemic is “directly related to the increasingly
 2   widespread misuse of powerful opioid pain medications.”699
 3
              944.     In a 2016 report, the CDC explained that “[o]pioid pain reliever prescribing has
 4
     quadrupled since 1999 and has increased in parallel with [opioid] overdoses.” Patients receiving
 5
     opioid prescriptions for chronic pain account for the majority of overdoses. For these reasons, the
 6

 7   CDC concluded that efforts to rein in the prescribing of opioids for chronic pain are critical “to

 8   reverse the epidemic of opioid drug overdose deaths and prevent opioid-related morbidity.”700

 9            945.     Compounding the harm from deceptive marketing, Defendants worked with Purdue
10
     to continue and grow the opioid sales of prescribers that raised red flags of diversion, despite
11
     Purdue’s legal obligations to report and halt supply. In doing so, it enabled an oversupply of opioids,
12
     which allows non-patients to become exposed to opioids, and facilitates access to opioids for both
13
     patients who could no longer access or afford prescription opioids and addicts struggling with
14

15   relapse.

16            946.     Most of the illicit use originates from prescribed opioids. It has been estimated that
17   60% of the opioids that are abused come, directly or indirectly, through physicians’ prescriptions.
18
              947.     As McKinsey itself has recognized in citing a study reaching this conclusion,
19
     roughly 80% of heroin users previously used prescription opioids.701 As many as one in four
20
     patients who receive prescription opioids long-term for chronic pain in primary care settings
21

22   struggles with addiction. And the link between prescription narcotic painkiller abuse and

23   subsequent and/or simultaneous heroin abuse continues to grow.

24

25
     698
         Dart, MD, et al., Trends in Opioid Analgesic Abuse and Mortality in the United States, New Engl. J. Med., 372:241-
26   248 (Jan. 15, 2015).
     699
         Califf, MD, et al., A Proactive Response to Prescription Opioid Abuse, New Engl. J. Med. (Apr. 14, 2016).
27   700
         CDC, January 1, 2016 Morbidity and Mortality Weekly Report; Rudd, Rose A., et al. “Increases in drug and opioid
     overdose deaths – United States, 2000–2014.” American Journal of Transplantation 16.4 (2016): 1323-1327.
28   701
          https://www.mckinsey.com/industries/healthcare-systems-and-services/our-insights/why-we-need-bolder-action-
     to-combat-the-opioid-epidemic

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 1           948.    In fact, people who are addicted to prescription opioid painkillers are 40 times more
 2   likely to be addicted to heroin. The CDC identified addiction to prescription pain medication as the
 3
     strongest risk factor for heroin addiction. A more recent, and even more deadly problem stemming
 4
     from the prescription opioid epidemic involves fentanyl, a powerful opioid prescribed for cancer
 5
     pain or in hospital settings that, in synthetic form, has made its way into Plaintiffs’ communities.
 6

 7           949.    Carfentanil, a powerful derivative of fentanyl, has increasingly been found in heroin

 8   and fentanyl sold illicitly. Carfentanil is so strong that it is typically used in veterinary medicine to

 9   sedate large wild animals such as elephants, and has been researched as a chemical weapon. A dose
10
     the size of a grain of salt can rapidly lead to deadly overdose in humans.
11
             950.    No demographic is untouched by this epidemic. Nationally, one in five deaths
12
     among younger adults in 2016 involved opioids, according to one study. And deaths involving both
13
     prescription and illicit opioids have risen sharply, nearly doubling since 2009.
14

15           951.    Opioids were involved in 42% of all fatal drug overdoses in 2015, and another 25%

16   involved heroin. According to the CDC, between 1999 and 2015, more than 183,000 people died
17   in the United States from prescription-related overdoses.
18
             952.    Rising opioid use and abuse have negative social and economic consequences far
19
     beyond overdoses in other respects as well. According to a recent analysis by a Princeton University
20
     economist, approximately one out of every three working age men who are not in the labor force
21

22   take daily prescription pain medication. The same research finds that opioid prescribing alone

23   accounts for 20% of the overall decline in the labor force participation for this group from 2014 to

24   2016, and 25% of the smaller decline in labor force participation among women. Many of those
25   taking painkillers still said they experienced pain daily.
26
             953.    In 2009, Dr. Van Zee identified the precise tactics that Defendants deployed for all
27
     of their opioid clients, including Purdue, as a source of OxyContin misuse and abuse, and suggested
28


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 1   that regulation may be appropriate to curtail the use of the marketing tactics deployed by
 2   Defendants: “The use of prescriber profiling data to target high-opioid prescribers – coupled with
 3
     very lucrative incentives for sales representatives – would seem to fuel increased prescribing by
 4
     some physicians – perhaps the most liberal prescribers of opioids and, in some cases, the least
 5
     discriminate.”702
 6

 7            954.     In time, additional evidence mounted supporting the conclusion that Defendants’

 8   sales and marketing tactics were demonstrably exacerbating the nationwide opioid crisis. One way

 9   of demonstrating the link between aggressive sales and marketing of opioids and worsened
10
     mortality outcomes arose out of a quirk of Purdue’s own marketing tactics.
11
              955.     In 1996, when OxyContin was introduced, five states – California703, Idaho, Illinois,
12
     New York and Texas – maintained “triplicate” programs that required prescribers of Schedule II
13
     controlled substances to fill out prescriptions in triplicate.704 One of the triplicate copies would then
14

15   be filed with the state agency in charge of maintaining a prescription database intended to monitor

16   diversion and other potential issues relating to the over-dissemination of Schedule II narcotics.
17   These triplicate programs were precursors to modern prescription drug monitoring programs that
18
     have been instituted in nearly every state in response to the opioid crisis.
19
              956.     Purdue recognized that the requirement to submit records of controlled substance
20
     prescriptions to a governmental database chilled prescribers’ willingness to prescribe medications
21

22   subject to the constraints of the triplicate programs. Because Purdue viewed these triplicate

23

24
     702
        Art Van Zee, The Promotion and Marketing of OxyContin: Commercial Triumph, Public Health Tragedy, 99 AM.
25   J.       PUB.       HEALTH          221,      221,      224       (Feb.     2009),        available      at:
     https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2622774/pdf/221.pdf.
26
     703
         California was the first state to implement a triplicate program in response to concerns about the diversion of opium-
27   based pharmaceuticals. The year was 1939. See Abby E. Alpert, William N. Evans, Ethan M.J. Lieber, and David
     Powell, Origins of the Opioid Crisis and its Enduring Impacts, NBER Working Paper No. 26500, November 2019,
28   available at: https://www.nber.org/papers/w26500; See also, supra., fn. 1.
     704
         Patrick Radden Keefe, Empire of Pain, Pg. 407.

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 1   requirements as an overly burdensome hindrance on prescribing, the company chose to focus its
 2   marketing efforts in other states that did not impose these constraints.
 3
             957.     This resource-allocation decision by Purdue to focus more marketing efforts in
 4
     states with fewer regulations regarding the prescribing of controlled substances provided a way to
 5
     test whether marketing of OxyContin, by itself, was a cause of not only increased overdose rates
 6

 7   for OxyContin, but of all opioid-related overdoses, including those involving illicit opioids such as

 8   heroin and fentanyl.

 9           958.     The results were stark. In 2019, economists from the University of Pennsylvania,
10
     Notre Dame, and the RAND Corporation analyzed the disparate outcomes in overall opioid
11
     overdose mortality experienced in the triplicate states, where Purdue did not focus its marketing
12
     efforts, and non-triplicate states where Purdue did focus those efforts.705
13
             959.     The economists found that “OxyContin distribution was about 50% lower in
14

15   ‘triplicate states’ in the years after the launch. While triplicate states had higher rates of overdose

16   deaths prior to 1996, this relationship flipped shortly after the launch [of OxyContin] and triplicate
17   states saw substantially slower growth in overdose deaths, continuing even twenty years after
18
     OxyContin’s introduction. Our results show that the introduction and marketing of OxyContin
19
     explain a substantial share of overdose deaths over the last two decades.”706
20
             960.     A 2017 Journal of American Medical Association study found that physicians
21

22   ordered fewer promoted brand-name medications and prescribed more cost-effective generic

23   versions if they worked in hospitals that instituted rules about when and how pharmaceutical sales

24   representatives were allowed to detail prescribers.707 The changes in prescribing behavior appeared
25

26   705
         Abby E. Alpert, William N. Evans, Ethan M.J. Lieber, and David Powell, Origins of the Opioid Crisis and its
     Enduring      Impacts,      NBER      Working    Paper    No.    26500,   November       2019,     available    at:
27   https://www.nber.org/papers/w26500
     706
         Id. (emphasis added).
28   707
         Ian Larkin et al., Association Between Academic Medical Center Pharmaceutical Detailing Policies and Physician
     Prescribing, 317 J. Am. Med. Ass'n 1785 (2017).

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 1   strongest at hospitals that implemented the strictest detailing policies and included enforcement
 2   measures. Another study involved the research of four different practices which included visits by
 3
     sales representatives, medical journal advertisements, direct-to-consumer advertising, and pricing,
 4
     and found that sales representatives have the strongest effect on driving drug utilization. An
 5
     additional study found that doctor meetings with sales representatives are related to changes in
 6

 7   doctor prescribing practices and requests by physicians to add the drugs to hospitals’ formularies.

 8            961.     Separately, a recent Journal of American Medical Association study analyzed the

 9   Centers for Medicare and Medicaid Services’ Open Payments database regarding pharmaceutical
10
     company marketing efforts towards doctors, as well as CDC data on prescription opioid overdose
11
     deaths and prescribing rates, in order to assess whether pharmaceutical marketing of opioids to
12
     physicians affected the rate of prescription opioid overdose deaths. Notably, the study analyzed
13
     these marketing practices beginning August 1, 2013, and ending December 31, 2015.708
14

15            962.     Those dates are significant, as the study captures the same timeframe that

16   McKinsey’s Project Turbocharge, re-christened E2E, was implemented.
17            963.     The study noted “physician prescribers are the most frequent source of prescription
18
     opioids for individuals who use opioids nonmedically.”709
19
              964.     The study found that “increased county-level opioid marketing was associated with
20
     elevated overdose mortality 1 year later, an association mediated by opioid prescribing rates; per
21

22   capita, the number of marketing interactions with physicians demonstrated a stronger

23   association with mortality than the dollar value of marketing.”710

24

25

26
     708
         Scott E. Hadland et. al., Association of Pharmaceutical Industry Marketing of Opioid Products with Mortality from
27   Opioid-Related        Overdoses,        JAMA        Network,       January      18,      2019,     available       at:
     https://jamanetwork.com/journals/jamanetworkopen/fullarticle/2720914.
     709
28       Id.
     710
         Id. (emphasis added)

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 1               965.   Referring to the types of sales and marketing tactics Publicis provided to its clients,
 2   and helped them implement, the authors concluded, “amid a worsening opioid crisis, our results
 3
     suggest that industry marketing to physicians may run counter to current efforts to curb excessive
 4
     opioid prescribing.”711
 5
                 966.   The authors’ proposed solution was plain simple, and echoed Dr. Van Zee’s
 6

 7   congressional testimony from 2002: “Pharmaceutical companies might also consider, as one

 8   manufacturer recently did, voluntarily ceasing marketing opioid products directly to

 9   physicians.”712
10
                 967.   Incredibly, in an August 7, 2016, presentation to Purdue regarding their “Corporate
11
     Identity Transformation,” Publicis offered, as one strategy option to be considered among others,
12
     voluntarily ceasing to market opioids in order to “fully embrace a deeper-held responsibility for
13
     progress in pain and keeping people safe.” The pain franchise could be placed “on probation.” It
14

15   would be a “bold commitment:”

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17

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27
     711
28         Id.
     712
           Id.

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14           968.     Defendants’ role in the opioid industry was central. Given its overlapping

15   engagements with multiple opioid manufacturers regarding the sales of competing products at the

16   same time, Defendants were in a position to know the intricacies of the sales and marketing tactics
17
     of competing opioid sellers, including confidential information and trade secrets of these clients.
18
     And Publicis served as matchmaker to Defendant Practice Fusion, ushering it in to service opioid
19
     accounts like Purdue’s that Publicis already controlled.
20
             969.     All the while, Defendants’ clients were repeatedly subjected to enforcement actions
21

22   for their work selling opioids both before and during the pendency of Defendants’ client

23   relationships. For instance, after its 2007 guilty plea with the United States Department of Justice
24   (“DOJ”), Purdue Pharma settled with the State of Kentucky in 2015 for $24 million.713 The
25

26
27
     713
28       See the December 22, 2015, settlement between the Commonwealth of Kentucky and Purdue Pharma Inc., available
     at https://ag.ky.gov/pdf_news/purduepharmaoxycontin.pdf.

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 1   settlement concerned similar conduct as the 2007 guilty plea, including the sales and marketing of
 2   Purdue’s opioids. Defendants were all active participants in and contributors to this conduct.
 3
            970.    Because of their extensive and long-term client relationships, Defendants were in a
 4
     unique position to know how the entire industry’s opioid sales and marketing tactics were playing
 5
     out, both in terms of return on investment for their individual clients, as well as overall market
 6

 7   trends such as the rise of the opioid crisis. Endo may not have known the specifics of competitor

 8   Purdue’s marketing efforts for OxyContin, just as Purdue may not have known the specifics of

 9   Janssen’s Nucynta plan. But McKinsey, Publicis, and ZS knew all three, as well as what Teva and
10
     others were doing with their own branded opioid sales and marketing efforts in real time.
11
            971.    As the modern opioid epidemic became apparent and the subject of nationwide
12
     attention, Defendants toiled diligently behind the scenes of several opioid manufacturers in the
13
     pursuit of one goal: maximizing volumes and profits from the sale of these addictive and deadly
14

15   Schedule II controlled substances.

16          972.    And so, through the affirmative acts undertaken by the Defendants, history repeats
17   itself. This time, however, the devastation is on a scale previously unimaginable.
18
     V.     TOLLING OF STATUTES OF LIMITATION
19
            973.    Defendants are equitably estopped from relying upon a statute of limitations
20
     defense. Alongside their clients, Defendants undertook active efforts to deceive Plaintiff and to
21

22   purposefully conceal its unlawful conduct and fraudulently assure the public, including Plaintiff,

23   that opioids were non-addictive, effective, and safe for the treatment of long-term chronic pain and

24   non-acute, non-cancer pain with the goal of increased sales, greater availability and access to
25   opioids, and maximizing profits.
26
            974.    Defendants and their clients were deliberate in taking steps to conceal their
27
     conspiratorial behavior and active role in the deceptive marketing of opioids. This deceptive
28


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 1   marketing—which included the above falsehoods that opioids were safer, less subject to abuse, and
 2   less addictive than other pain medications—was a substantial factor in the oversupply of opioids
 3
     through overprescribing and suspicious sales, all of which fueled the opioid epidemic.
 4
            975.    Defendants deliberately advised their clients on marketing strategies and tactics to
 5
     bolster their opioid products as non-addictive, safe, and efficacious without reliable scientific
 6

 7   evidence to support same, and implemented the same. Defendants’ services were given

 8   confidentially, and both Defendants and their clients concealed the content of those services from

 9   the public. In doing so, Defendants concealed their role in shaping, editing, and providing the
10
     content of the false and misleading materials addressing pain management and opioids that were
11
     widely disseminated to regulators, prescribers, and the public at large, including Plaintiff.
12
            976.    Defendants also concealed from Plaintiff the existence of the Plaintiff’s claims by
13
     hiding their and their client’s lack of cooperation with law enforcement. For example, in May 2007,
14

15   Purdue and three of its executives pled guilty to federal charges of misbranding OxyContin in what

16   the company acknowledged was an attempt to mislead doctors about the risk of addiction and
17   entered into a Corporate Integrity Agreement explained above. Purdue was ordered to pay $600
18
     million in fines and fees. In its plea, Purdue admitted that its promotion of OxyContin was
19
     misleading and inaccurate, misrepresented the risk of addiction, and was unsupported by science.
20
     Additionally, Michael Friedman, the company’s president, pled guilty to a misbranding charge and
21

22   agreed to pay $19 million in fines; Howard R. Udell, Purdue’s top lawyer, also pled guilty and

23   agreed to pay $8 million in fines; and Paul D. Goldenheim, its former medical director, pled guilty

24   as well and agreed to pay $7.5 million in fines.
25          977.    Nevertheless, even after the guilty pleas, Purdue continued to pay doctors on
26
     speakers’ bureaus to promote the liberal prescribing of OxyContin for chronic pain and fund
27
     seemingly neutral organizations to disseminate the message that opioids were non-addictive as well
28


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 1   as other misrepresentations. Purdue also assembled an army of lobbyists to fight any legislative
 2   actions that might encroach on its business. Between 2006 and 2015, Purdue and other painkiller
 3
     producers, along with their associated nonprofits, spent nearly $900 million dollars on lobbying
 4
     and political contributions—eight times what the gun lobby spent during that period. Defendants
 5
     participated extensively in these actions and provided Purdue with strategies and assistance to
 6

 7   maximize sales as described in this Complaint. Defendants knew that the actions they took with

 8   Purdue were unlawful, and yet deliberately proceeded in order to increase Purdue’s sales and

 9   profits, and in turn to serve Defendants’ financial interests.
10
            978.    Defendants affirmatively sought to convince the public that its clients’ legal duties
11
     to report suspicious sales of opioids had been satisfied through public assurances that they were
12
     working to curb the opioid epidemic. For example, after the 2007 Purdue guilty plea described
13
     above, Defendants provided services to protect the company’s public image and sales, aiding in the
14

15   concealment of the addictive nature and dangers associated with opioid use and denying blame for

16   the epidemic, attributing it instead solely to abuse and inappropriate prescribing. At the guidance
17   and advice of Defendants, Purdue and others publicly portrayed themselves as committed to
18
     working diligently with law enforcement and others to prevent diversion of these dangerous drugs
19
     and curb the opioid epidemic, and they made broad promises to change their ways, insisting they
20
     were good corporate citizens. Instead, Defendants assisted Purdue, for example, with marketing
21

22   campaigns and messaging that continued business as usual, indiscriminately targeting high

23   prescribers and promoting opioids as safe but avoiding the pitfalls of the Corporate Integrity

24   Agreement. These repeated misrepresentations misled regulators, prescribers, and the public,
25   including the Plaintiff, and deprived Plaintiff of actual or implied knowledge of facts sufficient to
26
     put the Plaintiff on notice of potential claims.
27

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 1            979.   Plaintiff did not discover the nature, scope, and magnitude of Defendants’
 2   misconduct, and its full impact on Plaintiff, and could not have acquired such knowledge earlier
 3
     through the exercise of reasonable diligence.
 4
              980.   Prior to the applicable limitations period, Plaintiff did not suspect, and had no reason
 5
     to suspect, that Defendants’ conduct caused their injuries, including the consumption of Plaintiff’s
 6

 7   resources as the opioid epidemic remains unabated.

 8            981.   Defendants intended that its actions and omissions made with its clients would be

 9   relied upon, including by the Plaintiff. The Plaintiff did not know and did not have the means to
10
     know the truth due to Defendants’ and their clients’ actions and omissions.
11
              982.   The Plaintiff reasonably relied on the affirmative statements developed by
12
     Defendants and made by their clients regarding their purported compliance with their obligations
13
     under the law and consent orders, which were false and only intended to save the clients’ public
14

15   image.

16            983.   Defendants’ fraudulent concealment has tolled the running of any statute of
17   limitations. Through their and their clients’ affirmative misrepresentations and omissions,
18
     Defendants actively concealed from Plaintiff the risks associated with opioids that led to the opioid
19
     crisis. The wrongdoing, misrepresentations, and omissions by Defendants have not ceased because
20
     the public nuisance remains unabated.
21

22   VI.      CAUSES OF ACTION

23                                            COUNT I:
                      Racketeer Influenced and Corrupt Organizations Act (RICO)
24

25            984.   Plaintiffs re-allege all of the foregoing allegations and incorporate them herein by
26
     reference.
27

28


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 1          985.    This claim is brought by Plaintiffs against Defendants for actual damages, treble
 2   damages, and available injunctive and/or equitable relief under 18. U.S.C. § 1964, for violations of
 3
     18 U.S.C. § 1961, et seq., specifically, 18 U.S.C. § 1962(c) and (d).
 4
            986.    Section 1962(c) makes it “unlawful for any person employed by or associated with
 5
     any enterprise engaged in, or the activities of which affect, interstate or foreign commerce, to
 6

 7   conduct or participate, directly or indirectly, in the conduct of such enterprise’s affairs through a

 8   pattern of racketeering activity . . . .” 18 U.S.C. § 1962(c).

 9          987.    At all relevant times, each Defendant is and has been a “person” under 18 U.S.C. §
10
     1961(3) because each is capable of holding, and does hold, “a legal or beneficial interest in
11
     property.”
12
            988.    Plaintiffs are each a “person,” as the term is defined in 18 U.S.C. § 1961(3), and
13
     have standing to sue under 18 U.S.C. § 1964(c) as they were and are injured in their business and/or
14

15   property “by reason of” the RICO Act violations described herein.

16          989.    Section 1962(d) makes it unlawful for “any person to conspire to violate” Section
17   1962(c), among other provisions. See 18 U.S.C. § 1962(d).
18
            990.    Defendants conducted the affairs of an enterprise through a pattern of racketeering
19
     activity, in violation of 18 U.S.C. § 1962(c) and § 1962(d).
20
     Description of the Enterprise
21

22          991.    Section 1961(4) defines an enterprise as “any individual, partnership, corporation,

23   association, or other legal entity, and any union or group of individuals associated in fact although

24   not a legal entity.” 18 U.S.C. § 1961(4).
25          992.    Under 18 U.S.C. § 1961(4), a RICO “enterprise” may be an association-in-fact that,
26
     although it has no formal legal structure, has (i) a common purpose, (ii) relationships among those
27

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 1   associated with the enterprise, and (iii) longevity sufficient to pursue the enterprise’s purpose. See
 2   Boyle v. United States, 556 U.S. 938, 946 (2009).
 3
            993.    Opioid manufacturers, including Purdue, Johnson & Johnson, Janssen, Cephalon,
 4
     Endo, and Mallinckrodt (collectively the “Opioid Manufacturers”), together with Defendants and
 5
     McKinsey (“the Opioid Consultants”), participated in the marketing and sale of opioids as
 6

 7   described in this Complaint, (collectively, the “Opioid Marketing Enterprise Members” or the

 8   “Enterprise Members”) engaged in a scheme to unlawfully increase sales of opioids— both by

 9   growing their share of the prescription painkiller market and by growing the market as a whole—
10
     through repeated and systematic misrepresentations, concealments, and omissions of material fact
11
     about the safety and efficacy of opioids for treating long-term chronic pain, together with other
12
     deceptive and fraudulent acts and practices, as described in the Factual Allegations section of this
13
     Complaint and in the Master Consolidated Complaint filed by Plaintiffs in MDL 2996 on December
14

15   6, 2021, cf. Dkt. 300 (Tribal Plaintiffs Master Complaint).

16          994.    In order to unlawfully increase the demand for opioids and thereby increase their
17   own profits despite their knowledge of the harmful effects that would follow, the Opioid Marketing
18
     Enterprise Members formed an association-in-fact enterprise (the “Opioid Marketing Enterprise”
19
     or the “Enterprise”). The Opioids Manufacturers worked together to accomplish their aims, with
20
     McKinsey and Defendants serving as go-betweens that held all of the companies together and
21

22   helped design and coordinate the deceptive marketing and sales strategies. Through McKinsey and

23   Defendants and their own personal relationships, the members of the Opioid Marketing Enterprise

24   had the opportunity to form and take actions in furtherance of the Opioid Marketing Enterprise’s
25   common purpose: lying to prescribers and Plaintiffs in order to increase sales of addictive and
26
     dangerous drugs and line the enterprise members’ pockets. The Opioid Marketing Enterprise
27

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 1   Members’ substantial financial contributions to the Opioid Marketing Enterprise and the
 2   advancement of opioids-friendly messaging fueled the U.S. opioid epidemic.
 3
            995.    In the alternative, the association-in-fact Opioid Marketing Enterprise existed just
 4
     between McKinsey, Defendants, and Purdue, who worked together to unlawfully increase sales of
 5
     all opioids—not just Purdue’s own products—through repeated and systematic misrepresentations
 6

 7   about the safety and efficacy of opioids for treating long-term chronic pain. McKinsey and

 8   Defendants knew Purdue was marketing its opioids illegally and fueling an opioid epidemic, but

 9   using the knowledge gained from Defendants’ and McKinsey’s work with other opioid
10
     manufacturers, Defendants and McKinsey joined forces with Purdue to turbocharge the opioids
11
     market in order to profit from this crisis.
12
            996.    The Controlled Substances Act (the “CSA”) and its implementing regulations
13
     require that “[e]very person who manufactures, distributes, dispenses, imports, or exports any
14

15   controlled substance,” including opioids, become a “registrant.” See 21 U.S.C. § 823(a)-(b); 21

16   C.F.R. § 1301.11(a). These registrants, including opioid manufacturer and distributors, must
17   maintain a system to identify and report suspicious orders, including orders of unusual size or
18
     frequency, or orders deviating from a normal pattern, and maintain effective controls against
19
     diversion of controlled substances. See 21 U.S.C. § 823; 21 C.F.R. § 1301.74(b).
20
            997.    Despite these duties, Defendants, McKinsey and the other Enterprise Members
21

22   engaged in a scheme with the overarching purpose of materially expanding prescription opioid use

23   by altering the medical community’s opioid prescribing practices through repeated fraudulent

24   statements and misrepresentations. The Opioid Marketing Enterprise’s scheme was sophisticated,
25   well-developed, and fraudulent and was designed to increase the prescription rate for opioid
26
     medications the Enterprise Members knew where dangerous and highly addictive. At all relevant
27
     times, Defendants and McKinsey were aware of the conduct of the Enterprise, were knowing and
28


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 1   willing participants in that conduct, and reaped profits from that conduct in the form of payments
 2   from other Enterprise Members as a reward for work done to increase sales and distribution of
 3
     prescription opioids.
 4
     The Common Purpose and Scheme of the Opioid Marketing Enterprise.
 5
              998.   The Opioid Marketing Enterprise Members, through the Opioid Marketing
 6

 7   Enterprise, concealed the true risks and dangers of opioids from the medical community and

 8   Plaintiffs and made misleading statements and misrepresentations about opioids that downplayed

 9   the risk of addiction and exaggerated the benefits of opioid use. These misleading statements
10
     included: (1) that addiction is rare among patients taking opioids for pain; (2) that addiction risk
11
     can be effectively managed; (3) that symptoms of addiction exhibited by opioid patients are actually
12
     symptoms of an invented condition, which the Opioid Marketing Enterprise Members named
13
     “pseudoaddiction”; (4) that withdrawal is easily managed; (5) that increased dosing presents no
14

15   significant risks; (6) that long-term use of opioids improves function; (7) that the risks of alternative

16   forms of pain treatment are greater than the adverse effects of opioids; (8) that use of time-released
17   dosing prevents addiction; and (9) that abuse-deterrent formulations provide a solution to opioid
18
     abuse.
19
              999.   The scheme devised, implemented, and conducted by the Opioid Marketing
20
     Enterprise Members was a common course of conduct designed to ensure that the Opioid Marketing
21

22   Enterprise Members unlawfully increased their sales and profits through concealment and

23   misrepresentations about the addictive nature and effective use of the Opioid Manufacturers’ drugs.

24   The Opioid Marketing Enterprise Members acted together for a common purpose and perpetuated
25   the Opioid Marketing Enterprise’s scheme.
26
              1000. There was regular communication between the Opioid Marketing Enterprise
27
     Members in which information was shared, misrepresentations were coordinated, and payments
28


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 1   were exchanged. The Opioid Marketing Enterprise Members functioned as a continuing unit for
 2   the purpose of implementing the Opioid Marketing Enterprise’s scheme and common purpose, and
 3
     each agreed and took actions to hide the scheme and continue its existence.
 4
            1001. As public scrutiny and media coverage focused on how opioids ravaged
 5
     communities throughout the United States, Defendants and McKinsey did not challenge Purdue or
 6

 7   other manufacturers’ misrepresentations, seek to correct their previous misrepresentations,

 8   terminate their role in the Opioid Marketing Enterprise, nor disclose publicly that the risks of using

 9   opioids for chronic pain outweighed their benefits and were not supported by medically acceptable
10
     evidence. Instead, despite its knowledge of the ongoing fraud and the danger it posed, Defendants
11
     and McKinsey continued to participate in the Opioid Marketing Enterprise for financial gain.
12
            1002. The impact of the Opioid Marketing Enterprise’s scheme is still in place—i.e., the
13
     opioids continue to be prescribed and used for chronic pain throughout the United States, and the
14

15   epidemic continues to injure Plaintiffs and consume the resources of Plaintiffs.

16          1003. The evidence shows that the Opioid Marketing Enterprise Members, including
17   Defendants and McKinsey, were each willing participants in the Opioid Marketing Enterprise, had
18
     a common purpose and interest in the object of the scheme, and functioned within a structure
19
     designed to effectuate the Enterprise’s purpose.
20
     The Conduct of the Opioid Marketing Enterprise Violated Civil RICO.
21

22          1004. From at least 2004 to the present, each of the Opioid Marketing Enterprise Members

23   played some part in directing the affairs of the Opioid Marketing Enterprise and participated in the

24   operation or management of the affairs of the Opioid Marketing Enterprise, directly or indirectly,
25   in the following ways:
26
            1005. Creating and providing a body of deceptive, misleading, and unsupported medical
27
     and popular literature about opioids that (i) understated the risks and overstated the benefits of long-
28


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 1   term use; (ii) appeared to be the result of independent, objective research; and (iii) was thus more
 2   likely to be relied upon by physicians, patients, and payors;
 3
            1006. Creating and providing a body of deceptive, misleading, and unsupported electronic
 4
     and print advertisements about opioids that (i) understated the risks and overstated the benefits of
 5
     long-term use; (ii) appeared to be the result of independent, objective research; and (iii) was thus
 6

 7   more likely to be relied upon by physicians, patients, and payors;

 8          1007. Creating and providing a body of deceptive, misleading, and unsupported sales and

 9   promotional training materials about opioids that (i) understated the risks and overstated the
10
     benefits of long-term use; (ii) appeared to be the result of independent, objective research; and (iii)
11
     was thus more likely to be relied upon by physicians, patients, and payors;
12
            1008. Devising and implementing marketing schemes that included targeting and
13
     misleading physicians, unlawfully incentivizing sales representatives to maximize prescriptions
14

15   and dosages, and evading regulatory constraints; and

16          1009. Disseminating many of their false, misleading, imbalanced, and unsupported
17   statements through unbranded materials that appeared to be independent publications.
18
            1010. The scheme devised and implemented by the Opioid Marketing Enterprise Members
19
     amounted to a common course of conduct intended to enrich themselves by increasing sales of
20
     prescription opioids by convincing doctors to prescribe and patients to use opioids, including for
21

22   long-term chronic pain, despite the Opioid Marketing Enterprise Members’ knowledge of the

23   addictions and deaths that would occur as a result. The scheme was a continuing course of conduct,

24   and many aspects of it continue through to the present.
25   The Opioid Marketing Enterprise Members Conducted or Participated, Directly or
26
     Indirectly, in the Conduct of the Enterprise’s Affairs.
27

28


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 1          1011. “[T]o conduct or participate, directly or indirectly, in the conduct” of an enterprise,
 2   “one must participate in the operation or management of the enterprise itself.” Reves v. Ernst &
 3
     Young, 507 U.S. 170, 185 (1993).
 4
            1012. As described herein, the Opioid Marketing Enterprise Members participated in the
 5
     conduct of the Enterprise through a pattern of racketeering activity, and Defendants and McKinsey
 6

 7   were the masterminds of marketing schemes deployed by the Enterprise members to defraud

 8   prescribers and Plaintiffs by using the mail and wires in furtherance of plans that were designed

 9   with specific intent to defraud.
10
            1013. The Opioid Marketing Enterprise Members conducted an association-in-fact
11
     enterprise and/or participated in the conduct of an enterprise through a pattern of illegal activities
12
     (the predicate racketeering acts of mail and wire fraud) to carry-out the common purpose of the
13
     Opioid Marketing Enterprise, i.e., to unlawfully increase profits and revenues from the continued
14

15   prescription and use of opioids for long-term, chronic pain. Through the racketeering activities of

16   the Opioid Marketing Enterprise, the Opioid Marketing Enterprise Members sought to further the
17   common purpose of the Enterprise through a fraudulent scheme to change prescriber habits and
18
     public perception about the safety and efficacy of opioid use. In so doing, each of the Opioid
19
     Marketing Enterprise Members knowingly conducted and participated in the conduct of the
20
     Enterprise by engaging in mail and wire fraud, in violation of 18 U.S.C. §§ 1962(c) and (d).
21

22          1014. The Opioid Marketing Enterprise is an association-in-fact enterprise that consists of

23   the Opioid Marketing Enterprise Members.

24          1015. Each of the Opioid Marketing Enterprise Members conducted and participated in
25   the conduct of the Opioid Marketing Enterprise by playing a distinct role in furthering the
26
     Enterprise’s common purpose of increasing profits and sales through the knowing and intentional
27
     dissemination of false and misleading information about the safety and efficacy of long-term opioid
28


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 1   use, and the risks and symptoms of addiction, in order to increase the market for prescription
 2   opioids by changing prescriber habits and public perceptions.
 3
            1016. Specifically, the Opioid Marketing Enterprise Members each worked together to
 4
     coordinate the Enterprise’s goals and conceal their role, and the Enterprise’s existence, from
 5
     prescribers and Plaintiffs by, among other things, (i) funding, creating, editing, and distributing
 6

 7   publications that supported and advanced their false messages; (ii) funding key opinion leaders

 8   (“KOLs”) to further promote their false messages; and (iii) tasking their own employees to direct

 9   deceptive marketing materials and pitches directly at physicians.
10
            1017. Further, each of the Opioid Marketing Enterprise Members had systematic links to,
11
     and personal relationships with, each other through joint participation in lobbying groups, trade
12
     industry organizations, contractual relationships, and continuing coordination of activities. The
13
     systematic links and personal relationships that were formed and developed allowed the Opioid
14

15   Marketing Enterprise Members the opportunity to form the common purpose and agree to conduct

16   and participate in the conduct of the Opioid Marketing Enterprise. Specifically, each of the Opioid
17   Marketing Enterprise Members coordinated their efforts through the same KOLs and front groups,
18
     based on their agreement and understanding that the front groups and KOLs were industry friendly
19
     and would work together with the Opioid Marketing Enterprise Members to advance the common
20
     purpose of the Opioid Marketing Enterprise; and each of the individuals and entities who formed
21

22   the Opioid Marketing Enterprise acted to enable the common purpose and fraudulent scheme of the

23   Opioid Marketing Enterprise.

24          1018. At all relevant times, the Opioid Marketing Enterprise: (a) had an existence separate
25   and distinct from each Opioid Manufacturer and its members; (b) was separate and distinct from
26
     the pattern of racketeering in which the Opioid Marketing Enterprise Members engaged; (c) was
27
     an ongoing and continuing organization consisting of individuals, persons, and legal entities,
28


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 1   including each of the Opioid Marketing Enterprise Members; (d) was characterized by interpersonal
 2   relationships between and among each member of the Opioid Marketing Enterprise; and (e) had
 3
     sufficient longevity for the Enterprise to pursue its purpose and functioned as a continuing unit.
 4
            1019. The Opioid Marketing Enterprise Members conducted and participated in the
 5
     conduct of the Opioid Marketing Enterprise through a pattern of racketeering activity that employed
 6

 7   the use of mail and wire facilities, in violation of 18 U.S.C. § 1341 (mail fraud) and § 1343 (wire

 8   fraud), to increase profits and revenue by changing prescriber habits and public perceptions in order

 9   to increase the prescription and use of prescription opioids and expand the market for opioids.
10
            1020. The Opioid Marketing Enterprise Members each committed, conspired to commit,
11
     and/or aided and abetted in the commission of at least two predicate acts of racketeering activity
12
     (i.e., violations of 18 U.S.C. §§ 1341 and 1343) within the past ten years. The multiple acts of
13
     racketeering activity that the Opioid Marketing Enterprise Members committed, or aided and
14

15   abetted in the commission of, were related to each other, posed a threat of continued racketeering

16   activity, and therefore constitute a “pattern of racketeering activity.” The racketeering activity was
17   made possible by the Opioid Marketing Enterprise Members’ regular use of the facilities, services,
18
     distribution channels, and employees of the Opioid Marketing Enterprise, the U.S. Mail, and
19
     interstate wire facilities. The Opioid Marketing Enterprise Members participated in the scheme to
20
     defraud by using mail, telephones, and the internet to transmit communications and payments in
21

22   interstate or foreign commerce.

23   The Conduct was More than a Typical Business Relationship.

24          1021. There were strong relationships among those associated with the Opioid Enterprise
25   and sufficient longevity among Enterprise associates to pursue the Enterprise’s common purpose.
26
     The common purpose was to increase opioid revenues unlawfully by misrepresenting and lying
27
     about opioids in order to changing prescriber habits and the perception regarding the safety and
28


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 1   efficacy of opioids for chronic pain and long-term use. The Enterprise’s deceit was, in part, in its
 2   failure to disclose that increasing strength and dosing actually increased the risk of addiction and
 3
     overdose and that patients on opioids for more than a brief period develop tolerance, requiring
 4
     increasingly high doses to achieve pain relief.
 5
             1022. On March 1, 2004, McKinsey entered into a “Master Consulting Agreement” with
 6

 7   Purdue for “services that would be defined from time to time.”714 The Master Consulting

 8   Agreement was signed by then-McKinsey director Rob Rosiello.”715

 9           1023. From 2004 through 2008, McKinsey advised Purdue on research and development,
10
     business development, and product licensing related to Purdue’s opioid products.716 Consistent with
11
     its business model, McKinsey leveraged these projects into growth of its “Broader Strategy work”
12
     also underway with Purdue.717 Specifically, in October 2008, Purdue retained McKinsey for broad
13
     strategy work after two board members “blessed” Purdue executive Craig Landau with doing
14

15   “whatever he thinks is necessary to ‘save the business’” after the 2007 criminal plea and

16   introduction of generic competition to the older OxyContin.718 Purdue relied heavily on McKinsey
17   to help Purdue publicly portray itself as a good corporate citizen who could now be trusted and was
18
     even working on an “abuse-deterrent” or “ADF” form of OxyContin. Defendant Publicis worked
19
     intimately with McKinsey is designing and disseminating these messages to their intended
20
     audience.
21

22           1024. Over their many years of working together, McKinsey and Richard Sackler

23   developed a close relationship. Indeed, one McKinsey partner, Maria Gordian, describes herself as

24   a counselor to Richard Sackler in an “Ey 2009 Impact Summary.”719
25
     714
26       MCK-MDL2996-0085849; PPLPC012000069192
     715
         MCK-MDL2996-0085849, at 0085880.
     716
27       PPLPC013000116218; PPLP004401340
     717
         MCK-MAAG-0117875
     718
28       MCK-MAAG-0117875
     719
         MCK-MAAG-0118669

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 1              1025. For Publicis’ part, they owned their client. Publicis’ Karl Tiedemann noted in an
 2   email the “amazing relationship” developing between Purdue and Publicis, and quoted a Purdue
 3
     employee as stating that the Hysinglia account was “the final piece and we now own Purdue.”
 4
     (emphasis added).
 5
                1026. The Opioid Marketing Enterprise was more than a typical business relationship.
 6

 7   Rather, the members of the Enterprise knew that opioids were addictive and causing serious harm

 8   to people and communities but chose to work together to lie to prescribers and Plaintiffs about these

 9   drugs in order to increase their bottom lines. Defendants and McKinsey worked closely with the
10
     Opioid Manufacturers to achieve these aims. Defendants and McKinsey, as advisors to multiple
11
     Opioid Manufacturers, also had access to information about multiple players and was able to
12
     coordinate the fraud occurring across the Enterprise. As discussed below, McKinsey was
13
     particularly embedded in Purdue’s organizational structure and the relationship’s longevity was
14

15   sufficient to pursue the Enterprise’s purposes. During the 2009-2014 period in particular, Purdue

16   relied extensively on McKinsey to develop its sales and marketing strategy for OxyContin. Publicis
17   worked with McKinsey and Purdue to craft and disseminate these strategies by using targeting and
18
     salesforce optimization methods designed by ZS and distribution channels offered by Practice
19
     Fusion.
20
                1027. The intent to defraud is evident in the Defendants and McKinsey’s attempts to
21

22   strengthen their relationships with Purdue and assist Purdue in selling opioids after Purdue’s 2007

23   criminal guilty plea. As part of the guilty plea, Purdue admitted that its “supervisors and employees,

24   with the intent to defraud or mislead, marketed and promoted OxyContin as less addictive, less
25   subject to abuse and diversion, and less likely to cause tolerance and withdrawal than other pain
26
     medication.”720 But rather than be deterred by this, Defendants and McKinsey dove in. In a March
27

28
     720
           Information at pp. 5-6, United States v. Purdue Frederick Co., No. 07-cr-29-JPJ (W.D. Va. May 10, 2007), Doc. 5.

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 1   2009 self-assessment, Ms. Gordian described McKinsey’s progress in having “continue[d] to
 2   expand the depth and breadth of [its] relationships with Purdue” and plans to “deepen[]”
 3
     McKinsey’s “relationship with the Sackler family,” including by “serving them on key business
 4
     development issues” and “expanding” McKinsey’s relationship with members of Purdue’s senior
 5
     management team.721 Meanwhile, internal Rosetta communications refer to Publicis “owning”
 6

 7   Purdue given the extent of their relationship with the client, to wit, “we now own them.”

 8           1028. By August 2009, Richard Sackler had convened a meeting of Purdue board members

 9   and staff to discuss efforts to “reverse the decline in the OxyContin tablets market.”722 During the
10
     2009-2014 period in particular, Purdue relied extensively on Defendants and McKinsey to develop
11
     and implement sales and marketing strategy for OxyContin. Defendants and McKinsey worked
12
     closely with Purdue on both the creation and implementation of OxyContin sales strategy.
13
     McKinsey’s work for Purdue included consulting, review of product acquisition, evaluation of
14

15   research and development, advising Purdue on the design of clinical studies, risk management, and

16   product marketing.723
17           1029. On May 28, 2013, McKinsey entered into a “Statement of Services to the Master
18
     Consulting Agreement” (the “2013 Agreement”) with Purdue to “conduct a rapid assessment of the
19
     underlying drivers of current OxyContin performance, identify key opportunities to increase near-
20
     term OxyContin revenue and develop plans to capture priority opportunities.”724 The 2013
21

22   Agreement stated, “We have a long history of partnership with Purdue, and we would make best

23   efforts to leverage our understanding of your business—both in terms of content and culture.” The

24

25

26
     721
         MCK-MAAG-0118669
     722
27       PPLPC061000045395
     723
         PPLPC029000547371
     724
28       Excerpt from U.S. Department of Justice Plea Agreement with Purdue Pharma L.P. October 20, 2020. 18, ¶88.
     https://www.justice.gov/opa/press-release/file/1329576/download.

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 1   2013 Agreement was signed by then-principal Arnab Ghatak who would “lead the team with senior
 2   leadership from Rob Rosiello and Martin Elling.”
 3
               1030.                                     Redacted
 4

 5
                                                                                                     725
 6

 7   Throughout that time period, Defendants worked alongside Purdue and McKinsey to design,

 8   implement and disseminate these strategies.

 9             1031. Thereby, even after the 2007 guilty plea, Purdue, with Defendants and McKinsey’s
10
     ongoing aid and assistance, saw growing profits from opioid sales. In 2015 alone, Purdue obtained
11
     $3 billion in annual opioid sales—a four-fold increase from its 2006 sales of $800 million.
12
               1032. Defendants and McKinsey’s relationship with Purdue went far beyond a typical
13
     business relationship. Defendants and McKinsey worked closely with Purdue on both the creation
14

15   and implementation of OxyContin sales strategy, a strategy Defendants and McKinsey knew had

16   been based on misleading and defrauding doctors and patients alike about a dangerous and highly
17   addictive drug. McKinsey and Defendants interacted with Purdue at all levels of the corporate
18
     hierarchy – from fields sales representative all the way up to Purdue’s Sackler-controlled board of
19
     directors.
20
               1033. Further, Defendants and McKinsey had access to detailed prescribing information
21

22   enabling them to determine if there were suspicious or problematic prescribing patterns. Rather

23   than using this information to help their clients prevent diversion of controlled substances,

24   Defendants and McKinsey and the Opioid Marketing Enterprise used this information in
25   furtherance of their scheme to defraud prescribers and Plaintiffs, target and increase sales to
26
27

28
     725
           PPLPC018001462324       Redacted


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 1   prescribers who were overprescribing, and continue to fuel opioid addiction and the resulting
 2   epidemic.
 3
     The Fraudulent Schemes
 4
               1034. As detailed above, the operation of the Opioid Marketing Enterprise, included
 5
     several schemes to defraud that helped to further the goals its members—i.e., to expand the market
 6

 7   and increase profits and sales through the knowing and intentional dissemination of false and

 8   misleading information about the safety and efficacy of long-term opioid use, and to increase profits

 9   for the Enterprise Members via expanding the market for opioids.
10
     Fraudulent Marketing Scheme: Deceptive Messaging Regarding Opioid Use
11
               1035. As described throughout, Defendants and McKinsey sought to unlawfully increase
12
     profits and revenues from the continued prescription and use of opioids for long-term, chronic pain
13
     by changing prescriber habits and public perception regarding the safety and efficacy of opioids.
14

15   Defendants’ and McKinsey’s fraud specifically targeted prescribers and set out to convince them

16   that they should prescribe more and more opioids, overcoming what could otherwise be a check on
17   opioid manufacturers ability to increase sales of addictive products.
18
               1036. Despite Defendants and McKinsey knowing that reformulated OxyContin could still
19
     be abused, having advised Purdue on the design of tests of reformulated OxyContin as part of
20
     Purdue’s FDA submission,726 in furtherance of the scheme to defraud, Defendants and McKinsey
21

22   spread messages that prescribing opioids could provide “freedom” and “peace of mind” for its users

23   and that physicians could “tailor the dose.”

24             1037. After Purdue’s 2007 criminal plea for illegally marketing OxyContin, Defendants
25   and McKinsey created strategies to repair Purdue’s reputation and boost OxyContin sales. In 2008,
26
     Purdue submitted a New Drug Application for a reformulation of OxyContin, ostensibly to make it
27

28
     726
           McK-MAAG-0118669

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 1   more difficult to abuse by extracting the active ingredient from it or otherwise defeating the time-
 2   release mechanism in OxyContin tablets—i.e., another product Purdue would later deceptively
 3
     promote as safer than and less prone to abuse than it was.
 4
             1038. In June 2009, McKinsey helped Purdue prepare for an FDA advisory committee
 5
     meeting.                                            Redacted
 6
                          727
 7                                                               Redacted

 8
 9                                                                          728


10
             1039. McKinsey prepared for Purdue an “FDA Advisory Committee on Reformulated
11
     OxyContin: Question & Answer Book” in September 2009, with questions including “Why should
12
     we trust you?” In response, McKinsey recommended Purdue say “We acknowledge mistakes made
13
     in the past[;]” “We have x, y and z measures in place that did not exist before[;]” and “[a]t all levels,
14

15   Purdue’s focus is on maintaining the highest ethical standards and meeting the needs of

16   patients[.]”729 To the question of “Who at Purdue takes personal responsibility for all these
17   deaths?[,]” McKinsey recommended Purdue say, “We all feel responsible[.]”
18
             1040. As described above, Defendant Publicis also engaged in work with the FDA, and
19
     through that work was able to disseminate messages consistent with Purdue’s strategy to increase
20
     overall opioid prescribing.
21

22           1041. Defendants and McKinsey and the other Opioid Marketing Enterprise Members

23   knew the changes Purdue made would not make opioids non-addictive or prevent them from being

24   used to create and further substance abuse problems. For example, in 2009, the FDA noted in
25   permitting ADF labeling that “the tamper-resistant properties will have no effect on abuse by the
26
27
     727
         PDD8901645845
     728
28       Id.
     729
         MCK-MAAK-0152135

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 1   oral route (the most common mode of abuse).” Similarly, in approving reformulated OxyContin,
 2   the FDA cautioned that the reformulation “is not completely tamper resistant and those intent on
 3
     abusing this new formulation will likely find a means to do so. In addition, the product can still be
 4
     misused or abused and result in overdose by simply administering or ingesting larger than
 5
     recommended oral doses.”730
 6

 7              1042. Despite this knowledge, the Opioid Marketing Enterprise pursued messaging and a

 8   strategy that was deceptive and was designed to deceive doctors in particular. Even after Purdue

 9   pleaded guilty to offenses related to its marketing and distribution of addictive opioids, Defendants
10
     and McKinsey advised Purdue to market OxyContin to encourage more prescriptions (that it knew
11
     would lead to abuse and overdose events) into higher dose prescriptions by a smaller number of
12
     loyalist prescribers.
13
                1043. Rather than the deception of doctors being an unforeseen consequence, Defendants
14

15   and McKinsey intentionally set out to target doctors as a cog in the Enterprise’s scheme to defraud.

16   Indeed, deceiving doctors was part of the marketing scheme, and doctors were utilized in
17   furtherance of the marketing scheme. Medical providers were not a break in the causal chain of
18
     harm to Plaintiffs but were targeted players in the scheme to defraud and key links in the casual
19
     chain.
20
                1044. The marketing scheme involved using data to target high prescribers and training
21

22   marketers to make misleading statements with the goal to increase high dose prescriptions which

23   Defendants and McKinsey and Opioid Marketing Enterprise Members knew were more likely to

24   be abused. Enterprise Members knew that overdoses were expected and that such overdoses would
25   lead to need for increased services.
26
27

28
     730
           FDA Summary Review, https://www.accessdata.fda.gov/drugsatfda_docs/nda/2010/022272s000SumR.pdf

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 1           1045. Purdue’s 2020 guilty plea acknowledged its role in using aggressive marketing to
 2   convince doctors to prescribe opioids unnecessarily, fueling the drug addiction crisis. Defendants
 3
     and McKinsey were the masterminds of marketing scheme following Purdue’s 2007 guilty plea.
 4
     Defendants and McKinsey developed and helped implement these strategies.
 5
             1046. In an October 26, 2009 presentation, “OxyContin – driving growth through stronger
 6

 7   brand loyalty,” McKinsey proposed tactics to turnaround declining sales, “[e]nhance loyalty to

 8   OxyContin among loyalist prescribers,” “convert[ing] ‘fence sitters’ into more loyal OxyContin

 9   prescribers,”731 and “protect OxyContin’s market share[.]”732 In other words, McKinsey proposed
10
     increasing sales by pushing both willing and reluctant physicians to prescribe more OxyContin.
11
     Defendants worked assiduously alongside McKinsey to accomplish these goals.
12
             1047. Defendants and McKinsey recommended segmenting prescribers and tailoring
13
     messages and tactics to different segments. For prescribers dubbed “Early Adopting Experts” and
14

15   “Proactive Teachers,” defined by a willingness to use extended release opioids, including in

16   patients who were not already using opioids, McKinsey urged emphasizing that its 7 tablet strengths
17   provide flexibility to “tailor the dose” to customer needs.733 Upon information and belief, this
18
     message aimed to encourage prescribers to initiate and maintain patients on OxyContin long-term
19
     by reminding them they could increase the dose as patients became tolerant with long-term use
20
     (rather than discontinue use when the drug lost its effectiveness).
21

22           1048. Purdue adopted McKinsey’s              Redacted         proposal.734    Redacted


23

24

25
     731
         MCK-MDL2996-0126522
     732
26       Id. at 2
     733
         Id. at 12.
     734
27         PPLPC023000251226                               Redacted                             see also
     PPLPC012000243668                                       Redacted
28                           PPLPC012000246009           Redacted          PPLPC021000265092   Redacted



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 1                                                    Redacted

 2          735
                  Defendants Publicis and ZS were integral to these               Redacted           efforts, and
 3
     Publicis worked for years to continually refine titration messaging for Purdue to ensure each
 4
     prescription was as profitable as possible.
 5
             1049. As detailed throughout, Defendants and McKinsey and Opioid Marketing Enterprise
 6

 7   Members were aware of the catastrophic injury inflected on the public by selling harmful, addictive

 8   opioid products. Yet when promoting opioids and engaging in doctor detailing, the Enterprise

 9   Members intentionally hid the potential for abuse and addiction by marketing OxyContin’s 12-hour
10
     dosing as meaning that users only need to take OxyContin twice a day, thus requiring fewer pills.
11
             1050. It was foreseeable that this marketing strategy would lead to greater addiction
12
     because OxyContin wore off after 8 to 10 hours in many patients. Prescribing 12-hour dosing led
13
     to “end of dose failure,” which led to a vicious cycle that became “the perfect recipe for
14

15   addiction.”736 As a result, what Defendants and McKinsey marketed as “convenient” led to what

16   was described as “a [d]escription of Hell.”737
17           1051. The marketing scheme worked. Nationwide, based on an analysis by the Los
18
     Angeles Times, more than 52% of patients taking OxyContin longer than three months are on doses
19
     greater than 60 milligrams per day—which converts to the 90 morphine equivalent dose that the
20
     CDC Guideline urges prescribers to “avoid” or “carefully justify.”738
21

22           1052. A key element of the marketing scheme that fueled the deadly epidemic of opioid

23   abuse was doctor detailing using detailed prescriber data.

24

25

26
     735
         PKY183123435
27   736
         Harriet Ryan, “‘‘You Want a Description of Hell?’ OxyContin’s 12-Hour Problem,” Los Angeles Times, May 5,
     2016, available at http://www.latimes.com/projects/oxycontin-part1/.
     737
28       Id.
     738
         CDC Guideline at 16.

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 1   Data Scheme: Use of Prescriber Data for Intentional Targeting of High Opioid Prescribers-
 2   Not Diversion Prevention
 3
               1053. Defendants and McKinsey were advisors to DEA registrants and Opioid Marketing
 4
     Enterprise Members, who had a legal duty to guard against diversion and report suspicious orders
 5
     of controlled substances. Rather than assisting in reporting suspicious orders, Defendants and
 6

 7   McKinsey used their position and access to detailed prescriber information to actually divert

 8   resources to target high volume prescribers to sell more opioids.

 9             1054. Distributors of controlled substances have a legal duty to report suspicious orders,
10
     and to report those that deviate substantially from a normal pattern and orders of unusual size and
11
     frequency. See 21 U.S.C. § 823; 21 C.F.R. § 1301.74(b). These obligations included a legal duty to
12
     maintain effective controls and procedures to guard against diversion of controlled substances and
13
     a legal duty to maintain a system to identify and report suspicious orders of controlled substances.
14

15   See 21 C.F.R. §§ 1301.7(a) (b); 1301.74(b). Rather than advising their registrant clients on how to

16   comply with their legal duties to maintain effective controls to guard against diversion and how to
17   operate a system to identify and report suspicious orders, in furtherance of the scheme, Defendants
18
     and McKinsey and the Opioid Marketing Enterprise Members used detailed data to target
19
     prescribers to increase the opioid market.
20
               1055. Consistent with the Enterprise’s purpose of increasing profit by deceptively
21

22   marketing opioids, McKinsey was tasked with “Identifying Granular Growth Opportunities for

23   OxyContin,” conducting an “assessment of the underlying drivers of current OxyContin

24   performance,” identifying “key opportunities to drive near-term OxyContin performance,” and
25   developing “plans to capture priority opportunities.”739 Defendants assisted and collaborated with
26
27

28
     739
           PPLPC030000770531

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 1   McKinsey to identify and exploit these growth opportunities and drivers of near-term performance,
 2   and implemented plans to capture these opportunities.
 3
               1056. Defendants and McKinsey received physician-level sales data to develop its
 4
     marketing strategy to increase OxyContin performance after Purdue’s 2007 guilty plea. Rather than
 5
     using this access to the granular data to avoid diversion and to prevent Enterprise members from
 6

 7   targeting prescribers with suspicious prescribing patterns, Defendants and McKinsey used this

 8   information to help the Opioid Marketing Enterprise members push more opioids on high volume

 9   prescribers in furtherance of its schemes to defraud. The targets were chosen based on their history
10
     of prescribing high doses of opioids in large quantities.
11
               1057. One of the services the Enterprise used in furtherance of this scheme concerned the
12
     use of data to help Purdue meet its goals. Defendants and McKinsey’s analysis for “Evolve to
13
     Excellence” shows that Defendants and McKinsey had detailed information from which it could
14

15   discern, as could Purdue, whether a prescriber had problematic patterns suggesting operation as a

16   “pill mill,” including a shift to other opioids after OxyContin’s reformulation. Yet, Defendants and
17   McKinsey urged Purdue to target, and seek to increase the prescribing of, all of these prescribers
18
     from whom it perceived Purdue could obtain greater profits.
19
               1058. McKinsey found that Purdue did not “focus on the highest potential docs,” measured
20
     both by the number of prescriptions and reimbursement considerations.740 A McKinsey analyst
21

22   urged McKinsey to recommend Purdue target “[l]iterally, at least all” prescribers in the top 20% of

23   prescribers, “minus another few percent who are no sees[.]” McKinsey team lead Arnab Ghatak

24   replied that “they probably have 20% no see[], but i’d also assume there are not many high writers
25   that are no see.”741 (“No see” prescribers are prescribers who do not accept visits from
26
     pharmaceutical sales representatives. Thus, upon information and belief, McKinsey recognized that
27
     740
28         MCK-MDL2996-0364024
     741
           MCK-MDL2996-0364267

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 1   most of the highest volume prescribers, or “high writers” of prescriptions, were willing to entertain
 2   sales visits from sales representatives.) Defendant ZS assisted McKinsey with targeting these
 3
     prescribers, and Publicis assisted McKinsey with crafting messages to deliver to them.
 4
             1059. The Opioid Marketing Enterprise used data for intentional targeting of high
 5
     prescribers and not for diversion prevention. Defendants and McKinsey advised Purdue to raise
 6

 7   sales of Oxycontin by focusing on high dose sales and deceptively messaging to physicians that

 8   OxyContin would improve function and quality of life. Defendants and McKinsey urged Purdue to

 9   maximize sales by dictating which prescribers its sales representatives would target. For example,
10
     McKinsey advised Purdue that it should take “specific actions” to increase sales of OxyContin,
11
     including “Prescriber Targeting” and “Turbocharg[ing] Purdue’s Sales Engine.” Defendant ZS’s
12
     work was particularly relevant to these efforts.
13
             1060. Defendants and McKinsey targeted not just doctors but also nurse practitioners and
14

15   physician assistants, with McKinsey recommending Purdue “[d]ouble down on nurse practitioners

16   and physician assistants . . . as they represent a growing market segmentation of prescribers.”742
17           1061. The Enterprise’s scheme also explored ways to increase the amount of time sales
18
     representatives spent in the field increasing opioid sales, and prioritizing OxyContin in incentive
19
     compensation targets.743 Again, ZS’s work was particularly relevant to these efforts.
20
             1062. By April 24, 2014, the plan was working and McKinsey reported that Purdue’s
21

22   “sales force is selecting an increasing percentage of high-value OxyContin prescribers as

23   targets.”744

24           1063. McKinsey ensured Purdue would benefit from the lessons learned by other
25   Enterprise members, stating that “its experience with other pharmaceutical companies suggests that
26
27
     742
         MCK-MDL2996-0303399
     743
28       PPLPC012000437346
     744
         MCK-MDL2996-0104840; PPLPC035000220406

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 1   such a comprehensive Sales transformation program takes nine months.”745 Likewise, McKinsey
 2   recommended physician targeting to other Enterprise members, including Endo and Janssen.746
 3
     Similarly, ZS and Publicis were also advising multiple Opioid Marketing Enterprise members at
 4
     the same time.
 5
               1064. By targeting physicians based on their prescribing patterns, the Opioid Marketing
 6

 7   Enterprise was working toward the common purpose of deceptively convincing doctors to prescribe

 8   more opioids and thereby increase their own profits. By developing “Evolve to Excellence,” which

 9   was implemented as a plan to “turbocharge” opioid sales, McKinsey advised that Purdue would see
10
     a greater return on its sales investment by focusing its targets, including on prescribers with
11
     alarming prescribing patterns that raised red flags they were writing “prescriptions” for non-
12
     medical use. Defendants worked for years with McKinsey to accomplish these goals. The plan
13
     aimed at boosting sales of OxyContin by targeting the highest volume opioid prescribers, which
14

15   Defendants and McKinsey and the other members of the Opioid Marketing Enterprise knew and/or

16   should have known would result in the expansion of the illicit opioid market.
17             1065. The Enterprise sought to grow opioid sales to prescribers who raised red flags of
18
     diversion and orders it knew or should have known were likely to be diverted or fuel an illegal
19
     market. Purdue had a legal obligation not to target these prescribers; rather, it was obligated to
20
     report their conduct to law enforcement. Yet the Enterprise used access to prescriber data not to
21

22   report diversion but to enhance diversion.

23   Pattern of Racketeering Activity

24             1066. Defendants and McKinsey together with the other Opioid Marketing Enterprise
25   Members engaged in a scheme to unlawfully increase sales of opioids—and grow their share of the
26
     prescription painkiller market—through repeated and systematic misrepresentations about the
27
     745
28         MCK-MDL2996-0187168
     746
           MCK-MDL2996-0130803; MCK-MDL2996-0135713

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 1   safety and efficacy of opioids for treating long-term chronic pain. As a unique consulting entity
 2   with knowledge of both the addictive properties and abuse potential of opioids and with access to
 3
     data regarding internal prescribing behaviors of its targets, McKinsey perpetrated – with
 4
     Defendants ongoing aid and assistance – a number of fraudulent schemes using the mails and wires,
 5
     including advising Purdue to market more opioids, in higher doses, to high volume prescribers
 6

 7   while helping Purdue avoid mandatory prescriber education regarding the risks of opioids.

 8   Defendants and McKinsey fueled the epidemic alongside their clients. Through targeted marketing

 9   that Defendants and McKinsey developed, “turbocharged,” and implemented, Defendants and
10
     McKinsey substantially contributed to an explosion in the use of opioids across the United States.
11
     Defendants and McKinsey are engaged in and affect interstate commerce because they advised
12
     multiple opioid manufacturers headquartered on different states on the sale of opioid products
13
     across the United States, as alleged herein.
14

15          1067. The Opioid Marketing Enterprise Members devised and knowingly carried out this

16   illegal scheme and artifice to defraud by means of materially false or fraudulent pretenses,
17   representations, promises, or omissions of material facts regarding the safe, non-addictive and
18
     effective use of opioids for long-term chronic, non-acute, and non-cancer pain. They knew that
19
     these representations deviated from the FDA-approved use of these drugs and were not supported
20
     by actual evidence. The Opioid Marketing Enterprise Members intended that their common purpose
21

22   and scheme to defraud would, and did, deceive consumers, prescribers, regulators, Plaintiffs, and

23   other intended victims and they used the U.S. Mail and interstate wire facilities with the specific

24   intent to advance, and for the purpose of executing, their illegal scheme.
25          1068. By intentionally concealing the material risks and affirmatively misrepresenting the
26
     benefits of using opioids for chronic pain, the Opioid Marketing Enterprise Members engaged in a
27
     fraudulent and unlawful course of conduct constituting a pattern of racketeering activity.
28


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 1          1069. To achieve the common goal and purpose of the Opioid Marketing Enterprise, the
 2   Opioid Marketing Enterprise Members hid from the consumers, prescribers, regulators, and
 3
     Plaintiffs: (a) the fraudulent nature of the Opioid Marketing Enterprise Members’ marketing
 4
     scheme; (b) the fraudulent nature of statements made by the Opioid Marketing Enterprise Members
 5
     regarding the safety and efficacy of prescription opioids; and (c) the true nature of the relationship
 6

 7   between the members of the Opioid Marketing Enterprise.

 8          1070. The Opioid Marketing Enterprise Members with knowledge and intent, to the

 9   overall objective of the Opioid Marketing Enterprise Members’ fraudulent scheme and participated
10
     in the common course of conduct to commit acts of fraud and indecency in marketing prescription
11
     opioids.
12
            1071. Indeed, for the Opioid Marketing Enterprise Members’ fraudulent scheme to work,
13
     each of them had to agree to implement similar tactics regarding fraudulent marketing of
14

15   prescription opioids. This coordination was accomplished via their relationships with each other

16   and via Defendants and McKinsey’s relationships and contacts with key opioids manufacturers.
17          1072. The Opioid Marketing Enterprise Members’ predicate acts all had the purpose of
18
     creating the opioid epidemic that substantially injured Plaintiffs, while simultaneously generating
19
     billion-dollar revenues and profits for the Opioid Marketing Enterprise Members. The predicate
20
     acts were committed or caused to be committed by the Opioid Marketing Enterprise Members
21

22   through their participation in the Opioid Marketing Enterprise and in furtherance of its fraudulent

23   scheme.

24          1073. The Opioid Marketing Enterprise Members’ scheme described herein was
25   perpetrated, in part, through multiple acts of mail fraud and wire fraud, constituting a pattern of
26
     racketeering activity. Defendants and McKinsey used mail and wire transmission, directly or
27

28


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 1   indirectly, in furtherance of this scheme by transmitting deliberately false and misleading
 2   statements to prescribers and the public.
 3
             1074. Defendants and McKinsey had a specific intent to deceive and defraud prescribers,
 4
     regulators and Plaintiffs. For example, as alleged above, Defendants and McKinsey made repeated
 5
     and unequivocal statements through the mails and wires that were false and misleading. For
 6

 7   example, McKinsey advised Purdue to market OxyContin based on the false and misleading notion

 8   that the drug can provide “freedom” and “peace of mind” for its users, and concomitantly reduce

 9   stress and isolation.
10
             1075. Similarly, they caused to be transmitted through the mails and wires false and
11
     misleading statements regarding the addiction potential of opioids. Moreover, Defendants and
12
     McKinsey had direct involvement in marketing statements and thus caused the statements to be
13
     made, notwithstanding that they knew they were false for the reasons detailed above.
14

15           1076. The marketing scheme is especially egregious since the public relies on physicians

16   as a position of trust and authority in the community regarding their health and well-being.
17   Defendants and McKinsey intentionally deceived physicians regarding the abuse potential of
18
     opioids. It intended prescribers and the public to rely on its false statements. Defendants and
19
     McKinsey intended reliance on these false statements as it was their goal for doctors to prescribe
20
     more and higher quantities of these dangerous pills to the public. This scheme was therefore
21

22   reasonably calculated to deceive not only persons of ordinary prudence and comprehension but also

23   educated physicians in a place of high trust in the community.

24   Predicate Acts
25           1077. To carry out, or attempt to carry out, the scheme, the Enterprise Members, each of
26
     whom is a person associated-in-fact with the Enterprise, did knowingly conduct or participate in,
27
     directly or indirectly, the affairs of the Enterprise through a pattern of racketeering activity within
28


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 1   the meaning of 18 U.S.C. §§ 1961(1), 1961(5) and 1962(c), and employed the use of the mail and
 2   wire facilities, in violation of 18 U.S.C. § 1341 (mail fraud) and § 1343 (wire fraud).
 3
            1078. Specifically, the Enterprise Members have committed, conspired to commit, and/or
 4
     aided and abetted in the commission of, at least two predicate acts of racketeering activity (i.e.,
 5
     violations of 18 U.S.C. §§ 1341 and 1343), within the past ten years.
 6

 7          1079. The multiple acts of racketeering activity which the Enterprises Members

 8   committed, or aided or abetted in the commission of, were related to each other, posed a threat of

 9   continued racketeering activity, and therefore constitute a “pattern of racketeering activity.”
10
            1080. The racketeering activity was made possible by the Enterprise’s regular use of the
11
     facilities, services, distribution channels, and employees of the Enterprise Members.
12
            1081. The Opioid Marketing Enterprise Members participated in the schemes by using
13
     mail, telephone, and the internet to transmit mailings and wires in interstate or foreign commerce.
14

15          1082. The Enterprise Members used, directed the use of, and/or caused to be used,

16   thousands of interstate mail and wire communications in service of their schemes through common
17   misrepresentations, concealments, and material omissions.
18
            1083. In devising and executing the illegal schemes, the Opioid Marketing Enterprises
19
     Members devised and knowingly carried out a material scheme and/or artifice to defraud Plaintiffs
20
     and prescribers and to obtain money by means of materially false or fraudulent pretenses,
21

22   representations, promises, or omissions of material facts.

23          1084. For the purpose of executing the illegal schemes, the Enterprise Members

24   committed these racketeering acts, which number in the thousands, intentionally and knowingly
25   with the specific intent to advance the illegal schemes.
26
27

28


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 1          1085. The Opioid Marketing Enterprise Members’ predicate acts of racketeering (18
 2   U.S.C. § 1961(1)) include, but are not limited to the conduct described in the Factual Allegations
 3
     section of this Complaint, and:
 4
            1086. Mail Fraud: The Opioid Marketing Enterprise Members violated 18 U.S.C. § 1341
 5
     by sending or receiving, or by causing to be sent and/or received, materials via U.S. mail or
 6

 7   commercial interstate carriers for the purpose of executing the unlawful scheme to design,

 8   manufacture, market, and sell the prescription opioids by means of false pretenses,

 9   misrepresentations, promises, and omissions.
10
            1087. Wire Fraud: The Opioid Marketing Enterprise Members violated 18 U.S.C. § 1343
11
     by transmitting and/or receiving, or by causing to be transmitted and/or received, materials by wire
12
     for the purpose of executing the unlawful scheme to design, manufacture, market, and sell the
13
     prescription opioids by means of false pretenses, misrepresentations, promises, and omissions.
14

15          1088. The Opioid Marketing Enterprise Members’ use of the U.S. Mail and interstate wire

16   facilities to perpetrate the opioids marketing scheme involved thousands separate instances of the
17   use of the U.S. Mail or interstate wire facilities in furtherance of the unlawful Opioid Marketing
18
     Enterprise, including essentially uniform misrepresentations, concealments, and material omissions
19
     regarding the beneficial uses and non-addictive qualities for the long-term treatment of chronic,
20
     non-acute, and non-cancer pain, with the goal of profiting from the increased sales of the Opioid
21

22   Marketing Enterprise Members’ drugs that occurred because consumers, prescribers, regulators,

23   and Plaintiffs relied on the Opioid Marketing Enterprise Members’ misrepresentations. These uses

24   of the U.S. Mail or interstate wires included, inter alia:
25          1089. Marketing materials about opioids and their risks and benefits, which the Opioid
26
     Marketing Enterprise Members sent to health care providers, transmitted through the internet and
27
     television, and published across the country, including in counties and cities and to Plaintiffs;
28


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 1          1090. Written representations and telephone calls among the Opioid Marketing Enterprise
 2   Members and between the Opioid Marketing Enterprise Members regarding the misrepresentations,
 3
     marketing statements, and claims about opioids, including the non-addictive, safe use of opioids
 4
     for chronic, long-term pain generally;
 5
            1091. E-mails, telephone calls, and written communications among the Opioid Marketing
 6

 7   Enterprise Members agreeing to or implementing the opioids marketing scheme;

 8          1092. Communications among the Opioid Marketing Enterprise Members and between

 9   the Opioid Marketing Enterprise Members and the media regarding the publication, drafting, and
10
     dissemination of treatment guidelines as part of the Opioid Marketing Enterprise;
11
            1093. Written and oral communications directed to prescribers, the public, and Plaintiffs
12
     that fraudulently misrepresented the risks and benefits of using opioids for chronic pain; and
13
            1094. Receipts of increased profits sent through the U.S. Mail and interstate wire
14

15   facilities—the wrongful proceeds of the scheme.

16          1095. Many of the precise dates of the fraudulent uses of the U.S. mail and interstate wire
17   facilities are not obtainable (e.g., each time a McKinsey trained marketer “calls” or reached out to
18
     a physician targeted by ZS with materials designed and prepared by Publicis using the mails or
19
     wires in furtherance of the marketing scheme). Because the Opioid Marketing Enterprise Members
20
     disguised their participation in the Enterprise, and worked to keep the Enterprise’s existence secret,
21

22   many of the precise dates of the Opioid Marketing Enterprise’s uses of the U.S. Mail and interstate

23   wire facilities (and corresponding predicate acts of mail and wire fraud) have been hidden and

24   cannot be alleged without access to the books and records maintained by the Opioid Marketing
25   Enterprise Members. Indeed, an essential part of the successful operation of the Opioid Marketing
26
     Enterprise alleged herein depended upon secrecy. Plaintiffs have, however, described the types of
27
     predicate acts of mail and/or wire fraud, including the specific types of fraudulent statements upon
28


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 1   which, through the mail and wires, Defendants and McKinsey engaged in fraudulent activity in
 2   furtherance of their scheme.
 3
             1096. The factual allegations in this Complaint describes multiple occasions of Defendants
 4
     working to create and deliver to targeted audiences, including no-see prescribers,
 5
     misrepresentations and false statements in furtherance of the scheme. Below, Plaintiffs also
 6

 7   describe examples of occasions on which other Opioid Marketing Enterprise Members

 8   disseminated misrepresentations and false statements to consumers, prescribers, regulators, and

 9   Plaintiffs, and how those acts were also in furtherance of the scheme.
10    From         To          Date          Description
11    Purdue       Prescribers 2007          Statements that pain relief from opioids improves patients’
                   and                       function and quality of life in advertising and a book
12                 Plaintiffs
      Purdue       Prescribers Continuous    Telephonic and electronic communications by its sales
13                                           representatives indicating that opioids will improve patients’
                                             function
14    Purdue       FDA           September   Presentation prepared by McKinsey indicating that its
                   advisory      2009        reformulated OxyContin will deter abuse
15                 committee
      Purdue       Prescribers   2010        Statements that the reformulated OxyContin will deter abuse
16                 and           onwards     and therefore doctors can continue to safely prescribe opioids
                   Plaintiffs
17    Purdue       Prescribers   2010-2020 Statements from Purdue at McKinsey’s direction that opioids
                   and                     can provide “freedom,” “peace of mind,” and give patients
18                 Plaintiffs              “the best possible chance to live a full and active life”
19    Purdue       Prescribers Advertising Advertising from Purdue that “We sell hope in a bottle.”
                   and         produced
20                 Plaintiffs  in 2016
      Purdue       Prescribers 2010        Statements that OxyContin’s 12-hour dosing would allow
21                 and         onwards     patients to only need to take OxyContin twice a day, thus
                   Plaintiffs              requiring fewer pills
22    Purdue       Prescribers 2013        Statements from Purdue at McKinsey’s direction that
                   and         onwards     OxyContin allowed physicians to “Individualize the Dose”
23                 Plaintiffs              and that the dose of OxyContin can safely be increased or
                                           tailored as the patients adapt to a certain dose
24    Endo         Prescribers 2009        Statements made on an Endo-sponsored website,
                   and                     PainKnowledge.com, indicating that patients who take
25                 Plaintiffs              opioids as prescribed usually do not become addicted
      Endo         Prescribers 2009        Statements made on another Endo-sponsored website,
26
                   and                     PainAction.com, indicating that most chronic pain patients do
27                 Plaintiffs              not become addicted to opioid medications
      Endo         Prescribers Various     Statements in pamphlets and publications described by Endo
28                 and                     indicating that most people who take opioids for pain relief do
                   Plaintiffs              not develop an addiction

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 1    Endo            Prescribers   Various     Statements made on the Endo-run website, Opana.com,
                      and                       indicating that opioid use does not result in addiction
 2                    Plaintiffs
      Endo            Prescribers   Various     Statements made on the Endo-run website, Opana.com,
 3                    and                       indicating that opioid dependence can be addressed by dosing
                      Plaintiffs                methods such as tapering
 4    Endo            Prescribers   Various     Statements made on its website, PainKnowledge.com, that
 5                    and                       opioid dosages could be increased indefinitely
                      Plaintiffs
 6    Endo            Prescribers   Various     Statements made in a publication entitled “Understanding
                      and                       Your Pain: Taking Oral Opioid Analgesics” suggesting that
 7                    Plaintiffs                opioid doses can be increased indefinitely
      Endo            Prescribers   Various     Electronic and telephonic communications to its sales
 8                                              representatives indicating that the formula for its medicines is
                                                “crush resistant”
 9    Endo            Prescribers 2007          Statements that pain relief from opioids improves patients’
                      and                       function and quality of life in advertising and a book
10                    Plaintiffs
      Endo            Prescribers Various       Telephonic and electronic communications by its sales
11                                              representatives indicating that opioids will improve patients’
                                                function
12
      Janssen         Prescribers   Various     Statements on its website, PrescribeResponsibly.com,
13                    and                       indicating that concerns about opioid addiction are
                      Plaintiffs                overestimated
14    Janssen         Prescribers   2009        Statements in a 2009 patient education guide claiming that
                      and                       opioids are rarely addictive when used properly
15                    Plaintiffs
      Janssen         Prescribers   2009        Statements included on a 2009 Janssen-sponsored website
16                    and                       promoting the concept of opioid pseudoaddiction
                      Plaintiffs
17    Janssen         Prescribers   Various     Statements on its website, PrescribeResponsibly.com,
                      and                       advocating the concept of opioid pseudoaddiction
18                    Plaintiffs
      Janssen         Prescribers   Various     Statements on its website, PrescribeResponsibly.com,
19                    and                       indicating that opioid addiction can be managed
                      Plaintiffs
20
      Janssen         Prescribers   2009        Statements in its patient education guide indicating the risks
21                    and                       associated with limiting the dosages of pain medicines
                      Plaintiffs
22    McKinsey        Purdue        July 18,    Discussion of McKinsey plan to increase calls to doctors’
                      (with         2013        offices to fraudulently promote OxyContin, including via
23                    prescribers               “phone, video and even Google like proprietary tools” 747
                      as the
24                    planned
                      target)
25    McKinsey        Purdue        April 24,   Plan to promote OxyContin to “no-see” physicians through
                      (with         2017        “remote interactions” including presenting “brand interaction
26                    prescribers               and materials” “over the phone/internet”748
                      as the
27
     747
28         MCK-MDL2996-0104431, at 0104442
     748
           MCK-MDL2996-0104840

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 1                  planned
                    target)
 2    McKinsey      McKinsey        July 14,    Internal emails interpreting “the Purdue situation” and
                                    2013        discussing OxyContin sales strategy including sales
 3                                              benchmarks and “focus on the highest potential docs”749
      McKinsey      Purdue          September   Evolve 2 Excellence PowerPoint planning execution of the
 4                  (with           23, 2013    scheme and discussing targeted performance metrics
 5                  prescribers                 including “sales management calls per day, calls per year and
                    as the                      adhering to target list”750
 6                  planned
                    target)
 7    McKinsey      Purdue          July 30,    Presentation showing “Scope of potential OxyContin growth
                                    2013        opportunities” with proposed process including “Generate
 8                                              target list” and using “Reps/DMs [to] perform call planning
                                                (including refining target list)”751
 9

10           1097. Each of these fraudulent mailings and interstate wire transmissions constitutes
11
     racketeering activity and collectively, these violations constitute a pattern of racketeering activity,
12
     through which the Opioid Marketing Enterprise Members defrauded and intended to defraud
13
     consumers, prescribers, regulators, Plaintiffs, and other intended victims.
14

15           1098. These were not isolated incidents. Instead, the Opioid Marketing Enterprise

16   Members engaged in a pattern of racketeering activity by committing thousands of predicate acts

17   in a five-year period, in the form of mail and wire fraud, and there remains a threat that such conduct
18
     will continue in the future.
19
             1099. Each instance of racketeering activity alleged herein was related, had similar
20
     purposes, involved the same or similar participants and methods of commission, and had similar
21
     results affecting similar victims, including consumers, prescribers, regulators, and Plaintiffs. The
22
23   Opioid Marketing Enterprise Members calculated and intentionally crafted the scheme and

24   common purpose of the Opioid Marketing Enterprise to ensure their own profits remained high. In
25   designing and implementing the scheme, the Opioid Marketing Enterprise Members understood
26
27
     749
         MCK-MDL2996-0364024
     750
28       MCK-MDL2996-0316833, at 0316834
     751
         MCK-MDL2996-0303399

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 1   and intended that those in the opioid distribution chain rely on the integrity of the pharmaceutical
 2   companies and ostensibly neutral third parties to provide objective and scientific evidence
 3
     regarding the Opioid Marketing Enterprise Members’ products.
 4
            1100. Opioid Marketing Enterprise Members’ pattern of racketeering activity alleged
 5
     herein and the Opioid Marketing Enterprise are separate and distinct from each other. Likewise,
 6

 7   the Opioid Marketing Enterprise Members are distinct from the Opioid Marketing Enterprise.

 8          1101. The racketeering activities conducted by the Opioid Marketing Enterprise Members

 9   amounted to a common course of conduct, with a similar pattern and purpose, intended to deceive
10
     consumers, prescribers, regulators, and Plaintiffs. Each separate use of the U.S. Mail and/or
11
     interstate wire facilities employed by the Opioid Marketing Enterprise was related, had similar
12
     intended purposes, involved similar participants and methods of execution, and had the same results
13
     affecting the same victims, including consumers, prescribers, regulators, and Plaintiffs. The Opioid
14

15   Marketing Enterprise Members have engaged in the pattern of racketeering activity for the purpose

16   of conducting the ongoing business affairs of the Opioid Marketing Enterprise.
17          1102. Each of the Opioid Marketing Enterprise Members aided and abetted others in the
18
     violations of the above laws, thereby rendering them indictable as principals in the 18 U.S.C. §§
19
     1341 and 1343 offenses.
20
            1103. As described herein, the Opioid Marketing Enterprise Members engaged in a pattern
21

22   of related and continuous predicate acts for many years. The predicate acts constituted a variety of

23   unlawful activities, each conducted with the common purpose of obtaining significant money and

24   revenue from the marketing and sale of their highly addictive and dangerous drugs. The predicate
25   acts also had the same or similar results, participants, victims, and methods of commission. The
26
     predicate acts were related and not isolated events.
27

28


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 1          1104. The Opioid Marketing Enterprise Members’ violations of law and pattern of
 2   racketeering activity directly and proximately caused Plaintiffs injury in their business and
 3
     property. The Opioid Marketing Enterprise Members’ pattern of racketeering activity logically,
 4
     substantially, and foreseeably caused an opioid epidemic. The injuries of Plaintiff, as described
 5
     herein, were not unexpected, unforeseen, or independent. Rather, as Plaintiffs allege, the Opioid
 6

 7   Marketing Enterprise Members as a whole and, and Defendants and McKinsey in particular, knew

 8   that the opioids were unsuited to treatment of long-term chronic, non-acute, and non-cancer pain,

 9   or for any other use not approved by the FDA, and knew that opioids were highly addictive and
10
     subject to abuse. Nevertheless, the Opioid Marketing Enterprise Members engaged in a scheme of
11
     deception that utilized the mail and wires in order to carry out the Opioid Marketing Enterprise’s
12
     fraudulent scheme, thereby increasing sales of their opioid products.
13
            1105. It was foreseeable and expected that the Opioid Marketing Enterprise Members
14

15   creating and then participating in the Opioid Marketing Enterprise through a pattern of racketeering

16   activities to carry out their fraudulent scheme would lead to a nationwide opioid epidemic,
17   including increased opioid addiction and overdose and the injuries that occurred as a result.
18
     The Enterprise Was Well Aware of Risks of Abuse Before It “Turbocharged” its Marketing
19
     Scheme.
20
            1106. These devastating results were eminently foreseeable by the Opioid Marketing
21

22   Enterprise Members.

23          1107. When Purdue pleaded guilty in 2007, it was evident that Purdue’s behavior and

24   excessive prescribing was directly linked to a drug addiction crisis that caused severe and extensive
25   damage to America. Purdue’s methods included “using aggressive marketing tactics to convince
26
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 1   doctors to unnecessarily prescribe opioids – frivolous prescriptions that experts say helped fuel a
 2   drug addiction crisis that has ravaged America for decades.”752
 3
             1108. Defendants and McKinsey cannot deny knowledge regarding Purdue’s 2007 guilty
 4
     plea. At that point, McKinsey knew that opioids were addictive. McKinsey knew that OxyContin
 5
     was being widely abused and causing harm to people and entities like Plaintiffs. And McKinsey
 6

 7   knew that Purdue had been fraudulently marketing OxyContin as less addictive, less subject to

 8   abuse, and less likely to cause withdrawal. And yet, years later, in 2013, McKinsey orchestrated a

 9   scheme with Defendants to continue to aggressively promote opioids despite knowledge that people
10
     were still dying from overdoses.
11
             1109. Thus, Defendants and McKinsey continued to add fuel to this fire by persisting in
12
     aggressively marketing to physicians and continuing to fuel the opioid crisis after Purdue’s guilty
13
     plea. It was foreseeable that continuing to do so would devastate American communities.
14

15           1110.                                            Redacted

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     752
         Jan Hoffman & Katie Benner, Purdue Pharma Pleads Guilty to Criminal Charges for Opioid Sales, N.Y. Times
28   (updated Dec. 17, 2020), https://www.nytimes.com/2020/10/21/health/purdue-opioids-criminal-charges.html.
     753
         MCK-MDL2996-0070516, at 0070517.

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       1111.                               Redacted
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 1           1112. Similarly, news stories across the nation reported additional consequences of wide
 2   scale opioid addiction: needles littered around public property, posing costs to the governments and
 3
     danger to residents.754
 4
             1113. The foreseeability of the abuse and need for additional services that would be
 5
     required following the misleading marketing and increased prescribing and use of high dose opioids
 6

 7   is also evidenced by McKinsey’s attempt to put a price tag on overdoses. McKinsey suggested

 8   payment amounts for event-based contracts: $6,000 to $15,000 (paid to health insurers for increased

 9   medical services). Indeed, McKinsey was well aware that increased prescriptions would lead to
10
     overdoses and to an additional financial burden for social and health services.
11
             1114. Defendants and McKinsey are liable for their successful efforts to increase
12
     OxyContin sales after Purdue’s 2007 guilty plea for misbranding the drug. Indeed, Defendants’ and
13
     McKinsey’s focus on increasing opioid sales after Purdue’s guilty was incendiary to escalating and
14

15   perpetuating the opioid epidemic by: (a) using data to specifically target high volume prescribers;

16   (b) persuading sales of higher doses of opioids; (c) tailoring marketing messages to conceal their
17   addictive principles; and (d) by reducing the training of sales representatives.
18
             1115. In 2013, when the consent decree expired (which obligated Purdue to submit annual
19
     compliance reports regarding its marketing), Defendants and McKinsey helped Purdue reengage in
20
     its nefarious conduct of targeting and deceiving doctors about the abuse potential of opioids.
21

22           1116. After Purdue’s guilty plea, Defendants and McKinsey identified physicians—that

23   had already been influenced by Purdue’s misrepresentations and were thus already high

24   prescribers—as optimal targets for a massive marketing push to sell more OxyContin. Defendants
25   and McKinsey monitored the prescription behaviors of individual doctors and utilized the
26
27
     754
28       See, e.g., https://www.bostonglobe.com/metro/regionals/south/2014/10/25/hypodermic-needles-litter-landscape-
     south-boston/pzgmgbyjYFCD967TePDyiM/story.html

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 1   prescriber-level data and urged Purdue to allocate its time and resources to high prescribing
 2   physicians.
 3
             1117. By November 2013, Defendants and McKinsey had obtained the physician-level
 4
     data it had previously requested and continued to study ways to sell additional OxyContin
 5
     prescriptions by refining and targeting the sales pitch to them.
 6

 7           1118. In 2013, Project Turbocharge began. McKinsey proposed Project Turbocharge, a

 8   marketing strategy to increase opioids sales by hundreds of millions of dollars annually. With

 9   Defendants and McKinsey’s ongoing aid and assistance, Purdue trained its sales representatives to
10
     operate using McKinsey’s strategy for selling OxyContin. It is not coincidental to the Enterprise
11
     scheme that as soon as the constraints associated with its guilty plea and consent agreement ended,
12
     Defendants and McKinsey assisted Purdue in turbocharging sales.
13
             1119. As Defendants and McKinsey were pushing hard to turbocharge and promote the
14

15   sale of opioids, McKinsey anticipated and expected that people would die from opioid overdoses.

16   It acknowledged this when, in 2017, it proposed that Purdue pay health insurers or other entities in
17   the distribution chain rebates “for every OxyContin overdose attributable to pills they sold.”755
18
             1120. Defendants and McKinsey cannot deny that it was not aware of the abuse and
19
     overdose potential of opioids when it provided estimates for the future costs of overdose or opioid
20
     use disorder events.
21

22           1121. Defendants and McKinsey and the other Opioid Marketing Enterprise Members

23   marketed a product, through intentionally deceptive means, that it knew would result in consumer

24   deaths and harm to Plaintiffs. This is not an attenuated causal chain. Rather, aggressively marketing
25   to high prescribing individuals, and training to not fully disclose the risk of abuse, were integral
26
27
     755
        Walt Bogdanich & Michael Forsythe, McKinsey Proposed Paying Pharmacy Companies Rebates for OxyContin
28   Overdoses, N.Y. Times (updated Nov. 5, 2021), https://www.nytimes.com/2020/11/27/business/mckinsey-purdue-
     oxycontin-opioids.html

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 1   parts of the marketing scheme. Publicis even described itself as the “strategic backbone” of
 2   McKinsey’s Project Turbocharge initiative. Deceptive messaging to targeted prescribers who were
 3
     likely to prescribe more pills in a dose with an anticipated abuse potential was part and parcel of
 4
     the scheme to defraud.
 5
            1122. As a result, Plaintiffs have shouldered the burden of these anticipated increased
 6

 7   services and harm to business and property that are inherently tied to opioid abuse and misuse, and

 8   both the increased services and harms were reasonably and actually expected from increased

 9   prescribing.
10
            1123. The Enterprise’s goal was to increase opioid prescribing, and the Enterprise
11
     Members knew that doing so would also result in the need for increased medical services. It was
12
     also foreseeable that increased prescriptions would also result in increased costs to Plaintiffs and
13
     communities throughout the United States.
14

15          1124. But for the increase in prescribed opioids, Plaintiffs would not have to expend

16   additional resources or suffered other harm to business and property as a result of harms associated
17   with opioid addiction. The Enterprise persisted in targeting prescribers to prescribe high doses of
18
     opioids and knew that doing so would result in adverse health and social outcomes, including
19
     overdoses, neo-natal complications, harm to communities like Plaintiffs, hazardous waste in
20
     Plaintiff communities, as well as and increased expenditures on services to combat such ill effects.
21

22   Plaintiffs’ Business and Property Have Been Damaged by the Enterprise’s RICO Violations.

23          1125. The Opioid Marketing Enterprise’s misleading marketing and failure to prevent

24   prescription opioid diversion damaged Plaintiffs. In addition to medical services, the Opioid
25   Marketing Enterprise’s misconduct has contributed to a range of social problems, including
26
     violence and delinquency. Adverse social outcomes include child neglect, family dysfunction,
27

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 1   babies born addicted to opioids, criminal behavior, poverty, property damage, unemployment, and
 2   social despair. As a result, Plaintiffs are devoting more and more resources to the opioid epidemic.
 3
            1126. Notably, Plaintiffs have experienced vast harm to business and property directly,
 4
     proximately, and foreseeably caused by the racketeering enterprise. The full extent of each
 5
     Plaintiffs’ damage cannot be fully captured in this pleading but can be fleshed out during the
 6

 7   bellwether process. Below are some discrete examples that demonstrate the common and typical

 8   universal harm to Plaintiffs and the specific types of harm foreseeably caused by the Opioid

 9   Marketing Enterprise.
10
            1127. Specifically, the Opioid Marketing Enterprise Members’ creation of, and then
11
     participation in, the Opioid Marketing Enterprise through a pattern of racketeering activities to
12
     carry out their fraudulent scheme has injured Plaintiffs in the form of substantial losses of money
13
     and property that logically, directly and foreseeably arise from the opioid epidemic. The injuries to
14

15   Plaintiffs, as alleged throughout this Complaint, and expressly incorporated herein by reference,

16   include new, different, and increased expenditures by and losses to Plaintiffs, for example:
17                  A. Hazardous waste in Plaintiffs’ communities, including on Plaintiffs’ real
18
            property;
19
                    B. Costs for providing healthcare and medical care, additional therapeutic, and
20
            prescription drug purchases, and other treatments for patients suffering from opioid-related
21

22          addiction or disease, including overdoses and deaths;

23                  C. Costs of training first responders in the proper treatment of drug overdoses;

24                  D. Costs associated with providing first responders with naloxone—an opioid
25          antagonist used to block the deadly effects of opioids in the context of overdose;
26
                    E. Costs associated with emergency responses by first responders to opioid
27
            overdoses;
28


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 1                  F. Costs for providing mental health services, treatment, counseling, rehabilitation
 2          services, and social services to victims of the opioid epidemic and their families;
 3
                    G. Costs associated with the injuries to the health and welfare of the residents who
 4
            reside in the jurisdiction of Plaintiffs caused by the opioid epidemic;
 5
                    H. Costs associated with providing care for children whose parents suffer from
 6

 7          opioid-related disability or incapacitation; and

 8                  I. Losses caused by the diversion of revenue to address the opioid epidemic that

 9          would otherwise have been used to provide other services.
10
            1128. The injuries to Plaintiffs were directly and proximately caused by the Enterprise’s
11
     racketeering activities because they were the logical, substantial, and foreseeable cause of the
12
     injuries to Plaintiffs. But for the opioid epidemic created by the Opioid Marketing Enterprise
13
     Members through their Opioid Marketing Enterprise, Plaintiffs would not have lost money or
14

15   property, and the health and welfare of citizens would not have been harmed.

16          1129. Plaintiffs have been injured by the Enterprise’s conduct, and such injury would not
17   have occurred but for the predicate acts which also constitute acts taken in furtherance of the
18
     conspiracy pursuant to Section 1962(d). By working to expand the opioid market, fraudulently
19
     concealing the abuse potential of opioids, targeting high volume prescribers, and deceiving
20
     prescribers and the public in order to allow opioids to continue to remain on the market, the
21

22   Enterprise caused the expansion of opioid prescribing and caused a large number of people across

23   the United States, including in Plaintiffs’ communities to become addicted to opioids, thus forcing

24   Plaintiffs to expend, time, money and resources to address the opioid epidemic that Defendants and
25   McKinsey and the Enterprise created through their conduct. Indeed, Defendants and McKinsey
26
     intentionally deceived doctors and public health workers in order to continue to grow the opioid
27

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 1   market. The repeated fraudulent misstatements by Defendants and McKinsey contributed to an
 2   explosion in the use of opioids across the country.
 3
            1130. Plaintiffs were direct victims of Defendants and McKinsey’s misconduct. The
 4
     Enterprise displayed a wanton disregard for public health and safety by intentionally deceiving
 5
     doctors about the addiction potential of opioids and by marketing higher doses to physicians. The
 6

 7   harm created by Defendants and McKinsey required Plaintiffs to expend financial and other

 8   resources to mitigate the health crisis of opioid misuse and addiction. The expansion of this market

 9   was the goal of the Enterprise and was critical to its success. Therefore, the harm suffered by
10
     Plaintiffs to their property forced them to expend resources beyond the ordinary costs of services
11
     to combat the opioid epidemic, was directly foreseeable, and in fact, was an intentional result of
12
     Defendants’ and McKinsey’s misconduct. Indeed, McKinsey anticipated overdose events and
13
     actually estimated price premiums on these expected overdose events. Defendants and McKinsey
14

15   knew that the products it was marketing were highly addictive and could lead to deadly overdoses

16   yet continued to “turbocharge” sales by fraudulently pushing the product on doctors through its
17   deceptive marketing scheme.
18
            1131. The creation and implementation of the marketing scheme that Defendants and
19
     McKinsey developed and deployed through its Enterprise directly harmed Plaintiffs by imposing
20
     costs on their businesses and properties. The harm caused by this scheme was an unnatural, human-
21

22   caused, profit-driven, and completely preventable disaster (had the Enterprise Members obeyed the

23   law). Thus, Plaintiffs’ injuries are not solely the result of routine government expenses. Instead, as

24   a result of Defendants’ and McKinsey’s misconduct, Plaintiffs have been and will be forced to go
25   far beyond what a governmental entity might ordinarily be expected to pay to enforce laws and to
26
     promote the general welfare in order to combat the opioid epidemic, whose primary origins were
27
     in prescription opioids administered by prescribers whom Defendants and McKinsey targeted with
28


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 1   their marketing scheme to increase sales. This includes providing new programs and new services
 2   as a direct result and in direct response to Defendants’ and McKinsey’s misconduct. In addition,
 3
     Plaintiffs have suffered losses to their property as a direct result of the kind of inevitable
 4
     consequences of the drug addiction and criminal behavior that Defendants and McKinsey predicted.
 5
     As a result of the conduct of the Enterprise, Plaintiffs have incurred and will continue to incur costs
 6

 7   that far exceed the norm.

 8          1132. The injuries to Plaintiffs were directly and proximately caused by these racketeering

 9   activities because they were the logical, substantial, and foreseeable cause of the injuries to
10
     Plaintiffs. But for the opioid epidemic the Opioid Marketing Enterprise Members created through
11
     their Opioid Marketing Enterprise, Plaintiffs would not have lost money or property, and the health
12
     and welfare of residents in Plaintiffs’ jurisdictions would not have been harmed. Moreover,
13
     Defendants and McKinsey’s internal documents show that it actually did foresee many of the harms
14

15   that resulted from its conduct.

16          1133. There are no intervening acts or parties that could interrupt the causal chain between
17   Defendants’ mail and wire fraud and Plaintiffs’ injuries. Defendants, in furtherance of the
18
     Enterprise’s common purpose, caused to be made false and misleading statements directly to the
19
     doctors (who consumers rely on to provide health advice) and the public. Doctors are not a break
20
     in the causal chain. Instead, the Enterprise members as a whole, and Defendants and McKinsey in
21

22   particular, intentionally targeted doctors and sought to deceive them. That doctors were then

23   deceived and behaved as the Enterprise wanted, prescribing more and more opioids, was the

24   purpose of the scheme, not an intervening cause.
25          1134. The Enterprise’s violations of 18 U.S.C. § 1962(c) have directly and proximately
26
     caused injuries and damages to Plaintiffs, and Plaintiffs are entitled to bring this action for three
27

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 1   times their actual damages, as well as for injunctive/equitable relief, costs and reasonable attorneys’
 2   fees and costs pursuant to 18 U.S.C. § 1964(c).
 3
                                                        COUNT II:
 4                                                      Negligence

 5           1135. Plaintiff realleges and incorporates by reference the allegations set forth above.
 6           1136. Negligence is established where the defendant owes the plaintiff a duty of care,
 7
     breaches that duty, and the plaintiff sustained an injury or loss proximately caused by the
 8
     defendant’s breach.
 9
             1137. Defendants, through their work with Purdue and other opioid manufacturers, owed
10

11   a duty of care to the Plaintiff, pursuant to which it would not encourage the over-marketing and

12   over-prescribing of a controlled substance known at the time to be addictive and known at the time

13   to be a threat to public health.
14
             1138. In violation of this duty, for decades Defendants devised and assisted Purdue, and
15
     other opioid manufacturers, with implementing sales and marketing campaigns, including
16
     prescriber targeting and salesforce incentive compensation structures that would dramatically
17
     increase the amount of opioids prescribed and distributed in the Osage Nation.
18

19           1139. As a direct and proximate result of Defendants’ negligent conduct, the Osage Nation

20   has suffered and will continue to suffer harm.
21                                              COUNT III:
22                                            Gross Negligence

23           1140. Plaintiff realleges and incorporates by reference the allegations set forth above.

24           1141. The oversupply of opioids and plague of addiction led to a widespread epidemic of
25   overdoses, illness, and death that claimed thousands of lives and cost many millions of dollars of
26
     public spending—circumstances that constituted an imminent or clear and present danger
27
     amounting to more than normal and usual peril.
28


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 1           1142. Defendants, through their work with Purdue and other opioid manufacturers, owed
 2   a duty of care to the Plaintiff, pursuant to which they would not encourage the over-marketing and
 3
     over-prescribing of a controlled substance known at the time to be addictive and known at the time
 4
     to be a threat to public health.
 5
             1143. In violation of this duty, for decades Defendants devised and assisted Purdue and
 6

 7   other opioid manufacturers with implementing sales and marketing campaigns, including Purdue’s

 8   Evolve to Excellence campaign, that would dramatically increase the amount of opioids prescribed

 9   and distributed to Plaintiff’s citizens.
10
             1144. As a direct and proximate result of Defendants’ negligent conduct, Plaintiff has
11
     suffered and will continue to suffer harm.
12
                                                COUNT IV:
13                                       Negligent Misrepresentation
14
             1145. Plaintiff realleges and incorporates by reference the allegations set forth above.
15
             1146. Defendants, in the course of their business with Purdue and other opioid
16
     manufacturers, failed to exercise reasonable care or competence by communicating false
17
     information regarding Defendants’ clients’ opioids that Defendants knew would be used for
18

19   guidance by others in their business transactions, including the healthcare providers within Plaintiff

20   who were capable of prescribing Purdue’s drugs.
21           1147. Plaintiff is one of a limited group of entities to whom Defendants knew Purdue and
22
     other opioid manufacturers intended to supply with false information regarding opioids.
23
             1148. Defendants knew that the false information was material to healthcare providers’
24
     decision to prescribe opioids to patients. Defendants intended that such statements be relied upon
25

26   to encourage additional opioid prescriptions.

27                                                COUNT V:
                                                Public Nuisance
28


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 1          1149. Plaintiff realleges and incorporates by reference the allegations set forth above.
 2          1150. Oklahoma courts have long recognized that anything which interferes with public
 3
     health and promotes the spread of disease, bodily injury, and/or death, may be considered a public
 4
     nuisance, and that a use or interference with real property is not required. A public nuisance is one
 5
     which interferes with public health and welfare and creates an imminent risk of public harm.
 6

 7          1151. Defendants, though their work with Purdue Pharma and numerous other opioid

 8   industry participants, created and continues to perpetuate and maintain a public nuisance to the

 9   citizens of the Osage Nation through the massive manufacturing and distribution of millions of
10
     doses of highly addictive, commonly abused prescription pain killers known as opioids.
11
            1152. Defendants’ conduct, including their misrepresentations and omissions regarding
12
     opioids, as well as efforts designed to sell as many units of controlled substances as conceivably
13
     possible, have fueled an opioid epidemic within the territorial limits of Plaintiff that constitutes a
14

15   public nuisance. Defendants and their opioid clients, to include Purdue, Endo, Janssen, and Teva,

16   knowingly exacerbated the opioid epidemic that affects entire municipalities, towns, and
17   communities.
18
            1153. Defendants’ conduct, including their misrepresentations and omissions regarding
19
     opioids, as well as its efforts designed to sell as many units of controlled substances as conceivably
20
     possible, constitute unlawful acts and/or omissions of duties, that annoy, injure, or endanger the
21

22   comfort, repose, health, and/or safety of others.

23          1154. As a direct and proximate result of the wrongful conduct set forth herein, Defendants

24   negligently, intentionally, and/or unreasonably interfered with the rights of the Plaintiff to be free
25   from unwanted injuries, addictions, diseases, sicknesses, overdoses, criminal actions, and have
26
     caused ongoing damage, harm, and inconvenience to Plaintiff and its citizens.
27

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 1           1155. As a direct and proximate result, Plaintiff and its citizens have been exposed to the
 2   risk of addiction to prescription opioids, have become addicted, and/or have suffered other adverse
 3
     consequences from their use of the addictive prescription opioids, and have been adversely affected
 4
     by the addiction and abuse of others in their communities from the highly addictive, prescription
 5
     pain medication.
 6

 7           1156. The annoyance, injury, and danger to the comfort, repose, health, and safety of

 8   residents of Plaintiff includes, but is not limited to:

 9                  i.   Drug overdose deaths in Oklahoma had already increased six-fold from 1999 to
10
                         2012. In 2010, overdose deaths surpassed car crash deaths in Oklahoma.
11
                         Defendants crafted a strategy that tripled OxyContin sales during that time;
12
                   ii.   From 2004 to 2014, Oklahoma’s unintentional poisoning death rate effectively
13
                         doubled, 8.2 deaths per 100,000 individuals to 16.3 per 100,000. Prescription
14

15                       opioids contributed to the majority of those deaths. The following year,

16                       McKinsey developed and with Defendants implemented “Project Turbocharge,”
17                       which was adopted as the national sales theme for the following year, under the
18
                         rubric of “Evolve to Excellence”;
19
                  iii.   In 2014, during the first year of “Evolve to Excellence,” Oklahoma suffered in
20
                         excess of 600 deaths attributable to opioid overdoses. By 2018, the number
21

22                       almost doubled, to 1,132.

23                iv.    Prescription opioid addiction often leads to illicit opioid use and addiction;

24                 v.    According to the Centers for Disease Control, past misuse of prescription
25                       opioids is the strongest risk factor for heroin initiation and use;
26
                  vi.    Oklahoma hospitals are reporting increasing numbers of newborns testing
27
                         positive for prescription medications; and
28


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 1                vii.    Defendants crafted deceptive marketing strategies that were prepared for
 2                        Purdue, purchased by Purdue, and implemented by Purdue with Defendants’
 3
                          ongoing assistance. These strategies enflamed, purposefully, an opioid abuse
 4
                          and addiction epidemic that has caused the Nation, its businesses, communities
 5
                          and citizens to bear enormous social and economic costs including increased
 6

 7                        health care, criminal justice, and lost work productivity expenses, among others.

 8           1157. Defendants’ conduct annoys, injures, and/or endangers the comfort, repose, health,

 9   and safety of others. In addition, Defendants’ conduct caused and continues to cause harm to
10
     Plaintiff and its citizens.
11
             1158. Plaintiff seeks to abate the public nuisance Defendants enflamed and all necessary
12
     relief to abate such public nuisance.
13
                                                  COUNT VI.
14
                                   Fraud (Actual and Constructive) and Deceit
15
16           1159. Plaintiff realleges and incorporates by reference the allegations set forth above.
17           1160. Defendants made and caused to be made false representations to healthcare
18
     providers working in Plaintiff’s territory, and/or omitted material facts, regarding the risks,
19
     efficacy, and medical necessity of opioids, generally, and Defendants’ clients’ opioids, specifically.
20
     Defendants knew these representations were false, made recklessly without knowledge of the truth,
21

22   and/or had no reasonable ground for believing such assertions. Specifically, Defendants knowingly

23   and/or recklessly:

24                  i.    Downplayed the substantial risks of addiction and other side-effects of opioids,
25                        including crafting its clients’ opioid sales and marketing strategies;
26
                   ii.    Overstated the efficacy of opioids generally, including making false statements
27
                          regarding the effectiveness of the drugs for treating specific subsets of the patient
28


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 1                      population (i.e., those with osteoarthritis) and their ability to improve patient
 2                      function; and
 3
                 iii.   Misrepresented the medical usefulness and necessity of opioids, generally, and
 4
                        Purdue’s and other opioid manufacturer’s opioids specifically, including
 5
                        affirmatively marketing their drugs for off label uses (i.e., fibromyalgia
 6

 7                      osteoarthritis) without solicitation and not in response to questions from

 8                      healthcare providers.

 9          1161. Defendants and their clients’ misrepresentations and omissions deceived others,
10
     violated public confidence, and/or injured public interests. Defendants, having chosen to craft the
11
     marketing plans used by Purdue and other opioid manufacturers to make misrepresentations to
12
     healthcare providers regarding their opioids, was under a duty to disclose the whole truth, and not
13
     disclose partial and misleading truths.
14

15          1162. Defendants intended healthcare providers to rely upon the false representations

16   regarding the risks, efficacy, and medical necessity of opioids, generally, and Defendants’ clients’
17   opioids, specifically, to increase the number of opioid prescriptions made by healthcare providers.
18
            1163. Healthcare providers working in Plaintiff’s territory did in fact rely on the false
19
     representations made in the course of numerous opioid sales and marketing plans created by
20
     Defendants and implemented with Defendants’ ongoing assistance to its clients.
21

22          1164. Plaintiff seeks to recover all damages caused by Defendants fraudulent

23   representations and omissions.

24          1165. Defendants acted with knowledge and willful intent, with reckless disregard for the
25   rights of others, and/or intentionally and with malice towards others. As such, Plaintiff seeks to
26
     recover punitive damages against Defendants.
27

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 1
 2                                             COUNT VII:
 3                                            Civil Conspiracy

 4           1166. Plaintiff realleges and incorporates by reference the allegations set forth above.

 5           1167. Defendants and their opioid manufacturer clients, working together for decades,
 6   agreed to commit numerous unlawful acts relating to the sale and marketing of their opioid
 7
     products. Defendants and their opioid clients also agreed to use unlawful means to commit lawful
 8
     acts as part of these sales and marketing efforts.
 9
             1168. Defendants and their opioid clients agreed to pursue the unlawful act of knowingly
10

11   misrepresenting the addictive nature of opioids in marketing their opioids to health care providers

12   within Plaintiff’s territory.

13           1169. Defendants and Purdue deployed the unlawful means of evading Purdue’s reporting
14
     and compliance obligations to the Inspector General of the United States Department of Health and
15
     Human Services for the five years Purdue was subject to a Corporate Integrity Agreement after it
16
     pled guilty in 2007 to criminal misbranding.
17
             1170. Defendants and their opioid clients discussed herein conspired to violate the
18

19   Oklahoma Consumer Protection Act, 15 OK Stat § 15-753 et. seq... Defendants and their clients

20   engaged in deceptive trade practices including, making and causing to be made misrepresentations
21   and omissions in marketing of opioids in general, and Defendants’ clients’ opioids, specifically,
22
     that deceived or could reasonably be expected to deceive or mislead consumers.
23
             1171. Defendants and their numerous opioid clients engaged in unfair trade practices,
24
     including, intentionally downplaying the risks, overstating the benefits, and misrepresenting the
25

26   medical necessity of opioids, generally, and Defendants’ clients’ opioids, specifically, including

27   for off-label uses. These practices offend established public policy and are immoral, unethical,

28   oppressive, unscrupulous or substantially injurious to consumers.


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 1          1172. Defendants knowingly made or caused to be made false or misleading
 2   representations as to the characteristics, ingredients, uses, and benefits of opioids, generally, and
 3
     Defendants’ clients’ opioids, specifically, by downplaying the risks of addiction and abuse,
 4
     overstating the efficacy, and misrepresenting the medical necessity of opioids, generally, and
 5
     Defendants’ clients’ opioids, specifically.
 6

 7          1173. Defendants and their numerous opioid clients agreed to deploy unlawful sales and

 8   marketing tactics to achieve the lawful purpose of maximizing ROI for Defendants’ opioid clients.

 9          1174. As a consequence, Defendants are jointly and severally liable with its opioid clients
10
     for the salesforce optimization and sales and marketing practices used to promote ZS’ clients’
11
     opioid products, including Purdue’s OxyContin, Teva’s Fentora, Endo’s Opana, Janssen’s Nucynta,
12
     and others.
13
            1175. Plaintiff was damaged as a result of the unlawful acts Defendants conspired with its
14

15   clients to commit.

16                                             COUNTY VIII:
                                          Civil Aiding and Abetting
17

18
            1176. Plaintiff realleges and incorporates by reference the allegations set forth above.
19
            1177. Defendants gave substantial assistance and encouragement to Purdue and their other
20
     opioid clients regarding conduct Defendants knew to be tortious and/or in violation of a duty owed
21

22   by clients to third persons, including Plaintiff.

23          1178. Plaintiff was damaged as a result of the specific conduct that Defendants encouraged

24   and substantially assisted.
25

26
                                                 COUNT IX
27                                            Unjust Enrichment

28          1179. Plaintiff realleges and incorporates by reference the allegations set forth above.


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 1            1180. Unjust enrichment is established where the plaintiff alleges: (a) a benefit conferred
 2   upon the defendant by the plaintiff; (b) an appreciation or knowledge by the defendant of the
 3
     benefit; and (c) the acceptance or retention by the defendant of the benefit under such circumstances
 4
     as to make it inequitable for the defendant to retain the benefit without the payment of its value.
 5
              1181. Defendants were compensated for their years of work increasing opioid sales and
 6

 7   maximizing profits for its opioid clients.

 8            1182. The compensation Defendants accepted from opioid manufacturers for maximizing

 9   sales of their deadly opioid products, by misrepresenting their addictiveness, constitutes money in
10
     the possession of Defendants that, in equity and good conscience, Defendants ought not be allowed
11
     to retain.
12
     VII.     JURY DEMAND
13
              Plaintiff, on behalf of itself and all others similarly situated, requests a trial by jury on all
14

15   issues so triable.

16   VIII. PRAYER FOR RELIEF
17            WHEREFORE, Plaintiff, on behalf of itself and all others similarly situated, respectfully
18
     prays that this Court grant the following relief:
19
            i.    Enter Judgment in favor of Plaintiff, on behalf of itself and all others similarly situated,
20
                  against Defendants awarding Plaintiff its actual damages caused by the opioid epidemic,
21

22                including but not limited to (1) costs for providing medical care, additional therapeutic

23                and prescription drug purchases, and other treatments for patients suffering from opioid-

24                related addiction or disease, including overdoses and deaths (2) costs for providing
25                treatment, counseling and rehabilitation services, (3) costs for providing treatment of
26
                  infants born with opioid-related medical conditions, (4) costs for providing care for
27
                  children whose parents suffer from opioid-related disability or incapacitation, (5) costs
28


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 1              associated with law enforcement and public safety relating to the opioid epidemic, and
 2              (6) costs associated with drug court and other resources expended through the judicial
 3
                system;
 4
          ii.   Order that Defendants compensate Plaintiff, on behalf of itself and all others similarly
 5
                situated, for past and future costs to abate the ongoing public nuisance caused by the
 6

 7              opioid epidemic;

 8       iii.   Order Defendants to fund an “abatement fund” for the purposes of abating the opioid

 9              public nuisance;
10
         iv.    Enter judgment against Defendants requiring Defendants to pay punitive damages;
11
          v.    Enter judgment against Defendants awarding Plaintiff its reasonable attorneys’ fees, all
12
                costs and expenses, pre-judgment and post-judgment interest; and
13
         vi.    All other such and further relief as this Court may deem just and proper.
14

15
16

17

18
     Dated: July 8, 2022                          _/s/ Curtis Bruehl__________________
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